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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION


    In re:                                                  Chapter 11

    H-Food Holdings, LLC, et al.,1                          Case No. 24-90586 (ARP)

                                       Debtors.             (Jointly Administered)



                              GLOBAL NOTES AND
                 STATEMENTS OF LIMITATIONS, METHODOLOGY,
           AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                       General

             H-Food Holdings, LLC (together with its affiliates that are debtors in the above-
    captioned chapter 11 cases and its direct and indirect subsidiaries, “HFS”) and certain of its
    affiliates, as debtors and debtors in possession in the above-captioned chapter 11 cases
    (collectively, the “Debtors”), filed their respective Schedules of Assets and Liabilities (each,
    a “Schedule” and, collectively, the “Schedules”) and Statements of Financial Affairs (each,
    a “Statement” and, collectively, the “Statements” and, together with the Schedules,
    the “Schedules and Statements”) with the United States Bankruptcy Court for the Southern
    District of Texas (the “Court”). The Debtors, with the assistance of their legal and financial
    advisors, prepared the unaudited Schedules and Statements in accordance with section 521 of
    title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) and Rule
    1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

          These global notes and statements of limitations, methodology and disclaimers regarding
    the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated by




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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number are: HFS Sub, LLC (8177); H-Food Holdings, LLC (6072); Hearthside Food Solutions, LLC (8653);
      Peacock Engineering Company II, LLC (N/A); HFS Matterhorn Topco, Inc. (0765); Matterhorn Parent, LLC
      (4445); Matterhorn Intermediate, LLC (1574); Matterhorn Buyer, LLC (0335); Hearthside USA - Corporate, Inc.
      (3174); Hearthside Holdco, LLC (6206); Hearthside Finance Company, Inc. (8294); Interbake Foods, LLC
      (7640); Ryt-way Midco, LLC (4388); Hearthside USA, LLC (7655); Hearthside USA – CPG Partners, LLC
      (2282); Oak State Products, LLC (1822); Standard Functional Foods Group, LLC (4160); Quality Bakery
      Products, LLC (0528); Toll Packaging Services LLC (5955); Ryt-way Industries, LLC (0783); Matterhorn Sub,
      LLC (N/A); Peacock Foods LLC (N/A); and Hearthside USA – Produce & Foodservice, LLC (0783). The
      Debtors’ service address is 3333 Finley Road, Suite 800, Downers Grove, IL 60515.
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    reference in, and comprise an integral part of, all of the Schedules and Statements, and should be
    referred to, and referenced in connection with, any review of the Schedules and Statements.2

        The Schedules and Statements are unaudited and reflect the Debtors’ reasonable efforts
to report certain financial information of each Debtor on a stand-alone, unconsolidated basis.
These Schedules and Statements neither purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor
are they intended to be fully reconciled with the financial statements of each Debtor.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made commercially reasonable efforts to ensure the accuracy and completeness of
the Schedules and Statements, subsequent information or discovery may result in material changes
to the Schedules and Statements. As a result, inadvertent errors or omissions may exist.
Accordingly, the Debtors and their directors, managers, officers, agents, attorneys and financial
advisors do not guarantee or warrant the accuracy or completeness of the data that is provided
herein, and shall not be liable for any loss or injury arising out of or caused in whole or in part by
the acts, errors, or omissions, whether negligent or otherwise, in procuring, compiling, collecting,
interpreting, reporting, communicating, or delivering the information contained herein or the
Schedules and Statements. In no event shall the Debtors or their directors, managers, officers,
agents, attorneys and financial advisors be liable to any third party for any direct, indirect,
incidental, consequential, or special damages (including, but not limited to, damages arising from
the disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their directors, managers, officers, agents, attorneys, and financial advisors are advised of the
possibility of such damages.

            The Schedules and Statements have been signed by Robert Caruso, Chief Restructuring
    Officer of each of the Debtors, and an authorized signatory for each of the Debtors. In reviewing
    and signing the Schedules and Statements, Mr. Caruso has relied upon the efforts, statements,
    advice, and representations of personnel of the Debtors and the Debtors’ advisors and other
    professionals. Given the scale of the Debtors’ businesses, Mr. Caruso has not (and practically
    could not have) personally verified the accuracy of each statement and representation in the
    Schedules and Statements, including, but not limited to, statements and representations
    concerning amounts owed to creditors, classification of such amounts, and creditor addresses.

        Subsequent receipt of information or an audit may result in material changes in financial
data requiring amendment of the Schedules and Statements. Accordingly, the Schedules and
Statements remain subject to further review and verification by the Debtors. The Debtors reserve
their right to amend the Schedules and Statements from time-to-time as may be necessary or
appropriate; provided, that the Debtors, their agents, and their advisors expressly do not undertake
any obligation to update, modify, revise, or recategorize the information provided herein or to

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      These Global Notes supplement, and are in addition to, any specific notes contained in each Debtor’s Schedules
      or Statements. The fact that the Debtors prepared a Global Note with respect to any individual Debtor’s Schedules
      and Statements and not to those of another should not be interpreted as a decision by the Debtors to exclude the
      applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as appropriate.



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notify any third party should the information be updated, modified, revised, or recategorized,
except as required by applicable law.

                         Global Notes and Overview of Methodology

1. Description of the Cases. The Debtors commenced these voluntary cases under chapter 11
   of the Bankruptcy Code on November 22, 2024 (the “Petition Date”). The Debtors are
   authorized to operate their businesses and manage their properties as debtors in possession
   pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On November 22, 2024, the
   Court entered an order authorizing the joint administration of the cases pursuant to Bankruptcy
   Rule 1015(b) [Docket No. 12]. On December 4, 2024, the United States Trustee for the
   Southern District of Texas (the “U.S. Trustee”) appointed an official committee of unsecured
   creditors pursuant to section 1102(a)(1) of the Bankruptcy Code [Docket Nos. 134 and 140].
   (the “Committee”). Notwithstanding the joint administration of the Debtors’ cases for
   procedural purposes, each Debtor has filed its own Schedules and Statements. The asset and
   liability information provided herein, except as otherwise noted, is presented as of the close
   of business on the Petition Date.

2. Global Notes Control. Disclosure of information in one or more Schedules, one or more
   Statements, or one or more exhibits or attachments to the Schedules or Statements, even if
   incorrectly placed, shall be deemed to be disclosed in the correct Schedules, Statements,
   exhibits, or attachments. In the event that the Schedules or Statements differ from any of the
   Global Notes, the Global Notes shall control.

3. Reservation of Rights. Reasonable efforts have been made to prepare and file complete and
   accurate Schedules and Statements; however, as noted above, inadvertent errors or omissions
   may exist. The Debtors reserve all rights to amend and supplement the Schedules and
   Statements as may be necessary or appropriate but do not undertake any obligation to do so,
   except as required by applicable law. Nothing contained in the Schedules, Statements, or
   Global Notes shall constitute a waiver of rights with respect to these chapter 11 cases,
   including, but not limited to, any rights or claims of the Debtors against any third party or
   issues involving substantive consolidation, defenses, statutory or equitable subordination,
   and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and
   any other relevant non-bankruptcy laws to recover assets or avoid transfers. Any specific
   reservation of rights contained elsewhere in the Global Notes does not limit in any respect the
   general reservation of rights contained in this paragraph.

       a.      No Admission. Nothing contained in the Schedules and Statements is intended
               as, or should be construed as, an admission or stipulation of the validity of any
               claim against any Debtors, any assertion made therein or herein, or a waiver of
               any of the Debtors’ rights to dispute any claim or assert any cause of action or
               defense against any party.

       b.      Claims Description. Any failure to designate a claim listed on the Schedules and
               Statements as “disputed,” “contingent,” or “unliquidated” does not constitute an
               admission by the Debtors that such amount is not “disputed,” “contingent,” or
               “unliquidated.” The Debtors reserve the right to dispute and to assert setoff rights,


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      counterclaims, and defenses to any claim reflected on its Schedules or Statements
      on any grounds, including, but not limited to, amount, liability, priority, status,
      and classification, and to otherwise subsequently designate any claim as
      “disputed,” “contingent,” or “unliquidated.” The listing of a claim does not
      constitute an admission of liability by the Debtors, and the Debtors reserve the
      right to amend the Schedules and Statements accordingly.

c.    Recharacterization. The Debtors have made reasonable efforts to correctly
      characterize, classify, categorize, and designate the claims, assets, executory
      contracts, unexpired leases, and other items reported in the Schedules and
      Statements. Nevertheless, due to the complexity of the Debtors’ businesses, the
      Debtors may not have accurately characterized, classified, categorized, or
      designated certain items and/or may have omitted certain items. Accordingly, the
      Debtors reserve all of their rights to recharacterize, reclassify, recategorize, or
      redesignate items reported in the Schedules and Statements at a later time as
      necessary or appropriate, including, without limitation, whether contracts or leases
      listed herein were deemed executory or unexpired as of the Petition Date and
      remain executory and unexpired postpetition.

d.    Classifications. The listing of a claim (i) on Schedule D as “secured,” (ii) on
      Schedule E/F as either “priority,” or “unsecured priority,” or (iii) listing a contract
      or lease on Schedule G as “executory” or “unexpired” does not constitute an
      admission by the Debtors of the legal rights of the claimant or contract
      counterparty, or a waiver of the Debtors’ rights to recharacterize or reclassify such
      claim or contract pursuant to a schedule amendment, claim objection or otherwise.
      Moreover, although the Debtors may have scheduled claims of various creditors
      as secured claims for informational purposes, no current valuation of the Debtors’
      assets in which such creditors may have a security interest has been undertaken.
      Except as provided in an order of the Court, the Debtors reserve all rights to dispute
      and challenge the secured nature or amount of any such creditor’s claims or the
      characterization of the structure of any transaction, or any document or instrument
      related to such creditor’s claim.

e.    Estimates and Assumptions. To prepare these Schedules and Statements and
      report information on a legal entity basis, the Debtors were required to make
      certain reasonable estimates and assumptions with respect to the reported amounts
      of assets and liabilities, the amount of contingent assets and contingent liabilities,
      and the reported amounts of revenues and expenses as of the Petition Date. Actual
      results could differ from such estimates. The Debtors reserve all rights to amend
      the reported amounts of assets and liabilities to reflect changes in those estimates
      or assumptions.

f.    Causes of Action. Despite reasonable efforts, the Debtors may not have identified
      and/or set forth all of their causes of action (filed or potential) against third parties
      as assets in their Schedules and Statements, including, without limitation,
      avoidance actions arising under chapter 5 of the Bankruptcy Code and actions
      under other relevant bankruptcy and non-bankruptcy laws to recover assets. The


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      Debtors reserve all rights with respect to any claim, controversy, demand, right,
      action, suit, obligation, liability, debt, account, defense, offset, power, privilege,
      license, lien, indemnity, guaranty, interest, damage, remedy, cause of action,
      proceeding, agreement, or franchise of any kind or character whatsoever, whether
      known or unknown, foreseen or unforeseen, existing or hereinafter arising,
      contingent or non-contingent, liquidated or unliquidated, Secured or unsecured,
      assertable, directly or derivatively, matured or unmatured, suspected or
      unsuspected, whether arising before, on, or after the Petition Date, in contract, in
      tort, at Law, in equity, or otherwise. Causes of action also include: (a) all rights
      of setoff, counterclaim, or recoupment and claims under contracts or for breaches
      of duties imposed by law or in equity; (b) any claim based on or relating to, or in
      any manner arising from, in whole or in part, tort, breach of contract, breach of
      fiduciary duty, violation of local, state, federal, or foreign law, or breach of any
      duty imposed by law or in equity, including securities laws, negligence, and gross
      negligence; (c) the right to object to or otherwise contest claims or interests;
      (d) claims pursuant to sections 362 or chapter 5 of the Bankruptcy Code; (e) such
      Claims and defenses as fraud, mistake, duress, and usury, and any other defenses
      set forth in section 558 of the Bankruptcy Code; and (f) any avoidance actions
      arising under chapter 5 of the Bankruptcy Code or under similar local, state,
      federal, or foreign statutes and common law, including fraudulent transfer laws,
      and neither the Global Notes nor the Schedules and Statements shall be deemed a
      waiver of any such claims, causes of action, or avoidance actions, or in any way
      prejudice or impair the assertion of such claims or causes of action.

g.    Intellectual Property Rights. Exclusion of certain intellectual property shall not
      be construed to be an admission that such intellectual property rights have been
      abandoned, have been terminated, or otherwise have expired by their terms, or
      have been assigned or otherwise transferred pursuant to a sale, acquisition, or other
      transaction. Conversely, inclusion of certain intellectual property shall not be
      construed to be an admission that such intellectual property rights have not been
      abandoned, have not been terminated, or otherwise have not expired by their
      terms, or have not been assigned or otherwise transferred pursuant to a sale,
      acquisition, or other transaction. The Debtors have made every effort to attribute
      intellectual property to the rightful Debtor owner, however, in some instances,
      intellectual property owned by one Debtor may, in fact, be owned by another.
      Accordingly, the Debtors reserve all of their rights with respect to the legal status
      of any and all intellectual property rights.

h.    Insiders. The Debtors have attempted to include all payments made on or within
      twelve months before the Petition Date to any individual (and their relatives) or
      entity who, in the Debtors’ good faith belief, may be deemed an “insider.” As to
      each Debtor, an individual or entity is designated as an “insider” for the purposes
      of the Schedules and Statements if such individual or entity, based on the totality
      of the circumstances, has at least a controlling interest in, or exercises sufficient
      authority over, the Debtor so as to dictate corporate policy and the disposition of
      corporate assets.



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           The listing or omission of a party as an “insider” for the purposes of the Schedules
           and Statements is for informational purposes and is not intended to be nor should
           be construed as an admission that those parties are insiders for purposes of
           section 101(31) of the Bankruptcy Code. Information regarding the individuals
           or entities listed as insiders in the Schedules and Statements may not be used for:
           (a) the purposes of determining (i) control of the Debtors; (ii) the extent to which
           any individual or entity exercised management responsibilities or functions;
           (iii) corporate decision-making authority over the Debtors; or (iv) whether such
           individual or entity (or the Debtors) could successfully argue that they are not an
           insider under applicable law, including the Bankruptcy Code and federal securities
           laws, or with respect to any theories of liability or (b) any other purpose.
           Furthermore, certain of the individuals or entities identified as insiders may not
           have been insiders for the entirety of the twelve-month period before the Petition
           Date, but the Debtors have included them herein out of an abundance of caution.
           The Debtors reserve all rights with respect thereto.

4. Methodology

     a.    Basis of Presentation. For financial reporting purposes, the Debtors generally
           prepare consolidated financial statements, which include financial information for
           the Debtors and certain non-Debtor affiliates. Combining the assets and liabilities
           set forth in the Debtors’ Schedules and Statements would result in amounts that
           would be substantially different from financial information that would be prepared
           on a consolidated basis under GAAP. Therefore, these Schedules and Statements
           neither purport to represent financial statements prepared in accordance with
           GAAP nor are they intended to fully reconcile to the financial statements prepared
           by the Debtors. Unlike the consolidated financial statements, these Schedules and
           Statements, except where otherwise indicated, reflect the assets and liabilities of
           each separate Debtor. Information contained in the Schedules and Statements has
           been derived from the Debtors’ books and records and historical financial
           statements.

           The Debtors attempted to attribute the assets and liabilities, certain required
           financial information, and various cash disbursements to the proper Debtor entity.
           However, due to limitations within Debtors’ accounting systems, it is possible that
           not all assets, liabilities or amounts of cash disbursements have been recorded with
           the correct legal entity on the Schedules and Statements. Accordingly, the Debtors
           reserve all rights to supplement and/or amend the Schedules and Statements in this
           regard.

           Given, among other things, the uncertainty surrounding the collection, ownership,
           and valuation of certain assets and the amount and nature of certain liabilities, a
           Debtor may report more assets than liabilities. Such report shall not constitute an
           admission that such Debtor was solvent on the Petition Date or at any time prior to
           or after the Petition Date. Likewise, a Debtor reporting more liabilities than assets
           shall not constitute an admission that such Debtor was insolvent on the Petition
           Date or at any time prior to or after the Petition Date. For the avoidance of doubt,


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                 nothing contained in the Schedules and Statements is indicative of the Debtors’
                 enterprise value. The Schedules and Statements contain unaudited information
                 that is subject to further review and potential adjustment.

        b.       Reporting Date. Unless otherwise noted, the liability information presented
                 herein represents the liability data of the Debtors as of the Petition Date, adjusted
                 for authorized payments under the First Day Orders (as defined herein). The asset
                 information provided herein represents the asset information as of November 23,
                 2024, unless otherwise noted.

        c.       Confidentiality or Sensitive Information. The Debtors may be authorized or
                 required to redact certain information from the public record pursuant to orders of
                 the Court authorizing the Debtors to redact, seal, or otherwise protect such
                 information from public disclosure.3

        d.       Consolidated Entity Accounts Payable and Disbursement Systems.
                 Receivables and payables among the Debtors and among the Debtors and their
                 non-Debtor affiliates are reported on Statement 4, Schedule A/B, and
                 Schedule E/F, respectively, per the Debtors’ unaudited books and records. As
                 described more fully in the Debtors’ Emergency Motion for Entry Of Interim And
                 Final Orders (I) Authorizing Debtors to (A) Continue to Operate Their Cash
                 Management System, (B) Honor Certain Prepetition Obligations Related Thereto,
                 (C) Maintain Existing Business Forms, and (D) Continue Certain Intercompany
                 Transactions, and (II) Granting Related Relief [Docket No. 24] (the “Cash
                 Management Motion”), the Debtors utilize an integrated, centralized cash
                 management system in the ordinary course of business to collect, concentrate, and
                 disburse funds generated by their operations (the “Cash Management System”).
                 The Debtors maintain a consolidated accounts payable and disbursements system
                 to pay operating and administrative expenses through various disbursement
                 accounts. The Cash Management System is supported by 34 bank accounts, 20 of
                 which are owned and controlled by the Debtors and 14 of which are owned by
                 non-Debtor affiliates.

                 The listing of any amounts with respect to such receivables and payables is not,
                 and should not be construed as, an admission or conclusion of the Debtors
                 regarding the allowance, classification, validity, or priority of such account or
                 characterization of such balances as debt, equity, or otherwise. For the avoidance
                 of doubt, the Debtors reserve all rights, claims, and defenses in connection with
                 any and all intercompany receivables and payables, including, but not limited to,
                 with respect to the characterization of intercompany claims, loans, and notes.

                 Prior to the Petition Date, the Debtors and certain non-Debtor affiliates engaged
                 in intercompany transactions (the “Intercompany Transactions”) in the ordinary

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    Such as the Order (I) Authorizing Debtors to File a Consolidated (A) Creditor Matrix and (B) Top 30 Creditors
    List, (II) Authorizing Redaction of Certain Personal Identification Information, (III) Approving Form and Manner
    of Notifying Creditors of Commencement of Chapter 11 Cases and (IV) Granting Related Relief [Docket No.92].



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      course of business, which resulted in intercompany receivables and payables
      (the “Intercompany Claims”). The Debtors maintain records of the Intercompany
      Claims and can account for all Intercompany Transactions. Pursuant to the Final
      Order (I) Authorizing Debtors to (A) Continue to Operate Their Cash
      Management System, (B) Honor Certain Prepetition Obligations Related Thereto,
      (C) Maintain Existing Business Forms, and (D) Perform Certain Intercompany
      Transactions, and (II) Granting Related Relief [Docket No. 198] (the “Cash
      Management Order”), the Court has granted the Debtors authority to continue to
      engage in Intercompany Transactions in the ordinary course of business subject to
      certain limitations set forth therein. Thus, intercompany balances as of the Petition
      Date, as set forth in Schedule A/B and Schedule E/F may not accurately reflect
      current positions.

      In addition, certain of the Debtors act on behalf of other Debtors. Reasonable
      efforts have been made to indicate the ultimate beneficiary of a payment or
      obligation. Whether a particular payment or obligation was incurred by the entity
      actually making the payment or incurring the obligation is a complex question of
      applicable non-bankruptcy law, and nothing herein constitutes an admission that
      any Debtor entity is an obligor with respect to any such payment. The Debtors
      reserve all rights to reclassify any payment or obligation as attributable to another
      entity and all rights with respect to the proper accounting and treatment of such
      payments and liabilities.

e.    Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
      may properly be disclosed in response to multiple parts of the Statements and
      Schedules. To the extent these disclosures would be duplicative, the Debtors have
      determined to only list such assets, liabilities, and prepetition payments once.

f.    Net Book Value of Assets. In many instances, current market valuations are not
      maintained by or readily available to the Debtors. It would be prohibitively
      expensive, unduly burdensome, and an inefficient use of estate resources for the
      Debtors to obtain current market valuations for all assets. As such, unless
      otherwise indicated, net book values as of the Petition Date are presented for all
      assets. When necessary, the Debtors have indicated that the value of certain assets
      is “Unknown” or “Undetermined.” Amounts ultimately realized may vary
      materially from net book value (or other value so ascribed). Accordingly, the
      Debtors reserve all rights to amend, supplement, and adjust the asset values set
      forth in the Schedules and Statements. Assets that have been fully depreciated or
      that were expensed for accounting purposes either do not appear in these
      Schedules and Statements or are listed with a zero-dollar value, as such assets have
      no net book value. The omission of an asset from the Schedules and Statements
      does not constitute a representation regarding the ownership of such asset, and any
      such omission does not constitute a waiver of any rights of the Debtors with
      respect to such asset. Nothing in the Debtors’ Schedules and Statements shall be,
      or shall be deemed to be, an admission that any Debtor was solvent or insolvent
      as of the Petition Date or any time prior to the Petition Date.



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g.    Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
      unless otherwise indicated.

h.    Payment of Prepetition Claims Pursuant to First Day Orders. Following the
      Petition Date, the Court entered various orders authorizing the Debtors to, among
      other things, pay certain prepetition: (i) service fees and charges assessed by the
      Debtors’ banks; (ii) insurance obligations; (iii) employee wages, salaries, and
      related items (including, but not limited to, employee benefit programs and
      supplemental workforce obligations); (iv) taxes and assessments; (v) customer
      program obligations; and (vi) critical vendor obligations (collectively, the “First
      Day Orders”). As such, outstanding liabilities may have been reduced by any
      Court-approved postpetition payments made on prepetition payables. Where and
      to the extent these liabilities have been satisfied, they are not listed in the
      Schedules and Statements, unless otherwise indicated. The Debtors reserve the
      right to update the Schedules and Statements to reflect payments made pursuant to
      an order of the Court (including the First Day Orders).

i.    Other Paid Claims. To the extent the Debtors have reached any postpetition
      settlement with a vendor or other creditor, the terms of such settlement will prevail,
      supersede amounts listed in the Schedules and Statements, and shall be enforceable
      by all parties, subject to any necessary Court approval. To the extent the Debtors
      pay any of the claims listed in the Schedules and Statements pursuant to any orders
      entered by the Court, the Debtors reserve all rights to amend and supplement the
      Schedules and Statements and take other action, such as filing claims objections,
      as is necessary and appropriate to avoid overpayment or duplicate payment for
      such liabilities.

j.    Setoffs. The Debtors routinely incur setoffs in the ordinary course of business
      that arise from various items including, but not limited to, returns of and damages
      to customer products, and other matters. In accordance with Debtors’ agreements
      with their vendors and other contract counterparties, these amounts are set off on
      a reoccurring basis against future revenues in a normal course reconciliation
      process with these partners. Certain of these ordinary course setoffs are not
      independently accounted for, and, as such, may be excluded from the Schedules
      and Statements. Any setoff of a prepetition debt to be applied against the Debtors
      is subject to the automatic stay and must comply with section 553 of the
      Bankruptcy Code. The Debtors reserve all rights to challenge any setoff and/or
      recoupment rights that may be asserted.

k.    Accounts Receivable. The accounts receivable information listed on the
      Schedules includes receivables from the Debtors’ customers and may be
      calculated net of any amounts that, as of the Petition Date, may be owed to such
      customers in the form of offsets or other price adjustments pursuant to the
      Debtors’ customer program policies and day-to-day operating policies and any
      applicable Court order.

l.    Inventory. The Debtors’ inventory is presented net of reserves.


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 m.    Property and Equipment. Unless otherwise indicated, owned property and
       equipment are stated at net book value.

       The Debtors may lease furniture, fixtures, and equipment from certain third-party
       lessors. Any such leases are set forth in the Schedules and Statements. Nothing
       in the Statements or Schedules is or shall be construed as an admission or
       determination as to the legal status of any lease (including whether any lease is a
       true lease or a financing arrangement), and the Debtors reserve all rights with
       respect to any of such issues, including, but not limited to, the
       recharacterization thereof.

 n.    Leases. In the ordinary course of their business, the Debtors may lease property
       from certain third-party lessors for use in the daily operation of their business.
       Any such leases are set forth in Schedule G and any amount due under such leases
       that was outstanding as of the Petition Date is listed on Schedule E/F. The
       property subject to any of such leases is not reflected in Schedule A/B as either
       owned property or assets of the Debtors nor is such property reflected in the
       Debtors’ Statements as property or assets of third parties within the control of the
       Debtors. Nothing in the Statements or Schedules is or shall be construed as an
       admission or determination as to the legal status of any lease (including whether
       any lease is a true lease or a financing arrangement), and the Debtors reserve all
       rights with respect to any of such issues, including, but not limited to, the
       recharacterization thereof.

 o.    Liens. The inventories, property, and equipment listed in the Statements and
       Schedules are presented without consideration of any asserted mechanics’,
       materialmen, or similar liens that may attach (or have attached) to such
       inventories, property, and equipment, and the Debtors reserve all of their rights
       with respect to such liens (if any). UCC liens as of the Petition Date, if any, are
       listed on Schedule D.

 p.    Excluded Assets and Liabilities. Certain liabilities resulting from accruals,
       liabilities recognized in accordance with GAAP, and/or estimates of long-term
       liabilities either are not payable at this time or have not yet been reported.
       Therefore, they do not represent specific claims as of the Petition Date and are not
       otherwise set forth in the Schedules. Additionally, certain deferred assets, charges,
       accounts or reserves recorded for GAAP reporting purposes only, and certain assets
       with a net book value of zero are not included in the Schedules. Excluded categories
       of assets and liabilities may include, but are not limited to, deferred tax assets and
       liabilities, deferred income, deferred charges, and right to use assets. In addition,
       and as set forth above, the Debtors may have excluded amounts for which the
       Debtors have paid or have been granted authority to pay pursuant to the First Day
       Orders or other order that may be entered by the Court. Other immaterial assets
       and liabilities may have been excluded.

 q.    Undetermined Amounts. The description of an amount as “unknown” or
       “undetermined” is not intended to reflect upon the materiality of such amount.


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 r.    Totals. All totals that are included in the Schedules and Statements represent totals
       of all the known amounts included in the Schedules and Statements and exclude
       items identified as “unknown” or “undetermined.” If there are unknown or
       undetermined amounts, the actual totals may be materially different from the listed
       totals. The description of an amount as “unknown” or “undetermined” is not
       intended to reflect upon the materiality of such amount. To the extent a Debtor is
       a guarantor of debt held by another Debtor, the amounts reflected in these
       Schedules are inclusive of each Debtor’s guarantor obligations.

 s.    Credits and Adjustments. The claims of individual creditors for, among other
       things, goods, products, services, or taxes are listed as the amounts entered on the
       Debtors’ books and records and may either (i) not reflect credits, allowances, or
       other adjustments due from such creditors to the Debtors or (ii) be net of accrued
       credits, allowances, rebates, trade debits, or other adjustments that are actually
       owed by a creditor to the Debtors on a postpetition basis on account of such
       credits, allowances, or other adjustments earned from prepetition payments and
       postpetition payments, if applicable. The Debtors reserve all of their rights with
       regard to such credits, allowances, and other adjustments, including but not
       limited to, the right to assert claims objections and/or setoffs with respect to the
       same.

 t.    Guarantees and Other Secondary Liability Claims. The Debtors exercised
       their reasonable efforts to locate and identify guarantees and other secondary
       liability claims (the “Guarantees”) in their secured financings, debt instruments,
       and other agreements. However, a review of these agreements, specifically the
       Debtors’ unexpired leases and executory contracts, is ongoing. Where such
       Guarantees have been identified, they have been included in the relevant Schedule
       H for the affected Debtor or Debtors. The Debtors have reflected the obligations
       under the Guarantees for both the primary obligor and the guarantors with respect
       to their secured financings and debt instruments on Schedule H. Guarantees
       embedded in the Debtors’ executory contracts, unexpired leases, secured
       financings, debt instruments, and other agreements inadvertently may have been
       omitted. The Debtors may identify additional Guarantees as they continue their
       review of their books and records and contractual agreements. The Debtors
       reserve their rights, but are not required, to amend the Schedules and Statements
       if additional Guarantees are identified.

 u.    Executory Contracts. Although the Debtors made diligent efforts to attribute an
       executory contract to its rightful Debtor, in certain instances, the Debtors may
       have inadvertently failed to do so. Accordingly, the Debtors reserve all of their
       rights with respect to the named parties of any and all executory contracts,
       including the right to amend Schedule G.

 v.    Allocation of Liabilities. The Debtors, in consultation with their advisors, have
       sought to allocate liabilities between the prepetition and postpetition periods based
       on the information and research that was conducted in connection with the
       preparation of the Schedules and Statements. As additional information becomes


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               available and further research is conducted, the allocation of liabilities between
               prepetition and postpetition periods may change. The Debtors reserve the right to
               amend and/or supplement the Schedules and Statements as they deem appropriate
               in this regard.

       w.      Unliquidated Claim Amounts. Claim amounts that could not be readily
               quantified by the Debtors are scheduled as “unliquidated.”

       x.      Umbrella or Master Agreements. Contracts and leases listed in the Schedules
               and Statements may be umbrella or master agreements that cover relationships
               with some or all of the Debtors. Where relevant, such agreements have been listed
               in the Schedules and Statements only for the Debtor entity that signed the original
               umbrella or master agreement. Other Debtors, however, may be liable together
               with such Debtor on account of such agreements and the Debtors reserve all rights
               to amend the Schedules to reflect changes regarding the liability of the Debtors
               with respect to such agreements, if appropriate. The master service agreements or
               other ancillary documents have been listed in Schedule G, but do not reflect any
               decision by the Debtor as to whether or not such agreements are executory in
               nature.

                                  Specific Schedule Disclosures

        Schedules A/B, D, E/F, G, and H may contain explanatory or qualifying notes that pertain
to the information provided in the Schedules. Those Schedule-specific notes are incorporated
herein by reference. Unless otherwise noted, the asset totals listed on the Schedules are derived
from amounts included in the Debtors’ books and records as of the Petition Date. To the extent
there are unknown or undetermined amounts, the actual total may be different from the total listed.

1. Schedule A/B

       a.      Part 1. HFS’s Cash Management System is composed of 34 bank accounts, (each,
               a “Bank Account” and, collectively, the “Bank Accounts”). Of those Bank
               Accounts, 20 are owned and controlled by the Debtors (the “Debtor Bank
               Accounts”), 14 are owned and controlled by non-Debtor affiliates (“Non-Debtor
               Bank Accounts”). Further details with respect to the Cash Management System
               are provided in the Cash Management Motion.

       b.      Part 2. The Debtors maintain certain deposits in the ordinary course of their
               business operations. These deposits are included in the Schedules for the
               appropriate legal entity. Types of deposits include, among other things, security
               deposits, and utility deposits. Certain prepaid or amortized assets are not listed in
               Part 2 in accordance with the Debtors’ accounting policies. The amounts listed in
               Part 2 do not necessarily reflect values that the Debtors will be able to collect or
               realize.

       c.      Part 3. The Debtors’ accounts receivable information includes receivables from
               the Debtors’ customers or third parties which may be calculated net of any amounts
               that, as of the Petition Date, may be owed to such parties in the form of offsets or


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       other price adjustments pursuant to the Debtors’ customer programs and day-to-
       day operations or may, in the Debtors’ opinion, be difficult to collect from such
       parties due to the passage of time or other circumstances. The accounts receivable
       balances in this section exclude intercompany receivables.

 d.    Part 4. Part 4 identifies only subsidiaries owned directly by the Debtor entity.
       Subsidiaries owned indirectly by the Debtor entity are not listed. Ownership
       interests in subsidiaries, partnerships, and joint interests have been listed in
       Schedule A/B, Question 15 as undetermined amounts on account of the fact that
       the fair market value of such ownership is dependent on numerous variables and
       factors and may differ significantly from their net book value.

 e.    Parts 7 and 8. Actual realizable values of the assets identified may vary
       significantly relative to net book values as of the Petition Date.

 f.    Part 9. Property leased by the Debtors is listed in Schedule G and is not listed in
       Part 9 of Schedule A/B, with the exception of any leasehold improvements or
       security deposits for such property, which is listed on Schedule A/B. Actual
       realizable values of the assets identified may vary significantly relative to net book
       values as of the Petition Date. Due to the volume of leasehold improvements across
       various locations, it is not practicable nor feasible for the Debtors to list each
       individually. As detailed in the Declaration of Robert M. Caruso, Chief
       Restructuring Officer of The Debtors, in Support of the Debtors’ Chapter 11
       Petitions and First Day Motions [Docket No. 30] (the “First Day Declaration”),
       the Debtors undertook a series of sale leaseback transactions prior to the Petition
       Date that have been accounted for as financing transactions with the purchaser of
       the leased properties in accordance with GAAP, and therefore the net book value of
       the Debtors’ buildings and land included in Part 9 of Schedule A/B includes the net
       book value of these transferred buildings and land properties as they are still
       included as assets in the Debtors’ books and records in order to comply with GAAP.

 g.    Part 10. Part 10 identifies the various trademarks, patents and website domains
       owned and maintained by the Debtors. The Schedules may not list the value of
       such intangible assets as no recent appraisals have been performed. Various
       software licenses the Debtors use for its operations which are easily obtainable
       and hold minimal value are not included.

       Part 11. The Debtors attempted to list known causes of action and other
       claims. Potential preference actions and/or fraudulent transfer actions were not
       listed because the Debtors have not completed an analysis of such potential
       claims. The Debtors’ failure to list any cause of action, claim, or right of any
       nature is not an admission that such cause of action, claim, or right does not exist,
       and should not be construed as a waiver of such cause of action, claim, or right.




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2. Schedule D

      a.    The claims listed on Schedule D, as well as the guarantees of those claims listed
            on Schedule H, arose and were incurred on various dates. To the best of the
            Debtors’ knowledge, all claims listed on Schedule D arose or were incurred before
            the Petition Date.

      b.    Except as otherwise agreed or stated pursuant to a stipulation, agreed order, or
            general order entered by the Court that is or becomes final, the Debtors and/or their
            estates reserve their right to dispute and challenge the validity, perfection, or
            immunity from avoidance of any lien purported to be granted or perfected in any
            specific asset to a creditor listed on Schedule D of any Debtor and, subject to the
            foregoing limitations, note as follows: (a) although the Debtors may have
            scheduled claims of various creditors as secured claims for informational
            purposes, no current valuation of the Debtors’ assets in which such creditors may
            have a lien has been undertaken, and (b) the descriptions provided on Schedule D
            and herein are intended to be a summary. Reference to the applicable loan
            agreements and related documents is necessary for a complete description of the
            collateral and the nature, extent, and priority of any liens. Detailed descriptions
            of the Debtors’ prepetition debt structure, guarantees, and descriptions of collateral
            relating to each debt, if any, contained on Schedule D are contained in the First
            Day Declaration.

      c.    Except as specifically stated herein, real property lessors, equipment lessors,
            utility companies, and other parties which may hold security deposits or other
            security interests have not been listed on Schedule D.

      d.    The Debtors have not listed on Schedule D any parties whose claims may be
            secured through rights of setoff, deposits, or advance payments posted by, or on
            behalf of, the Debtors, or judgment or statutory lien rights. The Debtors have not
            investigated which of the claims may include such rights, and their population is
            currently unknown.

3. Schedule E/F

      a.    Part 1. The claims listed on Part 1 arose and were incurred on various dates. A
            determination of the date upon which each claim arose or was incurred would be
            unduly burdensome and cost prohibitive. Accordingly, no such dates are included
            for each claim listed on Part 1.

            The Debtors have not listed any wage or wage-related obligations that the Debtors
            have paid pursuant to the First Day Orders on Part 1. The Debtors believe that all
            such claims for wages, salaries, expenses, benefits and other compensation as
            described in the First Day Orders have been or will be satisfied in the ordinary
            course during these chapter 11 cases pursuant to the authority granted to the
            Debtors in the relevant First Day Orders. The Debtors reserve their right to dispute




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       or challenge whether creditors listed on Part 1 are entitled to priority claims under
       the Bankruptcy Code.

       The Debtors also have not listed any tax-related obligations that the Debtors have
       paid pursuant to the First Day Orders on Part 1. The Debtors believe that all such
       claims for taxes as described in the First Day Orders have been or will be satisfied
       in the ordinary course during these chapter 11 cases pursuant to the authority
       granted to the Debtors in the relevant First Day Orders. The Debtors reserve their
       right to dispute or challenge whether creditors listed on Part 1 are entitled to
       priority claims under the Bankruptcy Code.

 b.    Part 2. The Debtors have exercised their reasonable efforts to list all liabilities on
       Part 2 of each applicable Debtor’s Schedule. As a result of the Debtors’
       consolidated operations, however, Part 2 for each Debtor should be reviewed in
       these cases for a complete understanding of the unsecured claims against the
       Debtors. Certain creditors listed on Part 2 may owe amounts to the Debtors, and,
       as such, the Debtors may have valid setoff and recoupment rights with respect to
       such amounts. The amounts listed on Part 2 may not reflect any such right of setoff
       or recoupment, and the Debtors reserve all rights to assert the same and to dispute
       and challenge any setoff and/or recoupment rights that may be asserted against the
       Debtors by a creditor. Additionally, certain creditors may assert mechanics’ or
       other similar liens against the Debtors for amounts listed on Part 2. The Debtors
       reserve their right to dispute and challenge the validity, perfection, and immunity
       from avoidance of any lien purported to be perfected by a creditor listed on Part 2
       of any Debtor. In addition, certain claims listed on Part 2 may potentially be
       entitled to priority under section 503(b)(9) of the Bankruptcy Code.

       The Debtors have made reasonable efforts to include all unsecured creditors on
       Part 2. The Debtors, however, believe the possibility exists that there are instances
       where creditors have yet to provide proper invoices for prepetition goods or
       services. While the Debtors maintain general accruals to account for these
       liabilities in accordance with GAAP, these amounts are estimates and have not
       been included on Part 2.

       To the best of the Debtors’ knowledge, all claims listed on Part 2 arose or were
       incurred before the Petition Date.

       Unless otherwise noted, the claims listed on Part 2 are based on the Debtors’ books
       and records as of the Petition Date. The Debtors have excluded workers’
       compensation claims from the Statements because the Debtors are fully insured for
       and continue to honor their workers’ compensation obligations in the ordinary
       course in accordance with the Order (I) Authorizing Debtors to (A) Pay
       Prepetition Wages, Employee Benefits Obligations, and Other Compensation, and
       (B) Continue Employee Benefits Programs and Pay Related Administrative
       Obligations; and (II) Granting Related Relief [Docket No. 84] (the “Wages
       Order”).



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            Part 2 does not include certain balances including deferred liabilities, accruals, or
            reserves. Such amounts are, however, reflected on the Debtors’ books and records
            as required in accordance with GAAP. Such accruals primarily represent
            estimates of liabilities and do not represent specific claims as of the Petition Date.

            Part 2 may not include reserves for liabilities that may have arisen under litigation
            in which a Debtor is a defendant unless there is a final judgment or a settlement
            agreement.

            The claims of individual creditors may not reflect credits and/or allowances due
            from creditors to the applicable Debtor. The Debtors reserve all of their rights with
            respect to any such credits and/or allowances, including the right to assert
            objections and/or setoffs or recoupments with respect to same.

            The Court has authorized the Debtors to pay, in their discretion, certain non-priority
            unsecured claims pursuant to the First Day Orders. To the extent practicable, each
            Debtor’s Schedule E/F is intended to reflect the balance as of the Petition Date,
            adjusted for postpetition payments made under some or all of the First Day Orders.
            Each Debtor’s Schedule E/F will reflect some of that Debtor’s payment of certain
            claims pursuant to the First Day Orders, and, to the extent an unsecured claim has
            been paid or may be paid, it is possible such claim is not included on Schedule
            E/F. Certain Debtors may pay additional claims listed on Schedule E/F during
            these chapter 11 cases pursuant to the First Day Orders and other orders of the
            Court and the Debtors reserve all of their rights to update Schedule E/F to reflect
            such payments or to modify the claims register to account for the satisfaction of
            such claims. Additionally, Schedule E/F does not include potential rejection
            damage claims, if any, of the counterparties to executory contracts and unexpired
            leases that may be rejected.

4. Schedule G

      a.    Although reasonable efforts have been made to ensure the accuracy of Schedule G
            regarding executory contracts and unexpired leases (collectively,
            the “Agreements”) as of the filing of the Statements and Schedules, the Debtors’
            collection and review process of the Agreements is ongoing and inadvertent
            errors, omissions, or over or under-inclusion may have occurred. The Debtors
            may have entered into various other types of Agreements in the ordinary course of
            their businesses, such as indemnity agreements, supplemental agreements,
            amendments/letter agreements, master service agreements and confidentiality
            agreements which may not be set forth in Schedule G. Omission of a contract or
            agreement from Schedule G does not constitute an admission that such omitted
            contract or agreement is not an executory contract or unexpired lease. Schedule
            G may be amended at any time to add any omitted Agreements. Likewise, the
            listing of an Agreement on Schedule G does not constitute an admission that such
            Agreement is an executory contract or unexpired lease or that such Agreement was
            in effect on the Petition Date or is valid or enforceable. The Agreements listed on
            Schedule G may have expired or may have been modified, amended, or


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               supplemented from time to time by various amendments, restatements, waivers,
               estoppel certificates, letters and other documents, instruments, and agreements
               which may not be listed on Schedule G.

5. Schedule H

       a.      The Debtors are party to various debt agreements which were executed by multiple
               Debtors. The guaranty obligations under prepetition secured credit agreements
               are noted on Schedule H for each individual Debtor. In the ordinary course of
               their businesses, the Debtors are involved in pending or threatened litigation and
               claims arising out of the conduct of their businesses. Some of these matters may
               involve multiple plaintiffs and defendants, some or all of whom may assert
               cross-claims and counter-claims against other parties. To the extent such claims
               are listed elsewhere in the Schedules of each applicable Debtor, they have not been
               set forth individually on Schedule H. In the event that two or more Debtors are
               co-obligors with respect to a scheduled debt or guaranty, such debt or guaranty is
               listed in the Schedules and Statements of each such Debtor at the full amount of
               such potential claim. No claim set forth on the Schedules and Statements of any
               Debtor is intended to acknowledge claims of creditors that are otherwise satisfied
               or discharged by other Debtors or non-Debtors. To the extent these Global Notes
               include notes specific to Schedules D-G, such Global Notes also apply to the
               co-Debtors listed in Schedule H. The Debtors reserve all of their rights to amend
               the Schedules to the extent that additional guarantees are identified or such
               guarantees are discovered to have expired or be unenforceable.

         Specific Notes with Respect to the Debtors’ Statements of Financial Affairs

1. Statement 3. As described in the Cash Management Motion, the Debtors utilize their
      integrated, centralized cash management system in the ordinary course of business to
      collect, concentrate, and disburse funds generated by their operations.

       a.      The payments disclosed in Statement 3 are based on payments made by the
               Debtors within the 90 days before the Petition Date. Amounts still owed to
               creditors will appear on the Schedules for each Debtor, as applicable.

       b.      The response to Statement 3 excludes regular salary payments and disbursements
               or transfers for this period, which are listed, to the extent required, on Statement 4.

       c.      The response to Statement 3 excludes payments for services of any entities that
               provided consultation concerning debt counseling or restructuring services, relief
               under the Bankruptcy Code, or preparation of a petition in bankruptcy for this
               period, which are listed on Statement 11.

2. Statement 7. While the Debtors believe they were diligent in their efforts to list the legal
   actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state
   agencies in which the Debtors were involved in any capacity within one year before the
   Petition Date, it is possible that certain suits and proceedings may have been inadvertently



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   excluded in the Debtors’ response to Statement 7. The Debtors reserve all of their rights to
   amend or supplement their response to Statement 7.

3. Statement 11. All payments for services of any entities that provided consultation
   concerning debt counseling or restructuring services, relief under the Bankruptcy Code, or
   preparation of a petition in bankruptcy within one year immediately preceding the Petition
   Date are listed on the applicable Debtor’s response to Statement 11. Due to the nature of certain
   of the Debtors’ professionals’ work, distinguishing payments related to the Debtors’ bankruptcy
   proceedings from payments for services unrelated to the Debtors’ bankruptcy proceedings can be
   difficult. The Debtors have therefore included some payments related to non-bankruptcy-related
   services on Statement 11 out of an abundance of caution. Additional information regarding the
   Debtors’ retention of professional service firms is more fully described in individual retention
   applications and related orders.

   In addition, the Debtors have listed payments made to professionals retained by the Debtors
   but not payments made to advisors of their lenders or other parties.

4. Statement 25. The Debtors have used their reasonable efforts to identify the beginning and
   ending dates of all businesses in which the Debtors were a partner or owner within the six
   years immediately preceding the Petition Date.

5. Statement 26. The Debtors provide certain parties such as banks, auditors, potential
   investors, vendors and financial advisors with financial statements that may not be part of a
   public filing. The Debtors do not maintain detailed records tracking such disclosures.

6. Statement 30. Refer to the Methodology section regarding all payments to insiders.




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 Fill in this information to identify the case:

 Debtor name           Hearthside Food Solutions, LLC

 United States Bankruptcy Court for the:               Southern District of Texas, Houston Division


 Case number (If known):                24-90587
                                                                                                                                                                                          ¨ Check if this is an
                                                                                                                                                                                              amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15


Part 1: Summary of Assets


 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
           Copy line 88 from Schedule A/B ................................................................................................................................
                                                                                                                                                                                         $     124,239,029.80*


     1b. Total personal property:
                                                                                                                                                                                         $     690,328,143.19*
           Copy line 91A from Schedule A/B ..............................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                         $     814,567,172.99*
           Copy line 92 from Schedule A/B ................................................................................................................................




Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                         $       Undetermined
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..........................................


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                         $          290,012.84
           Copy the total claims from Part 1 from line 5a of Schedule E/F .................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        + $    638,706,227.61*
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .......................................................




 4. Total liabilities ...............................................................................................................................................................
                                                                                                                                                                                         $     638,996,240.45*
      Lines 2 + 3a + 3b




 *Plus Undetermined Amounts

   Official Form 206Sum                                           Summary of Assets and Liabilities for Non-Individuals                                                                           page 1
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   Fill in this information to identify the case:

    Debtor name Hearthside Food Solutions, LLC


    United States Bankruptcy Court for the: Southern District of Texas, Houston Division
                                                                                                                                           ¨ Check if this is an
    Case number (If known) 24-90587                                                                                                            amended filing



 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                         12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
 which the debtor holds rights and powers exercisable for the debtor 's own benefit. Also include assets and properties which have no book value, such as fully
 depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
 Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
 name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
 include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
 the value of secured claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and cash equivalents

 1. Does the debtor have any cash or cash equivalents?

    ¨      No. Go to Part 2.
    þ      Yes. Fill in the information below.

                                                                                                                                     Current value of debtor's
     All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                     interest

 2. Cash on hand                                                                                                                     $                      0.00

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                       Type of account         Last 4 digits of account number

    3.1 See Attached Rider                                                                                                           $          209,728,541.36

    3.2                                                                                                                              $


 4. Other cash equivalents (Identify all)

    4.1 None                                                                                                                         $                      0.00

    4.2                                                                                                                              $


 5. Total of Part 1
                                                                                                                                     $          209,728,541.36
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

    ¨ No.Go to Part 3.
                                                                                                                                     Current value of debtor's
    þ Yes. Fill in the information below.                                                                                            interest
 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1 See Attached Rider                                                                                                           $               452,207.99
    7.2                                                                                                                              $



Official Form 206A/B                                      Schedule A/B: Assets - Real and Personal Property                                        Page 1
Debtor                     Case 24-90586 Document 229 Filed in TXSB on 12/23/24
            Hearthside Food Solutions, LLC                                         Page
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            Name



 8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

     8.1 See Attached Rider                                                                                                             $          48,495,269.68

     8.2                                                                                                                                $

 9. Total of Part 2.
                                                                                                                                        $          48,947,477.67
     Add lines 7 through 8. Copy the total to line 81.


 Part 3: Accounts receivable

 10. Does the debtor have any accounts receivable?

     ¨       No. Go to Part 4.
     þ       Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
 11. Accounts receivable

         11a. 90 days old or less:           132,456,032.22                       2,288,919.03                    =   ......            $        130,135,156.58
                                       face amount                       doubtful or uncollectible accounts

         11b. Over 90 days old:                2,213,934.93                            0.00                       =   ......            $           2,213,934.93
                                       face amount                       doubtful or uncollectible accounts

  12. Total of Part 3
                                                                                                                                        $        132,349,091.51
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


 Part 4:       Investments

  13. Does the debtor own any investments?

     ¨       No. Go to Part 5.
     þ       Yes. Fill in the information below.                                                              Valuation method         Current value of debtor's
                                                                                                              used for current value   interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:
     14.1 None                                                                                                                          $                    0.00

     14.2                                                                                                                               $


 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
         Name of entity:                                                            % of ownership:
     15.1 See Attached Rider                                                                          %                                 $          Undetermined

     15.2                                                                                             %                                 $



 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1

         Describe:
     16.1 None                                                                                                                          $                    0.00

     16.2                                                                                                                               $



 17. Total of Part 4                                                                                                                    $          Undetermined
         Add lines 14 through 16. Copy the total to line 83.


*Plus Undetermined Amounts

Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                          Page 2
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           Hearthside Food Solutions, LLC                                        Page
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                                                                                                 24-90587
           Name



 Part 5:       Inventory, excluding agriculture assets

 18. Does the debtor own any inventory (excluding agriculture assets)?

     ¨       No. Go to Part 6.
     þ       Yes. Fill in the information below.
         General Description                              Date of the last          Net book value of   Valuation method          Current value of
                                                          physical inventory        debtor's interest   used for current          debtor's interest
                                                                                    (Where available)   value

     19. Raw materials
     RAW MATERIALS - INVENTORY                           VARIOUS                $       38,744,760.58   NET BOOK VALUE            $          38,744,760.58
                                                               MM / DD / YYYY
     20. Work in progress
     WORK IN PROGRESS                                    VARIOUS                $        9,476,386.26   NET BOOK VALUE            $           9,476,386.26
                                                               MM / DD / YYYY
     21. Finished goods, including goods held for resale
     FINISHED GOODS                                      VARIOUS                $       18,379,475.81   NET BOOK VALUE            $          18,379,475.81
                                                               MM / DD / YYYY
     22. Other inventory or supplies

     See Attached Rider                                                         $       14,949,110.49                             $          14,949,110.49
                                                               MM / DD / YYYY

  23. Total of Part 5.
                                                                                                                                  $          81,549,733.14
         Add lines 19 through 22. Copy the total to line 84.

  24. Is any of the property listed in Part 5 perishable?
     ¨       No
     þ       Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed ?

     ¨       No
     þ       Yes. Book value $       Undetermined Valuation method                              Current value $   Undetermined

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year ?

     ¨       No
     þ       Yes

 Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     þ       No. Go to Part 7.
     ¨       Yes. Fill in the information below.

         General Description                                                        Net book value of   Valuation method         Current value of debtor's
                                                                                    debtor's interest   used for current         interest
                                                                                    (Where available)   value

  28. Crops-either planted or harvested
                                                                                $                                                 $

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                                $                                                 $

  30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                                $                                                 $

  31. Farm and fishing supplies, chemicals, and feed
                                                                                $                                                 $

  32. Other farming and fishing-related property not already listed in Part 6
                                                                                $                                                 $



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                                     Page 3
Debtor                   Case 24-90586 Document 229 Filed in TXSB on 12/23/24
           Hearthside Food Solutions, LLC                                        Page
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                                                                                                 24-90587
           Name


 33. Total of Part 6.
                                                                                                                          $                    0.00
         Add lines 28 through 32. Copy the total to line 85.

 34. Is the debtor a member of an agricultural cooperative?

    ¨        No
    ¨        Yes. Is any of the debtor’s property stored at the cooperative?

           ¨       No
           ¨       Yes

 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ¨        No
    ¨        Yes. Book value $                       Valuation method                        Current value $

 36. Is a depreciation schedule available for any of the property listed in Part 6?

    ¨        No
    ¨        Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year ?

    ¨        No
    ¨        Yes

 Part 7:       Office furniture, fixtures, and equipment; and collectibles

 38 Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    ¨        No. Go to Part 8.
    þ        Yes. Fill in the information below.

         General Description                                                    Net book value of     Valuation method   Current value of debtor's
                                                                                debtor's interest     used for current   interest
                                                                                (Where available)     value

 39. Office furniture
    None                                                                        $                                         $                    0.00

 40. Office fixtures
    None                                                                        $                                         $                    0.00

 41. Office equipment, including all computer equipment and
     communication systems equipment and software
    See Attached Rider                                                          $      4,390,825.91                       $           4,390,825.91

 42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
     artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
     or baseball card collections; other collections, memorabilia, or collectibles
    42.1 None                                                                   $                                         $                    0.00
    42.2                                                                        $                                         $
    42.3                                                                        $                                         $

 43. Total of Part 7.
                                                                                                                          $           4,390,825.91
         Add lines 39 through 42. Copy the total to line 86.

 44. Is a depreciation schedule available for any of the property listed in Part 7?

    ¨        No
    þ        Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year ?

    ¨        No
    þ        Yes



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                             Page 4
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Debtor      Hearthside Food Solutions, LLC                                                                   Case number (If known) 24-90587
            Name



 Part 8:       Machinery, equipment, and vehicles

 46. Does the debtor own or lease any machinery, equipment, or vehicles?

     ¨       No. Go to Part 9.
     þ        Yes. Fill in the information below.
         General Description                                                       Net book value of   Valuation method             Current value of debtor's
         Include year, make, model, and identification numbers ( i.e., VIN,        debtor's interest   used for current             interest
         HIN, or N-number)                                                         (Where available)   value


 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1 VEHICLES                                                             $          124,056.89   NET BOOK VALUE                $            124,056.89
     47.2                                                                      $                                                     $
     47.3                                                                      $                                                     $
     47.4                                                                      $                                                     $


 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
     trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1 None                                                                 $                                                     $                    0.00
     48.2                                                                      $                                                     $


  49. Aircraft and accessories
     49.1 None                                                                 $                                                     $                    0.00
     49.2                                                                      $                                                     $


  50. Other machinery, fixtures, and equipment (excluding farm
      machinery and equipment)

     MACHINERY & EQUIPMENT                                                     $      175,347,782.64   NET BOOK VALUE                $         175,347,782.64



  51. Total of Part 8.
                                                                                                                                     $         175,471,839.53
         Add lines 47 through 50. Copy the total to line 87.


  52. Is a depreciation schedule available for any of the property listed in Part 8?
     ¨        No
     þ        Yes


  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     ¨        No
     þ        Yes




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                       Page 5
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            Name



 Part 9: Real property

 54. Does the debtor own or lease any real property?

     ¨ No. Go to Part 10.
     þ Yes. Fill in the information below.
  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
     Description and location of property                         Nature and extent           Net book value of   Valuation method        Current value of
     Include street address or other description such as          of debtor’s interest        debtor's interest   used for current        debtor's interest
     Assessor Parcel Number (APN), and type of property           in property                 (Where available)   value
     (for example, acreage, factory, warehouse, apartment
     or office building), if available.


     55.1 See Attached Rider                                                              $     124,239,029.80*                           $    124,239,029.80*
     55.2                                                                                 $                                               $
     55.3                                                                                 $                                               $
     55.4                                                                                 $                                               $
     55.5                                                                                 $                                               $
     55.6                                                                                 $                                               $

  56. Total of Part 9.
                                                                                                                                          $    124,239,029.80*
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
  57. Is a depreciation schedule available for any of the property listed in Part 9?

     ¨ No
     þ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year ?

     ¨ No
     þ Yes
Part 10: Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?
     ¨       No. Go to Part 11.
     þ       Yes. Fill in the information below.

         General Description                                                           Net book value of     Valuation method        Current value of debtor's
                                                                                       debtor's interest     used for current        interest
                                                                                       (Where available)     value

  60. Patents, copyrights, trademarks, and trade secrets
     See Attached Rider                                                            $          Undetermined                            $           Undetermined

  61. Internet domain names and websites
     See Attached Rider                                                            $          Undetermined                            $           Undetermined

  62. Licenses, franchises, and royalties
     None                                                                          $                                                  $                       0.00

  63. Customer lists, mailing lists, or other compilations
     CUSTOMER CONTRACTS                                                            $          Undetermined                            $           Undetermined

  64. Other intangibles, or intellectual property
     None                                                                          $                                                  $                       0.00

  65. Goodwill
     GOODWILL                                                                      $          Undetermined                            $           Undetermined

  66. Total of Part 10.
                                                                                                                                          $       Undetermined
         Add lines 60 through 65. Copy the total to line 89.

  *Plus Undetermined Amounts

Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                     Page 6
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            Name


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     þ No
     ¨ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10 ?
     þ No
     ¨ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
Part 11: All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

     ¨ No. Go to Part 12.
     þ Yes. Fill in the information below.                                                                                               Current value of
                                                                                                                                         debtor's interest
  71. Notes receivable
         Description (include name of obligor)
         None                                                                                                                    =   $                   0.00
                                                                          Total Face Amount   Doubtful or uncollectible Amount

  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)
         None                                                                                                  Tax Year              $                   0.00
                                                                                                               Tax Year              $
                                                                                                               Tax Year              $

  73. Interests in insurance policies or annuities
         See Attached Rider                                                                                                          $          Undetermined

  74. Causes of action against third parties (whether or not a lawsuit
      has been filed)
         None                                                                                                                        $                   0.00

         Nature of Claim
         Amount Requested           $

  75. Other contingent and unliquidated claims or causes of action of
      every nature, including counterclaims of the debtor and rights to
      set off claims
         None                                                                                                                        $                   0.00

         Nature of Claim
         Amount Requested           $

  76. Trusts, equitable or future interests in property
         None                                                                                                                        $                   0.00

  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership
         See Attached Rider                                                                                                          $         37,890,634.07
                                                                                                                                     $

  78. Total of Part 11.
                                                                                                                                     $         37,890,634.07*
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
  *Plus Undetermined Amounts


Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                   Page 7
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Debtor     Hearthside Food Solutions, LLC                                                                                      Case number (If known)   24-90587
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 Part 12: Summary

 In Part 12 copy all of the totals from the earlier parts of the form.


                                                                                                            Current value of                      Current value
         Type of Property
                                                                                                            personal property                    of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $       209,728,541.36

  81. Deposits and prepayments. Copy line 9, Part 2.                                                       $         48,947,477.67

  82. Accounts receivable. Copy line 12, Part 3.                                                           $       132,349,091.51

  83. Investments. Copy line 17, Part 4.                                                                   $         Undetermined

  84. Inventory. Copy line 23, Part 5.                                                                     $         81,549,733.14

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $                   0.00

  86. Office furniture, fixtures, and equipment; and collectibles.                                         $          4,390,825.91
         Copy line 43, Part 7.
  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $       175,471,839.53

  88. Real property. Copy line 56, Part 9. . ...............................................................................                     $124,239,029.80*

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $         Undetermined

  90. All other assets. Copy line 78, Part 11.                                                             $       37,890,634.07*

  91. Total. Add lines 80 through 90 for each column..............................91a.                     $      690,328,143.19*     + 91b.     $124,239,029.80*




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92................................................................................................   $   814,567,172.99*



  *Plus Undetermined Amounts




Official Form 206A/B                                                Schedule A/B: Assets - Real and Personal Property                                                      Page 8
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Debtor Name: Hearthside Food Solutions, LLC                                                                                Case Number: 24-90587

                                                           Assets - Real and Personal Property

                                   Part 1, Question 3: Checking, savings, money market, or financial brokerage accounts



Name of institution (bank or brokerage firm)                Type of account                    Last 4 digits of account       Current value of debtor's
                                                                                               number                         interest

 J.P. MORGAN CHASE                                          RECEIVABLE ACCOUNT                 8655                                        $200,520,705.79


 J.P. MORGAN CHASE                                          MAIN OPERATING ACCOUNT             7681                                            $33,561,975.14


 J.P. MORGAN CHASE                                          CASH COLLATERAL ACCOUNT            6631                                               $44,893.51


 J.P. MORGAN CHASE                                          CORPORATE PAYROLL                  8671                                                     $0.00
                                                            ACCOUNT

 J.P. MORGAN CHASE                                          OTHER DISBURSEMENT                 8663                                                     $0.00
                                                            ACCOUNT

 J.P. MORGAN CHASE                                          OTHER DISBURSEMENT                 8721                                                     $0.00
                                                            ACCOUNT

 J.P. MORGAN CHASE*                                         MAIN DISBURSEMENT                  8622                                        $-24,399,033.08
                                                            ACCOUNT

 J.P. MORGAN CHASE                                          MONEY MARKET FUND                  4359                                                     $0.00



                                                                                                TOTAL                                      $209,728,541.36


*Account x8622 had a negative balance on the Petition Date as the funding sweep from Account x7681 did not occur until the next business day




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Debtor Name: Hearthside Food Solutions, LLC                                                                            Case Number: 24-90587

                                                         Assets - Real and Personal Property

                                      Part 2, Question 7: Deposits, including security deposits and utility deposits



Deposits, including security deposits and utility deposits                           Current value of debtor's
(Description, including name of holder of deposit)                                   interest

HAVI GLOBAL SOLUTIONS 3500 LACEY 2ND FLOOR DEPOSIT                                                                                       $6,411.06



KENTUCKY UTILTIES COMPANY                                                                                                              $134,362.00



KIF PROPERTY TRUST - LUNT DISTRIBUTION CENTER                                                                                          $299,999.93



LONDON, KY UTILITY DEPOSIT FROM 1994 FROM JDE BOOK                                                                                      $10,000.00



VECTREN GAS DEPOSIT                                                                                                                      $1,435.00



TOTAL                                                                                                                                  $452,207.99




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Debtor Name: Hearthside Food Solutions, LLC                                                                              Case Number: 24-90587

                                                         Assets - Real and Personal Property


                     Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                    Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)      interest

PREPAID INSURANCE - GREAT AMERICAN INSURANCE                                                                                             $683,341.85


PREPAID INSURANCE - LEGACY GREENCORE POLICY                                                                                              $189,231.10


PREPAID INSURANCE - TRAVELERS                                                                                                           $7,676,355.46


PREPAID INSURANCE - WILLIS                                                                                                              $2,200,096.18


PREPAID INVENTORY                                                                                                                       $9,744,841.01


PREPAID LETTER OF CREDIT - LC #40000046- PROLOGIS-ILLINOIS LLC                                                                           $500,000.00


PREPAID LETTER OF CREDIT - LC #40000059-HP/MEACHAM LAND LIMITED                                                                          $124,993.63
PARTNERSHIP

PREPAID LETTER OF CREDIT - LC #40000753-THE TRAVELERS INDEMNITY CO.                                                                     $4,900,000.00


PREPAID LETTER OF CREDIT - LC #40001421-CHAMPION ENERGY MARKETING                                                                       $1,100,000.00
LLC

PREPAID LETTER OF CREDIT - LC #40001691-CONSTELLATION NEW                                                                                $456,000.00
ENERGY-GAS DIV

PREPAID LETTER OF CREDIT - LC#40001534-HP/MEACHAM LAND LIMITED                                                                           $124,993.63
PARTNERSHIP

PREPAID MISCELLANEOUS                                                                                                                   $1,810,637.66


PREPAID MISCELLANEOUS - KNG ENERGY                                                                                                        $32,728.59


PREPAID MISCELLANEOUS - KNOWBE4                                                                                                           $66,262.08


PREPAID MISCELLANEOUS - REOLOGIE BROKER FEE ON LV RENEWAL                                                                                 $23,076.78


PREPAID PAYROLL                                                                                                                        $11,584,711.48


PREPAID RENT                                                                                                                             $708,028.60


PREPAID – WITHOLDING TO PARTNERS                                                                                                         $966,980.00


PREPAID – STATE INCOME TAX                                                                                                              $5,602,991.63


TOTAL                                                                                                                                  $48,495,269.68




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   Debtor Name: Hearthside Food Solutions, LLC                                                                                    Case Number: 24-90587

                                                                Assets - Real and Personal Property


Part 4, Question 15: Non-publicly traded stock interests in incorporated and unincorporated businesses, including any interest in an LLC, partnership, or joint venture.



    Non-publicly traded stock and interests in incorporated and                        % of         Valuation method             Current value of debtor's
    unincorporated businesses, including any interest in an LLC,                     Ownership      used for current value       interest
    partnership, or joint venture (Name of entity:)
    HEARTHSIDE SUB, LLC                                                                100.00%      N/A                                              Undetermined


    OAK STATE PRODUCTS, LLC                                                            100.00%      N/A                                              Undetermined


    STANDARD FUNCTIONAL FOODS GROUP, LLC                                               100.00%      N/A                                              Undetermined



                                                                                                    TOTAL                                                     $0.00
                                                                                                                                             + Undetermined Amounts




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Debtor Name: Hearthside Food Solutions, LLC                                                                        Case Number: 24-90587

                                                      Assets - Real and Personal Property

                                                  Part 5, Question 22: Other inventory or supplies



Other inventory or supplies             Date of the last          Net book value of      Valuation method         Current value of debtor's
                                        physical inventory         debtor's interest     used for current value   interest
                                                                  (Where available)
INVENTORY - EZ PAK PARTS                VARIOUS                            $144,877.68 NET BOOK VALUE                                $144,877.68


INVENTORY - PACKAGING                   VARIOUS                         $14,804,232.81 NET BOOK VALUE                             $14,804,232.81


                                                                                         TOTAL                                     $14,949,110.49




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Debtor Name: Hearthside Food Solutions, LLC                                                                          Case Number: 24-90587

                                                       Assets - Real and Personal Property

              Part 7, Question 41: Office equipment, including all computer equipment and communication systems equipment and software



Office equipment, including all computer equipment and             Net book value of     Valuation method           Current value of debtor's
communication systems equipment and software                       debtor's interest     used for current value     interest
                                                                   (Where available)
COMPUTER EQUIPMENT & HARDWARE                                            $3,419,687.16 NET BOOK VALUE                                    $3,419,687.16


OFFICE EQUIPMENT & FURNITURE                                               $184,518.84 NET BOOK VALUE                                     $184,518.84


SOFTWARE                                                                   $786,619.91 NET BOOK VALUE                                     $786,619.91


                                                                                        TOTAL                                            $4,390,825.91




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Debtor Name: Hearthside Food Solutions, LLC                                                                                    Case Number: 24-90587

                                                                 Assets - Real and Personal Property

               Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Description and location of property                   Nature and extent        Net book value of      Valuation method         Current value of
Include street address or other description such as    of debtor’s interest     debtor's interest      used for current         debtor's interest
Assessor Parcel Number (APN), and type of property     in property              (Where available)      value
(for example, acreage, factory, warehouse, apartment
or office building), if available.

BUILDING IMPROVEMENTS                                  REAL PROPERTY                $67,196,169.93 NET BOOK VALUE                               $67,196,169.93


BUILDINGS                                              REAL PROPERTY                $20,671,764.00 NET BOOK VALUE                               $20,671,764.00


CONSTRUCTION IN PROGRESS                               REAL PROPERTY                $26,125,402.97 NET BOOK VALUE                               $26,125,402.97


LAND                                                   REAL PROPERTY                 $9,669,681.73 NET BOOK VALUE                                $9,669,681.73


LEASEHOLD IMPROVEMENTS                                 REAL PROPERTY                   $576,011.17 NET BOOK VALUE                                    $576,011.17


LEASED PROPERTY: 1188 S LAUREL RD,                     LEASED PROPERTY                Undetermined N/A                                           Undetermined
LONDON, KY, 40744

LEASED PROPERTY: 21750 CEDAR AVE S,                    LEASED PROPERTY                Undetermined N/A                                           Undetermined
LAKEVILLE, MN, 55044

LEASED PROPERTY: 2401 LUNT AVE, ELK                    LEASED PROPERTY                Undetermined N/A                                           Undetermined
GROVE VILLAGE, IL, 60007

LEASED PROPERTY: 2455 OAK                              LEASED PROPERTY                Undetermined N/A                                           Undetermined
INDUSTRIAL DR NE, GRAND RAPIDS, MI,
49505
LEASED PROPERTY: 2975 RADCLIFF AVE                     LEASED PROPERTY                Undetermined N/A                                           Undetermined
SE, KENTWOOD, MI 49512

LEASED PROPERTY: 3061 SHAFFER AVE                      LEASED PROPERTY                Undetermined N/A                                           Undetermined
SE, GRAND RAPIDS, MI, 49512

LEASED PROPERTY: 310 W 10TH ST,                        LEASED PROPERTY                Undetermined N/A                                           Undetermined
GIBSON CITY, IL, 60936

LEASED PROPERTY: 312 RADER RD,                         LEASED PROPERTY                Undetermined N/A                                           Undetermined
MCCOMB, OH, 45858

LEASED PROPERTY: 3225 32ND ST SE,                      LEASED PROPERTY                Undetermined N/A                                           Undetermined
GRAND RAPIDS, MI, 49512

LEASED PROPERTY: 3333 FINLEY ROAD,                     LEASED PROPERTY                Undetermined N/A                                           Undetermined
DOWNERS GROVE, IL, 60515

LEASED PROPERTY: 4295 OHIO ST.                         LEASED PROPERTY                Undetermined N/A                                           Undetermined
MICHIGAN CITY, IN 46360

LEASED PROPERTY: 7031 S EISENMAN                       LEASED PROPERTY                Undetermined N/A                                           Undetermined
RD, BOISE, ID, 83716

LEASED PROPERTY: 715 MASSMAN DR,                       LEASED PROPERTY                Undetermined N/A                                           Undetermined
NASHVILLE, TN 37210

LEASED PROPERTY: 775 STATE ROUTE                       LEASED PROPERTY                Undetermined N/A                                           Undetermined
251, WENONA, IL, 61377

LEASED PROPERTY: 9445 E. US ROUTE 40, LEASED PROPERTY                                 Undetermined N/A                                           Undetermined
SEELYVILLE, IN 47803

LEASED PROPERTY: BYHALIA, MS                           LEASED PROPERTY                Undetermined N/A                                           Undetermined




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Case 24-90586 Document 229 Filed in TXSB onTOTAL
                                            12/23/24 Page 35 of 461   $124,239,029.80
                                                                 + Undetermined Amounts




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Debtor Name: Hearthside Food Solutions, LLC                                                                         Case Number: 24-90587

                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method         Current value of debtor's
                                                                    debtor's interest     used for current value   interest
                                                                    (Where available)
PATENT NO. US 2013/0142912 A1 DATED 01/28/2013                            Undetermined                                               Undetermined


TRADEMARK APPLICATION NO. 98853066 DATED 11/14/2024                       Undetermined                                               Undetermined


TRADEMARK NO. 2127929 DATED 01/13/2098                                    Undetermined                                               Undetermined


TRADEMARK NO. 2955799 DATED 05/24/2005                                    Undetermined                                               Undetermined


TRADEMARK NO. 2972792 DATED 07/19/2005                                    Undetermined                                               Undetermined


TRADEMARK NO. 3567160 DATED 01/27/2009                                    Undetermined                                               Undetermined


TRADEMARK NO. 3567161 DATED 01/27/2009                                    Undetermined                                               Undetermined


TRADEMARK NO. 6084816 DATED 06/23/2020                                    Undetermined                                               Undetermined


TRADEMARK NO. TMA466518 DATED 11/28/1996                                  Undetermined                                               Undetermined


TRADEMARK NO. TMA560055 DATED 04/09/2002                                  Undetermined                                               Undetermined


                                                                                          TOTAL                                                $0.00
                                                                                                                             + Undetermined Amounts




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Debtor Name: Hearthside Food Solutions, LLC                                                                        Case Number: 24-90587

                                                        Assets - Real and Personal Property


                                              Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                 Net book value of     Valuation method         Current value of debtor's
                                                                   debtor's interest     used for current value   interest
                                                                   (Where available)
ABCBAKERS.COM                                                            Undetermined                                               Undetermined


ABCBAKERS.US                                                             Undetermined                                               Undetermined


ABCCOOKIE.COM                                                            Undetermined                                               Undetermined


ABCCOOKIES.COM                                                           Undetermined                                               Undetermined


ABCCOOKIES.US                                                            Undetermined                                               Undetermined


ABCCOOKIEVOLUNTEER.COM                                                   Undetermined                                               Undetermined


ABCSMARTCOOKIE.COM                                                       Undetermined                                               Undetermined


ABCSMARTCOOKIES.COM                                                      Undetermined                                               Undetermined


CBCBAKERY.COM                                                            Undetermined                                               Undetermined


CELEBRATEPEACE.COM                                                       Undetermined                                               Undetermined


COLONIALCOOKIES.CA                                                       Undetermined                                               Undetermined


COLONIALCOOKIES.COM                                                      Undetermined                                               Undetermined


CONFIDENTIALPOSTS.COM                                                    Undetermined                                               Undetermined


CONSOLIDATEDBISCUIT.COM                                                  Undetermined                                               Undetermined


CONSOLIDATEDBISCUIT.NET                                                  Undetermined                                               Undetermined


EATWELLBEWELL.BIZ                                                        Undetermined                                               Undetermined


EATWELLBEWELL.COM                                                        Undetermined                                               Undetermined


EATWELLBEWELL.NET                                                        Undetermined                                               Undetermined


FIRESIDEBAKING.COM                                                       Undetermined                                               Undetermined


GIRLSCOUTCOOKIESABC.COM                                                  Undetermined                                               Undetermined


GIRLSCOUTCOOKIESABC.US                                                   Undetermined                                               Undetermined


HEARTHSIDE-CAREERS.COM                                                   Undetermined                                               Undetermined


HEARTHSIDE-JOBS.COM                                                      Undetermined                                               Undetermined


HEARTHSIDEBAKING.COM                                                     Undetermined                                               Undetermined




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Debtor Name: Hearthside Food Solutions, LLC                                                                        Case Number: 24-90587

                                                        Assets - Real and Personal Property


                                              Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                 Net book value of     Valuation method         Current value of debtor's
                                                                   debtor's interest     used for current value   interest
                                                                   (Where available)
HEARTHSIDECAREERS.COM                                                    Undetermined                                               Undetermined


HEARTHSIDEFOODS.COM                                                      Undetermined                                               Undetermined


HEARTHSIDEFOODS.INFO                                                     Undetermined                                               Undetermined


HEARTHSIDEFOODS.NET                                                      Undetermined                                               Undetermined


HEARTHSIDEFOODS.NL                                                       Undetermined                                               Undetermined


HEARTHSIDEFOODS.ORG                                                      Undetermined                                               Undetermined


HEARTHSIDEFOODS.US                                                       Undetermined                                               Undetermined


HEARTHSIDEJOBS.COM                                                       Undetermined                                               Undetermined


IBFNET.US                                                                Undetermined                                               Undetermined


INTERBAKE.CA                                                             Undetermined                                               Undetermined


INTERBAKE.COM                                                            Undetermined                                               Undetermined


INTERBAKEFOODS.COM                                                       Undetermined                                               Undetermined


LENELL.COM                                                               Undetermined                                               Undetermined


MAURICELENELL.COM                                                        Undetermined                                               Undetermined


MAURICELENELLCOOKIE.COM                                                  Undetermined                                               Undetermined


MAURICELENELLCOOKIE.NET                                                  Undetermined                                               Undetermined


OAKSTATE.BIZ                                                             Undetermined                                               Undetermined


OAKSTATE.COM                                                             Undetermined                                               Undetermined


OAKSTATE.INFO                                                            Undetermined                                               Undetermined


OAKSTATEPRODUCTS.COM                                                     Undetermined                                               Undetermined


QUALITYBAKERY.NET                                                        Undetermined                                               Undetermined


RYTWAY.COM                                                               Undetermined                                               Undetermined


RYTWAY.XYZ                                                               Undetermined                                               Undetermined


RYTWAYFOODS.COM                                                          Undetermined                                               Undetermined




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Debtor Name: Hearthside Food Solutions, LLC                                                                        Case Number: 24-90587

                                                        Assets - Real and Personal Property


                                              Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                 Net book value of     Valuation method         Current value of debtor's
                                                                   debtor's interest     used for current value   interest
                                                                   (Where available)
SAILORBOYPILOTBREAD.CA                                                   Undetermined                                               Undetermined


SAILORBOYPILOTBREAD.COM                                                  Undetermined                                               Undetermined


SFFGI.BIZ                                                                Undetermined                                               Undetermined


SFFGI.COM                                                                Undetermined                                               Undetermined


SFFGI.INFO                                                               Undetermined                                               Undetermined


SFFGI.NET                                                                Undetermined                                               Undetermined


SFFGI.ORG                                                                Undetermined                                               Undetermined


SMARTCOOKIESDIRECTSHIP.COM                                               Undetermined                                               Undetermined


STANDARDFUNCTIONALFOODS.COM                                              Undetermined                                               Undetermined


STANDARDFUNCTIONALFOODSGROUP.BIZ                                         Undetermined                                               Undetermined


STANDARDFUNCTIONALFOODSGROUP.COM                                         Undetermined                                               Undetermined


STANDARDFUNCTIONALFOODSGROUP.INFO                                        Undetermined                                               Undetermined


STANDARDFUNCTIONALFOODSGROUP.NET                                         Undetermined                                               Undetermined


STANDARDFUNCTIONALFOODSGROUP.ORG                                         Undetermined                                               Undetermined


STANDARDFUNCTIONALFOODSGROUP.XYZ                                         Undetermined                                               Undetermined


TOLLPACKAGING.NET                                                        Undetermined                                               Undetermined


                                                                                        TOTAL                                                 $0.00
                                                                                                                            + Undetermined Amounts




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Debtor Name: Hearthside Food Solutions, LLC                                                                        Case Number: 24-90587

                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number             Current value of debtor's
(Description)                                                                                                      interest
ALLIANZ GLOBAL RISKSUS INSURANCE                   EXCESS LIABILITY                      USL03066124                                Undetermined
COMPANY

ALLIANZ UNDERWRITERS INSURANCE                     ENVIRONMENTAL LIABILITY               U5L00084122                                Undetermined
COMPANY

AMERICAN GUARANTEE AND                             EXCESS LIABILITY                      AEC 9960532-01                             Undetermined
LIABILITYINSURANCE COMPANY

ARCH CAPITAL GROUP                                 EXCESS PROPERTY                       VARIOUS                                    Undetermined


ARCH REINSURANCE CO                                EXCESS PROPERTY                       VARIOUS                                    Undetermined


ASCOT INSURANCECOMPANY                             DIRECTORS AND                         MLXS2410001497-                            Undetermined
                                                   OFFICERS LIABILITY                    01

AXA XL REINSURANCE LTD                             EXCESS PROPERTY                       VARIOUS                                    Undetermined


AXIS CAPITAL                                       EXCESS PROPERTY                       VARIOUS                                    Undetermined


CAN INSURANCE                                      EXCESS PROPERTY                       VARIOUS                                    Undetermined


COALITION                                          CYBER                                 C-4LPY-077047-                             Undetermined
                                                                                         CYBER-2024

CORE SPEACIALTY INSURANCE HOLDINGS,                EXCESS PROPERTY                       VARIOUS                                    Undetermined
INC.

COVINGTON SPECIALTY INSURANCE                      DIRECTORS AND OFFICERS                VEL-100025-00                              Undetermined
COMPANY                                            LIABILITY

E&S INSURANCE LLC                                  EXCESS PROPERTY                       VARIOUS                                    Undetermined


ENDURANCE AMERICANINSURANCE COMPANY DIRECTORS AND                                        MPX30056815600                             Undetermined
                                    OFFICERS LIABILITY

EQ ONE INSURANCESERVICES                           EARTHQUAKE COVERAGE                   LLD42389-00                                Undetermined


EVEREST REINSURANCE CO                             EXCESS PROPERTY                       VARIOUS                                    Undetermined


FALCON RISK SERVICES                               CYBER                                 FRS-S-X-CT- 00010056-01                    Undetermined


FEDERAL INSURANCE COMPANY                          EXECUTIVE LIABILITY                   8264-2423                                  Undetermined


FIDELIS CARE                                       EXCESS PROPERTY                       VARIOUS                                    Undetermined


GREAT AMERICAN ASSURANCE COMPANY                   EXCESS LIABILITY                      EXC5610427                                 Undetermined


HANNOVER RE                                        EXCESS PROPERTY                       VARIOUS                                    Undetermined


HDI GLOBAL INSURANCE COMPANY (FALCON)              EXCESS D&O LAYER VI                   FRS-G-X-ML- 00010067-01                    Undetermined


HOWDEN                                             CONTAMINATED                          B0180PN2408648                             Undetermined
                                                   PRODUCTS INSURANCE

INTACT INSURANCE SPECIALTY SOLUTIONS               EXCESS PROPERTY                       VARIOUS                                    Undetermined


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                    Case 24-90586 Document 229 Filed in TXSB on 12/23/24 Page 41 of 461
Debtor Name: Hearthside Food Solutions, LLC                                                                         Case Number: 24-90587

                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number              Current value of debtor's
(Description)                                                                                                       interest
KINSALE INSURANCE                                  EXCESS PROPERTY                       VARIOUS                                     Undetermined


LEXINGTON INSURANCE COMPANY                        EXCESS PROPERTY                       VARIOUS                                     Undetermined


LLOYDS OF LONDON                                   EXCESS PROPERTY                       VARIOUS                                     Undetermined


LLOYDS OF LONDON                                   MARINE STOCKTHROUGHPUT                B174012515MC24                              Undetermined
                                                   INSURANCE

MUNICH REINSURANCE AMERICA INC.                    EXCESS PROPERTY                       VARIOUS                                     Undetermined


NATIONAL INDEMNITY                                 EXCESS PROPERTY                       VARIOUS                                     Undetermined


PARAGON INSURANCE HOLDINGS                         EXCESS PROPERTY                       VARIOUS                                     Undetermined


RLI INSURANCE COMPANY                              CRIME PROTECTION POLICY               BND0103069                                  Undetermined


RSUI GROUP                                         EXCESS PROPERTY                       VARIOUS                                     Undetermined


RSUI INDEMNITY COMPANY                             DIRECTORS AND OFFICERS                NHS709613                                   Undetermined
                                                   LIABILITY

SOMPO HOLDINGS                                     EXCESS PROPERTY                       VARIOUS                                     Undetermined


STARR INSURANCE                                    EXCESS PROPERTY                       VARIOUS                                     Undetermined


SWISS RE CORPORATE SOLUTIONS                       DIRECTORS AND OFFICERS                PMX 1000287-00                              Undetermined
AMERICAINSURANCE COMPANY                           LIABILITY

SWISS RE CORPORATESOLUTIONS AMERICA                CONTAMINATED PRODUCTS                 PRL 2000353-07                              Undetermined
INSURANCE COMPANY                                  INSURANCE

SWISS RE GROUP                                     EXCESS PROPERTY                       VARIOUS                                     Undetermined


THE TRAVELERS INDEMNITY COMPANYOF                  WORKERS                               UB-1Y652288-24- 51-K                        Undetermined
CONNECTICUT                                        COMPENSATION AND
                                                   EMPLOYERS LIABILITY
THE TRAVELERS INSURANCE COMPANY                    PROPERTY                              KTJ-CMB-3N38385- 0-24                       Undetermined


TRAVELERS                                          BUSINESS AUTO                         TJ-CAP-9P531624- TIL-24                     Undetermined


TRAVELERS                                          EXCESS FOLLOW FORM AND                CUP-0Y903268-24- NF                         Undetermined
                                                   UMBRELLA

TRAVELERS                                          GENERAL LIABILITY                     UXNAC90176                                  Undetermined


TRAVELERS                                          PROPERTY                              UXNPT60323                                  Undetermined


TRAVELERS PROPERTY CASUALTY COMPANY                WORKERS COMPENSATION AND TWXJ-UB- 9P531665-24                                     Undetermined
OFAMERICA                                          EMPLOYERS LIABILITY

TRAVELERS PROPERTYCASUALTY COMPANY                 COMMERCIAL INSURANCE                  TJ-EXGL-9P531636- TIL-24                    Undetermined
OF AMERICA




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                    Case 24-90586 Document 229 Filed in TXSB on 12/23/24 Page 42 of 461
Debtor Name: Hearthside Food Solutions, LLC                                                                     Case Number: 24-90587

                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number          Current value of debtor's
(Description)                                                                                                   interest
TRAVELERS PROPERTYCASUALTY COMPANY                 WORKERS                               UB-1Y649616-24- 51-R                    Undetermined
OF AMERICA                                         COMPENSATION AND
                                                   EMPLOYERS LIABILITY
WORLD RISK                                         FOREIGN COMMERICAL                    WS11000812                              Undetermined
                                                   PACKAGE POLICY

XL AMERICA, INC.                                   NON-OWNED AIRCRAFT                    UA00019730AV24A                         Undetermined
                                                   LIABILITY

XL INSURANCE AMERICA, INC.                         EQUIPMENT BREAKDOWN                   US00100075PR24A                         Undetermined


XL INSURANCE AMERICA, INC.                         EXCESS LIABILITY                      US00091106LI24A                         Undetermined


ZURICH INSURANCE GROUP                             EXCESS PROPERTY                       VARIOUS                                 Undetermined


                                                                                         TOTAL                                              $0.00
                                                                                                                          + Undetermined Amounts




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Debtor Name: Hearthside Food Solutions, LLC                                                                     Case Number: 24-90587

                                                        Assets - Real and Personal Property


                                          Part 11, Question 77: Other property of any kind not already listed



Other property of any kind not already listed                                      Current value of debtor's
Examples: Season tickets, country club membership                                  interest
INTERCOMPANY RECEIVABLE FROM: HEARTHSIDE USA – PRODUCE &                                                                       $5,289,494.27
FOODSERVICE, LLC
INTERCOMPANY RECEIVABLE FROM: H-FOOD HOLDINGS, LLC                                                                            $13,986,861.59


INTERCOMPANY RECEIVABLE FROM: HFS SUB, LLC                                                                                      $250,000.00


INTERCOMPANY RECEIVABLE FROM: INTERBAKE CANADA, INC.                                                                          $18,364,278.21


TOTAL                                                                                                                         $37,890,634.07




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                   Case 24-90586
 Fill in this information              Document
                          to identify the case: 229                                       Filed in TXSB on 12/23/24 Page 44 of 461

 Debtor name        Hearthside Food Solutions, LLC

 United States Bankruptcy Court for the:           Southern District of Texas, Houston Division                                                        ¨ Check if this is an
                                                                                                                                                             amended filing
 Case number (If known):          24-90587


 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
 Be as complete and accurate as possible.
 1. Do any creditors have claims secured by debtor's property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      þ Yes. Fill in all of the information below.
 Part 1: List Creditors Who Have Secured Claims
                                                                                                                                   Column A                  Column B
  2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                             Amount of Claim           Value of collateral
     secured claim, list the creditor separately for each claim.                                                                   Do not deduct the value   that supports this
                                                                                                                                   of collateral.            claim
2.1     Creditor's name                                              Describe debtor’s property that is subject to a lien
        ARES CAPITAL CORPORATION                                    See Schedule D Disclosures
                                                                                                                                   $        Undetermined     $        Undetermined

        Creditor's mailing address
        245 PARK AVENUE
        44TH FLOOR
        ATTN: RAY WRIGHT                                             Describe the lien
        NEW YORK, NY 10167                                          Guarantor of 2L Term Loan


        Creditor's email address, if known                           Is the creditor an insider or related party?
        AGENCY@ARESMGMT.COM                                          þ No
                                                                     ¨ Yes
        Date debt was incurred             UNDETERMINED
                                                                     Is anyone else liable on this claim?
        Last 4 digits of account                                     ¨ No
        number
                                                                     þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                               As of the petition filing date, the claim is:
                                                                     Check all that apply.
        ¨ No
        þ Yes. Specify each creditor, including this                 þ Contingent
            creditor, and its relative priority.                     þ Unliquidated
                                                                     ¨ Disputed
2.2     Creditor's name                         Describe debtor’s property that is subject to a lien
        ASSOCIATED MATERIAL HANDLING INDUSTRIES As Provided in the UCC Financing Statement
        INC.                                                                                                                       $        Undetermined     $        Undetermined
        Creditor's mailing address
        4101 WINFILED ROAD
        SUITE 300
        WARRENVILLE, IL 60555                                        Describe the lien
                                                                     Delaware Lease Statement #20246605925

        Creditor's email address, if known                           Is the creditor an insider or related party?
                                                                     þ No
                                                                     ¨ Yes
        Date debt was incurred             UNDETERMINED
                                                                     Is anyone else liable on this claim?
        Last 4 digits of account                                     þ No
        number
                                                                     ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                               As of the petition filing date, the claim is:
                                                                     Check all that apply.
        þ No
        ¨ Yes. Have you already specified the relative               þ Contingent
            priority?                                                þ Unliquidated
            ¨ No. Specify each creditor, including this              ¨ Disputed
                      creditor, and its relative priority.



            ¨ Yes. The relative priority of creditors is
                       specified on lines

  3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                              $




       Official Form 206D                                   Schedule D: Creditors Who Have Claims Secured by Property                                             Page 1 of 10
                          Case 24-90586 Document 229 Filed in TXSB on 12/23/24 Page 45 of 461
Debtor     Hearthside Food Solutions, LLC                                                                 Case number (If known): 24-90587
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.3      Creditor's name                                     Describe debtor’s property that is subject to a lien
         C T CORPORATION SYSTEM                              As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         330 N BRAND BLVD
         SUITE 700
         GLENDALE, CA 91203                                  Describe the lien
                                                            Delaware Financing Statement #20230914662


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.4      Creditor's name                                     Describe debtor’s property that is subject to a lien
         CITIBANK, N.A.                                      As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         388 GREENWICH STREET
         10TH FLOOR
         NEW YORK, NY 10013                                  Describe the lien
                                                            Delaware Financing Statement #20204230563


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    Page 2 of 10
                          Case 24-90586 Document 229 Filed in TXSB on 12/23/24 Page 46 of 461
Debtor     Hearthside Food Solutions, LLC                                                                 Case number (If known): 24-90587
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.5      Creditor's name                                     Describe debtor’s property that is subject to a lien
         CITIBANK, N.A.                                      As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         388 GREENWICH STREET
         10TH FLOOR
         NEW YORK, NY 10013                                  Describe the lien
                                                            Delaware Financing Statement #20208564405


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.6      Creditor's name                                     Describe debtor’s property that is subject to a lien
         CITIBANK, N.A., ITS BRANCHES, SUBSIDIARIES          As Provided in the UCC Financing Statement
         AND AFFILIATES
                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         388 GREENWICH STREET
         10TH FLOOR
         NEW YORK, NY 10013                                  Describe the lien
                                                            Delaware Financing Statement #20213736205


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    Page 3 of 10
                          Case 24-90586 Document 229 Filed in TXSB on 12/23/24 Page 47 of 461
Debtor     Hearthside Food Solutions, LLC                                                                 Case number (If known): 24-90587
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.7      Creditor's name                                     Describe debtor’s property that is subject to a lien
         CROWN CREDIT COMPANY                                As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         44 S. WASHINGTON STREET
         NEW BREMEN, OH 45869
                                                             Describe the lien
                                                            Delaware Financing Statement #20219620981


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.8      Creditor's name                                     Describe debtor’s property that is subject to a lien
         GENERAL MILLS OPERATIONS, LLC                       As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         #1 GENERAL MILLS BOULEVARD
         MINNEAPOLIS, MN 55426
                                                             Describe the lien
                                                            Delaware Lease Statement #20204853521


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    Page 4 of 10
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Debtor     Hearthside Food Solutions, LLC                                                                 Case number (If known): 24-90587
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.9      Creditor's name                                     Describe debtor’s property that is subject to a lien
         GOLDMAN SACHS LENDING PARTNERS, LLC                 See Schedule D Disclosures

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         200 WEST STREET
         ATTN: ANNA ASHUROV
         NEW YORK, NY 10282                                  Describe the lien
                                                            Guarantor of 1L Revolving Loan


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?
         GS-DALLAS-ADMINAGENCY@NY.EMAIL.GS.CO
         M                                                    þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.10     Creditor's name                                     Describe debtor’s property that is subject to a lien
         GOLDMAN SACHS LENDING PARTNERS, LLC                 See Schedule D Disclosures

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         200 WEST STREET
         ATTN: ANNA ASHUROV
         NEW YORK, NY 10282                                  Describe the lien
                                                            Guarantor of 1L Term Loans


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?
         GS-DALLAS-ADMINAGENCY@NY.EMAIL.GS.CO
         M                                                    þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    Page 5 of 10
                          Case 24-90586 Document 229 Filed in TXSB on 12/23/24 Page 49 of 461
Debtor     Hearthside Food Solutions, LLC                                                                 Case number (If known): 24-90587
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.11     Creditor's name                                     Describe debtor’s property that is subject to a lien
         HYG FINANCIAL SERVICES, INC.                        As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         PO BOX 35701
         BILLINGS, MT 59107
                                                             Describe the lien
                                                            Delaware Financing Statement #20202385393


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.12     Creditor's name                                     Describe debtor’s property that is subject to a lien
         KRAFT HEINZ FOODS COMPANY                           As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         200 E. RANDOLPH STREET
         SUITE 7600
         CHICAGO, IL 60601                                   Describe the lien
                                                            Delaware Financing Statement #20244301501


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




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Debtor     Hearthside Food Solutions, LLC                                                                 Case number (If known): 24-90587
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.13     Creditor's name                                     Describe debtor’s property that is subject to a lien
         ORBIAN FINANCIAL SERVICES III, LLC                  As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         200 CONNECTICUT AVENUE
         NORWALK, CT 06854
                                                             Describe the lien
                                                            Delaware Financing Statement #20205144458


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.14     Creditor's name                                     Describe debtor’s property that is subject to a lien
         PROSEAL AMERICA, INC.                               As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         411 E. FRANKLIN ST
         SUITE 600
         RICHMOND, VA 23219                                  Describe the lien
                                                            Delaware Financing Statement #20223772225


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




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Debtor     Hearthside Food Solutions, LLC                                                                 Case number (If known): 24-90587
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.15     Creditor's name                                     Describe debtor’s property that is subject to a lien
         RAYMOND LEASING CORPORATION                         As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         CORPORATE HEADQUARTERS
         PO BOX 130
         GREENE, NY 13778                                    Describe the lien
                                                            Delaware Lease Statement #20200819260


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.16     Creditor's name                                     Describe debtor’s property that is subject to a lien
         VFI KR SPE I LLC                                    As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         2800 EAST COTTONWOOD PARKWAY
         2ND FLOOR
         SALT LAKE CITY, UT 84121                            Describe the lien
                                                            Delaware Financing Statement #20228696486


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    Page 8 of 10
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Debtor     Hearthside Food Solutions, LLC                                                                 Case number (If known): 24-90587
           Name


                                                                                                                                Column A                Column B
   Part 1:         Additional Page                                                                                              Amount of Claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                        of collateral.          claim
   from the previous page.

2.17     Creditor's name                                     Describe debtor’s property that is subject to a lien
         WELLS FARGO BANK, N.A.                              As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         800 WALNUT STREET
         F0005-044
         DES MOINES, IA 50309                                Describe the lien
                                                            Delaware Financing Statement #20220713313


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.18     Creditor's name                                     Describe debtor’s property that is subject to a lien
         WELLS FARGO EQUIPMENT FINANCE, INC.                 As Provided in the UCC Financing Statement

                                                                                                                                 $           Undetermined $       Undetermined
         Creditor's mailing address
         600 SOUTH 4TH STREET
         MAC N9300-100
         MINNEAPOLIS, MN 55415                               Describe the lien
                                                            Delaware Financing Statement #20194581281


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           UNDETERMINED
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    Page 9 of 10
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 Debtor    Hearthside Food Solutions, LLC                                                               Case number (If known):     24-90587
           Name



Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                         On which line in Part 1         Last 4 digits of
   Name and address                                                                                                      did you enter the               account number
                                                                                                                         related creditor?               for this entity


                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




    Official Form 206D                  Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                       Page 10 of 10
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   Fill in this information to identify the case:

    Debtor       Hearthside Food Solutions, LLC


    United States Bankruptcy Court for the:   Southern District of Texas, Houston Division
                                                                                                                                                ¨ Check if this is an
    Case number      24-90587                                                                                                                         amended filing
    (If known)




 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
 claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets -
 Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the
 entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this
 form.


 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    ¨ No. Go to Part 2.
    þ Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more
    than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                         Total claim            Priority amount
2.1 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $             8,504.44      $           8,504.44
    ALLEN-BRANCH, DANETTA                                            Check all that apply.
    ADDRESS ON FILE
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Severance Claim - Priority: $8,504.44
    Date or dates debt was incurred
    UNDETERMINED
    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     þ No
    claim: 11 U.S.C. § 507(a) (4)                                    ¨ Yes
2.2 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $             1,752.00      $           1,752.00
    BECKFORD, VERNON B                                               Check all that apply.
    ADDRESS ON FILE
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Severance Claim - Priority: $1,752.00
    Date or dates debt was incurred
    UNDETERMINED
    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     þ No
    claim: 11 U.S.C. § 507(a) (4)                                    ¨ Yes
2.3 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $                 959.60    $             959.60
    BELL, HENRY GUY                                                  Check all that apply.
    ADDRESS ON FILE
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim: Severance Claim - Priority: $959.60
    Date or dates debt was incurred
    UNDETERMINED
    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     þ No
    claim: 11 U.S.C. § 507(a) (4)                                    ¨ Yes


  Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 1 of 275
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                                                               Case number (If known) 24-90587
             Name


  Part 1:    Additional Page

Copy this page if more space is needed. Continue numbering the lines sequentially from the
                                                                                                           Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.4   Priority creditor’s name and mailing address                                                        $            8,870.19   $            8,870.19
      BOONE, BRYAN                                        As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Severance Claim - Priority: $8,870.19
      UNDETERMINED

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes
2.5   Priority creditor’s name and mailing address                                                        $            9,388.20   $            9,388.20
      BROOKS TYSON, KIMBERLY                              As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Severance Claim - Priority: $9,388.20
      UNDETERMINED

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes
2.6   Priority creditor’s name and mailing address                                                        $            9,180.66   $            9,180.66
      CHISM, KIM                                          As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Severance Claim - Priority: $9,180.66
      UNDETERMINED

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes
2.7   Priority creditor’s name and mailing address                                                        $            1,474.42   $            1,474.42
      CLEMMONS, JAWAUN                                    As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Severance Claim - Priority: $1,474.42
      UNDETERMINED

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes


  Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 275
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             Name


  Part 1:    Additional Page

Copy this page if more space is needed. Continue numbering the lines sequentially from the
                                                                                                           Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.8   Priority creditor’s name and mailing address                                                        $            2,812.80   $            2,812.80
      CRAWFORD, LAWANDA                                   As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Severance Claim - Priority: $2,812.80
      UNDETERMINED

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes
2.9   Priority creditor’s name and mailing address                                                        $            7,906.48   $            7,906.48
      DAVIS, NIKKI NICOLE                                 As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Severance Claim - Priority: $7,906.48
      UNDETERMINED

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes
2.10 Priority creditor’s name and mailing address                                                         $        93,644.82      $           15,150.00
      DE VALENCIA, NICOLAS                                As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Severance Claim - Priority: $15,150.00 & Unsecured: $78,494.82
      UNDETERMINED

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes
2.11 Priority creditor’s name and mailing address                                                         $            4,080.38   $            4,080.38
      DEIBERT, LORRAINE                                   As of the petition filing date, the claim is:
      ADDRESS ON FILE                                     Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
      Date or dates debt was incurred                     Basis for the claim: Severance Claim - Priority: $4,080.38
      UNDETERMINED

      Last 4 digits of account
      number
                                                          Is the claim subject to offset?
      SpecifyCode subsection of PRIORITY unsecured        þ No
      claim: 11 U.S.C. § 507(a) (4)                       ¨ Yes


  Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 275
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             Name


  Part 1:    Additional Page

Copy this page if more space is needed. Continue numbering the lines sequentially from the
                                                                                                           Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.12 Priority creditor’s name and mailing address                                                         $              816.00   $             816.00
     DOWDY, TORIANO                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $816.00
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.13 Priority creditor’s name and mailing address                                                         $              861.15   $             861.15
     ELROD, BRENDA LEE                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $861.15
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.14 Priority creditor’s name and mailing address                                                         $            7,425.28   $            7,425.28
     FINNIE, RITA                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $7,425.28
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.15 Priority creditor’s name and mailing address                                                         $            1,993.99   $            1,993.99
     GIRARD, LAWRENCE                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $1,993.99
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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             Name


  Part 1:    Additional Page

Copy this page if more space is needed. Continue numbering the lines sequentially from the
                                                                                                           Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.16 Priority creditor’s name and mailing address                                                         $            6,011.54   $            6,011.54
     GUY, DEVIN A.                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $6,011.54
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.17 Priority creditor’s name and mailing address                                                         $            2,982.69   $            2,982.69
     HARPER, BRENDA SALMI                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $2,982.69
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.18 Priority creditor’s name and mailing address                                                         $            1,552.00   $            1,552.00
     HARRIS, JOE AUTHUR                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $1,552.00
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.19 Priority creditor’s name and mailing address                                                         $            1,632.00   $            1,632.00
     HARRIS, KEVIN                                        As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $1,632.00
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                           Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.20 Priority creditor’s name and mailing address                                                         $        29,141.30      $           15,150.00
     HINK, RONALD                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $15,150.00 & Unsecured: $13,991.30
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.21 Priority creditor’s name and mailing address                                                         $            2,998.80   $            2,998.80
     HOUSE, MARCO CORVELL                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $2,998.80
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.22 Priority creditor’s name and mailing address                                                         $            7,040.00   $            7,040.00
     JACKSON, KATHERIN MARIE                              As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $7,040.00
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.23 Priority creditor’s name and mailing address                                                         $            1,552.00   $            1,552.00
     LIGGINS, JAMES HERBERT                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $1,552.00
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                           Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.24 Priority creditor’s name and mailing address                                                         $            1,552.00   $            1,552.00
     LUKE, MATTHEW J                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $1,552.00
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.25 Priority creditor’s name and mailing address                                                         $            8,757.68   $            8,757.68
     PAYNE, ANTOINETTE P                                  As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $8,757.68
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.26 Priority creditor’s name and mailing address                                                         $            9,230.76   $            9,230.76
     PENDERGRASS, JASON                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $9,230.76
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.27 Priority creditor’s name and mailing address                                                         $            8,653.86   $            8,653.86
     POST, NICHOLAS                                       As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $8,653.86
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                           Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.28 Priority creditor’s name and mailing address                                                         $              816.00   $             816.00
     ROBERTS, ANTHONY                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $816.00
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.29 Priority creditor’s name and mailing address                                                         $            1,632.00   $            1,632.00
     ROSSER, JERMAINE ANTON                               As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $1,632.00
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.30 Priority creditor’s name and mailing address                                                         $            7,040.00   $            7,040.00
     ROSSER, LAPORSHA LATRICE                             As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $7,040.00
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.31 Priority creditor’s name and mailing address                                                         $              776.00   $             776.00
     SHIPP, BARRY                                         As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $776.00
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                           Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.32 Priority creditor’s name and mailing address                                                         $            1,126.33   $            1,126.33
     STANLEY, RINA ALTHEA                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $1,126.33
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.33 Priority creditor’s name and mailing address                                                         $            1,288.00   $            1,288.00
     THOMPSON, JANEISE GATEWOOD                           As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $1,288.00
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.34 Priority creditor’s name and mailing address                                                         $            4,756.15   $            4,756.15
     THORNILEY, DENISE                                    As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $4,756.15
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.35 Priority creditor’s name and mailing address                                                         $            2,812.80   $            2,812.80
     WILLIAMS, DEVIN                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $2,812.80
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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                                                                                                           Total claim            Priority amount
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.36 Priority creditor’s name and mailing address                                                         $            7,578.92   $         7,578.92
     WILLIAMS, MIKETA                                     As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $7,578.92
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.37 Priority creditor’s name and mailing address                                                         $            4,646.44   $         4,646.44
     WINTON, SVETLANA R                                   As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $4,646.44
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.38 Priority creditor’s name and mailing address                                                         $            1,875.20   $         1,875.20
     WRIGHT, DEADERRICH D                                 As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $1,875.20
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes
2.39 Priority creditor’s name and mailing address                                                         $        14,889.96      $        14,889.96
     ZANG, STEPHEN H                                      As of the petition filing date, the claim is:
     ADDRESS ON FILE                                      Check all that apply.
                                                          ¨ Contingent
                                                          ¨ Unliquidated
                                                          ¨ Disputed
     Date or dates debt was incurred                      Basis for the claim: Severance Claim - Priority: $14,889.96
     UNDETERMINED

     Last 4 digits of account
     number
                                                          Is the claim subject to offset?
     SpecifyCode subsection of PRIORITY unsecured         þ No
     claim: 11 U.S.C. § 507(a) (4)                        ¨ Yes


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 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims
 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim
3.1   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      18 RABBITS, INC.                                                  Check all that apply.                            $                        61,898.20
      31 WATER STREET                                                   ¨ Contingent
      SAN FRANCISCO, CA 94133
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.2   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      48FORTY SOLUTIONS LLC                                             Check all that apply.                            $                        62,630.07
      PO BOX 849729                                                     ¨ Contingent
      DALLAS, TX 75284-9729
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.3   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      4IMPRINT, INC.                                                    Check all that apply.                            $                         1,719.88
      25303 NETWORK PLACE                                               ¨ Contingent
      CHICAGO, IL 60673-1253
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.4   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      4SIGHT FOCUS LLC                                                  Check all that apply.                            $                        10,000.00
      729 FOX HUNT TRAIL                                                ¨ Contingent
      DEERFIELD, IL 60015
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.5   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      A & B INGREDIENTS                                                 Check all that apply.                            $                        11,558.00
      24 SPIELMAN ROAD                                                  ¨ Contingent
      FAIRFIELD, NJ 07004
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.6   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      A.M. TODD                                                         Check all that apply.                            $                         1,681.14
      ARCHER DANIELS MIDLAND                                            ¨ Contingent
      4666 EAST FARIES PARKWAY
      DECATUR, IL 62525                                                 ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.7   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    342.40
      A+ PORTABLE RESTROOMS
      1630 HAMPTON RD                                               ¨ Contingent
      LONDON, KY 40741                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.8   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    178.08
      A-1 DRY CLEANING & SHIRT LAUNDRY, INC
      565 WEST HWY 192                                              ¨ Contingent
      LONDON, KY 40741                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.9   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 42,177.96
      AAK USA K1
      PO BOX 640154                                                 ¨ Contingent
      PITTSBURGH, PA 15264-0154                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.10 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,644.75
      AB MAURI FOODS INC.
      4776 COLLECTIONS CENTER DRIVE                                 ¨ Contingent
      CHICAGO, IL 60693                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.11 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,180.00
      ABB INC
      PO BOX 88868                                                  ¨ Contingent
      CHICAGO, IL 60695-1868                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes


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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.12 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,800.80
    ABBIAMO PASTA COMPANY
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.13 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,912.10
    ABBOTT PLASTICS & SUPPLY CO., INC.
    3302 LONERGAN DR                                                ¨ Contingent
    ROCKFORD, IL 61109                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.14 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,635.59
    ABC PACKAGING MACHINE CORP.
    811 LIVE OAK ST.                                                ¨ Contingent
    TARPON SPRINGS, FL 34689                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.15 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 113,929.57
    ABEC ELECTRIC COMPANY, INC
    407 SPENCE LANE                                                 ¨ Contingent
    NASHVILLE, TN 37210                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.16 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 35,641.31
    ABETECH
    12560 FLETCHER LANE                                             ¨ Contingent
    ROGERS, MN 55374                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.17 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  13,311.89
    ABM EQUIPMENT COMPANY INC
    13911 NW 3RD CT #100                                            ¨ Contingent
    VANCOUVER, WA 98685                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.18 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,658.36
    ABM MARKING SERVICES LTD
    2799 SOUTH BELT WEST                                            ¨ Contingent
    BELLEVILLE, IL 62226                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.19 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 184,212.74
    ABX INNOVATIVE PACKAGING SOLUTIONS
    PO BOX 69339                                                    ¨ Contingent
    BALTIMORE, MD 21264-9339                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.20 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    407.90
    AC&T CO. INC.
    P.O. BOX 4217                                                   ¨ Contingent
    HAGERSTOWN, MD 21741-4217                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.21 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    669.83
    ACC BUSINESS
    POBOX 5077                                                      ¨ Contingent
    CAROL STREAM, IL 60197-5077                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.22 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
    ACCELERATED TOOLING
    2909 BUCHANAN AVE SW                                            ¨ Contingent
    WYOMING, MI 49548                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.23 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,590.89
    ACCESS ONE, INC
    PO BOX 74008744                                                 ¨ Contingent
    CHICAGO, IL 60674-8744                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.24 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 25,299.13
    ACCURATE BOX COMPANY, INC.
    86 FIFTH AVENUE                                                 ¨ Contingent
    PATERSON, NJ 07524-1107                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.25 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    182.84
    ACE HARDWARE & PAINT
    POBOX 1281                                                      ¨ Contingent
    LAKEVILLE, MN 55044                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.26 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 17,164.40
    ACME HARDESTY
    450 SENTRY PARKWAY                                              ¨ Contingent
    BLUE BELL, PA 19422                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.27 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,912.00
    ACME MILLS, LLC
    GREAT LAKES FILTERS                                             ¨ Contingent
    33 BLOOMFIELD HILLS PARKWAY STE 120                             ¨ Unliquidated
    BLOOMFIELD HILLS, MI 48304                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.28 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 161,424.93
    ACTUS NUTRITION DBA MILK SPECIALTIES
    PO BOX 854351                                                   ¨ Contingent
    MINNEAPOLIS, MN 55485-4351                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.29 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 376,390.02
    ADA COUNTY TREASURER
    PO BOX 2868                                                     ¨ Contingent
    BOISE, ID 83701                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.30 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  56,441.04
    ADAMS VEGETABLE OILS INC.
    P.O. BOX 956                                                    ¨ Contingent
    ARBUCKLE, CA 95612                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.31 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,501.76
    ADCO MANUFACTURING
    2170 ACADEMY AVENUE                                             ¨ Contingent
    SANGER, CA 93657                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.32 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,051.10
    ADDIUM, INC.
    1300 NE HENLEY CT                                               ¨ Contingent
    PULLMAN, WA 99163                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.33 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,044.21
    ADVANTAGE LABEL & PACKAGING
    5575 EXECUTIVE PARKWAY                                          ¨ Contingent
    GRAND RAPIDS, MI 49512                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.34 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,451.99
    AED BRANDS, LLC
    55 CHASTAIN RD                                                  ¨ Contingent
    STE 112                                                         ¨ Unliquidated
    KENNESAW, GA 30144                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.35 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 504,917.65
    AGROPUR INC.
    POBOX 88259                                                     ¨ Contingent
    MILWAUKEE, WI 53288-0259                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.36 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
    AHMED, SALMAN
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.37 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,966.46
    AIB INTERNATIONAL INC
    P.O. BOX 955665                                                 ¨ Contingent
    ST. LOUIS, MO 63195-5665                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.38 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 31,205.53
    AIR COMPONENTS INC.
    PO BOX 407                                                      ¨ Contingent
    WAYLAND, MI 49348                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.39 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 47,584.95
    AIR HANDLING EQUIPMENT INC.
    1389 RIVERSIDE DR.                                              ¨ Contingent
    SIDNEY, OH 45365                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.40 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,854.90
    AIRGAS USA, LLC
    PO BOX 734445                                                   ¨ Contingent
    CHICAGO, IL 60673-4445                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.41 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,587.49
    AIRHYDROPOWER
    PO BOX 9001005 DEPT 200                                         ¨ Contingent
    LOUISVILLE, KY 40290                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.42 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    204.79
    AIT WORLDWIDE LOGISTICS
    P.O. BOX 775379                                                 ¨ Contingent
    CHICAGO, IL 60677-5379                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.43 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,689.00
    AJINOMOTO HEALTH & NUTRITION NORTH AMERICA, INC.
    DEPT. CH 10983                                                  ¨ Contingent
    PALATINE, IL 60055-0983                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.44 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 35,383.12
    ALAR WATER TREATMENT LLC
    9651 W. 196TH ST.                                               ¨ Contingent
    MOKENA, IL 60448                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.45 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 24,232.45
    ALL TEMP REFRIGERATION, INC.
    3515 ELIDA ROAD                                                 ¨ Contingent
    LIMA, OH 45807                                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.46 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,642.39
    ALL VAC INDUSTRIES
    7350 CENTRAL PARK AVENUE                                        ¨ Contingent
    SKOKIE, IL 60076-4003                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.47 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,507.28
    ALLAN SULLIVAN INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.48 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    179.65
    ALLEGRA PRINT SIGN DESIGN
    1026 NORTH MILL STREET                                          ¨ Contingent
    LONDON, KY 40741                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.49 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 100,000.00
    ALLIANT INSURANCE SERVICES, INC
    701 B STREET, 6TH FLOOR                                         ¨ Contingent
    SAN DIEGO, CA 92101                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.50 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,076.95
    ALL-PHASE ELECTRIC SUPPLY
    PO BOX 850645                                                   ¨ Contingent
    MINNEAPOLIS, MN 55485-0645                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.51 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  16,111.03
    ALLTECH SUPPLY, INC.
    10216 WERCH DR.                                                 ¨ Contingent
    WOODRIDGE, IL 60517-5101                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.52 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,094.58
    ALL-WAYS FASTENERS INC
    1000 INDUSTRIAL DRIVE                                           ¨ Contingent
    BENSENVILLE, IL 60106                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.53 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 74,825.55
    ALPEZZI CHOCOLATE
    PROLONGACION LOS ROBLES SUR 351                                 ¨ Contingent
    LOS ROBLES, 45134                                               ¨ Unliquidated
    SPAIN                                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.54 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 32,800.00
    ALPINE PACIFIC NUT CO., INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.55 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 52,872.61
    ALPINE POWER SYSTEMS, INC.
    DEPT 77783                                                      ¨ Contingent
    DETROIT, MI 48277-0783                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.56 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,661.65
    ALRO STEEL CORPORATION
    24876 NETWORK PLACE                                             ¨ Contingent
    CHICAGO, IL 60673-1248                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.57 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
    ALSTON JR., PHILIP
    C/O AMBER BOYD LAW                                              þ Contingent
    ATTN: STEPHEN ROLLINS                                           þ Unliquidated
    8510 EVERGREEN AVENUE                                           þ Disputed
    INDIANAPOLIS, IN 46240
                                                                    Basis for the claim: Litigation



    Date or dates debt was incurred          UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 ¨ Yes

3.58 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 125,136.04
    ALTA INDUSTRIAL EQUIPMENT MICHIGAN LLC
    25538 NETWORK PLACE                                             ¨ Contingent
    CHICAGO, IL 60673-1255                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.59 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  92,602.36
    AMAZON CAPITAL SERVICES
    AC#A3B1G9CRW0F0EN                                               ¨ Contingent
    PO BOX 035184                                                   ¨ Unliquidated
    SEATTLE, WA 98124-5184                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.60 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    230.05
    AMAZON WEB SERVICES, INC.
    PO BOX 84023                                                    ¨ Contingent
    SEATTLE, WA 98124-8423                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.61 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  81,092.59
    AMCOR FLEXIBLES NORTH AMERICA INC
    24815 NETWORK PLACE                                             ¨ Contingent
    CHICAGO, IL 60673-1248                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.62 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,183.81
    AMEREN ILLINOIS
    PO BOX 88034                                                    ¨ Contingent
    CHICAGO, IL 60680-1034                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.63 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  13,084.00
    AMERICAN CLEANING SERVICE
    616 W FRONT STREET                                              ¨ Contingent
    BOISE, ID 83702                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.64 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  79,036.72
    AMERICAN ELECTRIC POWER
    PO BOX 371496                                                   ¨ Contingent
    PITTSBURGH, PA 15250-7496                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.65 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  59,870.51
    AMERICAN HONEY INC
    1246 W ROSS RD                                                  ¨ Contingent
    EL CENTRO, CA 92243                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.66 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 333,887.30
    AMERICAN PACKAGING CORP.
    PO BOX 62525                                                    ¨ Contingent
    BALTIMORE, MD 21264-2525                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.67 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      70.00
    AMERICAN STEEL TREATING
    29200 GLENWOOD RD.                                              ¨ Contingent
    PERRYSBURG, OH 43551                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.68 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,924.66
    AMERICAN WELDING & GAS
    PO BOX 779009                                                   ¨ Contingent
    CHICAGO, IL 60677-9009                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.69 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 123,005.41
    AMERICAN YEAST SALES
    75 REMITTANCE DR                                                ¨ Contingent
    SUITE 1047                                                      ¨ Unliquidated
    CHICAGO, IL 60675                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.70 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,433.51
    AMF AUTOMATION TECHNOLOGIES
    POBOX 502992                                                    ¨ Contingent
    ST. LOUIS, MO 63150                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.71 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  36,849.21
    AMP'D ELECTRIC, LLC
    5330 S RILEY LANE                                               ¨ Contingent
    MURRAY, UT 84107                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.72 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,906.00
    ANALYTICAL LABORATORIES, INC
    1804 NORTH 33RD STREET                                          ¨ Contingent
    BOISE, ID 83703-5814                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.73 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 604,052.00
    ANDERSON ADVANCED INGREDIENTS
    2030 MAIN ST.                                                   ¨ Contingent
    STE 430                                                         ¨ Unliquidated
    IRVINE, CA 92614                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.74 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    173.73
    ANDERSON LOCK CO., LTD.
    PO BOX 2294                                                     ¨ Contingent
    DES PLAINES, IL 60017                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.75 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,133.65
    ANDERSON PROCESS
    PO BOX 7862                                                     ¨ Contingent
    CAROL STREAM, IL 60197-7862                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.76 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
    ANNIE'S (GENERAL MILLS)
    1610 5TH ST                                                     þ Contingent
    BERKELEY, CA 94710                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Rebate



    Date or dates debt was incurred          UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 ¨ Yes


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3.77 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,970.54
    ANRITSU INFIVIS, INC.
    PO BOX 775126                                                   ¨ Contingent
    CHICAGO, IL 60677-5126                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.78 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,801.94
    ANTIBUS SCALES & SYSTEMS
    1919 RESEARCH DRIVE                                             ¨ Contingent
    FORT WAYNE, IN 46808                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.79 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    301.40
    ANVER CORPORATION
    36 PARMENTER ROAD                                               ¨ Contingent
    HUDSON, MA 01749                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.80 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,597.40
    APEX INTEGRATED SECURITY SOLUTIONS
    187 E 50TH ST.                                                  ¨ Contingent
    BOISE, ID 83714                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.81 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 50,860.00
    APEX MANUFACTURING SOLUTIONS, LLC
    P.O. BOX 1367                                                   ¨ Contingent
    GREER, SC 29652                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.82 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    544.00
    APPLIED AUTOMATION
    330 CUMBERLAND ROAD                                             ¨ Contingent
    SOUTH ORANGE, NJ 07079                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.83 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 313,880.14
    APPLIED INDUSTRIAL TECHNOLOGIES
    22510 NETWORK PLACE                                             ¨ Contingent
    CHICAGO, IL 60673-1225                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.84 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 616,089.58
    APPLIED PRODUCTS, INC.
    PO BOX 776265                                                   ¨ Contingent
    CHICAGO, IL 60677-6265                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.85 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  57,850.70
    APTEAN, INC.
    POBOX 743722                                                    ¨ Contingent
    ATLANTA, GA 30374                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.86 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    272.50
    AQUALICIOUS
    CURLY WATER INC.                                                ¨ Contingent
    1726 N. BLOOMINGTON ST.                                         ¨ Unliquidated
    STREATOR, IL 61364                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.87 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    571.07
    AQUALITY SOLUTIONS, LLC.
    102 NORTH 1ST AVE.                                              ¨ Contingent
    HOOPESTON, IL 60942                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.88 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,662.36
    ARBON EQUIPMENT CORPORATION
    25464 NETWORK PLACE                                             ¨ Contingent
    CHICAGO, IL 60673-1254                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.89 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  48,642.63
    ARCHBOLD CONTAINER CORPORATION
    POBOX 10                                                        ¨ Contingent
    ARCHBOLD, OH 43502                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.90 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 223,526.32
    ARCHER DANIELS MIDLAND CO.
    POBOX 92572                                                     ¨ Contingent
    CHICAGO, IL 60675-2572                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.91 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 566,693.20
    ARDENT MILLS
    33250 COLLECTIONS CENTER DRIVE                                  ¨ Contingent
    CHICAGO, IL 60693-0332                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.92 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 112,255.00
    ARMROSE ELECTRICAL CONTRACTING
    14212 COUNTY HWY 97                                             ¨ Contingent
    UPPER SANDUSKY, OH 43351                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.93 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 45,269.42
    ARROW CONTAINER LLC
    6550 E 30TH ST                                                  ¨ Contingent
    STE 130                                                         ¨ Unliquidated
    INDIANAPOLIS, IN 46219-1145                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.94 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    262.54
    ARROWHEAD CONVEYOR CORPORATION
    PO BOX 681029                                                   ¨ Contingent
    CHICAGO, IL 60695-2029                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.95 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,401.50
    ART'S REFRIGERATION INC.
    3774 28TH ST SW                                                 ¨ Contingent
    GRANDVILLE, MI 49418                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.96 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 88,647.48
    ASSOCIATED MATERIAL HANDLING INDUSTRIES INC.
    7954 SOLUTION CENTER                                            ¨ Contingent
    CHICAGO, IL 60677-7009                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.97 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,778.00
     ASTBURY WATER TECHNOLOGY, INC.
     5940 W RAYMOND ST.                                             ¨ Contingent
     INDIANAPOLIS, IN 46241                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.98 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,365.79
     AT&T
     PO BOX 5019                                                    ¨ Contingent
     CAROL STREAM, IL 60197-5019                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.99 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    382.17
     AT&T U-VERSE
     PO BOX 5014                                                    ¨ Contingent
     CAROL STREAM, IL 60197-5014                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.100 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,359.71
     ATLAS COPCO COMPRESSORS
     DEPT CH 19511                                                  ¨ Contingent
     PALATINE, IL 60055-9511                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.101 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,445.70
     ATLAS COPCO NORTH AMERICA, INC
     DEPT CH 17251                                                  ¨ Contingent
     PALATINE, IL 60055-7251                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.102 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,612.57
     ATLAS FIRST ACCESS, LLC
     27302 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1273                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.103 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  51,255.00
     ATLAS PALLET COMPANY
     131 N. KINGS RD.                                               ¨ Contingent
     NAMPA, ID 83687                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.104 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 150,095.35
     ATLAS STAFFING INC
     189 7TH PLACE EAST                                             ¨ Contingent
     ST. PAUL, MN 55101                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.105 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  26,024.28
     ATLAS TOYOTA MATERIAL HANDLING
     27294 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1272                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.106 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,594.00
     ATS ENGINEERING INC.
     104 HEDGEDALE ROAD                                             ¨ Contingent
     BRAMPTON, ON L6T 5L2                                           ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.107 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    791.55
     AUGER FABRICATION, INC
     4102 EDGES MILL ROAD                                           ¨ Contingent
     DOWNINGTOWN, PA 19335                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.108 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,434.50
     AUSTRADE, INC.
     777 N. US HIGHWAY 1                                            ¨ Contingent
     TEQUESTA, FL 33469                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.109 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,132.33
     AUTODESK INC.
     PO BOX 2188                                                    ¨ Contingent
     CAROL STREAM, IL 60132-2188                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.110 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,501.40
     AUTOMATION, INC.
     4830 AZELIA AVENUE NORTH                                       ¨ Contingent
     MINNEAPOLIS, MN 55429                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.111 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,154.60
     AUTOMATIONDIRECT.COM INC.
     POBOX 402417                                                   ¨ Contingent
     ATLANTA, GA 30384-2417                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.112 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,293.50
     AVANA ELECTROTEK
     PO BOX 644                                                     ¨ Contingent
     ELK GROVE, IL 60009                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.113 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  18,895.90
     AVID PALLET RECYCLING LLC
     PO BOX 1327                                                    ¨ Contingent
     BELOIT, WI 53512                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.114 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,813.94
     AXON LLC
     PO BOX 73211                                                   ¨ Contingent
     CLEVELAND, OH 44193                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.115 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,409.57
     BAKER PERKINS INC.
     3223 KRAFT AVENUE SE                                           ¨ Contingent
     GRAND RAPIDS, MI 49512                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.116 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 461,088.88
     BAKERY EQUIPMENT & CONTROLS
     4205 NIGHTHAWK RD.                                             ¨ Contingent
     BILLINGS, MT 59106                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.117 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.118 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.119 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.120 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.121 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.122 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.123 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.124 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.125 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.126 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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3.127 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.128 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.129 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAKERY, CONFECTIONERY, TOBACCO WORKERS AND GRAIN
     MILLERS INTERNATIONAL UNION                                    þ Contingent
     10401 CONNECTICUT AVENUE, FLOOR 4                              þ Unliquidated
     KENSINGTON, MD 20895                                           þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.130 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      308.20
     BANSEVICIUS, GINTARAS
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.131 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 1,842,407.83
     BARRY CALLEBAUT U.S.A. LLC
     28543 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1285                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.132 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,288.46
     BASTIAN SOLUTIONS
     ACCOUNTS RECEIVABLE                                            ¨ Contingent
     10585 N MERIDIAN ST. 2ND FLOOR                                 ¨ Unliquidated
     CARMEL, IN 46290                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.133 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BATEAST, MONECA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: EEOC Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.134 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,928.29
     BATES SECURITY, LLC
     POBOX 747049                                                   ¨ Contingent
     ATLANTA, GA 30374-7049                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.135 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAUER II, ALAN T
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: EEOC Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.136 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,680.16
     BAY CORRUGATED CONTAINER, INC.
     P.O. BOX 637820                                                ¨ Contingent
     CINCINNATI, OH 45263-7820                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.137 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,504.00
     BAY STATE MILLING COMPANY
     PO BOX 200646                                                  ¨ Contingent
     DALLAS, TX 75320-0646                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.138 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,676.94
     BAY VALLEY FOODS
     21077 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1210                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.139 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 70,603.82
     BCFOODS, INC.
     1330 N. DUTTON AVE                                             ¨ Contingent
     SUITE 100                                                      ¨ Unliquidated
     SANTA ROSA, CA 95401                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.140 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    230.08
     BCN TELECOM INC TBS
     P.O. BOX 830259                                                ¨ Contingent
     PHILADELPHIA, PA 19182-0259                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.141 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     35.60
     BEARCOM
     PO BOX 670354                                                  ¨ Contingent
     DALLAS, TX 75267-0354                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.142 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,906.77
     BEARING DISTRIBUTORS INC.
     P.O. BOX 74493                                                 ¨ Contingent
     CLEVELAND, OH 44194-0002                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.143 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,173.54
     BECKER PUMPS CORP
     PO BOX 72294                                                   ¨ Contingent
     CLEVELAND, OH 44192                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.144 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 15,574.14
     BELMARK INC.
     PO BOX 8814                                                    ¨ Contingent
     CAROL STREAM, IL 60197-8814                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.145 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  13,931.11
     BELT POWER, LLC
     PO BOX 306103                                                  ¨ Contingent
     NASHVILLE, TN 37230-6103                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.146 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    802.50
     BEN NELSON GOLF & OUTDOOR
     2085 COVINGTON PIKE                                            ¨ Contingent
     MEMPHIS, TN 38128                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.147 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  23,276.08
     BENCHMARK AUTOMATION, LLC
     PO BOX 932813                                                  ¨ Contingent
     SUITE 608                                                      ¨ Unliquidated
     CLEVELAND, OH 44193                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.148 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    390.35
     BERG, MICHELLE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.149 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 252,190.86
     BERRY GLOBAL, INC.
     P O BOX 633485                                                 ¨ Contingent
     CINCINNATI, OH 45263-3485                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.150 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,884.00
     BERRY PALLET INC
     1501 4TH ST. SW                                                ¨ Contingent
     WASECA, MN 56093                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.151 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,709.07
     BESCO WATER TREATMENT
     P.O. BOX 1310                                                  ¨ Contingent
     BATTLE CREEK, MI 49016                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.152 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.72
     BEST PACKAGING SYSTEMS INC.
     8699 ESCARPMENT WAY                                            ¨ Contingent
     MILTON, ON L9T 0J5                                             ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.153 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,961.91
     BEUSCHEL SALES INC.
     2835 14 MILE RD NW                                             ¨ Contingent
     SPARTA, MI 49345                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.154 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    205.45
     BIFF'S, INC
     6430 COUNTRY ROAD 101 E                                        ¨ Contingent
     SHAKOPEE, MN 55044                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.155 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    133.75
     BIG PICTURE DATA IMAGING, LLC
     700 S. 3RD ST.                                                 ¨ Contingent
     TERRE HAUTE, IN 47807                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.156 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,593.75
     BIRKEMEYER, GARY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.157 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,350.00
     B-K TOOL & DESIGN INC.
     480 W. MAIN ST.                                                ¨ Contingent
     SUITE 100                                                      ¨ Unliquidated
     KALIDA, OH 45853                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.158 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 610,824.00
     BLUE DIAMOND
     BANK OF AMERICA - CH LOCKBOX                                   ¨ Contingent
     POBOX 96269                                                    ¨ Unliquidated
     CHICAGO, IL 60693-6269                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.159 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  12,500.00
     BLUEPRINT AUTOMATION INC
     POBOX 829951                                                   ¨ Contingent
     PHILADELPHIA, PA 19182-9951                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.160 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  42,500.00
     BLUEWATER HAYES INC.
     P.O. BOX 501                                                   ¨ Contingent
     ROCKFORD, MI 49341                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.161 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  28,656.91
     BOISE CITY UTILITY BILLING
     PO BOX 2600                                                    ¨ Contingent
     BOISE, ID 83701-2600                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.162 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,528.40
     BORGIA DIE & ENGINEERING
     POBOX 65                                                       ¨ Contingent
     MARNE, MI 49435                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.163 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,065.01
     BORREGAARD AS
     P.O. BOX 162                                                   ¨ Contingent
     SARPSBORG, 1701                                                ¨ Unliquidated
     NORWAY                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.164 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 41,818.00
     BOYD STATION FOODS, LLC.
     557 ELYSBURG RD                                                ¨ Contingent
     DANVILLE, PA 17821                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.165 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,487.50
     BRADMAN LAKE INC.
     LOCKBOX #601833                                                ¨ Contingent
     CHARLOTTE, NC 28260-1833                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.166 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  11,966.00
     BRANDED WELDING
     8699 FLAT CREEK DR, UNIT 4C                                    ¨ Contingent
     ROCKFORD, MI 49341                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.167 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,389.00
     BRANSON ULTRASONICS CORPORATION
     P.O. BOX 73174                                                 ¨ Contingent
     SUITE C                                                        ¨ Unliquidated
     CHICAGO, IL 60673-7174                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.168 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,421.00
     BRAVO ENTERPRISE
     15821 PERKINS ROAD                                             ¨ Contingent
     BATON ROUGE, LA 70810                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.169 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,357.43
     BREAKTIME VENDING SOUTHEAST, LLC
     POBOX 1490                                                     ¨ Contingent
     CORBIN, KY 40702                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.170 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,796.00
     BRECHBUHLER SCALES, INC.
     1424 SCALE ST. S.W.                                            ¨ Contingent
     SUITE 316                                                      ¨ Unliquidated
     CANTON, OH 44706-3096                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.171 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,223.34
     BRECOFLEX CO. LLC
     222 INDUSTRIAL WAY WEST                                        ¨ Contingent
     EATONTOWN, NJ 07724                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.172 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,838.02
     BRENNAN EQUIPMENT SERVICES
     6940 HALL STREET                                               ¨ Contingent
     HOLLAND, OH 43528                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.173 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,454.00
     BRENNTAG GREAT LAKES LLC
     PO BOX 7410731                                                 ¨ Contingent
     CHICAGO, IL 60674-0731                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.174 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,191.37
     BRIESS INDUSTRIES
     PO BOX 88679                                                   ¨ Contingent
     MILWAUKEE, WI 53288-8679                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.175 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,023.56
     BROADMOOR PRODUCTS INC.
     4201 BROCKTON DRIVE SE                                         ¨ Contingent
     GRAND RAPIDS, MI 49512                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.176 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,247.00
     BROCK'S LANDSCAPING
     200 HODGE LANE                                                 ¨ Contingent
     LONDON, KY 40741                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.177 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,574.00
     BROOKSIDE FLAVORS & INGREDIENTS
     1210 N SWIFT RD                                                ¨ Contingent
     ADDISON, IL 60101                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.178 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    457.02
     BRUSKE PRODUCTS
     PO BOX 669                                                     ¨ Contingent
     TINLEY PARK, IL 60477-0669                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.179 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    264.50
     BRYAN CAVE LEIGHTON PAISNER LLP
     POBOX 503089                                                   ¨ Contingent
     ST. LOUIS, MO 63150-3089                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.180 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 60,856.81
     BRYCE CORP.
     23375 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1233                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.181 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 17,404.09
     BUCKEYE BUSINESS PRODUCTS, INC.
     PO BOX 392340                                                  ¨ Contingent
     CLEVELAND, OH 44193                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.182 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  57,451.72
     BUHLER INC.
     28064 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1280                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.183 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,540.87
     BULKMATIC SOLUTIONS, LLC
     PO BOX 854756                                                  ¨ Contingent
     #774756                                                        ¨ Unliquidated
     MINNEAPOLIS, MN 55485-4756                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.184 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 120,764.24
     BUNGE NORTH AMERICA
     2612 SOLUTION CENTER                                           ¨ Contingent
     CHICAGO, IL 60677-2006                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.185 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    373.65
     BUNZL PROCESSOR DIVISION
     12240 COLLECTIONS CENTER DRIVE                                 ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.186 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 455,382.17
     BURT LEWIS INGREDIENTS LLC
     875 N MICHIGAN AVE                                             ¨ Contingent
     SUITE 2720                                                     ¨ Unliquidated
     CHICAGO, IL 60611                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.187 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,092.72
     BUSCH BROTHERS MACHINING, INC.
     600 6TH ST NW                                                  ¨ Contingent
     NEW PRAGUE, MN 56071                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.188 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 106,090.56
     BUSINESS IT SOURCE, INC.
     850 ASBURY DR., UNIT B                                         ¨ Contingent
     BUFFALO GROVE, IL 60089                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.189 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  20,355.40
     BW FLEXIBLE SYSTEMS
     25242 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1252                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.190 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,258.74
     BW PACKAGING SYSTEMS
     25244 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1252                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.191 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,319.91
     C & T DESIGN AND EQUIPMENT CO., INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.192 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,778.46
     CAIN FOOD INDUSTRIES
     8401 SOVEREIGN ROW                                             ¨ Contingent
     DALLAS, TX 75247                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.193 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    323.84
     CALCO, LTD.
     960 MUIRFIELD DR.                                              ¨ Contingent
     HANOVER PARK, IL 60133                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.194 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  16,015.38
     CALDIC USA INC
     4811 S. EASTERN AVE                                            ¨ Contingent
     BELL, CA 90201-6405                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.195 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     CALDWELL III, THOMAS
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: EEOC Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.196 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 181,242.42
     CALIFORNIA DAIRIES, INC
     2000 N PLAZA DR                                                ¨ Contingent
     VISALIA, CA 93291                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.197 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 61,588.00
     CALIFORNIA NUTRITIONAL PRODUCTS
     64-405 LINCOLN ST.                                             ¨ Contingent
     MECCA, CA 92254                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.198 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,549.00
     CAMBRIDGE CHAIN INC.
     POBOX 74754                                                    ¨ Contingent
     CHICAGO, IL 60694-4754                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.199 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    316.50
     CAMCODE
     PO BOX 73702-N                                                 ¨ Contingent
     CLEVELAND, OH 44193                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.200 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,508.32
     CAMFIL USA, INC.
     3302 SOLUTIONS CENTER                                          ¨ Contingent
     CHICAGO, IL 60677                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.201 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    331.59
     CAMPBELL WRAPPER
     1415 FORTUNE AVE                                               ¨ Contingent
     DE PERE, WI 54115                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.202 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    887.35
     CANON SOLUTIONS AMERICA, INC.
     15004 COLLECTIONS CENTER DRIVE                                 ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.203 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,046.40
     CAPITOL FOOD COMPANY
     PO BOX 6629                                                    ¨ Contingent
     PASADENA, CA 91109-6572                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.204 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,041.71
     CARLIN AUTOMATION INC.
     PO BOX 632109                                                  ¨ Contingent
     CINCINNATI, OH 45263-2109                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.205 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,209.20
     CARL'S TRUCK & TRAILER REPAIR, INC.
     148 E. US HWY 20                                               ¨ Contingent
     SUITE 325                                                      ¨ Unliquidated
     CHESTERTON, IN 46304                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.206 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     CASA DUPAGE WORKERS CENTER
     311 S NAPERVILLE                                               þ Contingent
     SUITE C                                                        þ Unliquidated
     WHEATON, IL 60187                                              þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.207 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     CASA DUPAGE WORKERS CENTER
     311 S NAPERVILLE                                               þ Contingent
     SUITE C                                                        þ Unliquidated
     WHEATON, IL 60187                                              þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.208 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     CASA DUPAGE WORKERS CENTER
     311 S NAPERVILLE                                               þ Contingent
     SUITE C                                                        þ Unliquidated
     WHEATON, IL 60187                                              þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.209 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     CASA DUPAGE WORKERS CENTER
     311 S NAPERVILLE                                               þ Contingent
     SUITE C                                                        þ Unliquidated
     WHEATON, IL 60187                                              þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.210 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     CASA DUPAGE WORKERS CENTER
     311 S NAPERVILLE                                               þ Contingent
     SUITE C                                                        þ Unliquidated
     WHEATON, IL 60187                                              þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.211 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     CASA DUPAGE WORKERS CENTER
     311 S NAPERVILLE                                               þ Contingent
     SUITE C                                                        þ Unliquidated
     WHEATON, IL 60187                                              þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.212 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     CASA DUPAGE WORKERS CENTER
     311 S NAPERVILLE                                               þ Contingent
     SUITE C                                                        þ Unliquidated
     WHEATON, IL 60187                                              þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.213 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     CASA DUPAGE WORKERS CENTER
     311 S NAPERVILLE                                               þ Contingent
     SUITE C                                                        þ Unliquidated
     WHEATON, IL 60187                                              þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.214 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,900.50
     CASCADE COLUMBIA DISTRIBUTION
     6900 FOX AVE S                                                 ¨ Contingent
     SEATTLE, WA 98108                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.215 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     85.80
     CASTERDEPOT
     POBOX 30516                                                    ¨ Contingent
     LANSING, MI 48909-8016                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.216 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,293.58
     CATANIA-SPAGNA CORPORATION
     P.O. BOX 414439                                                ¨ Contingent
     BOSTON, MA 02241-4439                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.217 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,077.83
     CCH
     PO BOX 4307                                                    ¨ Contingent
     CAROL STREAM, IL 60197-4307                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.218 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  76,205.08
     CCP INDUSTRIES
     PO BOX 6500                                                    ¨ Contingent
     CLEVELAND, OH 44143                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.219 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,796.68
     CED
     PO BOX 936350                                                  ¨ Contingent
     SUITE 105                                                      ¨ Unliquidated
     ATLANTA, GA 31193-6350                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.220 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,667.63
     CENTERPOINT ENERGY INDIANA NORTH
     POBOX 4671                                                     ¨ Contingent
     HOUSTON, TX 77210-4671                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.221 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 558,399.22
     CENTIMARK CORPORATION
     POBOX 536254                                                   ¨ Contingent
     PITTSBURGH, PA 15253-5904                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.222 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 221,338.50
     CENTRAL MICHIGAN
     BUILDING SERVICES                                              ¨ Contingent
     985 EAST MAIN ST                                               ¨ Unliquidated
     IONIA, MI 48846                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.223 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 204,248.03
     CENTRAL SECURITY & COMMUNICATIONS
     11201 USA PARKWAY                                              ¨ Contingent
     STE 100                                                        ¨ Unliquidated
     FISHERS, IN 46037                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.224 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  58,940.28
     CENTRAL STATES DIST SVC.
     3401 LYNCH CREEK DR.                                           ¨ Contingent
     DANVILLE, IL 61834                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.225 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,703.33
     CENTRAL STATES INDUSTRIAL EQUIPMENT & SERVICE, INC.
     2700 N PARTNERSHIP BLVD                                        ¨ Contingent
     SPRINGFIELD, MO 65803                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.226 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,769.61
     CENTRAL STATES WIRE PRODUCTS INC
     871 EDGERTON STREET                                            ¨ Contingent
     ST PAUL, MN 55130                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.227 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    679.82
     CENTRAL STEEL & WIRE
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.228 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,253.90
     CERTASITE, LLC
     PO BOX 772443                                                  ¨ Contingent
     DETROIT, MI 48277-2443                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.229 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 106,938.15
     CERTIFIED LABORATORIES OF THE MIDWEST
     ATTN: ACCOUNTING                                               ¨ Contingent
     65 MARCUS DRIVE DEPT. CMW                                      ¨ Unliquidated
     MELVILLE, NY 11747                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.230 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     CHABAD HOUSE
     2615 MICHIGAN N.E.                                             ¨ Contingent
     GRAND RAPIDS, MI 49506                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.231 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  80,658.05
     CHAMPION ENERGY SERVICES, LLC
     PO BOX 787626                                                  ¨ Contingent
     #774749                                                        ¨ Unliquidated
     PHILADELPHIA, PA 19178-7626                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.232 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    727.42
     CHARTER COMMUNICATIONS
     PO BOX 6030                                                    ¨ Contingent
     CAROL STREAM, IL 60197-0630                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.233 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  32,783.84
     CHEMSTATION INTERNATIONAL
     P.O. BOX 931097                                                ¨ Contingent
     CLEVELAND, OH 44193                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.234 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,866.35
     CHEMSTATION INTERNATIONAL
     P.O. BOX 931097                                                ¨ Contingent
     CLEVELAND, OH 44193                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.235 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,794.77
     CHEMTREAT
     15045 COLLECTIONS CENTER DRIVE                                 ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.236 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 186,815.05
     CHEP PALLET MGT. SYSTEMS
     15226 COLLECTIONS CENTER DRIVE                                 ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.237 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    390.44
     CHESAPEAKE SPICE COMPANY, LLC
     P.O. BOX 6129                                                  ¨ Contingent
     HERMITAGE, PA 16148-0922                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.238 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  30,483.68
     CHICAGO CODING SYSTEMS
     P.O. BOX 3730                                                  ¨ Contingent
     ST CHARLES, IL 60174                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.239 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    852.66
     CHROUCH COMMUNICATION INC
     7860 MORRISON LAKE ROAD                                        ¨ Contingent
     SARANAC, MI 48881                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.240 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  33,330.01
     CHURCH & DWIGHT CO. INC.
     POBOX 95055                                                    ¨ Contingent
     CHICAGO, IL 60694                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.241 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 108,847.35
     CINTAS CORP
     P.O. BOX 630921                                                ¨ Contingent
     CINCINNATI, OH 45263-0921                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.242 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,500.80
     CISCO INC.
     PO BOX 1803                                                    ¨ Contingent
     GRAND RAPIDS, MI 49501                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.243 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    802.34
     CITADEL
     1287 NAPERVILLE DR.                                            ¨ Contingent
     STE A                                                          ¨ Unliquidated
     ROMEOVILLE, IL 60446                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.244 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,856.25
     CITADEL FIRE SPRINKLER, INC.
     133 BELCHER DR.                                                ¨ Contingent
     PELHAM, AL 35124                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.245 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 43,638.29
     CITY APPAREL
     116 E. MAIN CROSS ST.                                          ¨ Contingent
     FINDLAY, OH 45840                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.246 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,531.74
     CITY OF BOISE
     SEWER FUND                                                     ¨ Contingent
     BOISE, ID 83701-0500                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.247 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  15,023.32
     CITY OF DES PLAINES
     PO BOX 734160                                                  ¨ Contingent
     CHICAGO, IL 60673-4160                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.248 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    836.46
     CITY OF GIBSON
     101 EAST EIGHTH STREET PO BOX 545                              ¨ Contingent
     GIBSON CITY, IL 60936                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.249 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  16,820.02
     CITY OF GRAND RAPIDS TREASURY
     RM 220 CITY HALL -WATER/SEWER                                  ¨ Contingent
     300 MONROE AVENUE NW                                           ¨ Unliquidated
     GRAND RAPIDS, MI 49503                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.250 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 176,147.27
     CITY OF KENTWOOD
     4900 BRETON AVE SE                                             ¨ Contingent
     KENTWOOD, MI 49518-8848                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.251 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    502.08
     CITY OF TERRE HAUTE
     17 HARDING AVE                                                 ¨ Contingent
     TERRE AHUTE, IN 47807                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.252 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,094.36
     CITY OF WENONA
     226 S CHESTNUT ST.                                             ¨ Contingent
     WENONA, IL 61377                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.253 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    782.43
     CITY SUPPLY, INC.
     4301 OHIO ST                                                   ¨ Contingent
     MICHIGAN CITY, IN 46360                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.254 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,059.28
     CITY WIDE MAINTENANCE OF MN
     11979 COUNTY RD. 11                                            ¨ Contingent
     SUITE 250                                                      ¨ Unliquidated
     BURNSVILLE, MN 55337                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.255 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 187,559.14
     CL&D GRAPHICS, INC.
     PO BOX 933511                                                  ¨ Contingent
     CLEVELAND, OH 44193                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.256 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      50.00
     CLARENCE BRUNS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.257 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 652,671.50
     CLASEN QUALITY CHOCOLATE
     5126 W. TERRACE DR.                                            ¨ Contingent
     MADISON, WI 53718                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.258 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,243.00
     CLASSIC TRANSPORTATION & WAREHOUSING
     4729 DIVISION AVENUE                                           ¨ Contingent
     WAYLAND, MI 49348                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.259 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,800.34
     CLM SYSTEMS
     14350 10TH STREET                                              ¨ Contingent
     DADE CITY, FL 33523                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.260 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  39,787.69
     CLOVERLEAF CHEMICAL COMPANY
     1000 ESSINGTON RD                                              ¨ Contingent
     STE C                                                          ¨ Unliquidated
     JOLIET, IL 60435                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.261 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  18,080.28
     CMMS DATA GROUP, INC.
     123 W. MADISON STREET                                          ¨ Contingent
     CHICAGO, IL 60602                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.262 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    140.00
     COBBLESTONE SYSTEMS CORP
     428 S. WHITE HORSE PIKE                                        ¨ Contingent
     LINDENWOLD, NJ 08021                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.263 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,832.98
     COCHRANE SUPPLY & ENG.
     30303 STEPHENSON HIGHWAY                                       ¨ Contingent
     MADISON HEIGHTS, MI 48071                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.264 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      94.95
     COFESSCO FIRE PROTECTION
     411 OTTAWA STREET                                              ¨ Contingent
     MUSKEGON, MI 49442                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.265 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 175,073.00
     COGNEX CORPORATION
     POBOX 27623                                                    ¨ Contingent
     NEW YORK, NY 10087-7623                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.266 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,691.86
     COLDWELL & CO. INC.
     POBOX 10098                                                    ¨ Contingent
     TERRE HAUTE, IN 47801                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.267 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,070.25
     COLE-PARMER INSTRUMENT CO.
     13927 COLLECTIONS CENTER DR.                                   ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.268 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 60,120.00
     COLLINS PALLET
     1584 BLAINE STREET                                             ¨ Contingent
     GARY, IN 46406                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.269 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     67.26
     COLOR CARD ADMINISTRATOR
     7898 OSTROW STREET                                             ¨ Contingent
     SUITE E                                                        ¨ Unliquidated
     SAN DIEGO, CA 92111                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.270 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 77,727.35
     COLORMASTERS
     DEPT #5829                                                     ¨ Contingent
     P.O. BOX 11407                                                 ¨ Unliquidated
     BIRMINGHAM, AL 35246-5829                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.271 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 19,648.00
     COLUMBIA CORRUGATED BOX
     12777 SW TUALATIN-SHERWOOD RD                                  ¨ Contingent
     TUALATIN, OR 97062                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.272 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,348.84
     COLUMBIA ELECTRIC SUPPLY
     PO BOX 888855                                                  ¨ Contingent
     LOS ANGELES, CA 90088-8855                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.273 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 132,555.27
     COLUMBIAN DISTRIBUTION SERVICE
     2900 DIXIE AVENUE                                              ¨ Contingent
     GRAND RAPIDS, MI 49418                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.274 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     115.00
     COLUMBUS VEGETABLE OILS
     4990 PAYSPHERE CIRCLE                                          ¨ Contingent
     CHICAGO, IL 60674                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.275 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    984.65
     COMBINED FLUID PRODUCTS
     805 OAKWOOD RD                                                 ¨ Contingent
     SUITE F                                                        ¨ Unliquidated
     LAKE ZURICH, IL 60047                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.276 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  28,154.32
     COMCAST
     POBOX 71211                                                    ¨ Contingent
     CHARLOTTE, NC 28272-1211                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.277 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 48,925.97
     COMED
     PO BOX 6112                                                    ¨ Contingent
     CAROL STREAM, IL 60197-6112                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.278 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 25,855.00
     COMFORT SYSTEMS USA
     5051 COMMERCE CROSSINGS DRIVE                                  ¨ Contingent
     LOUISVILLE, KY 40229                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.279 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 36,018.86
     COMMERCIAL CREAMERY COMPANY
     159 S CEDAR ST                                                 ¨ Contingent
     SPOKANE, WA 99201                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.280 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 45,971.23
     COMMERCIAL QUALITY & FOOD SAFTEY SOLUTIONS/IHCBP INFINITY
     350 PETERS ST. SW UNIT 18                                      ¨ Contingent
     ATLANTA, GA 30313                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.281 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    762.36
     COMMONWEALTH BUSINESS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.282 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  24,719.40
     COMPASS INDUSTRIAL GROUP LLC
     PO BOX 772                                                     ¨ Contingent
     BOGART, GA 30622                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.283 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      56.49
     COMPASS SALES AND MARKETING, L.L.C.
     1582 HARVEST COVE DRIVE                                        ¨ Contingent
     MIDDLEBURG, FL 32068                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.284 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,466.10
     CONCENTRIC, LLC
     POBOX 953262                                                   ¨ Contingent
     ST. LOUIS, MO 63195-3262                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.285 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    698.68
     CONFOCO USA, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.286 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 144,623.67
     CONSTELLATION NEW ENERGY GAS DIV
     BANK OF AMERICA LOCKBOX SERVICES                               ¨ Contingent
     P O BOX 5473                                                   ¨ Unliquidated
     CAROL STREAM, IL 60197-4640                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.287 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 270,230.15
     CONSUMERS ENERGY
     POBOX 740309                                                   ¨ Contingent
     CINCINNATI, OH 45274-0309                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.288 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    250.00
     CONTINENTAL CAFE LLC
     DBA CUYAHOGA FRANKLIN GROUP                                    ¨ Contingent
     PO BOX 713315                                                  ¨ Unliquidated
     CHICAGO, IL 60677-1347                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.289 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    134.52
     CONTINENTAL CARBONIC PRODUCTS, INC
     POBOX 123833 DEPT 3833                                         ¨ Contingent
     DALLAS, TX 75312-3833                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.290 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    605.53
     COPENHAVER, JOHN ROBERT
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.291 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  28,246.00
     COPERION K-TRON SALINA, INC.
     POBOX 536180                                                   ¨ Contingent
     PITTSBURGH, PA 15253                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.292 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,855.09
     COPERION PROCESS SOLUTION LLC
     PO BOX 19747                                                   ¨ Contingent
     PALATINE, IL 60055-9747                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.293 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 92,295.65
     COPESAN SERVICES INC
     POBOX 8442                                                     ¨ Contingent
     CAROL STREAM, IL 60197-8442                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.294 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,237.02
     CORBIN FLOWER SHOP
     PO BOX 500                                                     ¨ Contingent
     CORBIN, KY 40702                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.295 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,435.77
     CORNERSTONE COPY CENTER
     20776 HOLYOKE AVE                                              ¨ Contingent
     PO BOX 1403                                                    ¨ Unliquidated
     LAKEVILLE, MN 55044                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.296 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 43,566.74
     CORNERSTONE INDUSTRIES CORP.
     8781 MOTORSPORTS WAY                                           ¨ Contingent
     BROWNSBURG, IN 46112                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.297 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 87,640.99
     CP FLEXIBLE PACKAGING
     PO BOX 62858                                                   ¨ Contingent
     BALTIMORE, MD 21264-2858                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.298 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,968.93
     CRANE 1 SERVICES, INC.
     PO BOX 952045                                                  ¨ Contingent
     CLEVELAND, OH 44193                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.299 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,755.53
     CRATERS AND FREIGHTERS
     PO BOX 1360                                                    ¨ Contingent
     LA VERGNE, TN 37086                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.300 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 70,998.00
     CREATIVE FOOD INGREDIENTS
     1 LINCOLN AVENUE                                               ¨ Contingent
     PERRY, NY 14530                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.301 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    177.01
     CRESCENT ELECTRIC SUPPLY CO.
     PO BOX 500                                                     ¨ Contingent
     EAST DUBUQUE, IL 61025-4420                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.302 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,269.23
     CROSSPOINT COMMUNICATIONS LLC
     7433 GLENVISTA PLACE                                           ¨ Contingent
     FISHERS, IN 46038                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.303 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 26,928.52
     CROWN EQUIPMENT CORPORATION
     PO BOX 641173                                                  ¨ Contingent
     CINCINNATI, OH 45264-1173                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.304 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 25,280.00
     CS PALLET, INC
     13901 WOODLAWN HILLS DRIVE                                     ¨ Contingent
     CEDAR SPRINGS, MI 49319                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.305 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,152.75
     CULLIGAN LIMA
     3900 WILMINGTON PIKE                                           ¨ Contingent
     KETTERING, OH 45429-5053                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.306 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    183.62
     CULLIGAN OF MICHIANA
     56861 FERRETTIE CT                                             ¨ Contingent
     MISHAWAKA, IN 46545-7480                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.307 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,064.59
     CUMMINS SALES AND SERVICE
     PO BOX 772639                                                  ¨ Contingent
     #774494                                                        ¨ Unliquidated
     DETROIT, MI 48277-2639                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.308 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,929.99
     CUYAHOGA FRANKLIN GROUP
     P.O. 933514                                                    ¨ Contingent
     CLEVELAND, OH 44193-3514                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.309 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,900.00
     CV TECHNOLOGY INC.
     15852 MERECANTILE CT.                                          ¨ Contingent
     JUPITER, FL 33478                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.310 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    440.00
     D.A. DODD, INC.
     P.O. BOX 430                                                   ¨ Contingent
     ROLLING PRAIRIE, IN 46371                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.311 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,136.20
     D.D. WILLIAMSON & CO., INC.
     23454 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1234                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.312 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,964.07
     D.L. NEU & ASSOCIATES, INC.
     5805 WELLER CT. SE                                             ¨ Contingent
     SUITE A                                                        ¨ Unliquidated
     WYOMING, MI 49509                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.313 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,284.60
     DAABON ORGANIC USA, INC.
     1110 BRICKELL AVENUE                                           ¨ Contingent
     STE 212                                                        ¨ Unliquidated
     MIAMI, FL 33131                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.314 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,671.55
     DAIRY FARMERS OF AMERICA
     2637 COLLECTION CENTER DR.                                     ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.315 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 178,207.58
     DAKOTA GROWERS PASTA CO INC
     27242 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1272                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.316 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  93,765.00
     DAKOTA SPECIALTY MILLING, INC.
     PO BOX 46                                                      ¨ Contingent
     FARGO, ND 58107                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.317 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 297,465.81
     DANISCO USA, INC
     P. O. BOX 32020                                                ¨ Contingent
     NEW YORK, NY 10087-2020                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.318 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,268.40
     DBS ENTERPRISES, LLC
     439 MOREN ROAD                                                 ¨ Contingent
     LONDON, KY 40741                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.319 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    754.80
     DD WILLIAMSON
     23454 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.320 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,402.50
     DDN INDUSTRIES INC
     2155 STONINGTON                                                ¨ Contingent
     SUITE 221                                                      ¨ Unliquidated
     HOFFMAN ESTATES, IL 60169                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.321 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    840.20
     DEAN BOILER, INC.
     1824 3 MILE RD NW                                              ¨ Contingent
     GRAND RAPIDS, MI 49544                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.322 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,628.00
     DEBAUN'S LAWN CARE LLC
     9788 N. PRIVATE RD 310 W.                                      ¨ Contingent
     BRAZIL, IN 47834                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.323 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 112,058.45
     DEEM
     11201 USA PARKWAY                                              ¨ Contingent
     SUITE 200                                                      ¨ Unliquidated
     FISHERS, IN 46037                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.324 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,942.40
     DEIBEL LABORATORIES OF ILLINOIS, INC
     7120 NORTH RIDGEWAY                                            ¨ Contingent
     LINCOLNWOOD, IL 60712                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.325 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    255.00
     DELPHOS RESTAURANT EQUIPMENT & DELPHOS MEDICAL VENDING
     101 SOUTH MAIN ST                                              ¨ Contingent
     DELPHOS, OH 45833                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.326 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    207.53
     DELTA NATURAL GAS COMPANY, INC.
     PO BOX 747108                                                  ¨ Contingent
     PITTSBURGH, PA 15274-7108                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.327 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,258.37
     DEPARTMENT OF WATER WORKS SANITARY DISTRICT
     P.O. BOX 888                                                   ¨ Contingent
     MICHIGAN CITY, IN 46361                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.328 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    165.00
     DES PLAINES PLANT 3010
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.329 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    234.15
     DESHLER MUNICIPAL UTILITIES
     935 W MAIN ST                                                  ¨ Contingent
     DESHLER, OH 43516                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.330 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,572.05
     DETECTAMET INC
     5111 GLEN ALDEN DRIVE                                          ¨ Contingent
     RICHMOND, VA 23231                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.331 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 129,186.59
     DETROIT FORMING INC.
     C/O MI BANK                                                    ¨ Contingent
     3707 W. MAPLE RD.                                              ¨ Unliquidated
     BLOOMFIELD HILLS, MI 48301                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.332 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    210.00
     DEWALL, DAVID
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.333 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,365.16
     DIAGRAPH MARKING AND CODING GROUP
     75 REMITTANCE DRIVE                                            ¨ Contingent
     SUITE 1234                                                     ¨ Unliquidated
     CHICAGO, IL 60675                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.334 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 30,080.80
     DIAMOND FOODS LLC
     PO BOX 669206                                                  ¨ Contingent
     DALLAS, TX 75266-9206                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.335 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,230.00
     DIAMOND RENTALS INC
     892 W CHAMPAIGN AVE.                                           ¨ Contingent
     RANTOUL, IL 61866                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.336 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,566.90
     DICK JONES SALES, INC.
     258 BALTIMORE STREET                                           ¨ Contingent
     HANOVER, PA 17331-0141                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.337 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,243.16
     DICKS SANITATION SERVICE, INC.
     A WASTE CONNECTIONS COMPANY                                    ¨ Contingent
     PO BOX 679859                                                  ¨ Unliquidated
     DALLAS, TX 75267-9859                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.338 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 26,380.00
     DIE SAND MANUFACTURING INC.
     500 WOLVERINE NE                                               ¨ Contingent
     ROCKFORD, MI 49341                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.339 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,060.79
     DIGI-KEY CORPORATION
     701 BROOKS AVE. S.                                             ¨ Contingent
     THIEF RIVER FALLS, MN 56701-0677                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.340 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 53,244.79
     DIRECT ELECTRONICS PLUS, INC.
     7203 LIMERICK LN. SW                                           ¨ Contingent
     BYRON CENTER, MI 49315                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.341 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    103.89
     DISH NETWORK
     P.O. BOX 94063                                                 ¨ Contingent
     PALATINE, IL 60094-4063                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.342 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,518.14
     Distinctive Catering
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.343 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 28,608.83
     DISTRIBUTOR'S TERMINAL
     PO BOX 3287                                                    ¨ Contingent
     TERRE HAUTE, IN 47803                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.344 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  11,882.47
     DIVERSIFIED WASTE SOLUTIONS
     321 STEVENS ST                                                 ¨ Contingent
     SUITE A                                                        ¨ Unliquidated
     GENEVA, IL 60134                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.345 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 26,247.43
     DK SECURITY
     PO BOX 888843                                                  ¨ Contingent
     GRAND RAPIDS, MI 49588                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.346 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 19,406.39
     DNV CERTIFICATION INC.
     POBOX 74008806                                                 ¨ Contingent
     CHICAGO, IL 60674-8806                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.347 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     DOMINGUEZ, RAUL ORTIZ
     C/O KARAYANNIS LAW OFFICES                                     þ Contingent
     ATTN: NICHOLAS M. KARAYANNIS                                   þ Unliquidated
     21 N. 4TH STREET                                               þ Disputed
     GENEVA, IL 60134
                                                                    Basis for the claim: Litigation



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.348 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 379,076.33
     DOMINION PACKAGING INC.
     5700 AUDUBON DRIVE                                             ¨ Contingent
     SANDSTON, VA 23150                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.349 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  26,192.38
     DOMINO FOODS, INC.
     PO BOX 751945                                                  ¨ Contingent
     CHARLOTTE, NC 28275-1945                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.350 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    383.35
     DONNELLEY FINANCIAL LLC
     PO BOX 842282                                                  ¨ Contingent
     BOSTON, MA 02284-2282                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.351 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    352.77
     DOT FOODS, INC.
     1 DOT WAY                                                      ¨ Contingent
     PO BOX 192                                                     ¨ Unliquidated
     MT STERLING, IL 62353                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.352 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,325.03
     DOUGLAS MACHINE
     NW8957                                                         ¨ Contingent
     MINNEAPOLIS, MN 55485-8957                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.353 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    120.98
     DRIVES & CONVEYORS INC
     3865 CUMBERLAND FALLS HWY                                      ¨ Contingent
     CORBIN, KY 40701                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.354 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 15,626.26
     DSM FOOD SPECIALTIES USA, INC.
     BANK OF AMERICA                                                ¨ Contingent
     4135 COLLECTION CENTER DR.                                     ¨ Unliquidated
     CHICAGO, IL 60693                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.355 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 56,915.17
     DTE ENERGY
     PO BOX 630795                                                  ¨ Contingent
     H5                                                             ¨ Unliquidated
     CINCINNATI, OH 45263-0795                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.356 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    250.00
     DUGGERS SEPTIC SERVICE INC.
     49 SPINDLE TOP LANE                                            ¨ Contingent
     CORBIN, KY 40701                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.357 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 75,433.53
     DUKE ENERGY
     CINERGY CORP.                                                  ¨ Contingent
     POBOX 1326                                                     ¨ Unliquidated
     CHAROLETTE, NC 28201-1326                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.358 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,054.00
     DUTCH GOLD HONEY
     2220 DUTCH GOLD DRIVE                                          ¨ Contingent
     LANCASTER, PA 17601                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.359 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,458.54
     DXP ENTERPRISES, INC.
     PO BOX 840511                                                  ¨ Contingent
     DALLAS, TX 75284-0511                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.360 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,054.60
     DYKMAN ELECTRICAL INC
     2323 FEDERAL WAY                                               ¨ Contingent
     BOISE, ID 83705                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.361 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     36.55
     DYNATECT MANUFACTURING INC.
     POBOX 88709                                                    ¨ Contingent
     MILWAUKEE, WI 53288-0709                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.362 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    936.00
     E.T. OAKES CORP
     686 OLD WILLETS PATH                                           ¨ Contingent
     HAUPPAUGE, NY 11788                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.363 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,761.50
     EAGLE MARK 4 EQUIPMENT
     POBOX 946                                                      ¨ Contingent
     MANSFIELD, OH 44901                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.364 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,380.23
     EAN SERVICES, LLC
     PO BOX 402383                                                  ¨ Contingent
     ATLANTA, GA 30384-2383                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.365 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    283.80
     EAST COAST TRANSISTOR PARTS, INC.
     2 MARLBOROUGH ROAD                                             ¨ Contingent
     WEST HEMPSTEAD, NY 11552                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.366 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 106,482.59
     ECOLAB INC.
     PO BOX: 32027                                                  ¨ Contingent
     NEW YORK, NY 10087                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.367 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  11,144.72
     ECOLAB PEST ELIMINATION
     26252 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1262                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.368 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 19,688.63
     ECO-TECH USA, LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.369 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,720.00
     EDA, INC.
     POBOX 5173                                                     ¨ Contingent
     TERRE HAUTE, IN 47805                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.370 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    117.43
     EDICT SYSTEMS, INC.
     L-3115                                                         ¨ Contingent
     COLUMBUS, OH 43260                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.371 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,750.00
     EIDSVOLD OVERHEAD DOOR LLC
     6677 400TH ST.                                                 ¨ Contingent
     DENNISON, MN 55018                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.372 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,034.20
     ELK GROVE VILLAGE
     29814 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1298                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.373 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    251.86
     EMD MILLIPORE CORPORATION
     25760 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1257                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.374 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,575.50
     EMT INTERNATIONAL
     780 CENTERLINE DRIVE                                           ¨ Contingent
     HOBART, WI 54155                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.375 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  20,115.06
     ENCORE TRAVEL AMERICAS INC.
     2915 OGLETOWN ROAD                                             ¨ Contingent
     NEWARK, DE 19713                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.376 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    840.00
     ENDURATRED INDUSTRIAL TIRE
     PO BOX 602                                                     ¨ Contingent
     ELMHURST, IL 60126                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.377 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 30,624.23
     ENERGY SPECIALISTS COMPANY, INC.
     224 N. MAIN STREET                                             ¨ Contingent
     TOLUCA, IL 61369                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.378 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 33,400.00
     ENFORCE LLC
     1700 PACIFIC AVE                                               ¨ Contingent
     SUITE 4300                                                     ¨ Unliquidated
     DALLAS, TX 75201                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.379 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,353.86
     ENSIGHT SOLUTIONS
     PO BOX 7410664                                                 ¨ Contingent
     CHICAGO, IL 60674-0664                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.380 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 37,477.01
     ENSONO, LP
     32801 COLLECTION CENTER DR.                                    ¨ Contingent
     CHICAGO, IL 60693-0328                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.381 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,346.78
     ENTHERM INC
     500 EAST TRAVELERS TRAIL                                       ¨ Contingent
     BURNSVILLE, MN 55337                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.382 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,699.18
     ENVIRONMENTAL LEVERAGE, INC.
     812 DOGWOOD DRIVE                                              ¨ Contingent
     NORTH AURORA, IL 60542                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.383 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,711.52
     ENVIRONMENTAL SAFETY PRODUCTS
     700 WEST 6TH ST.                                               ¨ Contingent
     MICHIGAN CITY, IN 46360                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.384 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,295.40
     ENVIRONMENTAL SOLUTIONS
     12427 FIRE ISLAND DR.                                          ¨ Contingent
     LOVES PARK, IL 61111                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.385 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 196,637.84
     ePac Holdings, LLC
     5475 DANIELS ST                                                ¨ Contingent
     CHINO, CA 91710                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.386 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,400.43
     EQUIP LLC
     330 WEST COLFAX APT. 313                                       ¨ Contingent
     SOUTH BEND, IN 46601                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.387 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    520.25
     E-QUIP MFG CO., INC.
     230 INDUSTRY AVENUE                                            ¨ Contingent
     FRANKFORT, IL 60423                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.388 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,125.00
     ESCAPE FIRE PROTECTION
     3000 CENTERVILLE ROAD                                          ¨ Contingent
     LITTLE CANADA, MN 55117                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.389 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 106,081.19
     ESM PRODUCTS LLC
     0N043 PLEASANT HILL RD.                                        ¨ Contingent
     WHEATON, IL 60187                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.390 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     ESPINOZA, LESLIE QUINONEZ
     C/O JUSTICIA LABORAL, LLC                                      þ Contingent
     ATTN: DANIEL I. SCHLADE                                        þ Unliquidated
     6232 N. PULASKI, #300                                          þ Disputed
     CHICAGO, IL 60645
                                                                    Basis for the claim: Litigation



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.391 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,322.18
     ESTES EXPRESS LINES
     3901 WEST BROAD STREET                                         ¨ Contingent
     RICHMOND, VA 23230                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.392 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,298.27
     EUROFINS FOOD CHEMISTRY
     TESTING US INC.                                                ¨ Contingent
     PO BOX 1482                                                    ¨ Unliquidated
     CAROL STREAM, IL 60132-1482                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.393 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,941.67
     EUSTATHIA PANOUSIS
     496 N WALNUT STREET                                            ¨ Contingent
     ELMHURST, IL 60126                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.394 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  45,116.50
     EXAMINETICS, INC.
     PO BOX 7410675                                                 ¨ Contingent
     CHICAGO, IL 60674-0675                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.395 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 23,645.41
     EXIGES INSTRUMENT SYSTEMS, LLC
     POBOX 322                                                      ¨ Contingent
     NEW PALESTINE, IN 46163                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.396 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    329.50
     EXIT 76 CORPORATION
     2696 CHICAGO DRIVE                                             ¨ Contingent
     WYOMING, MI 49519                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.397 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,562.98
     EXOTIC AUTOMATION & SUPPLY
     53500 GRAND RIVER AVE                                          ¨ Contingent
     NEW HUDSON, MI 48165                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.398 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 51,497.00
     F & S ENGRAVING, INC.
     1620 W. CENTRAL RD.                                            ¨ Contingent
     MOUNT PROSPECT, IL 60056-2269                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.399 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,590.00
     FACTORY FIX
     PO BOX 207714                                                  ¨ Contingent
     DALLAS, TX 75320                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.400 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 25,971.55
     FAMILY FEATURES EDITORIAL SYNDICATE
     5825 DEARBORN ST                                               ¨ Contingent
     MISSION, KS 66202                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.401 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 42,850.00
     FARMERS' RICE COOPERATIVE
     PO BOX 15223                                                   ¨ Contingent
     SACRAMENTO, CA 95851                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.402 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    985.00
     FARRINGTON PROPERTIES, LLC
     933 S 5TH ST. APT. 3                                           ¨ Contingent
     TERRE HAUTE, IN 47807                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.403 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    182.00
     FASTEC SERVICES
     750 CIRCLE DRIVE                                               ¨ Contingent
     TRAVELERS REST, SC 29690                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.404 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    329.38
     FASTECHNOLOGY GROUP, LLC
     19 KETTLE RIVER DR.                                            ¨ Contingent
     GLEN CARBON, IL 62034                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.405 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 520,257.01
     FASTENAL COMPANY
     P.O. BOX 1286                                                  ¨ Contingent
     WINONA, MN 55987-1289                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.406 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      82.19
     FASTSIGNS
     3582 29TH ST.                                                  ¨ Contingent
     STE 101                                                        ¨ Unliquidated
     GRAND RAPIDS, MI 49512                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.407 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,725.00
     FAUSKE & ASSOCIATES, LLC
     16W070 83RD ST                                                 ¨ Contingent
     BURR RIDGE, IL 60527                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.408 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    723.66
     FAVORITE BROKERS INC -300QB
     508 NORTH AVENUE                                               ¨ Contingent
     NEW ROCHELLE, NY 10801                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.409 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     60.83
     FEDERATED FOODSERVICE GROUP
     ATTN: ACCOUNTS RECEIVABLE                                      ¨ Contingent
     PO BOX 7094                                                    ¨ Unliquidated
     CAROL STREAM, IL 60197-7091                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.410 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,629.95
     FEDEX FREIGHT
     DEPT CH PO BOX 10306                                           ¨ Contingent
     PALATINE, IL 60055-0306                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.411 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 37,155.46
     FERGUSON ENGINEERING CO.
     8765 OLD CRAFT ROAD                                            ¨ Contingent
     OLIVE BRANCH, MS 38654                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.412 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 356,580.61
     FERGUSON FACILITIES #3400
     HP PRODUCTS CORPORATION                                        ¨ Contingent
     PO BOX 802817                                                  ¨ Unliquidated
     CHICAGO, IL 60680-2817                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.413 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    852.81
     FESTO CORPORATION
     POBOX 1355                                                     ¨ Contingent
     BUFFALO, NY 14240                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.414 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,516.00
     FIKE CORPORATION
     704 SW 10TH ST.                                                ¨ Contingent
     BLUE SPRINGS, MO 64015                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.415 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,803.68
     FILTER SERVICES ILLINOIS
     25 HOWARD AVE                                                  ¨ Contingent
     DES PLAINES, IL 60018                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.416 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  14,879.06
     FINZER ROLLER OF ILLINOIS
     PO BOX 5763                                                    ¨ Contingent
     CAROL STREAM, IL 60197-5763                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.417 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 627,388.83
     FIRMENICH
     POBOX 7247-8502                                                ¨ Contingent
     PHILADELPHIA, PA 19170-8502                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.418 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    200.00
     FIRST ADVANTAGE FORM I9 COMPLIANCE LLC
     P.O. BOX 748700                                                ¨ Contingent
     ATLANTA, GA 30384                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.419 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,061.00
     FIRST COMMUNICATIONS LLC
     POBOX 772069                                                   ¨ Contingent
     DETROIT, MI 48277-2069                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.420 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  21,154.00
     FIRST DISTRICT ASSOCIATION
     101 S. SWIFT AVE                                               ¨ Contingent
     LITCHFIELD, MN 55355                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.421 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    137.00
     FIRST FILTER
     142 F STREET                                                   ¨ Contingent
     PERRYSBURG, OH 43551                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.422 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,683.77
     FISHER SCIENTIFIC
     13551 COLLECTIONS CTR DR                                       ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.423 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,519.94
     FITZGERALD EQUIPMENT CO.
     4650 BOEING DRIVE                                              ¨ Contingent
     ROCKFORD, IL 61109                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.424 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 73,716.51
     FLAVOR PRODUCERS
     PO BOX 95622                                                   ¨ Contingent
     CHICAGO, IL 60694-5622                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.425 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    503.31
     FLAVORCHEM
     POBOX 735783                                                   ¨ Contingent
     DALLAS, TX 75373-5783                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.426 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 18,499.50
     FLEXXRAY, LLC
     3751 NEW YORK AVE #130                                         ¨ Contingent
     ARLINGTON, TX 76014                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.427 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,931.09
     FLODYNE-HYDRADYNE, INC.
     1000 MUIRFIELD DR.                                             ¨ Contingent
     HANOVER PARK, IL 60103                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.428 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     FLORES, FERNANDO
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: IDHR Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.429 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 27,325.00
     FLOWERS BAKERY OF LONDON
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.430 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,067.86
     FLUID CONNECTIONS
     3720 HAGEN DRIVE S.E.                                          ¨ Contingent
     GRAND RAPIDS, MI 49548                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.431 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    332.90
     FLUKE ELECTRONICS
     7272 COLLECTIONS CENTER DR                                     ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.432 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,800.00
     FLYNN BURNER CORPORATION
     225 MOORESVILLE BLVD                                           ¨ Contingent
     MOORESVILLE, NC 28115                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.433 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 111,911.26
     FONA INTL. INC.
     POBOX 71333                                                    ¨ Contingent
     CHICAGO, IL 60694-1333                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.434 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,648.92
     FOOD INGREDIENTS, INC.
     2100 AIRPORT ROAD                                              ¨ Contingent
     WAUKESHA, WI 53188                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.435 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 26,634.55
     FOOD MARKETPLACE INC
     2345 CRYSTAL DRIVE                                             ¨ Contingent
     SUITE 800                                                      ¨ Unliquidated
     ARLINGTON, VA 22202                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.436 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 17,139.70
     FOOD SAFETY NET SERVICES
     POBOX 116438                                                   ¨ Contingent
     CARROLLTON, TX 75011-6438                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.437 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,166.72
     FOODLINKS, INC.
     20867 W. 108TH STREET                                          ¨ Contingent
     OLATHE, KS 66061                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.438 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 123,244.55
     FORBO SIEGLING, LLC
     DEPT CH 14531                                                  ¨ Contingent
     PALATINE, IL 60055-4531                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.439 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    163.25
     FOREMOST INDUSTRIAL TECHNOLOGIES
     6518 W. PLANK ROAD                                             ¨ Contingent
     PEORIA, IL 61604                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.440 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,846.07
     Formost Fuji Corporation
     PO BOX 4009                                                    ¨ Contingent
     EVERETT, WA 98204-0001                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.441 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,040.04
     FORMOST FUJI CORPORATION
     PO BOX 4009                                                    ¨ Contingent
     EVERETT, WA 98204-0001                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.442 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,010.00
     FORTRESS TECHNOLOGY INC.
     PO BOX 33092                                                   ¨ Contingent
     DETROIT, MI 48232-5092                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.443 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    752.85
     FOSS NORTH AMERICA, INC.
     DEPT CH 10956                                                  ¨ Contingent
     PALATINE, IL 60055-0956                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.444 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    210.00
     FOX VALLEY FIRE & SAFETY
     2730 PINNACLE DRIVE                                            ¨ Contingent
     ELGIN, IL 60124                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.445 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,338.73
     FPE AUTOMATION, INC.
     110 GORDON STREET                                              ¨ Contingent
     ELK GROVE VILLAGE, IL 60007-1120                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.446 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 35,638.26
     FR ENVIRONMENTAL LLC
     POBOX 56                                                       ¨ Contingent
     FINCHVILLE, KY 40022                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.447 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    495.92
     FREDRIKSEN FIRE EQUIPMENT CO.
     POBOX 714                                                      ¨ Contingent
     BEDFORD PARK, IL 60499-0714                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.448 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 31,421.02
     FRESH ENCOUNTER, INC.
     317 W. MAIN CROSS ST.                                          ¨ Contingent
     FINDLAY, OH 45839                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.449 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 99,680.00
     FRIESLANDCAMPINA INGREDIENTS N.A.,
     DEPT 3343                                                      ¨ Contingent
     CAROL STREAM, IL 60132-3343                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.450 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,609.67
     FRISCH'S BIG BOY OF LONDON
     P.O. BOX 1299                                                  ¨ Contingent
     LONDON, KY 40743                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.451 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,108.30
     FRONTIER
     P.O. BOX 470407                                                ¨ Contingent
     CINCINNATI, OH 45274-0407                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.452 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,836.62
     FRONTIER BAG, INC.
     PO BOX 803336                                                  ¨ Contingent
     KANSAS CITY, MO 64180-3336                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.453 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    599.81
     FROSTY ACRES BRANDS, INC.
     1225 OLD ALPHARETTA RD                                         ¨ Contingent
     STE 235                                                        ¨ Unliquidated
     ALPHARETTA, GA 30005                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.454 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 97,204.30
     FUCHS NORTH AMERICA
     P O BOX 419289                                                 ¨ Contingent
     BOSTON, MA 02241-9289                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.455 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,541.37
     FUEL ME
     150 HARVESTER DR.                                              ¨ Contingent
     SUITE 140                                                      ¨ Unliquidated
     BURR RIDGE, IL 60527                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.456 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,475.54
     FULL CIRCLE INDUSTRIAL
     INDUSTRIAL PUMP & REDUCER REPAIR                               ¨ Contingent
     31 MARQUETTE AVE                                               ¨ Unliquidated
     OGLESBY, IL 61348                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.457 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,038.75
     FUSION MECHANICAL LLC
     2140 ELDRIDGE AVE                                              ¨ Contingent
     TWIN FALLS, ID 83301                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.458 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,128.81
     G & B ENVIRONMENTAL, INC.
     P.O. BOX 595                                                   ¨ Contingent
     LAKEVILLE, MN 55044                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.459 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    208.69
     G.A.W. INC.
     6850 MIDDLEBELT RD                                             ¨ Contingent
     ROMULUS, MI 48174                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.460 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    364.62
     GALCO INDUSTRIAL ELECTRONICS
     L-4061                                                         ¨ Contingent
     COLUMBUS, OH 43260-4061                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.461 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 49,680.00
     GALEANA VALLEY PECAN
     8001-E N MESA ST #138                                          ¨ Contingent
     EL PASO, TX 79932                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.462 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 22,681.51
     GALLAGHER UNIFORM
     151 MCQUISTON DRIVE                                            ¨ Contingent
     BATTLE CREEK, MI 49037                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.463 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,765.12
     GALLO EQUIPMENT CO.
     11835 SOUTH AVENUE O                                           ¨ Contingent
     CHICAGO, IL 60617                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.464 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 36,254.17
     GALLOUP COMPANY
     PO BOX 671121                                                  ¨ Contingent
     DETROIT, MI 48267-1121                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.465 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GARCIA, ELIDA JAIMES
     C/O BD&J, PC                                                   þ Contingent
     11175 SANTA MONICA BOULEVARD                                   þ Unliquidated
     LOS ANGELES, CA 96025                                          þ Disputed
                                                                    Basis for the claim: Litigation



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.466 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,847.81
     GEM, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.467 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 20,919.15
     GEN DIGITAL INC.
     POBOX 743560                                                   ¨ Contingent
     LOS ANGELES, CA 90074-3560                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.468 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GENERAL MILLS INC.
     1 GENERAL MILLS BLVD                                           þ Contingent
     MINNEAPOLIS, MN 55426                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Rebate



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.469 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    861.69
     GENERAL OIL EQUIPMENT, CO., INC.
     60 JOHN GLENN DRIVE                                            ¨ Contingent
     AMHERST, NY 14228                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.470 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,397.63
     GENERAL RUBBER & PLASTICS
     PO BOX 12737                                                   ¨ Contingent
     LEXINGTON, KY 40583-2737                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.471 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,279.00
     GENESIS ENERGY INTERNATIONAL
     4249 HOLT ROAD                                                 ¨ Contingent
     SYLVANIA, OH 43560                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.472 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,277.41
     GENEVA COMPACTION
     321 STEVENS STREET                                             ¨ Contingent
     SUITE A                                                        ¨ Unliquidated
     GENEVA, IL 60134                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.473 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,552.00
     GENEVA WAREHOUSING & DISTRIBUTION LLC
     3 TIMBER COURT                                                 ¨ Contingent
     BOLINGBROOK, IL 60440                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.474 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,535.92
     GETZ FIRE EQUIPMENT CO.
     1615 S.W. ADAMS STREET PO BOX 419                              ¨ Contingent
     PEORIA, IL 61651-0419                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.475 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,365.42
     GEXPRO
     P.O. BOX 742833                                                ¨ Contingent
     ATLANTA, GA 30374-2833                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.476 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,722.77
     GFL ENVIRONMENTAL
     PO BOX 555193                                                  ¨ Contingent
     DETROIT, MI 48255-5193                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.477 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    641.00
     GIANGARLO SCIENTIFIC COMPANY
     1550 OBEY ST.                                                  ¨ Contingent
     SUITE 201                                                      ¨ Unliquidated
     PITTSBURGH, PA 15205                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.478 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      81.40
     GILSON COMPANY INC
     PO BOX 337                                                     ¨ Contingent
     POWELL, OH 43065                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.479 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    104.20
     GIUSEPPE'S INCORPORATED
     554 E. ALGONQUIN RD                                            ¨ Contingent
     DES PLAINES, IL 60018                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.480 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 245,910.22
     GIVAUDAN FLAVORS CORP
     DEPT. 2578                                                     ¨ Contingent
     CAROL STREAM, IL 60132-2578                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.481 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     GLANBIA / THINK THIN PRODUCT
     227 W MONROE ST                                                þ Contingent
     STE 5100                                                       þ Unliquidated
     CHICAGO, IL 60606                                              ¨ Disputed
                                                                    Basis for the claim: Customer Rebate



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.482 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,006.46
     GLANBIA NUTRITIONAL INGREDIENT TECH
     C/O GLANBIA BUSINESS SERVICES, INC.                            ¨ Contingent
     DEPT. 3331                                                     ¨ Unliquidated
     CAROL STREAM, IL 60132-3331                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.483 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,542.63
     GLOBAL EQUIPMENT CO., INC
     29833 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1298                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.484 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,482.00
     GLOBAL ORGANICS, LTD
     68 MOULTON STREET                                              ¨ Contingent
     CAMBRIDGE, MA 02138                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.485 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,140.99
     GLOBAL PACKAGING MACHINERY CO.,INC.
     206 N FRANKLIN TPKE                                            ¨ Contingent
     RAMSEY, NJ 07446                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.486 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     85.41
     GLOBALGIG
     PO BOX 227372                                                  ¨ Contingent
     DALLAS, TX 75222-7372                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.487 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 25,668.00
     GLORY BEE
     PO BOX 743761                                                  ¨ Contingent
     LOS ANGELES, CA 90074-3761                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.488 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,152.35
     GLUTEN INTOLERANCE GROUP
     31214 124TH AVE SE                                             ¨ Contingent
     AUBURN, WA 98092                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.489 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,480.70
     GOFF'S ENTERPRISES, INC.
     700 HICKORY STREET                                             ¨ Contingent
     PEWAUKEE, WI 53072                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.490 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    171.59
     GOLBON
     PO BOX 823242                                                  ¨ Contingent
     PHILADELPHIA, PA 19182-3242                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.491 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    275.88
     GOLDEN GRAIN COMPANY
     7701 LEGACY DRIVE                                              ¨ Contingent
     PLANO, TX 75024-4099                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.492 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 114,651.18
     GOLDEN PEANUT COMPANY, LLC
     P O BOX 92572                                                  ¨ Contingent
     CHICAGO, IL 60675-2572                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.493 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    337.77
     GOODWAY TECHNOLOGIES
     DEPT. 106040                                                   ¨ Contingent
     HARTFORD, CT 06115-0413                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.494 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,793.97
     GORDON FOOD SERVICE, INC.
     P.O. BOX 88029                                                 ¨ Contingent
     CHICAGO, IL 60680-1029                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.495 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 46,889.64
     GP CORRUGATED LLC
     GEORGIA-PACIFIC FINANCIAL MGMT                                 ¨ Contingent
     POBOX 93350                                                    ¨ Unliquidated
     CHICAGO, IL 60673-3350                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.496 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,224.00
     GR CENTRAL IRON & STEEL
     1730 ALPINE AVE NW                                             ¨ Contingent
     GRAND RAPDIDS, MI 49504                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.497 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  43,860.50
     GRACELAND FRUIT INC
     LOCKBOX 645688 500 1ST AVE.                                    ¨ Contingent
     PITTSBURGH, PA 15219                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.498 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,077.50
     GRAIN CRAFT
     P O BOX 742104                                                 ¨ Contingent
     LOS ANGELES, CA 90074-2104                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.499 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 130,173.26
     GRAIN MILLERS CANADA CORP
     P.O. BOX 912202                                                ¨ Contingent
     DENVER, CO 80291-2022                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.500 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 380,936.30
     GRAIN MILLERS, INC
     NW 8932                                                        ¨ Contingent
     MINNEAPOLIS, MN 55485-8932                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.501 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  19,465.00
     GRAIN PROCESSING
     25560 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1255                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.502 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,128.40
     GRAINCO FS, INC.
     3107 N. STATE ROUTE 23                                         ¨ Contingent
     OTTAWA, IL 61350                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.503 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 270,307.34
     GRAINGER
     DEPT 883172025                                                 ¨ Contingent
     PALATINE, IL 60038-0001                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.504 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,800.00
     GRAND EAGLE INSULATION INC
     15 N. PARK STREET                                              ¨ Contingent
     GRAND RAPIDS, MI 49544                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.505 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,476.80
     GRAND RAPIDS METROLOGY
     4215 STAFFORD SW                                               ¨ Contingent
     GRAND RAPIDS, MI 49508                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.506 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,865.61
     GRAND RAPIDS RUBBER
     4181 ROGER B. CHAFFEE ME DR. SE                                ¨ Contingent
     GRAND RAPIDS, MI 49548                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.507 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 1,508,332.74
     GRAPHIC PACKAGING INTERNATIONAL INC
     PO BOX 404170                                                  ¨ Contingent
     ATLANTA, GA 30384-4170                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.508 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   18,432.00
     GRAPHIC SOLID INKS
     5790 SHILOH RD                                                 ¨ Contingent
     STE 100                                                        ¨ Unliquidated
     ALPHARETTA, GA 30005                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.509 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      289.15
     GRAYBAR ELECTRIC COMPANY, INC.
     12431 COLLECTIONS CENTER DRIVE                                 ¨ Contingent
     CHICAGO, IL 60693-2431                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.510 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     6,124.72
     GREAT LAKES AUTOMATION SUPPLY
     PO BOX 671121                                                  ¨ Contingent
     DETROIT, MI 48267                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.511 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     3,671.42
     GREAT LAKES CLEANING SYSTEMS
     77 S. ILLINOIS AVE                                             ¨ Contingent
     MANSFIELD, OH 44905                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.512 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    217.18
     GREAT SCOT SUPERMARKETS
     301 W MAIN CROSS ST                                            ¨ Contingent
     FINDLAY, OH 45840                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.513 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,668.23
     GREAT WESTERN MANUFACTURING
     2017 S. 4TH STREET                                             ¨ Contingent
     LEAVENWORTH, KS 66048-0149                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.514 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,718.35
     GREEN BAY PACKAGAING INC
     BIN NO 53139                                                   ¨ Contingent
     MILWAUKEE, WI 53288                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.515 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 16,765.58
     GREEN BOY GROUP
     POBOX 102343                                                   ¨ Contingent
     PASADENA, CA 91189-2343                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.516 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,606.76
     GREENER CORP.
     4 HELMLY STREET                                                ¨ Contingent
     BAYVILLE, NJ 08721                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.517 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,209.50
     GRIBBINS INSULATION COMPANY INC.
     1400 E COLUMBIA ST                                             ¨ Contingent
     EVANSVILLE, IN 47711                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.518 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 39,344.56
     GRIFFITH FOODS INC
     PO BOX 205915                                                  ¨ Contingent
     DALLAS, TX 75320-5915                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.519 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,303.58
     GROUP O PACKAGING SOLUTIONS
     P.O. BOX 860144                                                ¨ Contingent
     MINNEAPOLIS, MN 55486-0144                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.520 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 18,360.00
     GRUBB CONSTRUCTION INC.
     896 OH-613                                                     ¨ Contingent
     MCCOMB, OH 45858                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.521 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,372.12
     H.H. BARNUM COMPANY
     PO BOX 632050                                                  ¨ Contingent
     CINCINNATI, OH 45263-2050                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.522 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,000.00
     H.T. WAREHOUSING & COLD STORAGE,LLC
     PO BOX 1773                                                    ¨ Contingent
     LONDON, KY 40743                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.523 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,023.57
     HACH COMPANY
     2207 COLLECTIONS CENTER DRIVE                                  ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.524 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    754.40
     HALL ENVIRONMENTAL CONSULTANTS, LLC
     1376 DANVILLE ROAD                                             ¨ Contingent
     NICHOLASVILLE, KY 40356                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.525 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 168,630.19
     HAMMER PACKAGING
     200 LUCIUS GORDON DR.                                          ¨ Contingent
     ROCHESTER, NY 14692                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.526 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,542.13
     HAPMAN CONVEYOR
     PO BOX 2321                                                    ¨ Contingent
     KALAMAZOO, MI 49003                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.527 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,834.00
     HARBOR STEEL & SUPPLY
     1115 EAST BROADWAY                                             ¨ Contingent
     MUSKEGON, MI 49444                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.528 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    549.03
     HARCROS CHEMICAL
     POBOX 74583                                                    ¨ Contingent
     CHICAGO, IL 60696                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.529 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 225,685.56
     HARRIS & FORD LLC
     PO BOX 855511                                                  ¨ Contingent
     MINNEAPOLIS, MN 55485-5511                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.530 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  34,068.34
     HARRIS ROCHESTER, INC.
     8251 SOLUTIONS CENTER                                          ¨ Contingent
     CHICAGO, IL 60677-8002                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.531 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,927.00
     HARRIS ST PAUL, INC
     8233 SOLUTIONS CENTER                                          ¨ Contingent
     CHICAGO, IL 60677-8002                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.532 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,181.22
     HARTFIEL AUTOMATION INC
     NW 6091                                                        ¨ Contingent
     MINNEAPOLIS, MN 55485-6091                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.533 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,967.84
     HAVILAND
     421 ANN STREET N.W.                                            ¨ Contingent
     GRAND RAPIDS, MI 49504-2075                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.534 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 28,150.00
     HEALTHY FOOD INGREDIENTS LLC
     4666 AMBER VALLEY PARKWAY S                                    ¨ Contingent
     FARGO, ND 58104                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.535 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $            335,333,387.42
     HEARTHSIDE USA – CPG PARTNERS, LLC
     3333 FINLEY RD.                                                ¨ Contingent
     SUITE 800                                                      ¨ Unliquidated
     DOWNER'S GROVE, IL 60515                                       ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.536 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $            156,985,095.76
     HEARTHSIDE USA, LLC
     3333 FINLEY RD.                                                ¨ Contingent
     SUITE 800                                                      ¨ Unliquidated
     DOWNER'S GROVE, IL 60515                                       ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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3.537 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 60,618.59
     HEAT AND CONTROL INC.
     21121 CABOT BLVD.                                              ¨ Contingent
     HAYWARD, CA 94545-1132                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.538 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    705.32
     HENSON ROBINSON COMPANY
     P.O. BOX 13137                                                 ¨ Contingent
     SPRINGFIELD, IL 62791-3137                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.539 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    994.13
     HERC RENTALS INC
     PO BOX 936257                                                  ¨ Contingent
     ATLANTA, GA 31193                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.540 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,815.00
     HERITAGE CRYSTAL CLEAN, LLC
     13621 COLLECTIONS CENTER DR.                                   ¨ Contingent
     CHICAGO, IL 60693-0136                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.541 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,462.20
     HERZIG ENGINEERING
     8201 NW 97TH TERRACE                                           ¨ Contingent
     KANSAS CITY, MO 64153-1822                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.542 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         8.00
     HFS One time use vendor
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.543 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,050.00
     HI PRO EQUIPMENT, INC.
     3030 S. 9TH STREET                                             ¨ Contingent
     SUITE 3C                                                       ¨ Unliquidated
     KALAMAZOO, MI 49009                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.544 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,310.32
     HICKSGAS - ROBERTS
     PO BOX 4280                                                    ¨ Contingent
     LISLE, IL 60532                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.545 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    518.92
     HIGH TEK USA, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.546 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,465.18
     HIGHBRIDGE SPRING WATER CO., INC
     P.O. BOX 100                                                   ¨ Contingent
     WILMORE, KY 40390                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.547 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,026.90
     HIGHLIGHT INDUSTRIES, INC.
     2694 PRAIRIE ST SW                                             ¨ Contingent
     GRAND RAPIDS, MI 49519                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.548 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 324,773.82
     HILMAR INGREDIENTS
     P.O. BOX 95194                                                 ¨ Contingent
     CHICAGO, IL 60694-5194                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.549 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  10,087.22
     HMC PRODUCTS INC.
     7165 GREENLEE DRIVE                                            ¨ Contingent
     MACHESNEY PARK, IL 61011                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.550 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,186.41
     HOBBS OVERHEAD DOORS, INC.
     11700 S. CICERO AVENUE                                         ¨ Contingent
     ALSIP, IL 60803                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.551 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    723.36
     HOGENTOGLER & CO., INC.
     PO BOX 2219                                                    ¨ Contingent
     COLUMBIA, MD 21045-1219                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.552 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    563.17
     HOH WATER TECHNOLOGY, INC.
     500 S VERMONT ST                                               ¨ Contingent
     PALATINE, IL 60067                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.553 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.76
     HOLIDAY INN EXPRESS & SUITES
     CHICAGO O'HARE                                                 ¨ Contingent
     3001 SOUTH MANNHEIM RD                                         ¨ Unliquidated
     DES PLAINES, IL 60018                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.554 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,751.50
     HOLLAND & HART LLP
     P.O. BOX 17283                                                 ¨ Contingent
     DENVER, CO 80217-0283                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.555 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,748.00
     HOLTGREVEN SCALE & ELECTRONICS
     420 E. LINCOLN ST.                                             ¨ Contingent
     FINDLAY, OH 45840-4988                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.556 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,025.00
     HOME 2 SUITES
     2625 LUCY JANE LANE                                            ¨ Contingent
     TERRA HAUTE, IN 47803                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.557 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,089.21
     HOMETOWN FILTER
     FWSBF, LLC                                                     ¨ Contingent
     POBOX 1218                                                     ¨ Unliquidated
     GRANGER, IN 46530                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.558 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,003.72
     HOPE NETWORK INDUSTRIES
     POBOX 775570                                                   ¨ Contingent
     CHICAGO, IL 60677-5570                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.559 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    260.01
     HORIZON EQUIPMENT LLC
     1960 SENECA ROAD                                               ¨ Contingent
     EAGAN, MN 55122                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.560 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,062.61
     HOUDIJK HOLLAND
     TRAWLERWEG 4                                                   ¨ Contingent
     VLAARDINGEN, 3133 KS                                           ¨ Unliquidated
     NETHERLANDS                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.561 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,848.43
     HOUSE OIL CO., INC.
     P.O. BOX 668                                                   ¨ Contingent
     LONDON, KY 40743-0668                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.562 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    145.63
     HOWE CORPORATION
     1650 NORTH ELSTON AVENUE                                       ¨ Contingent
     CHICAGO, IL 60642                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.563 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 87,195.33
     HRG TIME STAFFING LLC
     POBOX 1068                                                     ¨ Contingent
     MARTIN, TN 38237                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.564 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,171.55
     HYGENIC CORPORATION
     29263 NETWORK PL                                               ¨ Contingent
     CHICAGO, IL 60673-1292                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.565 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    487.82
     HYGIENA LLC
     941 AVENIDA ACASO                                              ¨ Contingent
     CAMARILLO, CA 93012                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.566 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    637.42
     HYGIENA LLC
     FILE 2007                                                      ¨ Contingent
     PASADENA, CA 91199-2007                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.567 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    598.00
     ID LABEL, INC.
     425 PARK AVENUE 100                                            ¨ Contingent
     LAKE VILLA, IL 60046                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.568 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,292.79
     ID TECHNOLOGY, LLC
     PO BOX 73419                                                   ¨ Contingent
     CLEVELAND, OH 44193                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.569 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 32,865.72
     IDAHO POWER
     PROCESSING CENTER                                              ¨ Contingent
     POBOX 5381                                                     ¨ Unliquidated
     CAROL STREAM, IL 60197-5381                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.570 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,218.46
     IDEXX DISTRIBUTION, INC.
     PO BOX 101327                                                  ¨ Contingent
     ATLANTA, GA 30392-1327                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.571 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,621.46
     IFM EFECTOR, INC
     PO BOX 8538-307                                                ¨ Contingent
     PHILADELPHIA, PA 19171-0307                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.572 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      91.20
     IGPS LOGISTICS LLC
     DEPT CH 17022                                                  ¨ Contingent
     PALATINE, IL 60055-7022                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.573 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,031.95
     ILLINI STATE TRUCKING CO
     POBOX 7047 GROUP 30008                                         ¨ Contingent
     INDIANAPOLIS, IN 46207                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.574 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    131.00
     ILLINOIS DEPARTMENT OF REVENUE
     POBOX 19025                                                    ¨ Contingent
     SPRINGFIELD, IL 62794-9025                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.575 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,816.73
     IMCD US FOOD INC.
     DEPT CH 19514                                                  ¨ Contingent
     PALATINE, IL 60055-9514                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.576 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 134,080.00
     IMPACT PRODUCTS, LLC
     104 E 600 S                                                    ¨ Contingent
     SUITE 560                                                      ¨ Unliquidated
     HERBER CITY, UT 84032                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.577 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,517.41
     IMPERIALDADE
     2647 MOMENTUM PLACE                                            ¨ Contingent
     CHICAGO, IL 60689-5326                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.578 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,468.51
     INDEED INC.
     POBOX 660367                                                   ¨ Contingent
     MAIL CODE 5160                                                 ¨ Unliquidated
     DALLAS, TX 75266-0367                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.579 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,050.00
     INDEMAX INC.
     ONE INDUSTRIAL DRIVE                                           ¨ Contingent
     VERNON, NJ 07462                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.580 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    267.68
     INDEPENDENT MARKETING ALLIANCE
     ATTN: ACCOUNTING DEPT.                                         ¨ Contingent
     16000 MEMORIAL DR., STE #200                                   ¨ Unliquidated
     HOUSTON, TX 77079                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.581 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,088.50
     INDIAN MOUNTAIN MACHINE SHOP, INC.
     POBOX 967                                                      ¨ Contingent
     JELLICO, TN 37762                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.582 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,694.16
     INDIANA DEPARTMENT OF REVENUE
     PO BOX 6077                                                    ¨ Contingent
     INDIANAPOLIS, IN 46207-7226                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.583 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 28,390.84
     INDUSTRIAL LIFT MAINTENANCE, LLC
     819 ENGLE RIDGE RD                                             ¨ Contingent
     LILY, KY 40740                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.584 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,165.50
     INDUSTRIAL REPAIR SERVICE, INC
     2650 BUSINESS DRIVE                                            ¨ Contingent
     CUMMING, GA 30028                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.585 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,381.74
     INDUSTRIAL RUBBER AND SUPPLY
     17138 LINCOLN ST NE                                            ¨ Contingent
     HAM LAKE, MN 55304                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.586 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    327.12
     INDUSTRIAL THERMO PRODUCTS INC
     1051 ROHLWING RD, UNITS C&D                                    ¨ Contingent
     ROLLING MEADOWS, IL 60008                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.587 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 24,300.00
     INGREDION CANADA INC
     C/O 914990                                                     ¨ Contingent
     1100 GREEN VALLEY RD                                           ¨ Unliquidated
     LONDON, ON N6N 1E3                                             ¨ Disputed
     CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.588 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 58,468.62
     INNOPHOS
     PO BOX 23337                                                   ¨ Contingent
     NEW YORK, NY 10087-3337                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.589 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    266.88
     INNOTEC OF WISCONSIN INC.
     4145 COURTNEY RD.                                              ¨ Contingent
     FRANKSVILLE, WI 53126                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.590 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,413.88
     INTEGRITY BUSINESS SOLUTIONS
     4740 TALON CT SE                                               ¨ Contingent
     SUITE 8                                                        ¨ Unliquidated
     GRAND RAPIDS, MI 49512                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.591 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,580.38
     INTELLIFEED, INC.
     15223 BOULDER TRAIL                                            ¨ Contingent
     ROSEMOUNT, MN 55068                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.592 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,029.37
     INTELLIGRATED SYSTEMS, LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.593 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,526.54
     INTEPLAST BAGS & FILMS CORP
     P.O. BOX 91256                                                 ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.594 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 34,578.00
     INTER-AMERICAN PRODUCTS
     3508 SOLUTIONS CENTER                                          ¨ Contingent
     CHICAGO, IL 60677-3005                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.595 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             72,867,176.92
     INTERBAKE FOODS, LLC
     3333 FINLEY RD.                                                ¨ Contingent
     SUITE 800                                                      ¨ Unliquidated
     DOWNER'S GROVE, IL 60515                                       ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.596 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,306.30
     INTERMOUNTAIN GAS COMPANY
     PO BOX 5600                                                    ¨ Contingent
     BISMARK, ND 58506-5600                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.597 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 85,937.76
     INTERNATIONAL FLAVORS & FRAGRANCES INC.
     P.O. BOX 28187                                                 ¨ Contingent
     NEW YORK, NY 10087-8187                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.598 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 17,042.71
     INTERNATIONAL IMAGING & MATERIALS, INC.
     3198 MOMENTUM PLACE                                            ¨ Contingent
     CHICAGO, IL 60689-5331                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.599 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,500.00
     INTERNATIONAL MATERIAL CONTROL
     510 E. 40TH STREET                                             ¨ Contingent
     HOLLAND, MI 49423                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.600 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    724.08
     INTERNATIONAL PAPER
     1689 SOLUTIONS CENTER                                          ¨ Contingent
     CHICAGO, IL 60677-1006                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.601 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 81,377.68
     INTERPRESS TECHNOLOGIES
     1120 DEL PASO ROAD                                             ¨ Contingent
     SACRAMENTO, CA 95834                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.602 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,206.50
     INTERSTATE AC SERVICE, LLC
     1877 AIR LANE DR                                               ¨ Contingent
     NASHVILLE, TN 37210                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.603 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,635.00
     INTERSTATE PLASTICS
     DON-GALEN ENTERPRISES                                          ¨ Contingent
     POBOX 888094                                                   ¨ Unliquidated
     LOS ANGELES, CA 90088-8094                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.604 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 139,502.10
     INTL FLAVORS & FRAGRANCES, INC.
     C/O JP MORGAN CHASE                                            ¨ Contingent
     PO BOX 28187                                                   ¨ Unliquidated
     NEW YORK, NY 10087-8187                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.605 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  52,692.40
     INTRALOX, LLC
     PO BOX 730367                                                  ¨ Contingent
     DALLAS, TX 75373-0367                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.606 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  21,299.99
     IPL DAYTON, INC
     1765 WEST COUNTY LINE ROAD                                     ¨ Contingent
     URBANA, OH 43078                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.607 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 98,366.32
     IRCA GROUP USA LLC
     1775 BRECKINRIDGE PKWY                                         ¨ Contingent
     SUITE 600                                                      ¨ Unliquidated
     DULUTH, GA 30096                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.608 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    807.58
     ISC COMPANIES INC.
     12905 HIGHWAY 55                                               ¨ Contingent
     MINNEAPOLIS, MN 55441                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.609 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,606.00
     ISI WATER CHEMISTRIES
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.610 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,874.57
     ISUSTAIN INC.
     POBOX 700                                                      ¨ Contingent
     SODDY DAISY, TN 37384                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.611 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 18,812.60
     J & J ENGINEERING & MACHINE
     3265 68TH ST.                                                  ¨ Contingent
     CALEDONIA, MI 49316                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.612 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    361.21
     J & W INSTRUMENTS INC
     PO BOX 95508                                                   ¨ Contingent
     GRAPEVINE, TX 75099-9702                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.613 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,958.41
     J RETTENMAIER USA LP
     16369 US 131 HWY                                               ¨ Contingent
     SCHOOLCRAFT, MI 49087                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.614 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 35,365.57
     J.A. EMILIUS' SONS, INC.
     537 WOODLAND AVE                                               ¨ Contingent
     CHELTENHAM, PA 19012                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.615 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     56.74
     J.J. KELLER & ASSOCIATES
     PO BOX 6609                                                    ¨ Contingent
     CAROL STREAM, IL 60197-6609                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.616 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,328.24
     J.W. OUTFITTERS
     3102 OAKCLIFF INDUSTRIAL STREET                                ¨ Contingent
     ATLANTA, GA 30340                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.617 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,751.93
     JA INVESTMENTS, INC.
     136 N. HURON STREET                                            ¨ Contingent
     TOLEDO, OH 43604-1139                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.618 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 24,880.50
     JACKSON LEWIS P.C.
     POBOX 416019                                                   ¨ Contingent
     BOSTON, MA 02241-6019                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.619 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     61.68
     JAMES ELECTRONICS
     1355 SHOREWAY ROAD                                             ¨ Contingent
     BELMONT, CA 94002                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.620 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 24,272.16
     JANTEC
     1777 NORTHERN STAR DRIVE                                       ¨ Contingent
     TRAVERSE CITY, MI 49686                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.621 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    184.68
     JASON MCINTIRE
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.622 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    207.26
     JC HEATING AND COOLING
     304 EAST 1ST STREET                                            ¨ Contingent
     GIBSON CITY, IL 60936                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.623 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,500.00
     JEDCO, INC
     PO BOX 72448                                                   ¨ Contingent
     CLEVELAND, OH 44192                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.624 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,948.00
     JM HUBER
     PO BOX 7247-6031                                               ¨ Contingent
     PHILADELPHIA, PA 19170-6031                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.625 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,760.00
     JM SWANK
     PO BOX 7410909                                                 ¨ Contingent
     CHICAGO, IL 60674-0909                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.626 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 21,703.90
     JOHN B. SANFILIPPO AND SONS, INC.
     4290 SOLUTIONS CENTER                                          ¨ Contingent
     CHICAGO, IL 60677-4002                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.627 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,699.70
     JOHN BOUCHARD & SONS COMPANY
     MSC 30305                                                      ¨ Contingent
     NASHVILLE, TN 37241-5000                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.628 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 22,839.04
     JOHN HENRY FOSTER MINNESOTA
     PO BOX 860625                                                  ¨ Contingent
     MINNEAPOLIS, MN 55486                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.629 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 29,796.09
     JOHNSON BRYCE INC
     PO BOX 771289                                                  ¨ Contingent
     MEMPHIS, TN 38177-1289                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.630 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 35,838.65
     JOHNSON CONTROLS
     P.O. BOX 730068                                                ¨ Contingent
     DALLAS, TX 75373                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.631 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,776.78
     JOHNSON CONTROLS SECURITY SOLUTIONS, LLC
     PO BOX 371967                                                  ¨ Contingent
     PITTSBURGH, PA 15250-7967                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.632 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    482.45
     JOHNSON EQUIPMENT COMPANY
     POBOX 802009                                                   ¨ Contingent
     DALLAS, TX 75380                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.633 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,300.00
     JOLLY SECURITY LLC
     PO BOX 4034                                                    ¨ Contingent
     GARY, IN 46404                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.634 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     JUAREZ, MARIA GUADALUPE
     C/O JUSTICIA LABORAL, LLC                                      þ Contingent
     ATTN: DANIEL I. SCHLADE                                        þ Unliquidated
     6232 N. PULASKI, #300                                          þ Disputed
     CHICAGO, IL 60645
                                                                    Basis for the claim: Litigation



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.635 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,540.00
     K & L SHEET METAL LLC
     131 GRAND TRUNK AVE                                            ¨ Contingent
     BATTLE CREEK, MI 49037                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.636 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    461.19
     KABELIN ACE HARDWARE
     432 ST. JOHN'S ROAD                                            ¨ Contingent
     MICHIGAN CITY, IN 46360-7336                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.637 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 24,833.12
     KALSEC INC
     3713 WEST MAIN ST                                              ¨ Contingent
     KALAMAZOO, MI 49006                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.638 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,365.46
     KB FABRICATION
     16587 STATE ROUTE 12                                           ¨ Contingent
     FINDLAY, OH 45840                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.639 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     KELLANOVA
     412 M. WELLS STREET                                            þ Contingent
     CHICAGO, IL 60654                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Rebate



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.640 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,933.19
     KELLOGG COMPANY
     CONTRACT MANUFACTURING PROCUREMENT                             ¨ Contingent
     POBOX 8881011                                                  ¨ Unliquidated
     GRAND RAPDIDS, MI 49588                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.641 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    870.10
     KELLOGG SALES COMPANY
     25714 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1257                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.642 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,774.86
     KELRON WIRE SERVICES, LLC
     POBOX 15741                                                    ¨ Contingent
     CINCINNATI, OH 45215                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.643 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,513.27
     KEMIN FOOD TECHNOLOGIES
     3531 PAYSHPERE CIRCLE                                          ¨ Contingent
     CHICAGO, IL 60674                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.644 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,674.31
     KEMP'S OFFICE CITY
     812 LINCOLNWAY                                                 ¨ Contingent
     LAPORTE, IN 46350                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.645 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 82,376.30
     KENDALL ELECTRIC, INC.
     PO BOX 671121                                                  ¨ Contingent
     DETROIT, MI 48267-1121                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.646 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,517.94
     KEN'S CUSTOM TEES
     83 DUAL MAC DRIVE                                              ¨ Contingent
     LONDON, KY 40744                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.647 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,105.39
     KENTUCKY STATE TREASURER
     KENTUCKY DEPT OF REVENUE                                       ¨ Contingent
     FRANKFORT, KY 40619                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.648 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 85,650.63
     KENTUCKY UTILITIES
     PO BOX 25212                                                   ¨ Contingent
     LEHIGH VALLEY, PA 18002-5212                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.649 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,762.87
     KENTWOOD OFFICE FURNITURE
     3063 BRETON RD                                                 ¨ Contingent
     GRAND RAPIDS, MI 49512                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.650 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    680.00
     KERKSTRA PORTABLE RESTROOM SERVICE, INC.
     PO BOX 284                                                     ¨ Contingent
     HUDSONVILLE, MI 49426                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.651 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 31,775.00
     KERKSTRA SEPTIC TANK CLEANING INC
     P.O. BOX 426                                                   ¨ Contingent
     ALLENDALE, MI 49401                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.652 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 1,178,294.09
     KERRY INGREDIENTS NA
     PO BOX 98489                                                   ¨ Contingent
     CHICAGO, IL 60693-8489                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.653 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   32,195.23
     KEYENCE CORP. OF AMERICA
     DEPT. CH 17128                                                 ¨ Contingent
     PALATINE, IL 60055-7128                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.654 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     1,093.93
     KEYSTONE AUTOMATION, INC.
     2055 WHITE BEAR AVE                                            ¨ Contingent
     SUITE 130                                                      ¨ Unliquidated
     MAPLEWOOD, MN 55109                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.655 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     6,084.98
     KEYSTONE COOPERATIVE, INC
     6435 HOWARD AVE                                                ¨ Contingent
     HAMMOND, IN 46320                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.656 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   15,028.14
     KIND, LLC
     PO BOX 705                                                     ¨ Contingent
     NEW YORK, NY 10018                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.657 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 752,237.19
     KING MILLING COMPANY
     222 W. MAIN ST.                                                ¨ Contingent
     LOWELL, MI 49331-1667                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.658 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  27,732.26
     KIRBY RISK CORPORATION
     27561 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1275                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.659 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,622.80
     KLEINFELDER
     P.O. BOX 51958                                                 ¨ Contingent
     LOS ANGELES, CA 90051-6258                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.660 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  21,467.48
     KNG ENERGY, INC.
     1700 WESTFIELD DRIVE                                           ¨ Contingent
     FINDLAY, OH 45840                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.661 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 103,714.56
     KNOWBE4, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.662 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    177.00
     KNOX COUNTY TRUSTEE
     P.O. BOX 70                                                    ¨ Contingent
     KNOXVILLE, TN 37901                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.663 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,490.00
     KOENIG SCALE COMPANY, INC.
     4779 E MARGARET DR.                                            ¨ Contingent
     TERRE HAUTE, IN 47803                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.664 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,344.44
     KONA ICE MUSIC CITY
     PO BOX 406                                                     ¨ Contingent
     PEGRAM, TN 37143                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.665 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    897.98
     KONECRANES
     PO BOX 644994                                                  ¨ Contingent
     PITTSBURGH, PA 15264-4994                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.666 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 24,409.88
     KONICA MINOLTA BUSINESS SOLUTIONS U
     DEPT. CH 19188                                                 ¨ Contingent
     PALATINE, IL 60055-9188                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.667 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    909.15
     KONRADY PLASTICS, INC.
     1780 COPPES COURT                                              ¨ Contingent
     PORTAGE, IN 46368                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.668 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,708.78
     KORE 3500 LACEY OWNER LLC
     POBOX 776958                                                   ¨ Contingent
     CHICAGO, IL 60677-6958                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.669 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,282.88
     KORPACK, INC.
     290 MADSEN DRIVE                                               ¨ Contingent
     BLOOMINGDALE, IL 60108                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.670 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,782.43
     KOSS INDUSTRIAL, INC.
     1943 COMMERCIAL WAY                                            ¨ Contingent
     GREEN BAY, WI 54311                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.671 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    580.10
     KP ASSOCIATES INC.
     34 MIAMI LAKE DR.                                              ¨ Contingent
     MILFORD, OH 45150                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.672 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,070.46
     KPM ANALYTICS
     8 TECHNOLOGY DRIVE                                             ¨ Contingent
     WESTBOROUGH, MA 01581                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.673 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 365,564.52
     KRAFT HEINZ FOODS COMPANY
     22600 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.674 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     599.11
     KRAMER ENTERPRISES
     1800 WESTFIELD DRIVE                                           ¨ Contingent
     FINDLAY, OH 45840                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.675 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    240.00
     KRISCHEL, KIMBERLY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.676 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,913.09
     KROFF CHEMICAL COMPANY
     ONE NORTH SHORE                                                ¨ Contingent
     SUITE 450                                                      ¨ Unliquidated
     PITTSBURGH, PA 15212                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.677 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                       67.36
     KVA ENGINEERING, INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.678 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   60,024.00
     LA CROSSE MILLING COMPANY
     25580 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1255                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.679 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 1,457,810.40
     LACTALIS HERITAGE DAIRY, INC.
     P.O. BOX 18352                                                 ¨ Contingent
     PALATINE, IL 60055-8352                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.680 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   10,969.06
     LAIBE ELECTRIC CO.
     26440 SOUTHPOINT ROAD                                          ¨ Contingent
     PERRYSBURG, OH 43551                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.681 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   16,048.00
     LAKELAND ELECTRIC MOTOR SERVICES, INC.
     3810 MILLCREEK N.E.                                            ¨ Contingent
     COMSTOCK PARK, MI 49321                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.682 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 27,711.26
     LAKESHORE MECHANICAL
     PO BOX 8829                                                    ¨ Contingent
     MICHIGAN CITY, IN 46361                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.683 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,350.00
     LAKESHORE SCALE INC.
     131 COOLIDGE AVE.                                              ¨ Contingent
     SUITE 4                                                        ¨ Unliquidated
     HOLLAND, MI 49423                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.684 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 43,497.45
     LAKO TOOL
     PO BOX 425 7400 PONDEROSA ROAD                                 ¨ Contingent
     PERRYSBURG, OH 43552                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.685 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 35,966.31
     LAND OLAKES INC.
     PO BOX 96314                                                   ¨ Contingent
     CHICAGO, IL 60693-6314                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.686 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    795.00
     LANDMARK SPRINKLER INC
     2317 FRANKFORT COURT                                           ¨ Contingent
     LEXINGTON, KY 40510                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.687 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,831.44
     LANDSCAPE SERVICES GROUP, LLC
     395 MANN DR.                                                   ¨ Contingent
     COLLIERVILLE, TN 38017                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.688 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,995.21
     LANTECH.COM
     DEPARTMENT 8001                                                ¨ Contingent
     CAROL STREAM, IL 60122-8001                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.689 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LAPORTE COUNTY TAX ASSESSOR
     555 MICHIGAN AVENUE, SUITE 103                                 þ Contingent
     LA PORTE, IN 46350                                             þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Personal Property Audit



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.690 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     98.64
     LAQUECIA HARRIS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.691 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    236.00
     LASER MECHANISMS, INC.
     25225 REGENCY DRIVE                                            ¨ Contingent
     NOVI, MI 48375                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.692 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     41.26
     LAUREL COUNTY WATER DISTRICT 2
     POBOX 2598                                                     ¨ Contingent
     LONDON, KY 40743-2598                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.693 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,774.10
     LAUREL GROCERY COMPANY, LLC
     PO BOX 4100                                                    ¨ Contingent
     LONDON, KY 40743                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.694 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,050.00
     LAWSON TOOL COMPANY, INC.
     7791 S. HWY. 25                                                ¨ Contingent
     WILLIAMSBURG, KY 40769-9778                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.695 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,985.30
     LED SMART LIGHTS
     PO BOX 263                                                     ¨ Contingent
     TELLICO PLAINS, TN 37385                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.696 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    892.00
     LEE INDUSTRIES, INC.
     PO BOX 687                                                     ¨ Contingent
     PHILIPSBURG, PA 16866                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.697 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 16,657.70
     LEGACY FARMERS COOPERATIVE
     6566 C.R. 236                                                  ¨ Contingent
     SUITE 600                                                      ¨ Unliquidated
     FINDLAY, OH 45840                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.698 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     25.00
     LEGALINC CORPORATE SERVICES INC
     10601 CLARENCE DR.                                             ¨ Contingent
     SUITE 250                                                      ¨ Unliquidated
     FRISCO, TX 75033                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.699 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,772.84
     LESMAN INSTRUMENT COMPANY
     PO BOX 7640                                                    ¨ Contingent
     CAROL STREAM, IL 60197-7640                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.700 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.58
     LEWIS BROS./MURFREEBORO
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.701 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,482.08
     LIBERTY PACKAGING
     MILLER CONTAINER CORPORATION                                   ¨ Contingent
     POBOX 855659                                                   ¨ Unliquidated
     MINNEAPOLIS, MN 55485-5659                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.702 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,681.28
     LINDE GAS & EQUIPMENT INC
     DEPT CH 10660                                                  ¨ Contingent
     PALANTINE, IL 60055-0660                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.703 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,384.55
     LINDE INC.
     P O BOX 91385                                                  ¨ Contingent
     CHICAGO, IL 60693-1385                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.704 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 45,003.13
     LINKEDIN
     62228 COLLECTIONS CENTER DR                                    ¨ Contingent
     CHICAGO, IL 60693-0622                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.705 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,280.92
     LITHOTYPE COMPANY INC.
     333 PT. SAN BRUNO BLVD                                         ¨ Contingent
     SOUTH SAN FRANCISCO, CA 94080                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.706 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,200.00
     LMC LANDSCAPING & CONSTRUCTION
     1366 BROWN STREET                                              ¨ Contingent
     DES PLAINES, IL 60016                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.707 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 30,838.50
     LOCK DOWN SECURITY LLC
     47 CAZASSA CREEK                                               ¨ Contingent
     RED BANK, MS 38661                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.708 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,847.56
     LOGISTICK INC
     19880 STATE LINE RD                                            ¨ Contingent
     SOUTH BEND, IN 46637                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.709 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,974.89
     LOMA INTERNATIONAL
     39425 TREASURY CENTER                                          ¨ Contingent
     CHICAGO, IL 60694-9400                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.710 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,083.79
     LONDON UTILITY COMMISSION
     P.O. BOX 918                                                   ¨ Contingent
     LONDON, KY 40743-0918                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.711 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,023.82
     LONG BINH BRANCH OF OLAM VIETNAM
     LOT E05                                                        ¨ Contingent
     BIEN HOA, 81000                                                ¨ Unliquidated
     VIETNAM                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.712 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    443.00
     LONG LINES BROADBAND
     504 4TH ST                                                     ¨ Contingent
     SERGEANT BLUFF, IA 51054                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.713 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,470.52
     LORENZ CONVEYING PRODUCTS CORP
     PO BOX 1002                                                    ¨ Contingent
     COBOURG, ON K9A 4W4                                            ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.714 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,942.33
     LOUISVILLE SWITCHING
     PO BOX 854469                                                  ¨ Contingent
     MINNEAPOLIS, MN 55485-4469                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.715 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,276.53
     LOVESHAW CORPORATION
     2206 EASTON TURNPIKE                                           ¨ Contingent
     SOUTH CANAAN, PA 18459                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.716 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,490.35
     LOWES
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.717 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,123.56
     LOWE'S BUSINESS ACCOUNT
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.718 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,551.05
     LYDEN OIL COMPANY
     30692 TRACY ROAD                                               ¨ Contingent
     WALBRIDGE, OH 43465                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.719 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    178.34
     M C AUTO SUPPLY
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.720 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 60,171.47
     M H EQUIPMENT COMPANY
     POBOX 854469                                                   ¨ Contingent
     MINNEAPOLIS, MN 55485-4469                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.721 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,062.91
     M.G. NEWELL CORP.
     PO BOX 60140                                                   ¨ Contingent
     CHARLOTTE, NC 28260                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.722 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,045.95
     MACALLISTER MACHINERY
     PO BOX 78000                                                   ¨ Contingent
     DETROIT, MI 48278                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.723 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,986.38
     MACHINE BUILDERS & DESIGN INC.
     806 N. POST RD.                                                ¨ Contingent
     SHELBY, NC 28150                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.724 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,381.06
     MACHINERY MAINTENANCE, INC.
     P.O. BOX 1127                                                  ¨ Contingent
     LASALLE, IL 61301                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.725 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     86.96
     MAIN LINE SUPPLY CO, INC
     300 N FINDLAY ST                                               ¨ Contingent
     DAYTON, OH 45403                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.726 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MAISONNEUVE, RUDY
     C/O MYERS & WALLACE, LLP                                       þ Contingent
     ATTN: CHRISTOPHER C. MYERS                                     þ Unliquidated
     809 S. CALHOUN STREET, #400                                    þ Disputed
     FORT WAYNE, IN 46802
                                                                    Basis for the claim: Litigation



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.727 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,653.52
     MALLET & COMPANY INC
     563 NAPRO BLVD                                                 ¨ Contingent
     STE 195                                                        ¨ Unliquidated
     PITTSBURGH, PA 15205                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.728 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  95,185.21
     MALNOVE INCORPORATED OF NEBRASKA
     13434 F STREET                                                 ¨ Contingent
     OMAHA, NE 68137                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.729 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  17,032.87
     MANE INC.
     DEPT CH 16555                                                  ¨ Contingent
     PALATINE, IL 60055-6555                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.730 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     MANN CONSULTANT SERVICES, INC
     P.O. BOX 1238                                                  ¨ Contingent
     ELIZABETHTOWN, KY 42701                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.731 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 148,557.52
     MANPOWER
     21271 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1212                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.732 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,995.00
     MANUFACTURERS EDGE, INC.
     5044 INDUSTRIAL ROAD                                           ¨ Contingent
     SUITE C                                                        ¨ Unliquidated
     FARMINGDALE, NJ 07727                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.733 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,941.76
     MARIANI PACKING COMPANY
     PO BOX 883077                                                  ¨ Contingent
     LOS ANGELES, CA 90088                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.734 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    244.35
     MARK K INC.
     908 WEST MAIN CROSS STREET                                     ¨ Contingent
     FINDLAY, OH 45839                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.735 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 219,956.90
     MARKEM-IMAJE CORPORATION
     PO BOX 3542                                                    ¨ Contingent
     BOSTON, MA 02241                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.736 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MARS PETCARE US, INC.
     2013 OVATION PARKWAY                                           þ Contingent
     FRANKLIN, TN 37067                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Rebate



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.737 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,591.02
     MARSH LABEL TECHNOLOGIES LLC
     100 SUN VALLEY CIRCLE                                          ¨ Contingent
     FENTON, MO 63026                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.738 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,628.23
     MARTIN BAUER INC.
     LOCKBOX 83271                                                  ¨ Contingent
     WOBURN, MA 01813-3271                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.739 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,729.35
     MARYGROVE OHIO LLC
     TOLEDO TARP SERVICE                                            ¨ Contingent
     12700 MERRIMAN RD                                              ¨ Unliquidated
     LIVONIA, MI 48150                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.740 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,950.70
     MASERGY COMMUNICATIONS
     POBOX 733938                                                   ¨ Contingent
     DALLAS, TX 75373-3938                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.741 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,628.00
     MASSIE JET VAC SERVICE
     310 N BLOOMINGTON ST.                                          ¨ Contingent
     STREATOR, IL 61364                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.742 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,353.14
     MASSMAN COMPANIES INC
     1010 E LAKE STREET                                             ¨ Contingent
     VILLARD, MN 56385                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.743 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    843.27
     MASTER ELECTRIC CO., INC.
     8555 123RD STREET                                              ¨ Contingent
     SAVAGE, MN 55378                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.744 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,359.00
     MASTER ROOTER PLUMBING
     P.O. BOX 208                                                   ¨ Contingent
     MERIDIAN, ID 83680                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.745 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,622.96
     MATERIAL TRANSFER & STORAGE
     PO BOX 218                                                     ¨ Contingent
     ALLEGAN, MI 49010-0218                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.746 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MATHES, BENJAMIN
     C/O SOMMERS SCHWARTZ, P.C.                                     þ Contingent
     ATTN: JESSE L. YOUNG                                           þ Unliquidated
     1 TOWNE SQUARE, #1700                                          þ Disputed
     SOUTHFIELD, MI 48076
                                                                    Basis for the claim: Litigation



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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3.747 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,495.23
     MATRIX PACKAGING MACHINERY
     PO BOX 932182                                                  ¨ Contingent
     CLEVELAND, OH 44193                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.748 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 21,991.20
     MATTHEWS INTERNATIONAL
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.749 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,416.00
     MAVERICK MACHINE & TOOL
     PO BOX 647                                                     ¨ Contingent
     MARSHALL, MI 49068                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.750 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 21,753.88
     MAYS CHEMICAL CO INC
     PO BOX 844598                                                  ¨ Contingent
     BOSTON, MA 02284-4598                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.751 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,410.00
     MCC NETWORK SERVICES LLC
     POBOX 555                                                      ¨ Contingent
     SULLIVAN, IL 61951                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.752 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,032.17
     MCCALL INDUSTRIAL SUPPLY
     PO BOX 15427                                                   ¨ Contingent
     BOISE, ID 83715-5427                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.753 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,744.00
     MCCLOUD SERVICES
     PO BOX 95261                                                   ¨ Contingent
     CHICAGO, IL 60694-5261                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.754 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 215,142.68
     MCCORMICK & COMPANY, INC.
     2408 COLLECTION CENTER DRIVE                                   ¨ Contingent
     CHICAGO, IL 60693-0024                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.755 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,663.00
     MCCORMICK EQUIPMENT
     112 NORTHEAST DRIVE                                            ¨ Contingent
     LOVELAND, OH 45140                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.756 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  40,730.00
     MCKEAN PALLET COMPANY
     1046 STATE ROUTE 26                                            ¨ Contingent
     LACON, IL 61540                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.757 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 57,770.22
     MCMASTER-CARR SUPPLY CO.
     PO BOX 7690                                                    ¨ Contingent
     CHICAGO, IL 60680-7690                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.758 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 47,376.26
     MCNAUGHTON-MCKAY ELECTRIC CO
     DEPT 14801                                                     ¨ Contingent
     DETROIT, MI 48267-0148                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.759 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    112.00
     MED-1 BRETON
     PO BOX 3319                                                    ¨ Contingent
     GRAND RAPIDS, MI 49501-3319                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.760 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    128.00
     MED-1 LEONARD
     PO BOX 3320                                                    ¨ Contingent
     GRAND RAPIDS, MI 49501-3320                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.761 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    736.00
     MEGGITT (ERLANGER) LLC
     1400 JAMIKE AVENUE                                             ¨ Contingent
     ERLANGER, KY 41018                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.762 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 219,723.99
     MENASHA PACKAGING COMPANY LLC
     PO BOX 856449                                                  ¨ Contingent
     MINNEAPOLIS, MN 55485-6449                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.763 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,865.48
     MERIDIAN ROLLER COMPANY, INC.
     4260 CENTERVILLE ROAD                                          ¨ Contingent
     ST. PAUL, MN 55127                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.764 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  31,804.84
     MESSER LLC
     88718 EXPEDITE WAY                                             ¨ Contingent
     CHICAGO, IL 60695-1700                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.765 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,608.45
     METRO WATER SERVICES
     P.O. BOX 305225                                                ¨ Contingent
     NASHVILLE, TN 37230-5225                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.766 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  23,375.04
     METROHM USA INC
     PO BOX 405562                                                  ¨ Contingent
     ATLANTA, GA 30384-5562                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.767 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 340,312.26
     METROPOLITAN TRUSTEE
     REAL PROPERTY TAX DEPT.                                        ¨ Contingent
     POBOX 305012                                                   ¨ Unliquidated
     NASHVILLE, TN 37230-5012                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.768 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  36,026.50
     METTLER-TOLEDO
     22677 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1226                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.769 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,613.12
     METTLER-TOLEDO
     22670 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1226                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.770 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      78.00
     MICHEM ANALYTICAL LAB I
     2147 RULON WHITE BLVD                                          ¨ Contingent
     OGDEN, UT 84404                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.771 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    250.00
     MICHIGAN BATTERY EQUIPMENT
     PO BOX 310407                                                  ¨ Contingent
     FLINT, MI 48531                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.772 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MICHIGAN DEPARTMENT OF TREASURY
     P.O. BOX 30324                                                 þ Contingent
     LANSING, MI 48909-7824                                         þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Sales & Use Audit



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.773 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 35,595.93
     MICHIGAN SPECIALTY COATINGS, INC.
     5407 GRATIOT AVENUE                                            ¨ Contingent
     ST. CLAIR, MI 48074                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.774 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 76,398.00
     MICHIGAN SUGAR
     PO BOX 673089                                                  ¨ Contingent
     DETROIT, MI 48267-3089                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.775 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     MID SOUTH LAWN INC.
     1312 HADLEY AVE                                                ¨ Contingent
     OLD HICKORY, TN 37138                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.776 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,083.43
     MID SOUTH ROLLER
     PO BOX 130                                                     ¨ Contingent
     CLARKSVILLE, AR 72830                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.777 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,023.44
     MIDWEST AIR FILTER, INC
     PO BOX 524                                                     ¨ Contingent
     ADA, MI 49301                                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.778 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    321.39
     MIDWEST AIR PARTS INC
     PO BOX 776                                                     ¨ Contingent
     MUSKEGO, WI 53150-0776                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.779 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    281.65
     MIDWEST FIBER INC
     1902 N. WATER STREET                                           ¨ Contingent
     DECATUR, IL 62526                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.780 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 300,457.29
     MIDWEST INDUSTRIAL RUBBER, INC.
     P.O. BOX 772866                                                ¨ Contingent
     DETROIT, MI 48277-2866                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.781 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    422.60
     MIDWEST SAFETY PRODUCTS
     4929 EAST PARIS SE.                                            ¨ Contingent
     KENTWOOD, MI 49512-5351                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.782 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,302.36
     MIDWEST VENDING SERVICES, INC.
     11750 MILLPOND AVE                                             ¨ Contingent
     BURNSVILLE, MN 55337                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.783 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,733.77
     MIERAS INDUSTRIAL SHOES
     841 LEONARD ST. NW                                             ¨ Contingent
     GRAND RAPIDS, MI 49504                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.784 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         0.77
     MIHLFELD & ASSOCIATES
     P.O. BOX 11047                                                 ¨ Contingent
     SPRINGFIELD, MO 65808-1047                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.785 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,590.00
     MIL AMORES LLC
     406 W FIFTH ST                                                 ¨ Contingent
     CORBIN, KY 40701                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.786 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    540.95
     MILLENNIUM PACKAGING, INC.
     313 S. ROHLWING RD                                             ¨ Contingent
     ADDISON, IL 60101                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.787 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    802.69
     MILLSTREAM-KENNEDY INC.
     1631 BROAD AVE.                                                ¨ Contingent
     FINDLAY, OH 45840                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.788 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    415.47
     MINNESOTA ELEVATOR INC.
     MEI - TOTAL ELEVATOR SOLUTIONS                                 ¨ Contingent
     PO BOX 64069                                                   ¨ Unliquidated
     ST PAUL, MN 55164-0069                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.789 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,982.52
     MINNESOTA ENERGY RESOURCES CORP.
     PO BOX 6040                                                    ¨ Contingent
     CAROL STREAM, IL 60197-6040                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.790 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,177.00
     MINNESOTA REVENUE
     MAIL STATION 4110                                              ¨ Contingent
     ST. PAUL, MN 55146-4110                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.791 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    477.31
     MINONK AUTO PARTS
     1450 N INDUSTRIAL DR                                           ¨ Contingent
     MINONK, IL 61760                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.792 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     43.16
     MINUTEMAN PRESS
     101 SOUTH PLAZA                                                ¨ Contingent
     LONDON, KY 40743-3349                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.793 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,314.68
     MIRA PLASTICS CO., INC.
     123 FREDON SPRINGDALE RD                                       ¨ Contingent
     NEWTON, NJ 07860                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.794 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 36,724.00
     MISSISSIPPI STATE TREASURY
     POBOX 23191                                                    ¨ Contingent
     JACKSON, MS 39225-3191                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.795 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,732.40
     MIST CHEMICAL & SUPPLY CO
     5 RIVER OAKS CIRCLE EAST                                       ¨ Contingent
     BUFFALO GROVE, IL 60089                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.796 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,611.81
     MOBILE AIR, INC.
     PO BOX 734443                                                  ¨ Contingent
     CHICAGO, IL 60673-4443                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.797 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     4,368.08
     MOBILE RADIO ENGINEERING
     745 BOONE AVE N.                                               ¨ Contingent
     GOLDEN VALLEY, MN 55427                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.798 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     2,217.40
     MOL BELTING
     PO BOX 141095                                                  ¨ Contingent
     GRAND RAPIDS, MI 49514-1095                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.799 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 2,840,548.33
     MONDELEZ GLOBAL LLC
     TOLEDO FLOUR MILL                                              ¨ Contingent
     2221 FRONT ST.                                                 ¨ Unliquidated
     TOLEDO, OH 43605                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.800 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             10,374,995.28
     MONDELEZ GLOBAL LLC
     25988 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.801 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MONDELĒZ INTERNATIONAL
     100 DEFOREST AVE.                                              þ Contingent
     EAST HANOVER, NJ 07936                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Rebate



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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3.802 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,023.20
     MONK FRUIT CORPORATION
     1228 AMERICAN WAY                                              ¨ Contingent
     LIBERTYVILLE, IL 60048                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.803 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,296.16
     MOODY COWS LLC
     420 N HILL ST                                                  ¨ Contingent
     LONDON, KY 40741                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.804 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,144.05
     MOORE PROD. TOOL SPECIALTIES
     37531 GRAND RIVER CUTOFF                                       ¨ Contingent
     FARMINGTON HILLS, MI 48335                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.805 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,821.30
     MOR ELECTRIC HEATING ASSOC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.806 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 37,395.54
     MORTON SALT, INC.
     DEPT CH 19973                                                  ¨ Contingent
     PALATINE, IL 60055-9973                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.807 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    230.31
     MOTION AI
     7350 GOLDEN TRIANGLE DRIVE                                     ¨ Contingent
     EDEN PRAIRIE, MN 55344                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.808 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,829.27
     MOTION INDUSTRIES
     POBOX 745932                                                   ¨ Contingent
     ATLANTA, GA 30374                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.809 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 73,893.99
     MOTION INDUSTRIES, INC.
     BOX 98412                                                      ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.810 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    764.40
     MPAC LANGEN INC.
     6500 KITIMAT ROAD, UNIT 1                                      ¨ Contingent
     MISSISSAUGA, ON L5N 2B8                                        ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.811 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,550.00
     MR. ROOTER OF NORTHWEST INDIANA
     3602 EVANS AVE SUITE A                                         ¨ Contingent
     SUITE A                                                        ¨ Unliquidated
     VALPARAISO, IN 46383                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.812 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,130.11
     MRG TOOL AND DIE CORP.
     1100 CANNON CIRCLE                                             ¨ Contingent
     FARIBAULT, MN 55021                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.813 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,170.52
     MRO MARKETING
     204 WEST ACADEMY ST SW                                         ¨ Contingent
     GAINESVILLE, GA 30501                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.814 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,506.64
     MSC INDUSTRIAL SUPPLY
     POBOX 953635                                                   ¨ Contingent
     ST LOUIS, MO 63195-3635                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.815 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,458.46
     NACARATO TRUCK CENTERS
     519 NEW PAUL ROAD                                              ¨ Contingent
     LAVERGNE, TN 37086                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.816 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 27,826.74
     NASHVILLE ELECTRIC SERVICE
     PO BOX 305099                                                  ¨ Contingent
     NASHVILLE, TN 37230-5099                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.817 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,885.00
     NATIONAL RAISIN COMPANY
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.818 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 130,308.16
     NATIONAL SUGAR MARKETING LLC
     PO BOX 83257                                                   ¨ Contingent
     CHICAGO, IL 60691-0257                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.819 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,190.00
     NATIONAL XPRESS LOGISTICS
     2301-B COMPUTER AVENUE                                         ¨ Contingent
     WILLOW GROVE, PA 19090                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.820 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    594.00
     NBS CALIBRATIONS
     9150 ISANTI STREET NE                                          ¨ Contingent
     BLAINE, MN 55449                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.821 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,382.99
     NEFF AUTOMATION
     DEPARTMENT 6081                                                ¨ Contingent
     CAROL STREAM, IL 60122-6081                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.822 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    157.15
     NEIGHBORHOOD ACE HARDWARE
     119 N SANGAMON AVE                                             ¨ Contingent
     GIBSON CITY, IL 60936                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.823 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,877.20
     NELLSON NUTRACEUTICAL LLC
     5801 AYALA AVE                                                 ¨ Contingent
     IRWINDALE, CA 91706                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.824 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,127.59
     NELSON-JAMESON
     3200 S CENTRAL AVE                                             ¨ Contingent
     MARSHFIELD, WI 54449                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.825 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 40,834.02
     NEOGEN CORPORATION
     PO BOX 74008750                                                ¨ Contingent
     CHICAGO, IL 60674-8750                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.826 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,734.36
     NEW YORK BLOWER CO
     PO BOX 88744                                                   ¨ Contingent
     CAROL STREAM, IL 60188-0744                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.827 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,253.82
     NEWARK ELEMENT14
     33190 COLLECTION CENTER DRIVE                                  ¨ Contingent
     CHICAGO, IL 60693-0331                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.828 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  24,883.42
     NEWLY WEDS FOODS, INC.
     29565 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1295                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.829 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 650,840.01
     NEWPORT INGREDIENTS
     5850 W 3RD STREET                                              ¨ Contingent
     STE 142                                                        ¨ Unliquidated
     LOS ANGELES, CA 90036                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.830 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,463.66
     NEXIRA, INC
     COLLOIDES NATURELS                                             ¨ Contingent
     15 SOMERSET STREET                                             ¨ Unliquidated
     SOMERVILLE, NJ 08876                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.831 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,619.75
     NEXTHERMAL CORP.
     P.O. BOX 2404                                                  ¨ Contingent
     BATTLE CREEK, MI 49015                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.832 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    128.24
     NICOR GAS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.833 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 46,080.00
     NIGHTLINE EXPRESS INC.
     12250 WEBER HILL RD.                                           ¨ Contingent
     STE 105                                                        ¨ Unliquidated
     ST. LOUIS, MO 63127                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.834 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 18,158.27
     NIKKEN FOODS USA, INC.
     4984 MANCHESTER AVE.                                           ¨ Contingent
     ST. LOUIS, MO 63110                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.835 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 34,177.50
     NINTEX USA, INC.
     DEPT CH 17280                                                  ¨ Contingent
     PALATINE, IL 60055                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.836 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 94,122.45
     NIPSCO
     P.O. BOX 13007                                                 ¨ Contingent
     MERRILLVILLE, IN 46411-3007                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.837 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    118.14
     NORAMAR CO., LTD
     P.O. BOX 771                                                   ¨ Contingent
     CHAGRIN FALLS, OH 44022                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.838 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    112.38
     NORCO INC.
     PO BOX 35144                                                   ¨ Contingent
     LB413124                                                       ¨ Unliquidated
     SEATTLE, WA 98124-5144                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.839 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    440.00
     NORDSON CORP.
     PO BOX 802586                                                  ¨ Contingent
     CHICAGO, IL 60680-2586                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.840 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 47,735.00
     NORTHERN GOLD FOOD LTD.
     1725 COAST MERIDIAN ROAD                                       ¨ Contingent
     PORT COQUITLAM, BC V3C 3T7                                     ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.841 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 19,346.48
     NORTHERN GOLD FOODS, USA
     29323 MEADOWVIEW RD                                            ¨ Contingent
     JUNCTION CITY, OR 97448                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.842 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    142.00
     NORTHFIELD HOSPITAL
     2000 NORTH AVENUE                                              ¨ Contingent
     NORTHFIELD, MN 55057-1697                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.843 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,000.00
     NORTHWEST STATE COMMUNITY COLLEGE
     22600 STATE ROUTE 34                                           ¨ Contingent
     ARCHBOLD, OH 43502                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.844 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,505.02
     NORTHWESTERN MASONRY SERVICE
     4400 NORTH MAIN STREET                                         ¨ Contingent
     FINDLAY, OH 45840                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.845 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 34,761.79
     NORTHWESTERN WATER AND SEWER DISTRICT
     PO BOX 348                                                     ¨ Contingent
     BOWLING GREEN, OH 43402-0348                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.846 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,118.54
     NOTT COMPANY
     4480 ROUND LAKE ROAD WEST                                      ¨ Contingent
     ARDEN HILLS, MN 55112-1961                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.847 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 53,570.91
     NOVOZYMES NORTH AMERICA, INC.
     POBOX 638                                                      ¨ Contingent
     FRANKLINTON, NC 27525                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.848 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 29,800.00
     NPI, LLC
     PO BOX 96488                                                   ¨ Contingent
     CHARLOTTE, NC 28296-0488                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.849 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,030.00
     NSF INTERNATIONAL
     DEPT LOCKBOX # 771380                                          ¨ Contingent
     DETROIT, MI 48277-1380                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.850 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,152.58
     NU-TEK FOOD SCIENCE, LLC
     600 HWY 169 SOUTH                                              ¨ Contingent
     STE 885                                                        ¨ Unliquidated
     ST. LOUIS PARK, MN 55426-1232                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.851 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 54,921.80
     NUTRA FOOD INGREDIENTS, LLC
     4683 50TH ST SE                                                ¨ Contingent
     KENTWOOD, MI 49512                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.852 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,225.88
     NUTRIN CORPORATION
     PO BOX 65048                                                   ¨ Contingent
     WASHINGTON, DC 20035                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.853 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,852.33
     NUWAY DISPOSAL
     PO BOX 9                                                       ¨ Contingent
     MOKENA, IL 60448                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.854 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,026.73
     NVENIA LLC
     POBOX 71948                                                    ¨ Contingent
     CHICAGO, IL 60694-1948                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.855 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    136.85
     O.E. BROKERAGE COMPANY INC.
     1734 RUDDER INDUSTRIAL PARK DR                                 ¨ Contingent
     FENTON, MO 63026                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.856 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,356.50
     OC FLAVOR INC.
     P.O. BOX 103539                                                ¨ Contingent
     PASADENA, CA 91189-3539                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.857 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,662.00
     OCEAN SPRAY CHICAGO
     PO BOX 223049                                                  ¨ Contingent
     PITTSBURGH, PA 15251-2049                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.858 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     OHIO DEPARTMENT OF TAXATION
     P.O. BOX 181140                                                þ Contingent
     COLUMBUS, OH 43216-6560                                        þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Sales & Use Audit



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.859 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     OHIO LOGISTICS
     TALL TIMBERS DISTRIBUTION CENTER                               ¨ Contingent
     POBOX 952                                                      ¨ Unliquidated
     FINDLAY, OH 45839-0952                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.860 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,441.86
     OHIO TRANSMISSION CO.
     P.O. BOX 73278                                                 ¨ Contingent
     CLEVELAND, OH 44193                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.861 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,387.83
     OLAM AMERICAS, INC.
     535 PLAINFIELD ROAD                                            ¨ Contingent
     SUITE E                                                        ¨ Unliquidated
     WILLOWBROOK, IL 60527                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.862 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,825.88
     OLAM SPICES AND VEGETABLES, INC.
     OLAM WEST COAST                                                ¨ Contingent
     LOCKBOX #731254                                                ¨ Unliquidated
     DALLAS, TX 75373-1254                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.863 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,274.45
     OLD DOMINION FREIGHT LINE
     14933 COLLECTION CENTER DR                                     ¨ Contingent
     CHICAGO, IL 60693-4933                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.864 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  13,792.47
     ON SITE REPAIR SERVICES, INC.
     P.O. BOX 1486                                                  ¨ Contingent
     LASALLE, IL 61301                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.865 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 142,500.11
     ON TRACK FARMING INC.
     1195 S. SANGAMON AVE.                                          ¨ Contingent
     GIBSON CITY, IL 60936                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.866 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 249,259.00
     ONCE AGAIN NUT BUTTER COLLECTIVE INC.
     POBOX 429 12 S. STATE ST.                                      ¨ Contingent
     NUNDA, NY 14517-0429                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.867 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,503.39
     ONSTAFF USA, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.868 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,273.39
     OPEN TEXT, INC.
     C/O JP MORGAN LOCKBOX                                          ¨ Contingent
     24685 NETWORK PLACE                                            ¨ Unliquidated
     CHICAGO, IL 60673-1246                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.869 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 67,111.00
     OREGON POTATO COMPANY
     POBOX 3110                                                     ¨ Contingent
     PASCO, WA 99302-3110                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.870 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,400.00
     OREGON TILTH
     POBOX 368                                                      ¨ Contingent
     CORVALLIS, OR 97339                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.871 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,369.00
     OR-TEC, INC
     5445 DUNHAM ROAD                                               ¨ Contingent
     MAPLE HEIGHTS, OH 44137                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.872 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,114.23
     ORTHODOX UNION
     11 BROADWAY                                                    ¨ Contingent
     NEW YORK, NY 10004                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.873 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,298.52
     OSCO, INCORPORATED
     PO BOX 698                                                     ¨ Contingent
     MINOOKA, IL 60447                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.874 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,345.00
     OSF FLAVORS
     40 BAKER HOLLOW ROAD                                           ¨ Contingent
     WINDSOR, CT 06095                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.875 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     42.08
     OTP INDUSTRIAL SOLUTIONS
     PO BOX 73278                                                   ¨ Contingent
     CLEVELAND, OH 44193                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.876 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    908.66
     OTTAWA TIRE & SERVICE CENTER
     P.O.BOX 346                                                    ¨ Contingent
     OTTAWA, OH 45875                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.877 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    413.60
     OVERHEAD DOOR CO. OF CORBIN
     3718 CUMBERLAND FALLS HWY                                      ¨ Contingent
     CORBIN, KY 40701                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.878 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 23,380.00
     OVERHEAD DOOR COMPANY OF SW IDAHO
     621 ALLUMBAUGH LN                                              ¨ Contingent
     BOISE, ID 83704                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.879 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 22,328.00
     OVERWATCH TN SECURITY COMPANY INC.
     4165 LITTLE BLUE CREEK RD.                                     ¨ Contingent
     MCEWEN, TN 37101                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.880 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 101,112.66
     PACCOR PACKAGING NA INC
     DEPT CH #10980                                                 ¨ Contingent
     PALATINE, IL 60055-0980                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.881 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    801.50
     PACIFIC FARMS
     5301 LONGLEY LANE                                              ¨ Contingent
     SUITE # D-159                                                  ¨ Unliquidated
     RENO, NV 89511                                                 ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.882 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    377.27
     PACIFIC STEEL & RECYCLING
     PO BOX 530                                                     ¨ Contingent
     NAMPA, ID 83653                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.883 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 95,914.90
     PACKAGING CORP. OF AMERICA
     36596 TREASURY CENTER                                          ¨ Contingent
     CHICAGO, IL 60694-6500                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.884 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,882.88
     PACKAGING CORP. OF AMERICA
     936 SHELDON RD.                                                ¨ Contingent
     PLYMOUTH, MI 48170                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.885 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 40,845.00
     PACMOORE PROCESS TECHNOLOGIES, LLC
     1844 SUMMER STREET                                             ¨ Contingent
     HAMMOND, IN 46320                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.886 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 95,615.32
     PACTIV LLC
     29935 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1299                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.887 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    345.60
     PADNOS
     P.O. BOX 638748                                                ¨ Contingent
     CINCINNATI, OH 45263-8748                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.888 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,048.91
     PAK WEST PAPER & PACKAGING
     4042 W GARRY AVENUE                                            ¨ Contingent
     SANTA ANA, CA 92704-6300                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.889 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 61,265.50
     PALLET WORLD, INC.
     8292 FREMONT PIKE (RT.20)                                      ¨ Contingent
     PERRYSBURG, OH 43551                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.890 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,062.26
     PAMCO LABEL COMPANY, INC.
     PO BOX 735669                                                  ¨ Contingent
     CHICAGO, IL 60673-5669                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.891 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,550.00
     PAPER MACHINERY CORPORATION
     28868 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1288                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.892 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    178.14
     PAPPAS, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.893 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    716.78
     PARAGON LABELING SYSTEMS
     LOWRY HOLDING COMPANY                                          ¨ Contingent
     9420 MALTBY ROAD                                               ¨ Unliquidated
     BRIGHTON, MI 48116                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.894 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,949.64
     PARAMOUNT SUPPLY COMPANY
     PO BOX 5628                                                    ¨ Contingent
     BOISE, ID 83705                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.895 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 288,888.89
     PARTNERS GROUP US INVESTMENT SERVICES LLC
     1114 AVENUE OF THE AMERICAS                                    ¨ Contingent
     NEW YORK, NY 10036                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.896 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,800.00
     PARTSPAK INC
     1050 BETHLEHEM PIKE                                            ¨ Contingent
     NORTH WALES, PA 19454-1515                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.897 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,108.91
     PATCO PRODUCTS LLC
     DEPT CH 18423                                                  ¨ Contingent
     PALATINE, IL 60055-8423                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.898 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,268.77
     PATLIN INC
     PO BOX 699                                                     ¨ Contingent
     CARPENTERSVILLE, IL 60110                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.899 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    694.78
     PAUL VOIGT & ASSOC., INC.
     28610 STANDLEY RD                                              ¨ Contingent
     DEFIANCE, OH 43512                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.900 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    795.00
     PAUL'S MACHINE & WELDING CORP
     650 N. SYCAMORE                                                ¨ Contingent
     VILLA GROVE, IL 61956                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.901 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     60.52
     PEAK SALES
     10839 NW 14TH STREET                                           ¨ Contingent
     CORAL SPRINGS, FL 33071                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.902 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,088.00
     PEANUT IMPORT & DISTRIBUTION
     1627 CONNECTICUT AVE, NW                                       ¨ Contingent
     STE 3                                                          ¨ Unliquidated
     WASHINGTON, DC 20009                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.903 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,910.39
     PEARL TECHNOLOGIES
     POBOX 776833                                                   ¨ Contingent
     CHICAGO, IL 60677-6833                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.904 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,982.05
     PEERLESS FOOD EQUIPMENT
     SUITE 1422 75 REMITTANCE DRIVE                                 ¨ Contingent
     SUITE 1422                                                     ¨ Unliquidated
     CHICAGO, IL 60675-1422                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.905 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,468.73
     PEKRON CONSULTING
     1404 - 119TH STREET                                            ¨ Contingent
     WHITING, IN 46394                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.906 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,489.68
     PENSKE TRUCK LEASING CO., L.P.
     P.O. BOX 532658                                                ¨ Contingent
     ATLANTA, GA 30353-2658                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.907 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  295,365.74
     PEPSI LOGISTICS COMPANY, INC.
     75 REMITTANCE DRIVE                                            ¨ Contingent
     SUITE #1884                                                    ¨ Unliquidated
     CHICAGO, IL 60675-1884                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.908 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 4,812,960.04
     PEPSICO
     QUAKER SALES AND DISTRIBUTION                                  ¨ Contingent
     PO BOX 644943                                                  ¨ Unliquidated
     PITTSBURGH, PA 15264-4926                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.909 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      586.19
     PERFORMANCE FOOD GROUP INC.
     POBOX 930623                                                   ¨ Contingent
     ATLANTA, GA 31193-0623                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.910 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     2,375.00
     PETERS & MARSKE
     311 IN-212                                                     ¨ Contingent
     MICHIGAN CITY, IN 46360                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.911 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     1,156.00
     PETERSON BROS. ROOFING & CONTRUCTIO
     481 BURGESS ST.                                                ¨ Contingent
     ST PAUL, MN 55117                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.912 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 235,880.38
     PGP INTERNATIONAL
     PO BOX 742146                                                  ¨ Contingent
     LOS ANGELES, CA 90074-2146                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.913 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,055.00
     PHALEN STEEL CONSTRUCTION COMPANY
     P.O. BOX 707                                                   ¨ Contingent
     MENDOTA, IL 61342                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.914 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 105,175.06
     PHILADELPHIA MACARONI COMPANY
     760 SOUTH 11TH STREET                                          ¨ Contingent
     PHILADELPHIA, PA 19147-2614                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.915 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 101,832.10
     PHILDESCO INC
     78 GROVE ST.                                                   ¨ Contingent
     SOMERVILLE, NJ 08876                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.916 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    941.77
     PIC DESIGN
     9211 PAYSPHERE CIRCLE                                          ¨ Contingent
     CHICAGO, IL 60674                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.917 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,090.47
     PIEDMONT NATURAL GAS
     POBOX 1246                                                     ¨ Contingent
     CHARLOTTE, NC 28201-1246                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.918 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    366.41
     PIPE VALVES, INC.
     1200 E. 5TH AVE.                                               ¨ Contingent
     COLUMBUS, OH 43219                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.919 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     32.00
     PITNEY BOWES BANK INC
     PURCHASE POWER                                                 ¨ Contingent
     PO BOX 981026                                                  ¨ Unliquidated
     BOSTON, MA 02298-1026                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.920 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    776.48
     PMI CARTONING, INC.
     850 PRATT BLVD.                                                ¨ Contingent
     ELK GROVE, IL 60007                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.921 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,118.36
     POLAR TECH INDUSTRIES
     PAYMENT PROCESSING                                             ¨ Contingent
     P.O. BOX 1326                                                  ¨ Unliquidated
     BLOOMINGTON, IL 61702-1326                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.922 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  19,043.09
     POLYPACK, INC.
     3301 GATEWAY CENTRE BLVD.                                      ¨ Contingent
     PINELLAS PARK, FL 33782                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.923 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     POMPY, TIMOTHY
     C/O WOLCOTT LAW FIRM, LLC                                      þ Contingent
     ATTN: CHRISTOPHER S. WOLCOTT                                   þ Unliquidated
     450 E. 96TH STREET                                             þ Disputed
     INDIANAPOLIS, IN 46240
                                                                    Basis for the claim: Litigation



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.924 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,697.90
     POSEIDON ENGINEERING, LLC
     6525 BEELER RD.                                                ¨ Contingent
     KNOXVILLE, TN 37918                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.925 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 149,533.68
     POST CONSUMER BRANDS
     NW 5925                                                        ¨ Contingent
     MINNEAPOLIS, MN 55485-5925                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.926 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,124.00
     POWER SUPPLY OF ILLINOIS
     POBOX 776816                                                   ¨ Contingent
     CHICAGO, IL 60677-6816                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.927 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    841.39
     POWER SYSTEMS WEST
     PO BOX 35146 #41022                                            ¨ Contingent
     SEATTLE, WA 98124                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.928 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,544.15
     POWER/MATION DIVISION INC
     PO BOX 860314                                                  ¨ Contingent
     MINNEAPOLIS, MN 55486-0314                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.929 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 25,940.57
     POWERED COMPRESSORS & SUPPLIES
     POBOX 5307                                                     ¨ Contingent
     TERRE HAUTE, IN 47805                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.930 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    481.96
     PPC FLEXIBLE PACKAGING, LLC
     29476 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1294                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.931 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,101.82
     PPC INDUSTRIES
     PO BOX 71178                                                   ¨ Contingent
     CHICAGO, IL 60694-1178                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.932 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,728.28
     PPI TECHNOLOGIES
     1712 NORTHGATE BOULEVARD                                       ¨ Contingent
     SARASOTA, FL 34234                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.933 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,337.22
     PRECISION BRUSH CO.
     6700 PARKLAND BLVD                                             ¨ Contingent
     SOLON, OH 44139                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.934 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,346.94
     PRECISION BUSINESS SOLUTIONS
     DIVISION OF KENAKORE SOLUTIONS                                 ¨ Contingent
     668 1ST ST                                                     ¨ Unliquidated
     PERRYSBURG, OH 43551                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.935 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    313.47
     PRECISION TOOL
     216 S. GREENLAWN AVE.                                          ¨ Contingent
     ELIDA, OH 45807                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.936 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,407.00
     PREMIER SECURITY SOLUTIONS CO INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.937 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,963.13
     PREMIER TRAILERS, LLC
     PO BOX 206553                                                  ¨ Contingent
     DALLAS, TX 75320-6553                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.938 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,154.34
     PREMISTAR-NORTH, FORMERLY GENERAL
     18 CONGRESS CIRCLE WEST                                        ¨ Contingent
     ROSELLE, IL 60172                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.939 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 50,911.20
     PRESIDIO NETWORKED SOLUTIONS GROUP LLC
     POBOX 677638                                                   ¨ Contingent
     DALLAS, TX 75267-7638                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.940 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    885.80
     PRIMAL ESSENCE
     1351 MAULHARDT AVE.                                            ¨ Contingent
     OXNARD, CA 93030                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.941 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 70,348.82
     PRIMARY PRODUCTS INGREDIENTS
     AMERICAS, LLC                                                  ¨ Contingent
     5190 PAYSPHERE CIRCLE                                          ¨ Unliquidated
     CHICAGO, IL 60674-0564                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.942 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 355,075.48
     PRINTPACK INC.
     P.O. BOX 102430                                                ¨ Contingent
     ATLANTA, GA 30368                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.943 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,926.14
     PROAMPAC
     25366 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1253                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.944 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,755.23
     PROCESS & POWER, INC.
     POBOX 18675                                                    ¨ Contingent
     MEMPHIS, TN 38181                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.945 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,923.00
     PROCESS ENG & EQUIP
     1705 NORTHRIDGE DR NW                                          ¨ Contingent
     GRAND RAPIDS, MI 49544                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.946 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,397.42
     PROCESS HEAT & CONTROL
     P.O. BOX 727                                                   ¨ Contingent
     WEST MEMPHIS, AR 72303                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.947 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,448.06
     PRODUCTION AUTOMATION CORP.
     6200 BURY DRIVE                                                ¨ Contingent
     EDEN PRAIRIE, MN 55344                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.948 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,245.25
     PRODUCTION TECHNIQUES LTD
     PO BOX 58-874                                                  ¨ Contingent
     BOTANY, 9999                                                   ¨ Unliquidated
     AUSTRALIA                                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.949 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,721.15
     PROFESSIONAL PLASTICS
     POBOX 392209                                                   ¨ Contingent
     PITTSBURG, PA 15251                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.950 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,271.06
     PROFESSIONAL TURF INC
     7780 WEST 215TH STREET                                         ¨ Contingent
     LAKEVILLE, MN 55044                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.951 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,478.24
     PROPACK PROCESSING AND PACKAGING SYSTEMS, LLC
     4902 UNION RD                                                  ¨ Contingent
     BEAMSVILLE, ON L3J 0V8                                         ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.952 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,746.06
     PROPANE INCORPORATED
     P.O. BOX 81                                                    ¨ Contingent
     NORTH BALTIMORE, OH 45872                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.953 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    235.60
     PROTECTION CONTROLS, INC.
     P.O. BOX 287                                                   ¨ Contingent
     SKOKIE, IL 60076-0287                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.954 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 144,900.00
     PROTEIN PLUS, LLC
     POBOX 100                                                      ¨ Contingent
     FITZGERALD, GA 31750                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.955 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    393.13
     PRO-TYPE PRINTING INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.956 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  33,026.55
     PURIS PROTEINS, LLC
     811 GLENWOOD AVE                                               ¨ Contingent
     STE 100                                                        ¨ Unliquidated
     MINNEAPOLIS, MN 55405                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.957 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 43,445.43
     PURITY CYLINDER GASES INC.
     PO BOX 9390                                                    ¨ Contingent
     GRAND RAPIDS, MI 49509-0390                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.958 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    819.94
     PUTNAM COUNTY EDUCATIONAL SERVICE CENTER
     124 PUTNAM PARKWAY                                             ¨ Contingent
     OTTAWA, OH 45875                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.959 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,977.41
     PVC STRIP.COM
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.960 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,286.77
     QLC, INC.
     537 PROGRESS DRIVE                                             ¨ Contingent
     PO BOX 116                                                     ¨ Unliquidated
     HARTLAND, WI 53029                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.961 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    635.79
     QUAD/GRAPHICS INC
     PO BOX 644840                                                  ¨ Contingent
     PITTSBURGH, PA 15264-4840                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.962 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,687.34
     QUADRA CHEMICALS, INC.
     PO BOX 675037                                                  ¨ Contingent
     DALLAS, TX 75267-5037                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.963 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 32,760.00
     QUAKER (BRIDGEVIEW)
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.964 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     QUAKER OATS
     433 W. VAN BUREN ST.                                           þ Contingent
     STE 3N                                                         þ Unliquidated
     CHICAGO, IL 60607                                              ¨ Disputed
                                                                    Basis for the claim: Customer Rebate



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.965 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,036.00
     QUALITY COMPONENTS, LLC
     DBA NORTHERN MOLD                                              ¨ Contingent
     7463 AMY SCHOOL RD                                             ¨ Unliquidated
     HOWARD CITY, MI 49329                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.966 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,260.24
     QUALITY ELECTRIC, INC.
     5272 W IRVING ST.                                              ¨ Contingent
     BOISE, ID 83706                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.967 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,800.00
     QUANTIX SCS, LLC
     PO BOX 736174                                                  ¨ Contingent
     CHICAGO, IL 60673-6174                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.968 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,884.29
     QUANTUM DESIGN INC.
     7550 QUANTUM COURT                                             ¨ Contingent
     CALEDONIA, IL 61011                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.969 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    534.84
     QUENCH USA, INC.
     PO BOX 735777                                                  ¨ Contingent
     DALLAS, TX 75373-5777                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.970 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 30,294.74
     QUEST NUTRITION, LLC
     777 S. AVIATION BLVD                                           ¨ Contingent
     SUITE 100                                                      ¨ Unliquidated
     EL SEGUNDO, CA 90245                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.971 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 16,428.05
     QUILL.COM
     PO BOX 37600                                                   ¨ Contingent
     PHILADELPHIA, PA 19101-0600                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.972 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,725.00
     QUINCY FARM PRODUCTS
     PO BOX 3545                                                    ¨ Contingent
     QUINCY, IL 62305                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.973 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 54,530.00
     QUINCY RECYCLE
     526 SOUTH 6TH ST                                               ¨ Contingent
     QUINCY, IL 62301                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.974 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,466.98
     R.A. JONES
     PO BOX 71209                                                   ¨ Contingent
     MAIL CODE 5638                                                 ¨ Unliquidated
     CHARLOTTE, NC 28272-1209                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.975 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,463.76
     R.S. QUALITY PRODUCTS, INC.
     P.O. BOX 90130                                                 ¨ Contingent
     ALLENTOWN, PA 18109                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.976 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 48,841.33
     RABINE DOOR & DOCKS LLC
     61 GARLISCH DRIVE                                              ¨ Contingent
     ELK GROVE VILLAGE, IL 60007                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.977 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,894.28
     RADIO FREQUENCY CO.
     150 DOVER ROAD, P.O. BOX 158                                   ¨ Contingent
     MILLIS, MA 02054-0158                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.978 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 23,129.09
     RADWELL INTERNATIONAL
     PO BOX 419343                                                  ¨ Contingent
     BOSTON, MA 02241-9343                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.979 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 50,660.37
     RALSTON FOODS INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.980 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 37,799.94
     RAMBOW INC.
     1000 RAMBOW PARKWAY                                            ¨ Contingent
     NEW LONDON, MN 56273                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.981 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,025.34
     RANDSTAD NORTH AMERICA, INC.
     POBOX 2084                                                     ¨ Contingent
     CAROL STREAM, IL 60132-2084                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.982 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  22,164.78
     RAYMOND HANDLING CONCEPTS CORPORATION
     POBOX 7678                                                     ¨ Contingent
     SAN FRANCISCO, CA 94120-7678                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.983 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,656.00
     R-BIOPHARM, INC.
     870 WOSSBRINK DR.                                              ¨ Contingent
     WASHINGTON, MO 63090                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.984 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,911.81
     R-CAP PROCESS EQUIPMENT, INC.
     318 W. NORTHWEST HIGHWAY                                       ¨ Contingent
     BARRINGTON, IL 60010                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.985 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 128,855.43
     READING BAKERY SYSTEMS
     380 OLD WEST PENN AVENUE                                       ¨ Contingent
     ROBESONIA, PA 19551                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.986 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  30,984.00
     RED V FOODS CORP.
     1665 HERAEUS BLVD.                                             ¨ Contingent
     BUFORD, GA 30518                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.987 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    227.04
     RED WING BUSINESS ADVANTAGE
     ACCOUNT                                                        ¨ Contingent
     PO BOX 844329                                                  ¨ Unliquidated
     DALLAS, TX 75284                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.988 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    265.00
     REDWOOD MULTIMODAL
     29858 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1298                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.989 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    251.00
     REGAL PACKAGING SERVICES
     211 W SPANGLER AVE                                             ¨ Contingent
     ELMHURST, IL 60126                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.990 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,136.12
     RELIABLE DRUG & ALCOHOL, INC.
     7851 METRO PARKWAY                                             ¨ Contingent
     STE 115                                                        ¨ Unliquidated
     BLOOMINGTON, MN 55425                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.991 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    158.00
     RELIATECH CALIBRATION SERVICES
     6570 GOWANDA STATE RD.                                         ¨ Contingent
     HAMBURG, NY 14075                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.992 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,885.56
     REPUBLIC PNEUMATICS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.993 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 54,406.65
     REPUBLIC SERVICES #388
     PO BOX 9001099                                                 ¨ Contingent
     LOUISVILLE, KY 40290-1099                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.994 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,139.01
     REVERE ELECTRIC SUPPLY CO
     8218 SOLUTIONS CENTER                                          ¨ Contingent
     CHICAGO, IL 60677-8002                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.995 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,251.20
     REVOLUTION COMMERCIAL SOLUTIONS
     PO BOX 660367                                                  ¨ Contingent
     DALLAS, TX 75266-0367                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.996 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 33,499.82
     REYNOLDS & CO.
     1916 SOUTH 25TH STREET                                         ¨ Contingent
     TERRE HAUTE, IN 47802                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.997 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     REYNOLDS, NATHANIEL
     C/O SULAIMAN LAW GROUP, LTD.                                   þ Contingent
     ATTN: MOHAMMED OMAR BADWAN                                     þ Unliquidated
     2500 S. HIGHLAND AVENUE, SUITE 200                             þ Disputed
     LOMBARED, IL 60148-7103
                                                                    Basis for the claim: Litigation



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.998 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,005.81
     RICE EQUIPMENT COMPANY
     12895 PENNRIDGE                                                ¨ Contingent
     BRIDGETON, MO 63044                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.999 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     58.00
     RICHARDS & RICHARDS
     PO BOX 293180                                                  ¨ Contingent
     NASHVILLE, TN 37229                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,669.33
                                                                    Check all that apply.
      RICHARDSON MILLING LIMITED
      P.O. BOX 932664                                               ¨ Contingent
      ATLANTA, GA 31193-2664                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 25,784.08
                                                                    Check all that apply.
      RICHARDSON OILSEED LIMITED
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RICO, VICTOR
      C/O MOON LAW GROUP                                            þ Contingent
      ATTN: KANE MOON & S. PHILLIP SONG                             þ Unliquidated
      725 S. FIGUEROA STREET                                        þ Disputed
      LOS ANGELES, CA 90017
                                                                    Basis for the claim: Litigation



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                   2,981.68
                                                                    Check all that apply.
      RICOH USA INC.
      P.O. BOX 827577                                               ¨ Contingent
      PHILADELPHIA, PA 19182-7577                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    123.00
                                                                    Check all that apply.
      RISE BROADBAND
      PO BOX 844580                                                 ¨ Contingent
      BOSTON, MA 02284-4580                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 849,112.41
                                                                    Check all that apply.
      RITE-WAY PLUMBING & HEATING
      2083 WALKER COURT, NW                                         ¨ Contingent
      GRAND RAPIDS, MI 49544                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    237.83
                                                                    Check all that apply.
      ROBBINS' LOCK SHOP INC.
      2004 S. DIVISION AVE.                                         ¨ Contingent
      GRAND RAPIDS, MI 49507-3029                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,684.26
                                                                    Check all that apply.
      ROBERT DIETRICK CO., INC.
      P.O. BOX 6457                                                 ¨ Contingent
      INDIANAPOLIS, IN 46206-6457                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    563.04
                                                                    Check all that apply.
      ROBERTSON HEATING SUPPLY
      COMPANY OF OHIO                                               ¨ Contingent
      PO BOX 2448                                                   ¨ Unliquidated
      ALLIANCE, OH 44601                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  5,183.34
                                                                    Check all that apply.
      RODEM INC
      10001 MARTINS WAY                                             ¨ Contingent
      HARRISON, OH 45030                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    777.48
                                                                    Check all that apply.
      RONI, INC
      8001 TOWER POINT DR                                           ¨ Contingent
      CHARLOTTE, NC 28227                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  4,453.47
                                                                    Check all that apply.
      ROPP'S FLOWER FACTORY
      218 SOUTH MELVIN PO BOX 428                                   ¨ Contingent
      GIBSON CITY, IL 60936                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 79,595.50
                                                                    Check all that apply.
      ROSE ACRE FARMS
      36229 TREASURY CENTER                                         ¨ Contingent
      CHICAGO, IL 60694-6200                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,210.50
                                                                    Check all that apply.
      ROSKAM BAKING COMPANY- S1
      P.O. BOX 202                                                  ¨ Contingent
      GRAND RAPIDS, MI 49501                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    505.58
                                                                    Check all that apply.
      ROSNETT ENTERPRISES, INC
      5052 N 13 STREET                                              ¨ Contingent
      TERRE HAUTE, IN 47805                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 77,030.34
                                                                    Check all that apply.
      ROVEMA NORTH AMERICA, INC.
      4366 SHACKLEFORD ROAD                                         ¨ Contingent
      SUITE A                                                       ¨ Unliquidated
      NORCROSS, GA 30093                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,337.93
                                                                    Check all that apply.
      RR DONNELLEY
      7810 SOLUTION CENTER                                          ¨ Contingent
      CHICAGO, IL 60677-7008                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  4,272.89
                                                                    Check all that apply.
      RS AMERICAS
      ATTN: ACCTS RECEIVABLE DEPT                                   ¨ Contingent
      PO BOX 841811                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,651.21
                                                                    Check all that apply.
      RSS MOBILE TRAILER REPAIR LLC
      PO BOX 1048                                                   ¨ Contingent
      TRAVERSE CITY, MI 49685                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,578.34
                                                                    Check all that apply.
      RUGGED RACE PRODUCTS, INC.
      509 TRAFFIC WAY                                               ¨ Contingent
      ARROYO GRANDE, CA 93420                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  5,791.56
                                                                    Check all that apply.
      RUTTCO PALLET
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,269.00
                                                                    Check all that apply.
      RYAN FIREPROTECTION, INC.
      9740 E 148TH ST.                                              ¨ Contingent
      NOBLESVILLE, IN 46060                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,199.54
                                                                    Check all that apply.
      RYAN TRANSPORTATION SERVICE, INC.
      PO BOX 841220                                                 ¨ Contingent
      DALLAS, TX 75284-1220                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    695.50
                                                                    Check all that apply.
      RYSON INTERNATIONAL, INC.
      300 NEWSOME DR.                                               ¨ Contingent
      YORKTOWN, VA 23692                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,375.00
                                                                    Check all that apply.
      S.A. COMUNALE CO INC
      2900 NEWPARK DRIVE                                            ¨ Contingent
      BARBERTON, OH 44203-1050                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    549.50
                                                                    Check all that apply.
      S.J. SMITH CO., INC.
      3707 W. RIVER DRIVE                                           ¨ Contingent
      DAVENPORT, IA 52802                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    460.02
                                                                    Check all that apply.
      SABATER SPICES NORTH AMERICA
      80 SW 8TH ST. STE. 200                                        ¨ Contingent
      STE 200                                                       ¨ Unliquidated
      MIAMI, FL 33130                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   5,643.10
                                                                    Check all that apply.
      SAFETY-KLEEN SYSTEMS, INC.
      PO BOX 975201                                                 ¨ Contingent
      DALLAS, TX 75397-5201                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                   5,270.16
                                                                    Check all that apply.
      SALTWORKS, INC.
      16240 WOOD-RED RD NE                                          ¨ Contingent
      WOODINVILLE, WA 98072                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  13,415.70
                                                                    Check all that apply.
      SAME DAY DELIVERY
      3378 THREE MILE ROAD, NW                                      ¨ Contingent
      GRAND RAPIDS, MI 49534                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 208,240.00
                                                                    Check all that apply.
      SAN JOAQUIN FIGS, INC.
      P.O. BOX 9547                                                 ¨ Contingent
      FRESNO, CA 93793-9547                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SANCHEZ, DALILA HERNANDEZ
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: NLRB Agency Charge



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  6,250.00
                                                                    Check all that apply.
      SANCHEZ, GERMAN
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 12,933.75
                                                                    Check all that apply.
      SAPPHIRE FLAVORS & FRAGRANCES
      PO BOX 200665                                                 ¨ Contingent
      PITTSBURGH, PA 15251-0665                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    590.63
                                                                    Check all that apply.
      SCAPES LANDSCAPE MAINTENANCE
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,852.36
                                                                    Check all that apply.
      SCHAEFFER MFG CO
      PO BOX 790100                                                 ¨ Contingent
      ST. LOUIS, MO 63179-0100                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    250.00
                                                                    Check all that apply.
      SCHEPERS LAWN SPRINKLING, INC
      6634 ROGER DRIVE                                              ¨ Contingent
      JENISON, MI 49428                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  5,795.99
                                                                    Check all that apply.
      SCHNEIDER'S LOCK & SECURITY
      P.O. BOX 325                                                  ¨ Contingent
      MICHIGAN CITY, IN 46361                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  5,082.30
                                                                    Check all that apply.
      SCICO SUPPLY
      PO BOX 736407                                                 ¨ Contingent
      DALLAS, TX 75373-6407                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,063.52
                                                                    Check all that apply.
      SCOTT OIL INC.
      POBOX 385                                                     ¨ Contingent
      CLINTON, IN 47842                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    291.02
                                                                    Check all that apply.
      SCREENERKING
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    435.76
                                                                    Check all that apply.
      SD HEAD USA, LLC
      125 MICHAEL DRIVE                                             ¨ Contingent
      SUITE 105-12                                                  ¨ Unliquidated
      SYOSSET, NY 11791                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,225.00
                                                                    Check all that apply.
      SD MYERS LLC
      180 SOUTH AVE                                                 ¨ Contingent
      TALLMADGE, OH 44278                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  3,050.00
                                                                    Check all that apply.
      SECURE LOGISTICS LLC
      700 WEST RANDALL ST.                                          ¨ Contingent
      COOPERSVILLE, MI 49404                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    137.56
                                                                    Check all that apply.
      SECURITAS ELECTRONIC SECURITY INC.
      POBOX 643731                                                  ¨ Contingent
      PITTSBURG, PA 15264-5253                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 12,261.55
                                                                    Check all that apply.
      SECURITY 101 - CHICAGO
      (NORTH SHORE)                                                 ¨ Contingent
      P.O. BOX 525                                                  ¨ Unliquidated
      ST. CHARLES, IL 60175                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 14,350.00
                                                                    Check all that apply.
      SEDGWICK CLAIMS MANAGEMENT SERVICES
      POBOX 204036                                                  ¨ Contingent
      DALLAS, TX 75320-4036                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 10,601.60
                                                                    Check all that apply.
      SEELYVILLE WATER & SEWAGE
      POBOX 249                                                     ¨ Contingent
      SEELYVILLE, IN 47878                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SEGHBROECK, JILLIAN VAN
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: Litigation



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 11,060.00
                                                                    Check all that apply.
      SELECT METALS
      PO BOX 1245                                                   ¨ Contingent
      ELMHURST, IL 60126                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  5,263.79
                                                                    Check all that apply.
      SEMLER INDUSTRIES, INC.
      3800 N. CARNATION STREET                                      ¨ Contingent
      FRANKLIN PARK, IL 60131-1202                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 21,819.94
                                                                    Check all that apply.
      SENSIENT COLORS LLC
      62453 COLLECTIONS CENTER DR.                                  ¨ Contingent
      CHICAGO, IL 60693                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  48,085.78
                                                                    Check all that apply.
      SENSIENT DEHYDRATED FLAVORS LLC
      PO BOX 7410463                                                ¨ Contingent
      #774015                                                       ¨ Unliquidated
      CHICAGO, IL 60674-0463                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                   6,194.82
                                                                    Check all that apply.
      SENSIENT FLAVORS LLC
      PO BOX 7410461                                                ¨ Contingent
      CHICAGO, IL 60674-0461                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 130,680.00
                                                                    Check all that apply.
      SENSORYEFFECTS INC.
      BALCHEM INGREDIENT SOLUTIONS                                  ¨ Contingent
      POBOX 21815                                                   ¨ Unliquidated
      NEW YORK, NY 10087-1815                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  85,827.74
                                                                    Check all that apply.
      SENSUS AMERICA, INC.
      PRINCETON PIKE CORP. CENTER                                   ¨ Contingent
      997 LENOX DRIVE, STE 115                                      ¨ Unliquidated
      LAWRENCEVILLE, NJ 08648                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                   2,835.62
                                                                    Check all that apply.
      SERPA PACKAGING SOLUTIONS
      P.O. BOX 933460                                               ¨ Contingent
      CLEVELAND, OH 44193                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,841.60
                                                                    Check all that apply.
      SET ENVIRONMENTAL, INC.
      450 SUMAC RD.                                                 ¨ Contingent
      WHEELING, IL 60090                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 17,001.08
                                                                    Check all that apply.
      SETHNESS PRODUCTS COMPANY
      P.O. BOX 735983                                               ¨ Contingent
      CHICAGO, IL 60673-5983                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     86.10
                                                                    Check all that apply.
      SFI SYSTEMS FORMS INC.
      P.O. BOX 219                                                  ¨ Contingent
      MOUNT PROSPECT, IL 60056                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,792.26
                                                                    Check all that apply.
      SHALTZ AUTOMATION
      5190 EXCHANGE DRIVE                                           ¨ Contingent
      FLINT, MI 48507                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    265.66
                                                                    Check all that apply.
      SHANNON SYSTEMS LLC
      POBOX 781147                                                  ¨ Contingent
      PHILADELPHIA, PA 19178-1147                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 43,632.49
                                                                    Check all that apply.
      SHAW MATERIAL HANDLING SYSTEMS, LLC
      POBOX 872700                                                  ¨ Contingent
      KANSAS CITY, MO 64187                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     70.00
                                                                    Check all that apply.
      SHELLEY BRADY
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  8,380.69
                                                                    Check all that apply.
      SHERWIN WILLIAMS
      273 E IRVING PARK RD UNIT A                                   ¨ Contingent
      WOOD DALE, IL 60191                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 53,100.94
                                                                    Check all that apply.
      SHICK SOLUTIONS
      P.O. BOX 719042                                               ¨ Contingent
      CHICAGO, IL 60677-7042                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    431.59
                                                                    Check all that apply.
      SHICK TUBE-VEYOR CORP.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   1,793.88
                                                                    Check all that apply.
      SHIELDS O'DONNELL MACKILLOP LLP
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                   1,044.98
                                                                    Check all that apply.
      SHOES FOR CREWS, INC.
      POBOX 734176                                                  ¨ Contingent
      CHICAGO, IL 60673-4176                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                   1,361.29
                                                                    Check all that apply.
      SHOP SUPPLY
      300 EAST CRAWFORD ST                                          ¨ Contingent
      FINDLAY, OH 45840                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  15,554.00
                                                                    Check all that apply.
      SHORELINE POWER SERVICES, INC.
      6724 EAST RAILWAY COMMONS                                     ¨ Contingent
      WILLIAMSBURG, MI 49690                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 937,678.23
                                                                    Check all that apply.
      SHORR PACKAGING CORPORATION
      PO BOX 773252                                                 ¨ Contingent
      CHICAGO, IL 60677-3252                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    782.49
                                                                    Check all that apply.
      SHRADER TIRE & OIL INC
      2045 SYLVANIA AVE                                             ¨ Contingent
      TOLEDO, OH 43613                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    357.50
                                                                    Check all that apply.
      SHRED RIGHT
      6301 W OLD SHAKOPEE ROAD                                      ¨ Contingent
      BLOOMINGTON, MN 55438                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 24,400.00
                                                                    Check all that apply.
      SI ELECTRICAL LLC
      5292 N NORTHWEST HWY                                          ¨ Contingent
      CHICAGO, IL 60630                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  6,617.25
                                                                    Check all that apply.
      SIEMER MILLING COMPANY
      111 W. MAIN                                                   ¨ Contingent
      TEUTOPOLIS, IL 62467                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 12,360.43
                                                                    Check all that apply.
      SIERRA VALLEY ALMONDS LLC
      850 COMMERCE DRIVE                                            ¨ Contingent
      MADERA, CA 93637                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 114,362.31
                                                                    Check all that apply.
      SILLIKER, INC.
      3155 PAYSPHERE CIRCLE                                         ¨ Contingent
      CHICAGO, IL 60674                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 55,541.23
                                                                    Check all that apply.
      SILVA INTERNATIONAL, INC.
      PO BOX 6684                                                   ¨ Contingent
      CAROL STREAM, IL 60197-6684                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    977.20
                                                                    Check all that apply.
      SIMMON'S FOOD SALES
      3118 GULF TO BAY BLVD.                                        ¨ Contingent
      CLEARWATER, FL 33759                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    759.00
                                                                    Check all that apply.
      SIMPLE MILLS
      435 N. LASALLE DRIVE, 2ND FLOOR                               ¨ Contingent
      CHICAGO, IL 60654                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    392.36
                                                                    Check all that apply.
      SIMPLIFIED LOGISTICS, LLC
      PO BOX 40088                                                  ¨ Contingent
      BAY VILLAGE, OH 44140-0088                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 11,816.70
                                                                    Check all that apply.
      SKIDMORE SALES & DISTRIBUT.
      3767 SOLUTIONS CENTER                                         ¨ Contingent
      CHICAGO, IL 60677-3007                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,134.00
                                                                    Check all that apply.
      SKYLINE SALES INC.
      1240 IROQUOIS AVENUE                                          ¨ Contingent
      SUITE 406                                                     ¨ Unliquidated
      NAPERVILLE, IL 60563                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 78,150.00
                                                                    Check all that apply.
      SM INGREDIENTS, INC.
      31878 DEL OBISPO STREET                                       ¨ Contingent
      SAN JUAN CAPISTRANO, CA 92675                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    300.00
                                                                    Check all that apply.
      SMASH MY TRASH - BOISE LLC
      PO BOX 368                                                    ¨ Contingent
      EAGLE, ID 83616                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    418.77
                                                                    Check all that apply.
      SMG SECURITY HOLDINGS
      120 KING STREET                                               ¨ Contingent
      ELK GROVE VILLAGE, IL 60007                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     75.00
                                                                    Check all that apply.
      SMIRKS LTD
      17601 US HYW 34                                               ¨ Contingent
      FORT MORGAN, CO 80701                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 33,110.81
                                                                    Check all that apply.
      SNACKWERKS OF MICHIGAN LLC
      JPG RESOURCES FOOD MANUFACTURING                              ¨ Contingent
      180 E GOODALE AVE                                             ¨ Unliquidated
      BATTLE CREEK, MI 49037                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  5,336.00
                                                                    Check all that apply.
      SNOW WHITE SERVICES, INC.
      3304 W 250 N                                                  ¨ Contingent
      WEST LAFAYETTE, IN 47906                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 20,015.46
                                                                    Check all that apply.
      SOLAE, LLC
      P.O. BOX 733249                                               ¨ Contingent
      DALLAS, TX 75373-3249                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 17,240.50
                                                                    Check all that apply.
      SOLVAY FINANCE (AMERICA), LLC
      NAFTA FACTORING                                               ¨ Contingent
      504 CARNEGIE CENTER                                           ¨ Unliquidated
      PRINCETON, NJ 08540-6241                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 58,341.60
                                                                    Check all that apply.
      SONOCO CANADA CORPORATION
      91218 COLLECTIONS CENTER DR.                                  ¨ Contingent
      CHICAGO, IL 60693-0077                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,537.50
                                                                    Check all that apply.
      SONOCO PRODUCTS COMPANY
      7720 COLLECTIONS CENTER DRIVE                                 ¨ Contingent
      CHICAGO, IL 60693-0077                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 29,264.04
                                                                    Check all that apply.
      SPACK INTERNATIONAL INC.
      4 RESEARCH DR.                                                ¨ Contingent
      SUITE 402                                                     ¨ Unliquidated
      SHELTON, CT 06484                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  6,882.65
                                                                    Check all that apply.
      SPARKS BELTING COMPANY
      PO BOX 772218                                                 ¨ Contingent
      DETROIT, MI 48277-2218                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,787.31
                                                                    Check all that apply.
      SPEED TECH EQUIPMENT
      3364 QUINCY ST                                                ¨ Contingent
      HUDSONVILLE, MI 49426                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    272.65
                                                                    Check all that apply.
      SPEE-DEE PACKAGING
      1360 GRANDVIEW PKWY.                                          ¨ Contingent
      STURTEVANT, WI 53177                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                   9,516.71
                                                                    Check all that apply.
      SPEEDRACK MIDWEST
      7899 VENTURE AVENUE                                           ¨ Contingent
      SPARTA, MI 49345                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 308,921.03
                                                                    Check all that apply.
      SPRINTER SERVICES INC.
      2900 DIXIE AVE                                                ¨ Contingent
      GRANDVILLE, MI 49418                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    258.00
                                                                    Check all that apply.
      SPS COMMERCE, INC
      P.O. BOX 205782                                               ¨ Contingent
      DALLAS, TX 75320-5782                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  53,826.78
                                                                    Check all that apply.
      STAFF MANAGEMENT SOLUTIONS, LLC
      32487 COLLECTION DRIVE                                        ¨ Contingent
      CHICAGO, IL 60693                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,000.00
                                                                    Check all that apply.
      STAFFINDERS, INC.
      4807 ROCKSIDE ROAD                                            ¨ Contingent
      SUITE 370                                                     ¨ Unliquidated
      INDEPENDENCE, OH 44131                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,996.59
                                                                    Check all that apply.
      STAPLES INC
      PO BOX 660409                                                 ¨ Contingent
      DALLAS, TX 75266-0409                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STAPLES, RASHION
      C/O THE FRIEDMANN FIRM, LLC                                   þ Contingent
      ATTN: RACHEL SABO FRIEDMANN                                   þ Unliquidated
      3740 RIDGE MILL DRIVE                                         þ Disputed
      HILLIARD, OH 43026
                                                                    Basis for the claim: Litigation



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  4,019.64
                                                                    Check all that apply.
      STAR CRANE & HOIST SERVICE, INC.
      P.O. BOX 69621                                                ¨ Contingent
      BALTIMORE, MD 21264-9621                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    378.00
                                                                    Check all that apply.
      STAR LEASING COMPANY, LLC
      POBOX 76100                                                   ¨ Contingent
      CLEVELAND, OH 44101                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   86,278.02
                                                                    Check all that apply.
      STAR OF THE WEST MILLING
      PO BOX 146                                                    ¨ Contingent
      FRANKENMUTH, MI 48734                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 4,500,000.00
                                                                    Check all that apply.
      STATE OF ILLINOIS ATTORNEY GENERAL
      ATTN: HONORABLE KWAME RAOUL                                   þ Contingent
      115 S. LASALLE STREET                                         ¨ Unliquidated
      CHICAGO, IL 60603                                             ¨ Disputed
                                                                    Basis for the claim: Settlement Claim



     Date or dates debt was incurred         Undetermined           Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     3,136.00
                                                                    Check all that apply.
      STATE OF NEW JERSEY
      3 JOHN FITCH WAY 1ST FLOOR                                    ¨ Contingent
      TRENTON, NJ 08695                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     4,959.09
                                                                    Check all that apply.
      STATE OF OHIO TREASURY
      30 EAST BROAD STREET 9TH FLOOR                                ¨ Contingent
      COLUMBUS, OH 43215-3461                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     1,550.00
                                                                    Check all that apply.
      STEALTH ELECTRIC COMPANY, LLC
      3121 BARTLETT CORP. DR.                                       ¨ Contingent
      STE 105                                                       ¨ Unliquidated
      BARTLETT, TN 38133                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    505.82
                                                                    Check all that apply.
      STEEL SALES CORPORATION
      2809 WINTER ST. N.E.                                          ¨ Contingent
      MINNEAPOLIS, MN 55413                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,578.63
                                                                    Check all that apply.
      STEINER ELECTRIC CO.
      2665 PAYSPHERE CIRCLE                                         ¨ Contingent
      CHICAGO, IL 60674                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  5,120.00
                                                                    Check all that apply.
      STELTER & BRINCK, LTD
      201 SALES AVE                                                 ¨ Contingent
      HARRISON, OH 45030                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,720.25
                                                                    Check all that apply.
      STEPAN SPECIALTY PRODUCTS LLC
      PO BOX 93007                                                  ¨ Contingent
      CHICAGO, IL 60673-1930                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,395.31
                                                                    Check all that apply.
      STERICYCLE INC.
      28883 NETWORK PLACE                                           ¨ Contingent
      CHICAGO, IL 60673-1288                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   1,404.12
                                                                    Check all that apply.
      STERLING PRODUCTS INC.
      DEPARTMENT 4511                                               ¨ Contingent
      CAROL STREAM, IL 60122-4511                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 218,521.00
                                                                    Check all that apply.
      STEWART SYSTEMS
      PO BOX 679385                                                 ¨ Contingent
      DALLAS, TX 75267-9385                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                   1,096.96
                                                                    Check all that apply.
      STIKEMAN ELLIOTT LLP
      5300 COMMERCE CT. W 199 BAY ST.                               ¨ Contingent
      TORONTO, ON M5L 1B9                                           ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                   3,550.00
                                                                    Check all that apply.
      STOLLER TRUCKING
      ACCOUNTS RECEIVABLE                                           ¨ Contingent
      102 SOUTH FORD ST., P.O. BOX 309                              ¨ Unliquidated
      GRIDLEY, IL 61744                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                   7,164.30
                                                                    Check all that apply.
      STONEX FINANCIAL INC.
      1251 NW BRIARCLIFF PKWY                                       ¨ Contingent
      STE 800                                                       ¨ Unliquidated
      KANSAS CITY, MO 64116                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 14,924.36
                                                                    Check all that apply.
      STORM SECURITY, LTD.
      POBOX 927                                                     ¨ Contingent
      LONDON, KY 40743                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,337.86
                                                                    Check all that apply.
      STRATAS FOODS
      PO BOX 66903                                                  ¨ Contingent
      ST LOUIS, MO 63166-6903                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    806.39
                                                                    Check all that apply.
      STUMPS FIRE PROTECTION
      501 E BIGELOW AVE.                                            ¨ Contingent
      FINDLAY, OH 45840                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    918.40
                                                                    Check all that apply.
      SUBURBAN PROPANE
      P.O. BOX 290                                                  ¨ Contingent
      WHIPPANY, NJ 07981-0290                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    166.58
                                                                    Check all that apply.
      SUBWAY
      1100 PLEASANT VIEW RD                                         ¨ Contingent
      LONDON, KY 40744                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  4,646.02
                                                                    Check all that apply.
      SUEZ WATER IDAHO
      PO BOX 371804                                                 ¨ Contingent
      PITTSBURGH, PA 15250-7804                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 13,325.00
                                                                    Check all that apply.
      SULLIVAN COMPLETE SEWER AND SEPTIC
      5651 OLD PARIS ROAD                                           ¨ Contingent
      WEST TERRE HAUTE, IN 47885                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    525.80
                                                                    Check all that apply.
      SUMMIT FIRE PROTECTION
      PO BOX 851675                                                 ¨ Contingent
      MINNEAPOLIS, MN 55485-1675                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 44,341.38
                                                                    Check all that apply.
      SUMMIT LABORATORY, LLC
      900 GODFREY AVE. SW                                           ¨ Contingent
      GRAND RAPIDS, MI 49503                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    135.64
                                                                    Check all that apply.
      SUMMITVILLE TILES, INC
      PO BOX 73                                                     ¨ Contingent
      SUMMITVILLE, OH 43962                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  9,807.47
                                                                    Check all that apply.
      SUNBELT RENTALS, INC.
      PO BOX 409211                                                 ¨ Contingent
      ATLANTA, GA 30384-9211                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 86,173.78
                                                                    Check all that apply.
      SUNRISE FOODS INTERNATIONAL, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,700.61
                                                                    Check all that apply.
      SUNSHINE LANDSCAPE, INC
      PO BOX 724                                                    ¨ Contingent
      MERIDIAN, ID 83680                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  5,933.60
                                                                    Check all that apply.
      SUNSOURCE
      STS OPERATING, INC.                                           ¨ Contingent
      P.O. BOX 74007453                                             ¨ Unliquidated
      CHICAGO, IL 60674-7453                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,171.14
                                                                    Check all that apply.
      SUPERIOR INDUSTRIAL REFRIGERATION
      841 HOWARD LANE                                               ¨ Contingent
      FRUITLAND, ID 83619                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  42,490.00
                                                                    Check all that apply.
      SUZANNE'S SPECIALITIES, INC.
      421 JERSEY AVENUE                                             ¨ Contingent
      NEW BRUNSWICK, NJ 08901                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 135,350.80
                                                                    Check all that apply.
      SWEET ADDITIONS INGREDIENTS PROCESSORS, LLC
      612 S. 8THST PO BOX 549                                       ¨ Contingent
      CAMERON, WI 54822                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  10,712.00
                                                                    Check all that apply.
      SWEET HARVEST FOODS
      NATURAL AMERICAN FOODS, INC.                                  ¨ Contingent
      POBOX 95073                                                   ¨ Unliquidated
      CHICAGO, IL 60694-5073                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  28,425.14
                                                                    Check all that apply.
      SWEETENERS SUPPLY CORP
      POBOX 6778                                                    ¨ Contingent
      CAROL STREAM, IL 60197-6778                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  32,428.24
                                                                    Check all that apply.
      SYCAMORE ENGINEERING, INC.
      P.O. BOX 1056                                                 ¨ Contingent
      TERRE HAUTE, IN 47807                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 192,659.38
                                                                    Check all that apply.
      SYMRISE INC
      PO BOX 5801                                                   ¨ Contingent
      CAROL STREAM, IL 60197-5801                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                   1,576.35
                                                                    Check all that apply.
      SYNERGY FLAVORS INC.
      DEPT 4543                                                     ¨ Contingent
      CAROL STREAM, IL 60122-4543                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                   2,579.64
                                                                    Check all that apply.
      SYNOVA, LLC
      PO BOX 150                                                    ¨ Contingent
      URBANA, OH 43045                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  67,798.40
                                                                    Check all that apply.
      SYNTEGON TECHNOGY SERVICES, LLC
      36809 TREASURY CENTER                                         ¨ Contingent
      CHICAGO, IL 60694-6800                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                   6,888.00
                                                                    Check all that apply.
      SYNTHETIC SPECIALTIES COMPANY
      P.O. BOX 901                                                  ¨ Contingent
      FARMINGDALE, NJ 07727                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 23,215.42
                                                                    Check all that apply.
      SYNTRON MATERIAL HANDLING, LLC
      PO BOX 96138                                                  ¨ Contingent
      CHICAGO, IL 60693                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 19,019.43
                                                                    Check all that apply.
      SYSTEMATICS
      PO BOX 333                                                    ¨ Contingent
      BRISTOL, WI 53104                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 35,454.24
                                                                    Check all that apply.
      T. HASEGAWA USA INC.
      14017 EAST 183RD STREET                                       ¨ Contingent
      CERRITOS, CA 90703                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    495.00
                                                                    Check all that apply.
      TABCO BUSINESS FORMS, INC.
      1100 S SR 46, POBOX 3400                                      ¨ Contingent
      TERRE HAUTE, IN 47803                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 21,123.18
                                                                    Check all that apply.
      TAGHLEEF INDUSTRIES INC
      PO BOX 21212                                                  ¨ Contingent
      NEW YORK, NY 10087-1212                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    757.58
                                                                    Check all that apply.
      TAPES & TECH SOLUTIONS
      4773 HIGHWAY 31 W.                                            ¨ Contingent
      COTTONTOWN, TN 37048                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                   4,344.09
                                                                    Check all that apply.
      TASTEPOINT NORTH
      POBOX 21711                                                   ¨ Contingent
      NEW YORK, NY 10087-1711                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 122,650.18
                                                                    Check all that apply.
      TATE & LYLE
      5190 PAYSPHERE CIRCLE                                         ¨ Contingent
      CHICAGO, IL 60674                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 118,446.79
                                                                    Check all that apply.
      TAURA NATURAL INGREDIENTS INC.
      110 S INDIAN ALLEY                                            ¨ Contingent
      WINCHESTER, VA 22601                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    727.46
                                                                    Check all that apply.
      TAYLOR MATERIAL HANDLING & CONVEYOR
      2910 GLANZMAN RD.                                             ¨ Contingent
      TOLEDO, OH 43614                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,774.00
                                                                    Check all that apply.
      TE PRICE, INC
      9758 REYNOLDS RD                                              ¨ Contingent
      WAYNE, OH 43466                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 28,998.38
                                                                    Check all that apply.
      TEAM JOHNSON LIMOUSINE
      UNLIMITED RECOVERY SOLUTIONS LLC                              ¨ Contingent
      4840 US 20A                                                   ¨ Unliquidated
      DELTA, OH 43151                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    765.00
                                                                    Check all that apply.
      TEASDALE FOODS INC
      P.O. BOX 775508                                               ¨ Contingent
      CHICAGO, IL 60677-5508                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 63,476.30
                                                                    Check all that apply.
      TEDFORD TELLICO, INC
      P.O. BOX 306064                                               ¨ Contingent
      NASHVILLE, TN 37230-6064                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  6,320.00
                                                                    Check all that apply.
      TENDER LAWN CARE
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 11,259.33
                                                                    Check all that apply.
      TENNANT COMPANY
      POBOX 71414                                                   ¨ Contingent
      CHICAGO, IL 60694-1414                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     87.80
                                                                    Check all that apply.
      TENNESSEE FRESH
      P.O. BOX 1199                                                 ¨ Contingent
      SPRING HILL, TN 37174                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 44,059.69
                                                                    Check all that apply.
      TERPCO INC.
      99 16TH STREET S.W.                                           ¨ Contingent
      BARBERTON, OH 44203                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,600.00
                                                                    Check all that apply.
      TERRE HAUTE CHAMBER OF COMMERCE
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 17,611.86
                                                                    Check all that apply.
      TETRA TECH, INC
      PO BOX 911674                                                 ¨ Contingent
      DENVER, CO 80291-1674                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   1,225.00
                                                                    Check all that apply.
      TF CONCRETE & MASONRY
      25771 XERXES AVE                                              ¨ Contingent
      ELKO, MN 55020                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    182.83
                                                                    Check all that apply.
      TFORCE FREIGHT
      PO BOX 7410804                                                ¨ Contingent
      CHICAGO, IL 60674                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  45,392.30
                                                                    Check all that apply.
      TGW INTERNATIONAL, INC.
      PO BOX 776832                                                 ¨ Contingent
      CHICAGO, IL 60677-6832                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    569.53
                                                                    Check all that apply.
      THE BLUFFTON STONE COMPANY
      POBOX 26                                                      ¨ Contingent
      BLUFFTON, OH 45817                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 407,742.80
                                                                    Check all that apply.
      THE BRYCE COMPANY, LLC
      23375 NETWORK PLACE                                           ¨ Contingent
      CHICAGO, IL 60673-1233                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    220.00
                                                                    Check all that apply.
      THE COURIER
      POBOX 3367                                                    ¨ Contingent
      CHARLESTON, WV 25333                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    714.99
                                                                    Check all that apply.
      THE HOME DEPOT PRO
      PO BOX 844727                                                 ¨ Contingent
      DALLAS, TX 75284-4727                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,204.87
                                                                    Check all that apply.
      THE MACOMB GROUP, INC
      PO BOX 671664                                                 ¨ Contingent
      DETROIT, MI 48267-1664                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 15,827.22
                                                                    Check all that apply.
      THE MENNEL MILLING COMPANY
      PO BOX 802294                                                 ¨ Contingent
      KANSAS CITY, MO 64180-2294                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    846.64
                                                                    Check all that apply.
      THE NORAMAR COMPANY
      PO BOX 771                                                    ¨ Contingent
      CHAGRIN FALLS, OH 44022                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 35,521.12
                                                                    Check all that apply.
      THE ORGANIC SUGAR & MOLASSES CO
      4440 PGA BLVD.                                                ¨ Contingent
      SUITE 600                                                     ¨ Unliquidated
      PALM BEACH GARDENS, FL 33410                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    682.23
                                                                    Check all that apply.
      THE RETROFIT COMPANIES
      1010 HOFFMAN DRIVE                                            ¨ Contingent
      STE A                                                         ¨ Unliquidated
      OWATONNA, MN 55060                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 58,140.00
                                                                    Check all that apply.
      THRIVE FOODS
      1836 LAPHAM DR                                                ¨ Contingent
      MODESTO, CA 95354                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 43,084.83
                                                                    Check all that apply.
      TIRLAN LIMITED
      ABBEY QUARTER                                                 ¨ Contingent
      KILKENNY, R95 DXR1                                            ¨ Unliquidated
      IRELAND (EIRE)                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,193.00
                                                                    Check all that apply.
      TITAN TRANSFER LOGISTICS, LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  8,267.84
                                                                    Check all that apply.
      TMI COMPRESSED AIR SYSTEMS, INC.
      6724 PINE RIDGE CT                                            ¨ Contingent
      JENISON, MI 49428                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 14,080.00
                                                                    Check all that apply.
      TNA NORTH AMERICA, INC
      680 S ROYAL LANE                                              ¨ Contingent
      COPPELL, TX 75019                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,378.04
                                                                    Check all that apply.
      TNT FIRE EQUIPMENT, INC.
      1819 S. BASSWOOD TRAIL                                        ¨ Contingent
      LAPORTE, IN 46350                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 25,177.03
                                                                    Check all that apply.
      TORK PRODUCTS OF LIMA
      2777 N WEST ST.                                               ¨ Contingent
      LIMA, OH 45801                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    460.00
                                                                    Check all that apply.
      TOTAL FIRE & SAFETY
      PO BOX 1939                                                   ¨ Contingent
      LOWELL, AR 72745                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    230.00
                                                                    Check all that apply.
      TOTAL FIRE PROTECTION INC
      5385 PATTERSON AVE, SE                                        ¨ Contingent
      STE C                                                         ¨ Unliquidated
      GRAND RAPIDS, MI 49512                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,221.00
                                                                    Check all that apply.
      TOTAL PLASTICS RESOURCES, LLC
      PO BOX 788866                                                 ¨ Contingent
      PHILADELPHIA, PA 19178-8866                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  6,720.28
                                                                    Check all that apply.
      TOTAL SCALE SERVICES INC.
      PO BOX 5156                                                   ¨ Contingent
      BOSIE, ID 83705                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    642.20
                                                                    Check all that apply.
      TOTALCOMP (SCALES & COMPONENTS)
      13-01 POLLITT DR. EXT                                         ¨ Contingent
      FAIR LAWN, NJ 07410                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    315.96
                                                                    Check all that apply.
      TOYOTA INDUSTRIES COMMERCIAL
      FINANCE, INC.                                                 ¨ Contingent
      POBOX 660926                                                  ¨ Unliquidated
      DALLAS, TX 75266-0926                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                   4,730.00
                                                                    Check all that apply.
      TPC TRAINING SYSTEMS
      PO BOX 4989                                                   ¨ Contingent
      STE. 250                                                      ¨ Unliquidated
      BUFFALO GROVE, IL 60089                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 269,029.18
                                                                    Check all that apply.
      TRACE 3 LLC
      PO BOX 847467                                                 ¨ Contingent
      LOCKBBOX SERVICES (603915)                                    ¨ Unliquidated
      LOS ANGELES, CA 90084-7467                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                   2,969.75
                                                                    Check all that apply.
      TRACE ANALYTICAL
      PO BOX 775169                                                 ¨ Contingent
      CHICAGO, IL 60677-5169                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                   1,458.00
                                                                    Check all that apply.
      TRACE ANALYTICS LLC
      15768 HAMILTON POOL RD                                        ¨ Contingent
      AUSTIN, TX 78738                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  38,804.53
                                                                    Check all that apply.
      TRANSCONTINENTAL MULTIFILM
      1700 BIG TIMBER RD                                            ¨ Contingent
      ELGIN, IL 60123                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,097.26
                                                                    Check all that apply.
      TREASURE VALLEY COFFEE, INC
      DBA RAIN WATER REFRESHED                                      ¨ Contingent
      11875 W PRESIDENT DR                                          ¨ Unliquidated
      BOISE, ID 83713                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,019.94
                                                                    Check all that apply.
      TRI STATE SCALE SYSTEMS,
      191 ONTARIO STREET                                            ¨ Contingent
      FRANKFORT, IL 60423                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  5,938.58
                                                                    Check all that apply.
      TRIANGLE PACKAGE MACHINERY COMPANY
      6655 W DIVERSEY AVE                                           ¨ Contingent
      CHICAGO, IL 60707-2293                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 23,682.00
                                                                    Check all that apply.
      TRIANGLE WAREHOUSE, INC.
      PO BOX 581669                                                 ¨ Contingent
      MINNEAPOLIS, MN 55458                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  7,786.14
                                                                    Check all that apply.
      TRILLIUM DRIVERS
      PO BOX 671854                                                 ¨ Contingent
      DETROIT, MI 48267-1854                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  7,473.78
                                                                    Check all that apply.
      TRIPLE/S DYNAMICS
      P O BOX 151027                                                ¨ Contingent
      DALLAS, TX 75315-1027                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 17,560.00
                                                                    Check all that apply.
      TRIPPER, INC.
      PO BOX 51440                                                  ¨ Contingent
      OXNARD, CA 93031                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    449.89
                                                                    Check all that apply.
      TRI-STAR ENERGY, LLC
      P.O. BOX 282249                                               ¨ Contingent
      NASHVILLE, TN 37228-8513                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    961.93
                                                                    Check all that apply.
      TRI-STATE ELECTRICAL
      3320 WABASH ST                                                ¨ Contingent
      MICHIGAN CITY, IN 46360                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TRU BRANDS INC.
      3921 ALTON RD                                                 þ Contingent
      STE 295                                                       þ Unliquidated
      MIAMI BEACH, FL 33140                                         ¨ Disputed
                                                                    Basis for the claim: Customer Rebate



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   15,389.00
                                                                    Check all that apply.
      TUFF WRAP INSTALLATIONS, INC
      2080 DETWILER RD                                              ¨ Contingent
      HARLEYSVILLE, PA 19438                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    3,924.84
                                                                    Check all that apply.
      TUNGSTEN NETWORK INC
      15211 LAGUNA CANYON ROAD                                      ¨ Contingent
      IRVINE, CA 92618                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                         743.90
                                                                    Check all that apply.
      TYDENBROOKS
      PO BOX 778954                                                 ¨ Contingent
      CHICAGO, IL 60677-8954                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                   21,856.90
                                                                    Check all that apply.
      TYNAN EQUIPMENT COMPANY
      YALE INDUSTRIAL TRUCKS                                        ¨ Contingent
      5926 STOCKBERGER PLACE                                        ¨ Unliquidated
      INDIANAPOLIS, IN 46241                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $               Undetermined
                                                                    Check all that apply.
      U.S. BANK NATIONAL ASSOCIATION
      333 COMMERCE ST.                                              þ Contingent
      SUITE 900                                                     þ Unliquidated
      ATTN: DEFAULT GROUP OF U.S. BANK GLOBAL CORPORATE TRUST       ¨ Disputed
      NASHVILLE, TN 37075
                                                                    Basis for the claim: Guarantor of 2026 Senior Unsecured Notes Indenture



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     6,933.00
                                                                    Check all that apply.
      U.S. SPICE MILLS, INC
      198 N BRANDON DRIVE                                           ¨ Contingent
      GLENDALE HEIGHTS, IL 60139                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 1,961,927.03
                                                                    Check all that apply.
      UBER FREIGHT US LLC
      FORMERLY TRANSPLACE                                           ¨ Contingent
      PO BOX 90405                                                  ¨ Unliquidated
      CHICAGO, IL 60696-0405                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                      414.18
                                                                    Check all that apply.
      UESCO INDUSTRIES INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                      532.00
                                                                    Check all that apply.
      UL LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                   70,097.41
                                                                    Check all that apply.
      ULINE
      PO BOX 88741                                                  ¨ Contingent
      CHICAGO, IL 60680-1741                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      UNILEVER
      700 SYLVAN AVE                                                þ Contingent
      ENGLEWOOD CLIFFS, NJ 07632                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Rebate



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    136.00
                                                                    Check all that apply.
      UNION HOSPTIAL ER SCREENING
      PO BOX 866                                                    ¨ Contingent
      INDIANAPOLIS, IN 46206                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    988.80
                                                                    Check all that apply.
      UNION JACK TOOLS, LLC
      5448 APEX PEAKWAY #223                                        ¨ Contingent
      APEX, NC 27502                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 10,798.74
                                                                    Check all that apply.
      UNIPRO FOODSERVICE, INC.
      PO BOX 405762                                                 ¨ Contingent
      ATLANTA, GA 30384-5762                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 16,005.00
                                                                    Check all that apply.
      UNIQUE INGREDIENTS
      6460 S. MOUNTAINSIDE DR.                                      ¨ Contingent
      GOLD CANYON, AZ 85118                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 10,018.48
                                                                    Check all that apply.
      UNITED BARCODE SYSTEMS NORTH AMERICA, LLC
      2067 WINERIDGE PLACE                                          ¨ Contingent
      STE C                                                         ¨ Unliquidated
      ESCONDIDO, CA 92029                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 92,851.56
                                                                    Check all that apply.
      UNITED COCOA PROCESSOR, INC.
      P.O. BOX # 21064                                              ¨ Contingent
      NEW YORK, NY 10087-1064                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 22,878.34
                                                                    Check all that apply.
      UNITED RADIO COMMUNICATIONS, INC.
      9200 S. OKETO AVE                                             ¨ Contingent
      BRIDGEVIEW, IL 60455                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 30,435.51
                                                                    Check all that apply.
      UNITED RENTALS
      PO BOX 840514                                                 ¨ Contingent
      DALLAS, TX 75284-0514                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    399.70
                                                                    Check all that apply.
      UNITED STATES PLASTIC CORP.
      1390 NEUBRECHT RD.                                            ¨ Contingent
      LIMA, OH 45801-3196                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 19,870.50
                                                                    Check all that apply.
      UNIVAR SOLUTIONS USA INC.
      62190 COLLECTIONS CENTER DR.                                  ¨ Contingent
      CHICAGO, IL 60693-0622                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    960.00
                                                                    Check all that apply.
      UNIVERSITY OF NEBRASKA
      PO BOX 886205                                                 ¨ Contingent
      LINCOLN, NE 68588-6205                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 16,850.00
                                                                    Check all that apply.
      UNIVERSITY OF NEBRASKA-LINCOLN
      ATTN: NIC BUSINESS CENTER                                     ¨ Contingent
      PO BOX 886205                                                 ¨ Unliquidated
      LINCOLN, NE 68588-6205                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 26,121.92
                                                                    Check all that apply.
      UPS
      LOCKBOX 577                                                   ¨ Contingent
      CAROL STREAM, IL 60132-0577                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     40.93
                                                                    Check all that apply.
      UPS SUPPLY CHAIN SOLUTIONS
      28013 NETWORK PLACE                                           ¨ Contingent
      CHICAGO, IL 60673-1280                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 34,720.30
                                                                    Check all that apply.
      URSCHEL LABORATORIES INC
      75 REMITTANCE DRIVE                                           ¨ Contingent
      CHICAGO, IL 60675-1657                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,283.87
                                                                    Check all that apply.
      US SAFETYGEAR, INC
      POBOX 309                                                     ¨ Contingent
      LEAVITTSBURG, OH 44430-0309                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    444.15
                                                                    Check all that apply.
      USA BLUEBOOK
      PO BOX 9004                                                   ¨ Contingent
      GURNEE, IL 60031-9004                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     44.00
                                                                    Check all that apply.
      USA CAB LLC
      604 TIFFIN AVENUE STE. B                                      ¨ Contingent
      STE B                                                         ¨ Unliquidated
      FINDLAY, OH 45840                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    392.64
                                                                    Check all that apply.
      USDA - FOOD SAFETY & INSPECTION SVC
      PO BOX 979001                                                 ¨ Contingent
      ST LOUIS, MO 63197-9001                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    591.30
                                                                    Check all that apply.
      VAC-U-MAX
      69 WILLIAM STREET                                             ¨ Contingent
      BELLEVILLE, NJ 07109                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  21,342.00
                                                                    Check all that apply.
      VAN AMERONGEN & SON INC
      14 BOSWELL ST.                                                ¨ Contingent
      SIMCOE, ON N3Y 4K2                                            ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 232,702.99
                                                                    Check all that apply.
      VAN DRUNEN FARMS
      PO BOX 7215                                                   ¨ Contingent
      CAROL STREAM, IL 60197-7215                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    985.57
                                                                    Check all that apply.
      VAN MANEN OIL COMPANY
      0-305 LAKE MICHIGAN DRIVE NW                                  ¨ Contingent
      GRAND RAPIDS, MI 49534-3355                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                   4,228.61
                                                                    Check all that apply.
      VAN METER INC
      ACCOUNTS RECEIVABLE                                           ¨ Contingent
      PO BOX 801077                                                 ¨ Unliquidated
      KANSAS CITY, MO 64180-1077                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VANGESSEL, CHRISTOPHER
      C/O AVANTI LAW GROUP                                          þ Contingent
      ATTN: ROBERT ANTHONY ALVAREZ                                  þ Unliquidated
      600 28TH STREET, SW                                           þ Disputed
      WYOMING, MI 49509
                                                                    Basis for the claim: Litigation



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 81,967.37
                                                                    Check all that apply.
      VANTAGE SPECIALTIES
      PO BOX 775940                                                 ¨ Contingent
      CHICAGO, IL 60677-5940                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,568.11
                                                                    Check all that apply.
      VECTOR SECURITY, INC
      P.O. BOX 531687                                               ¨ Contingent
      ATLANTA, GA 30353-1687                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 22,941.30
                                                                    Check all that apply.
      VERIFIED FIRST
      P.O. BOX 246                                                  ¨ Contingent
      SPOKANE, WA 99210                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    958.81
                                                                    Check all that apply.
      VERITIV OPERATING COMPANY
      7472 COLLECTIONS CENTER DR.                                   ¨ Contingent
      CHICAGO, IL 60693                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,129.18
                                                                    Check all that apply.
      VERITIV OPERATING COMPANY
      PO BOX 849089                                                 ¨ Contingent
      DALLAS, TX 75284-9089                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    109.52
                                                                    Check all that apply.
      VERIZON
      POBOX 15043                                                   ¨ Contingent
      ALBANY, NY 12212-5043                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,491.03
                                                                    Check all that apply.
      VERIZON--N.J.
      POBOX 16810                                                   ¨ Contingent
      NEWARK, NJ 07101-6810                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  9,069.38
                                                                    Check all that apply.
      VESTIS SERVICES, LLC
      25259 NETWORK PLACE                                           ¨ Contingent
      CHICAGO, IL 60673-1252                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,390.35
                                                                    Check all that apply.
      VI-CAS MANUFACTURING CO
      PO BOX 36310                                                  ¨ Contingent
      CINCINNATI, OH 45236                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                   1,574.47
                                                                    Check all that apply.
      VI-CAS MANUFACTURING CO., INC.
      8407 MONROE AVE.                                              ¨ Contingent
      CINCINNATI, OH 45236                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 106,360.47
                                                                    Check all that apply.
      VIDEOJET TECHNOLOGIES
      12113 COLLECTION CENTER DR.                                   ¨ Contingent
      CHICAGO, IL 60693                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  19,716.40
                                                                    Check all that apply.
      VIKING PLASTIC PACKAGING
      2418 ENTERPRISE DR                                            ¨ Contingent
      MENDOTA HEIGHTS, MN 55120                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                   8,364.78
                                                                    Check all that apply.
      VILLAGE DO IT BEST HARDWARE
      855 WEST MAIN STREET                                          ¨ Contingent
      LEIPSIC, OH 45856                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                   1,342.40
                                                                    Check all that apply.
      VILLAGE OF MCCOMB
      210 E. MAIN STREET                                            ¨ Contingent
      MCCOMB, OH 45858-0340                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 14,179.69
                                                                    Check all that apply.
      VIOBIN USA
      730 17TH STREET                                               ¨ Contingent
      SUITE 600                                                     ¨ Unliquidated
      DENVER, CO 80202                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    100.65
                                                                    Check all that apply.
      VISUAL WORKPLACE INC
      7381 ARDITH CT                                                ¨ Contingent
      BYRON CENTER, MI 49315                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    367.08
                                                                    Check all that apply.
      VITERRA INC
      ATTN: FUNDS MANAGEMENT                                        ¨ Contingent
      2625 VICTORIA AVE.                                            ¨ Unliquidated
      REGINA, SK S4T 7T9                                            ¨ Disputed
      CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 34,825.93
                                                                    Check all that apply.
      VITUSA PRODUCTS
      343 SNYDER AVE                                                ¨ Contingent
      BERKLEY HEIGHTS, NJ 07922                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  6,506.03
                                                                    Check all that apply.
      VOSS BELTING & SPECIALTY COMPANY
      75 REMITTANCE DR. DEPT. 1510                                  ¨ Contingent
      CHICAGO, IL 60675-1510                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                   1,877.40
                                                                    Check all that apply.
      VOYA/BENEFITS STRATEGIES-COBRA
      PO BOX 24082                                                  ¨ Contingent
      NEW YORK, NY 10087-4082                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    346.88
                                                                    Check all that apply.
      VWR INTERNATIONAL
      POBOX 640169                                                  ¨ Contingent
      PITTSBURGH, PA 15264-0169                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 278,239.50
                                                                    Check all that apply.
      W. SOULE & COMPANY
      PO BOX 2169                                                   ¨ Contingent
      KALAMAZOO, MI 49003                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  14,153.68
                                                                    Check all that apply.
      W.E. CARLSON CORP
      1128 PAGNI DRIVE                                              ¨ Contingent
      ELK GROVE VILLAGE, IL 60007                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    460.65
                                                                    Check all that apply.
      WABASH VALLEY LOCK & KEY LLC
      1635 S. 7TH ST                                                ¨ Contingent
      TERRE HAUTE, IN 47802                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  5,480.00
                                                                    Check all that apply.
      WABASH VALLEY PRODUCE, INC
      DEPT 78858, PO BOX 78000                                      ¨ Contingent
      DETROIT, MI 48278                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 15,011.16
                                                                    Check all that apply.
      WALKER-J-WALKER, INC.
      POBOX 971264                                                  ¨ Contingent
      DALLAS, TX 75397                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,156.00
                                                                    Check all that apply.
      WALMAN OPTICAL SDS 12-1084
      PO BOX 86                                                     ¨ Contingent
      MINNEAPOLIS, MN 55486-1084                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  4,932.03
                                                                    Check all that apply.
      WALZ SCALE CO.
      656 HIGH POINT LN.                                            ¨ Contingent
      EAST PEORIA, IL 61611                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,274.18
                                                                    Check all that apply.
      WARREN PRINTING OFFICE PRODUCTS, IN
      250 EAST MAIN ST                                              ¨ Contingent
      OTTAWA, OH 45875                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,173.99
                                                                    Check all that apply.
      WASTE CONNECTIONS OF KENTUCKY, INC
      PO BOX 535233                                                 ¨ Contingent
      PITTSBURGH, PA 15253-5233                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 16,039.91
                                                                    Check all that apply.
      WASTE RECOVERY SYSTEMS INC
      4750 CLYDE PARK AVE SW                                        ¨ Contingent
      WYOMING, MI 49509                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      WC MEDIA, INC.
      1824 S. MACARTHUR BLVD.                                       ¨ Contingent
      SPRINGFIELD, IL 62704                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,980.00
                                                                    Check all that apply.
      WCP SOLUTIONS
      P.O. BOX 84145                                                ¨ Contingent
      SEATTLE, WA 98124-5445                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,824.25
                                                                    Check all that apply.
      WEAVER POPCORN CO.
      POBOX 75124                                                   ¨ Contingent
      CHICAGO, IL 60675-5124                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  12,855.00
                                                                    Check all that apply.
      WEBB PALLET SERVICE CORPORATION
      16640 JORDAN AVE.                                             ¨ Contingent
      JORDAN, MN 55352                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  28,816.65
                                                                    Check all that apply.
      WEBER PACKAGING SOLUTIONS, INC
      DEPT 20-8048                                                  ¨ Contingent
      CAROL STREAM, IL 60197-5988                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                   5,734.00
                                                                    Check all that apply.
      WEIDENMILLER COMPANY
      POBOX 603979                                                  ¨ Contingent
      CHARLOTTE, NC 28260-3979                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 102,787.07
                                                                    Check all that apply.
      WEL CHEESE LLC
      POBOX 5610 1625 S. BROADWAY                                   ¨ Contingent
      DE PERE, WI 54115-5610                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                   4,102.66
                                                                    Check all that apply.
      WELCH EQUIPMENT
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                      258.00
                                                                    Check all that apply.
      WELL AT WORK
      ATTN: PATIENT FINANCIAL SERVICES                              ¨ Contingent
      1900 SOUTH MAIN STREET                                        ¨ Unliquidated
      FINDLAY, OH 45840                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                     2,559.93
                                                                    Check all that apply.
      WELLS FARGO VENDOR
      FINANCIAL SERVICES, LLC                                       ¨ Contingent
      PO BOX 650016                                                 ¨ Unliquidated
      DALLAS, TX 75265-0016                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  268,706.25
                                                                    Check all that apply.
      WESTERN FOODS LLC
      PO BOX 744820                                                 ¨ Contingent
      LOS ANGELES, CA 90074-4820                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     1,054.70
                                                                    Check all that apply.
      WEST-PAK EQUIPMENT CO
      254 W 36TH STREET                                             ¨ Contingent
      BOISE, ID 83714                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 1,579,362.83
                                                                    Check all that apply.
      WESTROCK
      14079 COLLECTIONS CENTER DR.                                  ¨ Contingent
      CHICAGO, IL 60693                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  67,009.60
                                                                    Check all that apply.
      WESTROCK CP, LLC
      14079 COLLECTIONS CENTER DRIVE                                ¨ Contingent
      CHICAGO, IL 60693                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  13,647.91
                                                                    Check all that apply.
      WEXXAR CORPORATION
      PO BOX 73135                                                  ¨ Contingent
      CLEVELAND, OH 44193                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  25,262.62
                                                                    Check all that apply.
      WIESE USA
      PO BOX 60106                                                  ¨ Contingent
      ST LOUIS, MO 63160                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  11,224.54
                                                                    Check all that apply.
      WILCOX SALES & SERVICE
      77 SOUTH ILLINOIS                                             ¨ Contingent
      MANSFIELD, OH 44905                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 101,599.74
                                                                    Check all that apply.
      WILD FLAVORS, INC.
      75 REMITTANCE DRIVE                                           ¨ Contingent
      SUITE # 1046                                                  ¨ Unliquidated
      CHICAGO, IL 60675-1046                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                     69.45
                                                                    Check all that apply.
      WILLIAM B. RUDOW, INC.
      P.O. BOX 2300                                                 ¨ Contingent
      SARASOTA, FL 34230                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    157.21
                                                                    Check all that apply.
      WINDSTREAM
      4001 RODNEY PARHAM RD.                                        ¨ Contingent
      LITTLE ROCK, AR 72212                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      WIRTZ ELECTRIC & COMMUNICATIONS
      1675 S. SHERIDAN                                              ¨ Contingent
      MUSKEGON, MI 49442                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 81,391.20
                                                                    Check all that apply.
      WISCONSIN WHEY PROTEIN, INC
      PO BOX 778803                                                 ¨ Contingent
      CHICAGO, IL 60677-8803                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WK KELLOGG CO
      1 KELLOGG SQUARE                                              þ Contingent
      BATTLE CREEK, MI 49017                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Rebate



     Date or dates debt was incurred         UNDETERMINED           Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,598.80
                                                                    Check all that apply.
      WM CORPORATE SERVICES, INC.
      AR PAYMENT AGENT                                              ¨ Contingent
      PO BOX 4648                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-4648                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 20,124.00
                                                                    Check all that apply.
      WOLFE INDUSTRIAL
      1512 J P HENNESSY DR                                          ¨ Contingent
      LA VERGNE, TN 37086                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 19,429.51
                                                                    Check all that apply.
      WOODLAND FOODS LTD
      P.O. BOX 71852                                                ¨ Contingent
      CHICAGO, IL 60694-1852                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,899.66
                                                                    Check all that apply.
      WOODY ASSOCIATES INC
      895 W BROADWAY                                                ¨ Contingent
      RED LION, PA 17356                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     40.00
                                                                    Check all that apply.
      WORKING WELL
      35332 EAGLEWAY                                                ¨ Contingent
      CHICAGO, IL 60678-1353                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                   5,286.51
                                                                    Check all that apply.
      WORLD BIOPRODUCTS LLC
      P.O. BOX 35142                                                ¨ Contingent
      SEATTLE, WA 98124-5142                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                   4,242.49
                                                                    Check all that apply.
      WRIGHT NUTRITION, INC.
      201 ENERGY PARKWAY                                            ¨ Contingent
      SUITE 400                                                     ¨ Unliquidated
      LAFAYETTE, LA 70508                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    234.25
                                                                    Check all that apply.
      WRIGHT'S FLOWERS
      5424 N. JOHNSON RD.                                           ¨ Contingent
      MICHIGAN CITY, IN 46360                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 807,171.56
                                                                    Check all that apply.
      WSI - GRAND RAPIDS
      P.O. BOX 503                                                  ¨ Contingent
      OSHTEMO, MI 49077                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  93,376.32
                                                                    Check all that apply.
      XCEL ENERGY
      PO BOX 9477                                                   ¨ Contingent
      MINNEAPOLIS, MN 55484-9477                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 50,848.10
                                                                    Check all that apply.
      XTRA LEASE
      PO BOX 219562                                                 ¨ Contingent
      KANSAS CITY, MO 64121-9562                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 17,128.62
                                                                    Check all that apply.
      YALE MECHANICAL LLC
      220 W 81ST ST.                                                ¨ Contingent
      BLOOMINGTON, MN 55420                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  7,099.53
                                                                    Check all that apply.
      YAMATO CORP-DATAWEIGH DIVISION
      PO BOX 206185                                                 ¨ Contingent
      DALLAS, TX 75320-6185                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     55.00
                                                                    Check all that apply.
      YELLOW CAB
      PO BOX 1321                                                   ¨ Contingent
      GRAND RAPIDS, MI 49501                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    778.72
                                                                    Check all that apply.
      YOUNGBLOOD AUTOMATION
      300 36TH ST SE                                                ¨ Contingent
      GRAND RAPIDS, MI 49548                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,118.60
                                                                    Check all that apply.
      YOUNGS ENVIRONMENTAL
      G-5305 NORTH DORT HWY                                         ¨ Contingent
      FLINT, MI 48505                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 69,517.79
                                                                    Check all that apply.
      ZIP PAK
      33853 TREASURY CENTER                                         ¨ Contingent
      CHICAGO, IL 60694-3800                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,357.81
                                                                    Check all that apply.
      ZORO TOOLS, INC
      PO BOX 5233                                                   ¨ Contingent
      JANESVILLE, WI 53547-5233                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  6,444.55
                                                                    Check all that apply.
      ZUMBIEL PACKAGING
      2100 GATEWAY BLVD                                             ¨ Contingent
      HEBRON, KY 41048                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes




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Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


                                                                                                                                                           Last 4 digits of
         Name and mailing address                                                                            On which line in Part 1 or Part 2 is the
                                                                                                                                                           account number, if
                                                                                                             related creditor (if any) listed?
                                                                                                                                                           any

 4.1                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.2                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.3                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.4                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.5                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.6                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.7                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.8                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.9                                                                                                         Line

                                                                                                             ¨ Not listed. Explain




   Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 274 of 275
 Debtor
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                                                                       Case number (If known) 24-90587
               Name


     Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a.     Total claims from Part 1                                                             5a.        $                   290,012.84




5b.     Total claims from Part 2                                                             5b.    +   $              638,706,227.61
                                                                                                                    + Undetermined Amounts




5c.     Total of Parts 1 and 2                                                               5c.        $              638,996,240.45
        Lines 5a + 5b = 5c.                                                                                         + Undetermined Amounts




      Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                     Page 275 of 275
                       Case 24-90586 Document 229 Filed in TXSB on 12/23/24 Page 329 of 461
  Fill in this information to identify the case:

  Debtor name      Hearthside Food Solutions, LLC

  United States Bankruptcy Court for the:   Southern District of Texas, Houston Division
                                                                                                                                        ¨ Check if this is an
  Case number (If known):      24-90587                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
     ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
     þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).
 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease
                                                INDEMNIFICATION AGREEMENT
         State what the contract or             DATED: 03/06/2017                           18 RABBITS, INC
 2.1     lease is for and the nature                                                        31 WATER STREET
         of the debtor’s interest                                                           SAN FRANCISCO, CA 94133

         State the term remaining
         List the contract number of
         any government contract

                                                LEASE DATED: 04/10/2019
         State what the contract or                                                         3500 LACEY ROAD LLC
 2.2     lease is for and the nature                                                        C/O BENTALL KENNEDY (U.S.) LP
         of the debtor’s interest                                                           ATTN: DIRECTOR - ASSET MANAGEMENT
                                                                                            1201 THIRD AVENUE, SUITE 3000
         State the term remaining                                                           SEATTLE, WA 98101

         List the contract number of
         any government contract

                                                CONSENT TO SUBLEASE DATED:
         State what the contract or             07/26/2017                                  3500 LACEY ROAD LLC
 2.3     lease is for and the nature                                                        C/O BENTALL KENNEDY (U.S.) LP
         of the debtor’s interest                                                           ATTN: DIRECTOR - ASSET MANAGEMENT
                                                                                            1201 THIRD AVENUE, SUITE 3000
         State the term remaining                                                           SEATTLE, WA 98101

         List the contract number of
         any government contract

                                                NATIONAL ACCOUNT ENGAGEMENT
         State what the contract or             AGREEMENT DATED: 04/01/2022                 3M COMPANY
 2.4     lease is for and the nature                                                        SAFETY AND INDUSTRIAL BUSINESS GROUP
         of the debtor’s interest                                                           3M CENTER BUILDING 223-3S-33
                                                                                            ST. PAUL, MN 55144
         State the term remaining
         List the contract number of
         any government contract

                                                STATEMENT OF WORK
         State what the contract or                                                         4SIGHT FOCUS LLC
 2.5     lease is for and the nature                                                        8 MAYHEW AVE
         of the debtor’s interest                                                           LARCHMONT, NY 10538

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                   Page 1 of 125
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PROPRIETARY PRODUCT
           State what the contract or          PURCHASE AND DISTRIBUTION         7 ELEVEN, INC
 2.6       lease is for and the nature         AGREEMENT DATED: 12/17/2019       3200 HACKBERRY ROAD
           of the debtor’s interest                                              IRVING, TX 75063

           State the term remaining
           List the contract number of
           any government contract

                                               COMMISSARY AGREEMENT DATED:
           State what the contract or          09/16/2019                  7 ELEVEN, INC
 2.7       lease is for and the nature                                     3200 HACKBERRY ROAD
           of the debtor’s interest                                        IRVING, TX 75063

           State the term remaining
           List the contract number of
           any government contract

                                               PROPRIETARY PRODUCT
           State what the contract or          PURCHASE AND DISTRIBUTION         7 ELEVEN, INC
 2.8       lease is for and the nature         AGREEMENT DATED: 01/01/2020       3200 HACKBERRY ROAD
           of the debtor’s interest                                              IRVING, TX 75063

           State the term remaining
           List the contract number of
           any government contract

                                               COMMISARY AGREEMENT DATED:
           State what the contract or          09/16/2019                        7-ELEVEN INC
 2.9       lease is for and the nature                                           3200 HACKBERRY ROAD
           of the debtor’s interest                                              IRVING, TX 75063

           State the term remaining
           List the contract number of
           any government contract

                                               PROPRIETARY PRODUCT
           State what the contract or          PURCHASE AND DISTRIBUTION         7-ELEVEN INC
 2.10      lease is for and the nature         AGREEMENT AS AMENDED DATED:       3200 HACKBERRY ROAD
           of the debtor’s interest            12/01/2023                        IRVING, TX 75063

           State the term remaining
           List the contract number of
           any government contract

                                               ONGOING AGREEMENT AS
           State what the contract or          AMENDED DATED: 10/01/2020         ADHEZION, INC
 2.11      lease is for and the nature                                           ADHESIVE & EQUIPMENT
           of the debtor’s interest                                              7730 CHILDSDALE AVE NE
                                                                                 ROCKFORD, MI 49341
           State the term remaining
           List the contract number of
           any government contract

                                               ONGOING AGREEMENT
           State what the contract or          AMENDMENT DATED: 10/01/2020       ADHEZION, INC
 2.12      lease is for and the nature                                           7730 CHILDSDALE AVE NE
           of the debtor’s interest                                              ROCKFORD, MI 49341

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                                 Schedule G: Executory Contracts and Unexpired Leases                            Page 2 of 125
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               SOFTWARE SUPPORT AGREEMENT
           State what the contract or          DATED: 01/17/2023          ADVANCED SOFTWARE DESIGNS, INC
 2.13      lease is for and the nature                                    16150 MAIN CIRCLE DRIVE
           of the debtor’s interest                                       SUITE 200
                                                                          CHESTERFIELD, MO 63017
           State the term remaining
           List the contract number of
           any government contract

                                               SOFTWARE LICENSE AGREEMENT
           State what the contract or          DATED: 01/17/2023                 ADVANCED SOFTWARE DESIGNS, INC
 2.14      lease is for and the nature                                           16150 MAIN CIRCLE DRIVE
           of the debtor’s interest                                              SUITE 200
                                                                                 CHESTERFIELD, MO 63017
           State the term remaining
           List the contract number of
           any government contract

                                               MASTER SOFTWARE AND SERVICES
           State what the contract or          AGREEMENT DATED: 04/07/2023  ADVANTIVE, LLC
 2.15      lease is for and the nature                                      4221 W. BOY SCOUT BLVD.
           of the debtor’s interest                                         SUITE 390
                                                                            TAMPA, FL 33607
           State the term remaining
           List the contract number of
           any government contract

                                               MASTER SOFTWARE AND SERVICES
           State what the contract or          AGREEMENT DATED: 04/13/2023  ADVANTIVE, LLC
 2.16      lease is for and the nature                                      4221 W. BOY SCOUT BLVD.
           of the debtor’s interest                                         SUITE 390
                                                                            TAMPA, FL 33607
           State the term remaining
           List the contract number of
           any government contract

                                               REQUEST FOR DRUG TESTING
           State what the contract or          SERVICES DATED: 10/31/2018        AEROTEK, INC.
 2.17      lease is for and the nature                                           P.O. BOX 198531
           of the debtor’s interest                                              ATLANTA, GA 30384-8531

           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
           State what the contract or          DATED: 10/02/2017                 AHOLD U.S.A., INC.
 2.18      lease is for and the nature                                           1149 HARRISBURG PIKE
           of the debtor’s interest                                              CARLISLE, PA 17013

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT SUPPLY AGREEMENT
           State what the contract or          AMENDMENT DATED: 02/20/2023       AIR PRODUCTS AND CHEMICALS, INC
 2.19      lease is for and the nature                                           7201 HAMILTON BOULEVARD
           of the debtor’s interest                                              ALLENTOWN, PA 18195-1501

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                                 Schedule G: Executory Contracts and Unexpired Leases                            Page 3 of 125
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PRIVATE LABEL AGREEMENT
           State what the contract or          DATED: 05/19/2017                 ALDI INC
 2.20      lease is for and the nature                                           1200 NORTH KIRK ROAD
           of the debtor’s interest                                              BALAVIA, IL 60510-1477

           State the term remaining
           List the contract number of
           any government contract

                                               PURCHASING CONTRACT DATED:
           State what the contract or          12/19/2023                        ALDI INC
 2.21      lease is for and the nature                                           1200 NORTH KIRK ROAD
           of the debtor’s interest                                              BALAVIA, IL 60510-1477

           State the term remaining
           List the contract number of
           any government contract

                                               PURCHASING CONTRACT DATED:
           State what the contract or          10/16/2009                        ALDI INC
 2.22      lease is for and the nature                                           1200 NORTH KIRK ROAD
           of the debtor’s interest                                              BALAVIA, IL 60510-1477

           State the term remaining
           List the contract number of
           any government contract

                                               TESTING SERVICES CONTRACT
           State what the contract or          DATED: 01/01/2022                 ALL AMERICAN FIRE SYSTEMS INC
 2.23      lease is for and the nature                                           34122 ZINNIA CT
           of the debtor’s interest                                              LAKE ELSINORE, CA 92532

           State the term remaining
           List the contract number of
           any government contract

                                               HEARTHSIDE CONTRACT ALLGOLD
           State what the contract or          COCONUT 2024 DATED: 01/01/2024    ALL GOLD IMPORTS
 2.24      lease is for and the nature                                           3333 FINLEY RD.
           of the debtor’s interest                                              SUITE 800
                                                                                 DOWNERS GROVE, IL 60515
           State the term remaining
           List the contract number of
           any government contract

                                               CONSULTING SERVICES
           State what the contract or          AGREEMENT DATED: 03/01/2023       ALLIANT INSURANCE SERVICES, INC
 2.25      lease is for and the nature                                           18100 VON KARMAN AVE
           of the debtor’s interest                                              10TH FLOOR
                                                                                 IRVINE, CA 92612
           State the term remaining
           List the contract number of
           any government contract

                                               GENERAL RELEASE OF ALL CLAIMS
           State what the contract or          DATED: 01/00/1900             AMERI FREIGHT SYSTEMS LLC
 2.26      lease is for and the nature                                       1200 N Ellis
           of the debtor’s interest                                          St Bensenville, IL 60106

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               REBATE AGREEMENT DATED:
           State what the contract or          01/01/2023                        AMERICAN EAGLE PACKAGING CORP
 2.27      lease is for and the nature                                           1645 TODD FARM DRIVE
           of the debtor’s interest                                              ELGIN, IL 60123

           State the term remaining
           List the contract number of
           any government contract

                                               AMF AUTOMATION TECHNOLOGIES,
           State what the contract or          LLC AS AMENDED DATED: 06/27/2024 AMF AUTOMATION TECHNOLOGIES
 2.28      lease is for and the nature                                          POBOX 502992
           of the debtor’s interest                                             ST. LOUIS, MO 63150

           State the term remaining
           List the contract number of
           any government contract

                                               PACKAGING AGREEMENT DATED:
           State what the contract or          01/09/2014                        ANNIE'S HOMEGROWN, INC
 2.29      lease is for and the nature                                           1610 FIFTH STREET
           of the debtor’s interest                                              BERKELEY, CA 94710

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OF INTENT FOR
           State what the contract or          MAINTENANCE REPAIR AND            APPLIED INDUSTRIAL TECHNOLOGIES
 2.30      lease is for and the nature         OPERATING SUPPLIES DATED:         22510 NETWORK PLACE
           of the debtor’s interest            01/01/2022                        CHICAGO, IL 60673-1225

           State the term remaining
           List the contract number of
           any government contract

                                               SERVICE AGREEMENT DATED:
           State what the contract or          04/04/2019                        ARAMARK
 2.31      lease is for and the nature                                           2400 Market St
           of the debtor’s interest                                              Philadelphia, PA 19103

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREEMENT DATED:
           State what the contract or          01/01/2024                        ARCHER DANIELS MIDLAND COMPANY
 2.32      lease is for and the nature                                           1530 47TH STREET NORTH
           of the debtor’s interest                                              FARGO, ND 58102

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREEMENT DATED:
           State what the contract or          01/01/2023                        ARCHER DANIELS MIDLAND COMPANY
 2.33      lease is for and the nature                                           1530 47TH STREET NORTH
           of the debtor’s interest                                              FARGO, ND 58102

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                                 Schedule G: Executory Contracts and Unexpired Leases                            Page 5 of 125
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               CONTRACT CONFIRMATION DATED:
           State what the contract or          02/03/2023                   ARDENT MILLS, LLC
 2.34      lease is for and the nature                                      1875 LAWRENCE ST.
           of the debtor’s interest                                         #1400
                                                                            DENVER, CO 80202
           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT CONFIRMATION DATED:
           State what the contract or          02/03/2023                   ARDENT MILLS, LLC
 2.35      lease is for and the nature                                      1875 LAWRENCE ST.
           of the debtor’s interest                                         #1400
                                                                            DENVER, CO 80202
           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT CONFIRMATION DATED:
           State what the contract or          02/03/2023                   ARDENT MILLS, LLC
 2.36      lease is for and the nature                                      1875 LAWRENCE ST.
           of the debtor’s interest                                         #1400
                                                                            DENVER, CO 80202
           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT CONFIRMATION DATED:
           State what the contract or          02/03/2023                   ARDENT MILLS, LLC
 2.37      lease is for and the nature                                      1875 LAWRENCE ST.
           of the debtor’s interest                                         #1400
                                                                            DENVER, CO 80202
           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT CONFIRMATION DATED:
           State what the contract or          02/03/2023                   ARDENT MILLS, LLC
 2.38      lease is for and the nature                                      1875 LAWRENCE ST.
           of the debtor’s interest                                         #1400
                                                                            DENVER, CO 80202
           State the term remaining
           List the contract number of
           any government contract

                                               LEASE AGREEMENT DATED:
           State what the contract or          02/03/2023                        ASCENTIUM CAPITAL LLC
 2.39      lease is for and the nature                                           239TOHWY59N
           of the debtor’s interest                                              KINGWOOD, TX 77339-1535

           State the term remaining
           List the contract number of
           any government contract

                                               ORDER FORM DATED: 10/13/2021
           State what the contract or                                            ASSETPOINT LLC
 2.40      lease is for and the nature                                           P.O. BOX 743722
           of the debtor’s interest                                              ATLANTA, 30374-3722

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                                 Schedule G: Executory Contracts and Unexpired Leases                            Page 6 of 125
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PRIVATE LABEL AGREEMENT
           State what the contract or          DATED: 12/05/2016                 ASSOCIATED WHOLESALE GROCERS (AWG)
 2.41      lease is for and the nature                                           5000 KANSAS AVE
           of the debtor’s interest                                              KANSAS CITY, KS 66106

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AGREEMENT
           State what the contract or          DATED: 07/22/2002                 ATKINS NUTRITIONALS, INC
 2.42      lease is for and the nature                                           2002 ORVILLE DRIVE NORTH
           of the debtor’s interest                                              SUITE A
                                                                                 RONKONKOMA, NY 11779
           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OF AUTHORIZATION:
           State what the contract or          ATKINS SLITTER AND CARTONER       ATKINS NUTRITIONALS, INC
 2.43      lease is for and the nature         CHANGE PARTS DATED: 04/10/2012    2002 ORVILLE DRIVE NORTH
           of the debtor’s interest                                              SUITE A
                                                                                 RONKONKOMA, NY 11779
           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO STAFFING
           State what the contract or          SERVICES AGREEMENT DATED:         ATLAS STAFFING INC
 2.44      lease is for and the nature         09/16/2019                        189 7TH PLACE EAST
           of the debtor’s interest                                              ST. PAUL, MN 55101

           State the term remaining
           List the contract number of
           any government contract

                                               STAFFING SERVICES AGREEMENT
           State what the contract or          DATED: 09/16/2019                 ATLAS STAFFING INC
 2.45      lease is for and the nature                                           189 7TH PLACE EAST
           of the debtor’s interest                                              ST. PAUL, MN 55101

           State the term remaining
           List the contract number of
           any government contract

                                               STAFFING SERVICES AGREEMENT
           State what the contract or          AS AMENDED DATED: 10/17/2021      ATLAS STAFFING, INC
 2.46      lease is for and the nature                                           189 7TH PLACE EAST
           of the debtor’s interest                                              ST. PAUL, MN 55101

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING PROJECT
           State what the contract or          AGREEMENT AS AMENDED DATED:       BACK TO NATURE
 2.47      lease is for and the nature         10/26/2019                        ATTN: MARY BETH HIGGINS
           of the debtor’s interest                                              100 DEFOREST AVENUE
                                                                                 EAST HANOVER, NJ 07936
           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                                 Schedule G: Executory Contracts and Unexpired Leases                            Page 7 of 125
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               ENGAGEMENT LETTER DATED:
           State what the contract or          08/21/2017                         BAIN & COMPANY, INC.
 2.48      lease is for and the nature                                            131 DARTMOUTH STREET
           of the debtor’s interest                                               BOSTON, MA 02116

           State the term remaining
           List the contract number of
           any government contract

                                               FOURTH AMENDMENT DATED:
           State what the contract or          06/01/2018                         BAKERY FEEDS
 2.49      lease is for and the nature                                            5601 N MACARTHUR BLVD
           of the debtor’s interest                                               IRVING, TX 75038

           State the term remaining
           List the contract number of
           any government contract

                                               COLLECTIVE BARGAINING
           State what the contract or          AGREEMENT DATED: 12/21/2018        Bakery, Confectionery, Tobacco Workers and Grain Millers Local No.
 2.50      lease is for and the nature                                            70
           of the debtor’s interest                                               158 36TH ST S E
                                                                                  GRAND RAPIDS, MI 49548
           State the term remaining
           List the contract number of
           any government contract

                                               GENERAL RELEASE DATED:
           State what the contract or          12/22/2011                         BARBARA'S BAKERY, INC.
 2.51      lease is for and the nature                                            176 Susquehanna Blvd
           of the debtor’s interest                                               West Hazleton, PA 18202

           State the term remaining
           List the contract number of
           any government contract

                                               STRICTLY PRIVATE AND
           State what the contract or          CONFIDENTIAL DATED: 01/00/1900     BARTONI LTD
 2.52      lease is for and the nature                                            1ST FLOOR HARMONY COURT HARMONY ROW
           of the debtor’s interest                                               DUBLIN 2,
                                                                                  IRELAND
           State the term remaining
           List the contract number of
           any government contract

                                               POST PEBBLES BAR PROJECT
           State what the contract or          DATED: 06/22/2010                  BASIC AMERICAN, INC.
 2.53      lease is for and the nature                                            415 W COLLINS ROAD
           of the debtor’s interest                                               BLACKFOOT, ID 83221-5642

           State the term remaining
           List the contract number of
           any government contract

                                               BROKER AGREEMENT DATED:
           State what the contract or          02/01/2023                         BAY FOOD BROKERAGE, INC
 2.54      lease is for and the nature                                            5111 Memorial Highway
           of the debtor’s interest                                               Tampa, FL 33634

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                               Page 8 of 125
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               SUBJECT: CONTINGENCY PLAN
           State what the contract or          -ASSURED SUPPLY DATED:             BEST CROUTONS
 2.55      lease is for and the nature         01/00/1900                         4031 S. RACINE STREET
           of the debtor’s interest                                               CHICAGO, IL 60609

           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
           State what the contract or          DATED: 03/20/2018                  BETTER LIVING BRANDS LLC./SAFEWAY INC./LUCERNE FOODS
 2.56      lease is for and the nature                                            INC.
           of the debtor’s interest                                               P.O BOX 99
                                                                                  PLEASANTON, CA 94566-0009
           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 03/22/2018
           State what the contract or                                             BETTER LIVING BRANDS LLC./SAFEWAY INC./LUCERNE FOODS
 2.57      lease is for and the nature                                            INC.
           of the debtor’s interest                                               P.O BOX 99
                                                                                  PLEASANTON, CA 94566-0009
           State the term remaining
           List the contract number of
           any government contract

                                               DEVELOPMENT AGREEMENT
           State what the contract or          DATED: 04/23/2021                  BIO-NUTRITIONAL RESEARCH GROUP, INC
 2.58      lease is for and the nature                                            6 Morgan
           of the debtor’s interest                                               Ste 100
                                                                                  Irvine, CA 92618
           State the term remaining
           List the contract number of
           any government contract

                                               PROFESSIONAL SERVICES
           State what the contract or          AGREEMENT DATED: 08/19/2022        BLUE YONDER, INC
 2.59      lease is for and the nature                                            15059 N. SCOTTSDALE RD.
           of the debtor’s interest                                               SUITE 400
                                                                                  SCOTTSDALE, AZ 85254
           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
           State what the contract or          DATED: 04/24/2017                  BRANDLESS INC.
 2.60      lease is for and the nature                                            37 GRAHAM ST
           of the debtor’s interest                                               SUITE 250
                                                                                  SAN FRANCISCO, CA 94129
           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLY AGREEMENT DATED:
           State what the contract or          01/04/2017                         BRANDLESS, INC
 2.61      lease is for and the nature                                            ATTN RACHAEL
           of the debtor’s interest                                               37 GRAHAM STREET
                                                                                  SUITE 250
           State the term remaining                                               SAN FRANCISCO, CA 94129

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               CONFIDENTIAL RELEASE AND
           State what the contract or          SETTLEMENT DATED: 07/01/2024      BRIGHT FARMS INC
 2.62      lease is for and the nature                                           50 S BUCKHOUT ST
           of the debtor’s interest                                              STE 202
                                                                                 IRVINGTON, NY 10533
           State the term remaining
           List the contract number of
           any government contract

                                               BROKERAGE CONTRACT DATED:
           State what the contract or          01/28/2019                        BRILLIANT MARKETING
 2.63      lease is for and the nature                                           1370 ROUTE 28A
           of the debtor’s interest                                              SUITE 6
                                                                                 CATAUMET, MA 02534
           State the term remaining
           List the contract number of
           any government contract

                                               SPECIFICATION AND PRICING
           State what the contract or          AGREEMENT DATED: 08/01/2023       BUD ANTLE, INC.
 2.64      lease is for and the nature                                           DOLE FRESH VEGETABLES
           of the debtor’s interest                                              P.O. BOX 2018
                                                                                 MONTEREY, CA 93942-201
           State the term remaining
           List the contract number of
           any government contract

                                               LEGAL SERVICES AGREEMENT
           State what the contract or          DATED: 10/20/2022                 BUGBEE & CONKLE
 2.65      lease is for and the nature                                           PNC BANK BUILDING
           of the debtor’s interest                                              405 MADISON AVENUE
                                                                                 SUITE 1900
           State the term remaining                                              TOLEDO, OH 43604

           List the contract number of
           any government contract

                                               NOTICE OF TERMINATION DATED:
           State what the contract or          05/17/2023                        BURLEY FOODS, LLC, INC.
 2.66      lease is for and the nature                                           7125 AMUNDSON AVE S
           of the debtor’s interest                                              EDINA, MN 55439

           State the term remaining
           List the contract number of
           any government contract

                                               HFS BROKER AGREEMENT DATED:
           State what the contract or          01/01/2011                        BURLEY FOODS, LLC, INC.
 2.67      lease is for and the nature                                           7125 AMUNDSON AVE S
           of the debtor’s interest                                              EDINA, MN 55439

           State the term remaining
           List the contract number of
           any government contract

                                               PROPOSAL DATED: 07/16/2020
           State what the contract or                                            BUTCHER WRAP SANDWICHES/TYSON FOODS
 2.68      lease is for and the nature                                           400 SOUTH JEFFERSON
           of the debtor’s interest                                              CHICAGO, IL 60607

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               CONTRACT MANUFACTURING
           State what the contract or          AGREEMENT DATED: 05/19/2014       CAMPBELL SOUP SUPPLY COMPANY
 2.69      lease is for and the nature                                           8457 A. SOUTH EASTERN AVENUE
           of the debtor’s interest                                              BELL GARDENS, CA 90807

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
           State what the contract or          AGREEMENT DATED: 05/19/2014       CAMPBELL SOUP SUPPLY COMPANY
 2.70      lease is for and the nature                                           CAMPBELL PLACE CAMDEN PLACE
           of the debtor’s interest                                              CAMDEN, NJ 08103

           State the term remaining
           List the contract number of
           any government contract

                                               AUTHORIZATION FOR CHANGE
           State what the contract or          1>ART PURCHASE DATED:             CAMPBELL SOUP SUPPLY COMPANY
 2.71      lease is for and the nature         08/08/2016                        8457 A. SOUTH EASTERN AVENUE
           of the debtor’s interest                                              BELL GARDENS, CA 90807

           State the term remaining
           List the contract number of
           any government contract

                                               AUTHORIZATION SOUP TOPPERS
           State what the contract or          CAPITAL DATED: 11/13/2017         CAMPBELL SOUP SUPPLY COMPANY
 2.72      lease is for and the nature                                           8457 A. SOUTH EASTERN AVENUE
           of the debtor’s interest                                              BELL GARDENS, CA 90807

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
           State what the contract or          AGREEMENT AS AMENDED DATED:       CAMPBELL SOUP SUPPLY COMPANY
 2.73      lease is for and the nature         08/10/2020                        VICE PRESIDENT, SUPPLY CHAIN
           of the debtor’s interest                                              ATTN: ALAN BLAKE
                                                                                 ONE CAMPBELL PLACE
           State the term remaining                                              CAMDEN, NJ 08103

           List the contract number of
           any government contract

                                               PRODUCT LIST AND PRICING
           State what the contract or          DATED: 05/28/2014                 CAMPBELL SOUP SUPPLY COMPANY
 2.74      lease is for and the nature                                           8457 A. SOUTH EASTERN AVENUE
           of the debtor’s interest                                              BELL GARDENS, CA 90807

           State the term remaining
           List the contract number of
           any government contract

                                               PARTICIPATING GROUP SERVICES
           State what the contract or          AGREEMENT DATED: 01/01/2023       CAREMARKPCS HEALTH, LLC
 2.75      lease is for and the nature                                           ATTN: PBM LEGAL NOTICES
           of the debtor’s interest                                              2100 LAKE COOK ROAD
                                                                                 5TH FLOOR
           State the term remaining                                              BUFFALO GROVE, IL 60089

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               SALES CONTRACT DATED:
           State what the contract or          01/04/2023                        CARGILL
 2.76      lease is for and the nature                                           5301 MARYLAND
           of the debtor’s interest                                              WAYJ.BFENTWPOD, TN 37027

           State the term remaining
           List the contract number of
           any government contract

                                               CARGILL CONTACT AGREEMENT
           State what the contract or          RENEWAL DATED: 09/28/2016         CARGILL
 2.77      lease is for and the nature                                           15407 MCGINTY RD
           of the debtor’s interest                                              WAYZATA, MN 55391

           State the term remaining
           List the contract number of
           any government contract

                                               CARGILL CONTACT AGREEMENT
           State what the contract or          RENEWAL DATED: 09/25/2017         CARGILL
 2.78      lease is for and the nature                                           15407 MCGINTY RD
           of the debtor’s interest                                              WAYZATA, MN 55391

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREEMENT DATED:
           State what the contract or          06/02/2022                        CARGILL - LOUISIANA SUGAR REFINING, LLC
 2.79      lease is for and the nature                                           1230 5TH AVE
           of the debtor’s interest                                              GRAMERCY, LA 70052

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO TOLL AGREEMENT
           State what the contract or          FOR PACKAGING TABLETOP DATED: CARGILL, INCORPORATED
 2.80      lease is for and the nature         03/01/2010                    1938 S. WOLF ROAD
           of the debtor’s interest                                          DES PLAINES, IL 60018

           State the term remaining
           List the contract number of
           any government contract

                                               STAFFING SERVICES AGREEMENT
           State what the contract or          DATED: 05/13/2022                 CARLISLE STAFF MG CONSULTANTS CORP
 2.81      lease is for and the nature                                           707 SOUTH GRADY WAY
           of the debtor’s interest                                              SUITE 600
                                                                                 RENTON, WA 98057
           State the term remaining
           List the contract number of
           any government contract

                                               COMMERCIAL-INDUSTRIAL
           State what the contract or          EXCLUSIVE LISTING AGREEMENT       CERRON COMMERCIAL PROPERTIES, LLC
 2.82      lease is for and the nature         SUBLEASE DATED: 05/16/2018        21476 Grenada Avenue
           of the debtor’s interest                                              Lakeville, MN 55044

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               CHASE PECANS 2024 DATED:
           State what the contract or          01/01/2024                        CHASE PECAN LP / LAKEVIEW COMMODITIES
 2.83      lease is for and the nature                                           3333 FINLEY RD. SUITE 800 DOWNERS GROVE, IL 60515
           of the debtor’s interest                                              SAN SABA, TX 76877

           State the term remaining
           List the contract number of
           any government contract

                                               EXECUTED SERVICE AGREEMENT
           State what the contract or          DATED: 08/26/2021                 CHEMSTATION
 2.84      lease is for and the nature                                           3400 ENCRETE LANE
           of the debtor’s interest                                              DAYTON, OH 45439

           State the term remaining
           List the contract number of
           any government contract

                                               RENTAL AGREEMENT DATED:
           State what the contract or          11/09/2022                        CHEP USA
 2.85      lease is for and the nature                                           897 WINDWARD PARKWAY
           of the debtor’s interest                                              ALPHARETTA, GA 30005

           State the term remaining
           List the contract number of
           any government contract

                                               RENTAL AGREEMENT BY AND
           State what the contract or          BETWEEN CHEP USA DATED:           CHEP USA
 2.86      lease is for and the nature         10/19/2022                        15 TIDEMORE AVENUE
           of the debtor’s interest                                              ETOBICOKE, ON M9W 7E9
                                                                                 CANADA
           State the term remaining
           List the contract number of
           any government contract

                                               RENTAL AGREEMENT DATED:
           State what the contract or          10/18/2004                        CHEP USA
 2.87      lease is for and the nature                                           8517 SOUTH PARK CIRCLE
           of the debtor’s interest                                              SUITE 400
                                                                                 ORLANDO, FL 32819
           State the term remaining
           List the contract number of
           any government contract

                                               TERMINATION AND RELEASE
           State what the contract or          AGREEMENT DATED: 12/31/2009       CINNABON, INC.
 2.88      lease is for and the nature                                           5620 Glenridge Dr NE
           of the debtor’s interest                                              Atlanta, GA 30342

           State the term remaining
           List the contract number of
           any government contract

                                               SAFETY CENTER SERVICE
           State what the contract or          AGREEMENT DATED: 05/27/2021       CINTAS
 2.89      lease is for and the nature                                           6800 CINTAS BLVD.
           of the debtor’s interest                                              CINCINATTI, OH 45262

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               MASTER SERVICE AGREEMENT
           State what the contract or          DATED: 02/26/2021                  CINTAS CORPORATION NO. 2
 2.90      lease is for and the nature                                            6800 CINTAS BLVD.
           of the debtor’s interest                                               CINCINATTI, OH 45262

           State the term remaining
           List the contract number of
           any government contract

                                               CO-PACKING AGREEMENT DATED:
           State what the contract or          03/01/2020                         CLIF BAR & COMPANY
 2.91      lease is for and the nature                                            VICE PRESIDENT SUPPLY CHAIN
           of the debtor’s interest                                               ONE CAMPBELL PLACE
                                                                                  CAMDEN, NJ 08103-1799
           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO THE
           State what the contract or          CO-PACKING AGREEMENT DATED:        CLIF BAR & COMPANY
 2.92      lease is for and the nature         06/27/2021                         1451 66TH STREET
           of the debtor’s interest                                               EMERYVILLE, CA 94608-1004

           State the term remaining
           List the contract number of
           any government contract

                                               FOURTH AMENDMENT TO MASTER
           State what the contract or          SERVICES AGREEMENT DATED:          CLIF BAR & COMPANY
 2.93      lease is for and the nature         06/12/2023                         1451 66TH STREET
           of the debtor’s interest                                               EMERYVILLE, CA 94608-1004

           State the term remaining
           List the contract number of
           any government contract

                                               CLIF WHEY PROTEIN PRODUCT
           State what the contract or          EXHIBIT EXTENSION NOTICE           CLIF BAR & COMPANY
 2.94      lease is for and the nature         DATED: 01/01/2021                  150 N. MARTINGALE ROAD
           of the debtor’s interest                                               SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract

                                               CLINICAL PRODUCTS
           State what the contract or          MANUFACTURING AGREEMENT            CLINICAL PRODUCTS
 2.95      lease is for and the nature         DATED: 06/30/2006                  2200 WESTPORT PLAZA DRIVE
           of the debtor’s interest                                               SUITE 316
                                                                                  ST. LOUIS, MO 63146
           State the term remaining
           List the contract number of
           any government contract

                                               OFFER LETTER DATED: 05/16/2023
           State what the contract or                                             COATS, DAN
 2.96      lease is for and the nature                                            3333 FINLEY ROAD, SUITE 800
           of the debtor’s interest                                               DOWNERS GROVE, IL 60515

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               DATA EXTRACTION AND IMPORT
           State what the contract or          SERVICES AS AMENDED DATED:        COBBLESTONE SYSTEMS
 2.97      lease is for and the nature         04/26/2023                        428 S WHITE HOREE PIKE
           of the debtor’s interest                                              LINDENWOLD, NJ 08021

           State the term remaining
           List the contract number of
           any government contract

                                               NON-DISCLOSURE AGREEMENT
           State what the contract or          DATED: 04/16/2012                 COCA-COLA REFRESHMENTS USA, INC
 2.98      lease is for and the nature                                           ONE COCA-COLA PLAZA
           of the debtor’s interest                                              ATLANTA, GA 30313

           State the term remaining
           List the contract number of
           any government contract

                                               TRANSPORTATION SERVICES
           State what the contract or          AGREEMENT DATED: 07/12/2024       COLUMBIAN LOGISTICS NETWORK
 2.99      lease is for and the nature                                           SPRINTER SERVICES, INC.
           of the debtor’s interest                                              2900 DIXIE AVE SW
                                                                                 GRANDVILLE, MI 49418
           State the term remaining
           List the contract number of
           any government contract

                                               WAREHOUSING SERVICES
      State what the contract or               AGREEMENT DATED: 07/12/2024       COLUMBIAN LOGISTICS NETWORK
2.100 lease is for and the nature                                                SPRINTER SERVICES, INC.
      of the debtor’s interest                                                   2900 DIXIE AVE SW
                                                                                 GRANDVILLE, MI 49418
           State the term remaining
           List the contract number of
           any government contract

                                               PAYROLL CARD SERVICE
      State what the contract or               AGREEMENT DATED: 11/13/2018       COMDATA TN, INC
2.101 lease is for and the nature                                                5301 MARYLAND
      of the debtor’s interest                                                   WAYJ.BFENTWPOD, TN 37027

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO VENDING,
      State what the contract or               UNATTENDED VENDING, AND           COMPASS GROUP USA, INC.
2.102 lease is for and the nature              COFFEE SERVICES AGREEMENT         1582 HARVEST COVE DRIVE
      of the debtor’s interest                 DATED: 01/30/2023                 MIDDLEBURG, FL 32068

           State the term remaining
           List the contract number of
           any government contract

                                               BROKERAGE CONTRACT DATED:
      State what the contract or               04/01/2010                        COMPASS SALES AND MARKETING, LLC
2.103 lease is for and the nature                                                1582 HARVEST COVE DRIVE
      of the debtor’s interest                                                   MIDDLEBURG, FL 32068

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               BROKERAGE CONTRACT DATED:
      State what the contract or               04/01/2010                        COMPASS SALES AND MARKETING, LLC
2.104 lease is for and the nature                                                1582 HARVEST COVE DRIVE
      of the debtor’s interest                                                   MIDDLEBURG, FL 32068

           State the term remaining
           List the contract number of
           any government contract

                                               CLIENT SERVICE AGREEMENT
      State what the contract or               DATED: 01/01/2023                 COMPCOREPRO, LLC
2.105 lease is for and the nature                                                2625 W. HARRISON AVE.
      of the debtor’s interest                                                   BELLWOOD, IL 60104

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT AS AMENDED DATED:       CONAGRA FOODS PACKAGED FOODS, LLC
2.106 lease is for and the nature              04/24/2024                        ATTN: JEREMIAH JARECKE
      of the debtor’s interest                                                   CONAGRA FOODS PACKAGED FOODS, LLC
                                                                                 9 CONAGRA DRIVE
           State the term remaining                                              OMAHA, NE 68102

           List the contract number of
           any government contract

                                               MASTER SUPPLY AGREEMENT -
      State what the contract or               CAPITAL DATED: 06/20/2012         CONAGRA FOODS, INC
2.107 lease is for and the nature                                                ATTN: JEREMIAH JARECKE
      of the debtor’s interest                                                   CONAGRA FOODS PACKAGED FOODS, LLC
                                                                                 9 CONAGRA DRIVE
           State the term remaining                                              OMAHA, NE 68102

           List the contract number of
           any government contract

                                               MASTER SERVICES AGREEMENT
      State what the contract or               DATED: 12/01/2023                 CONTAX
2.108 lease is for and the nature                                                311 W. SUPERIOR STREET
      of the debtor’s interest                                                   SUITE 313
                                                                                 CHICAGO, IL 60654
           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING AND
      State what the contract or               PACKAGING AGREEMENT DATED:        CONTINENTAL MILLS, INC.
2.109 lease is for and the nature              09/01/2010                        18125 ANDOVER PARK WEST
      of the debtor’s interest                                                   TUKWILA, WA 98188

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT NO. 1 TO CONTRACT
      State what the contract or               MANUFACTURING DATED: 07/20/2023 CONTINENTAL MILLS, INC.
2.110 lease is for and the nature                                              18125 ANDOVER PARK WEST
      of the debtor’s interest                                                 TUKWILA, WA 98188

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               COMMERCIAL PEST MANAGEMENT
      State what the contract or               AGREEMENT DATED: 11/01/2021       COPESAN SERVICES, INC
2.111 lease is for and the nature                                                ATTN: LEGAL DEPARTMENT
      of the debtor’s interest                                                   W175N5711 TECHNOLOGY DR.
                                                                                 MENOMONEE FALLS, WI 53051
           State the term remaining
           List the contract number of
           any government contract

                                               SUBLEASE AGREEMENT AS
      State what the contract or               AMENDED DATED: 04/24/2024         CORE RESOURCES
2.112 lease is for and the nature                                                ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                               COSTCO WHOLESALE PRIVATE
      State what the contract or               LABEL AGREEMENT CANADIAN          COSTCO WHOLESALE
2.113 lease is for and the nature              ADDENDUM DATED: 02/06/2017        312 RADER RD
      of the debtor’s interest                                                   MCCOMB, OH 45858

           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 08/11/2016                 COSTCO WHOLESALE
2.114 lease is for and the nature                                                999 LAKE DR
      of the debtor’s interest                                                   ISSAQUAH, WA 98027

           State the term remaining
           List the contract number of
           any government contract

                                               COSTCO WHOLESALE PRIVATE
      State what the contract or               LABEL STANDARD TERMS DATED:       COSTCO WHOLESALE
2.115 lease is for and the nature              01/19/2017                        312 RADER RD
      of the debtor’s interest                                                   MCCOMB, OH 45858

           State the term remaining
           List the contract number of
           any government contract

                                               CONTINUING COMMODITY
      State what the contract or               GUARANTY AND INDEMNITY            CPS INC., DIVISION OF SAFEWAY
2.116 lease is for and the nature              AGREEMENT DATED: 08/01/2011       5918 STONERIDGE MALL RD
      of the debtor’s interest                                                   PLEASANTON, CA 94588

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO THE
      State what the contract or               CONTRACT PACKAGING SERVICE        CUMBERLAND PACKING CORP
2.117 lease is for and the nature              AND SUPPLY AGREEMENT DATED:       2 CUMBERLAND STREET
      of the debtor’s interest                 09/01/2016                        BROOKLYN, NY 11205

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               CONTRACT PACKAGING SERVICE
      State what the contract or               AND SUPPLY AGREEMENT DATED:        CUMBERLAND PACKING CORP
2.118 lease is for and the nature              01/05/2016                         2 CUMBERLAND STREET
      of the debtor’s interest                                                    BROOKLYN, NY 11205

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING SERVICE
      State what the contract or               AND SUPPLY AGREEMENT DATED:        CUMBERLAND PACKING CORP.
2.119 lease is for and the nature              01/05/2016                         20 CUMBERLAND ST
      of the debtor’s interest                                                    BROOKLYN, NY 11205

           State the term remaining
           List the contract number of
           any government contract

                                               FOOD SERVICE AGREEMENT
      State what the contract or               DATED: 05/16/2013                  CUYAHOGA VENDING SERVICES, INC
2.120 lease is for and the nature                                                 14250 S. INDUSTRIAL AVE.
      of the debtor’s interest                                                    SUITE 104
                                                                                  MAPLE HEIGHTS, OH 44137
           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 05/22/2017                  CVS
2.121 lease is for and the nature                                                 1 CVS DR
      of the debtor’s interest                                                    WOONSOCKET, RI 02895

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OF INTENT DATED:
      State what the contract or               06/25/2020                         DAILY HARVEST, INC
2.122 lease is for and the nature                                                 99 HUDSON STREET
      of the debtor’s interest                                                    9TH FLOOR
                                                                                  NEW YORK, NY 10013
           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT NO. 3 TO
      State what the contract or               MANUFACTURING AGREEMENT            DAILY HARVEST, INC
2.123 lease is for and the nature              (02.26.24) DATED: 01/01/2024       99 HUDSON STREET
      of the debtor’s interest                                                    9TH FLOOR
                                                                                  NEW YORK, NY 10013
           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AGREEMENT AS
      State what the contract or               AMENDED DATED: 01/01/2024          DAILY HARVEST, INC.
2.124 lease is for and the nature                                                 99 HUDSON STREET
      of the debtor’s interest                                                    NEW YORK, NY 10013

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               MUTUAL CONFIDENTIALITY
      State what the contract or               AGREEMENT DATED: 08/21/2014       DALE & THOMAS POPCORN, LLC/ POPCORN, INDIANA, LLC
2.125 lease is for and the nature                                                ONE CEDAR LANE
      of the debtor’s interest                                                   ENGLEWOOD, NJ 07631

           State the term remaining
           List the contract number of
           any government contract

                                               REFERENCE : REPRESENTATION
      State what the contract or               LETTER ID - 10457 DATED:          DAYMON WORLDWIDE INC.
2.126 lease is for and the nature              08/17/2009                        700 FAIRFIELD AVENUE
      of the debtor’s interest                                                   STAMFORD, CT 06902

           State the term remaining
           List the contract number of
           any government contract

                                               BROKERAGE CONTRACT DATED:
      State what the contract or               09/03/2013                        DAYMON WORLDWIDE INC.
2.127 lease is for and the nature                                                125 EAST COURT STREET
      of the debtor’s interest                                                   SUITE 500
                                                                                 CINCINNATI, OH 45202
           State the term remaining
           List the contract number of
           any government contract

                                               ADDENDUM # 3 AS AMENDED
      State what the contract or               DATED: 06/15/2017                 DAYMON WORLDWIDE INC.
2.128 lease is for and the nature                                                25 NORTHWEST POINT BOULEVARD
      of the debtor’s interest                                                   SUITE #450
                                                                                 ELK GROVE VILLAGE, IL 60007
           State the term remaining
           List the contract number of
           any government contract

                                               BROKERAGE CONTRACT DATED:
      State what the contract or               06/15/2017                        DAYMON WORLDWIDE INC.
2.129 lease is for and the nature                                                25 NORTHWEST POINT BOULEVARD
      of the debtor’s interest                                                   SUITE #450
                                                                                 ELK GROVE VILLAGE, IL 60007
           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 01/01/2019       DEL MONTE FOODS, INC.
2.130 lease is for and the nature                                                3003 OAK ROAD
      of the debtor’s interest                                                   WALNUT CREEK, CA 94597

           State the term remaining
           List the contract number of
           any government contract

                                               INFORMATION ON ORDERING AND
      State what the contract or               PAYMENT DATED: 01/00/1900         DELICATESSEN SUPPORT SERVICES, INC
2.131 lease is for and the nature                                                180 Boulder Industrial Dr
      of the debtor’s interest                                                   Bridgeton, MO 63044-1241

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               ADMINISTRATIVE SERVICES
      State what the contract or               CONTRACT DATED: 01/01/2024        DELTA DENTAL OF ILLINOIS
2.132 lease is for and the nature                                                ATTN: JOHN MAPLES, PRESIDENT AND CEO
      of the debtor’s interest                                                   DELTA DENTAL OF ILLINOIS
                                                                                 111 SHUMAN BOULEVARD
           State the term remaining                                              NAPERVILLE, IL 60563

           List the contract number of
           any government contract

                                               LETTER AGREEMENT DATED:
      State what the contract or               05/13/2018                        DIVERSIFIED WASTE SOLUTIONS
2.133 lease is for and the nature                                                321 STEVENS ST SUITE A
      of the debtor’s interest                                                   GENEVA, IL 60134

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER PURCHASING AGREEMENT
      State what the contract or               DNV BUSINESS ASSURANCE DATED: DNV BUSINESS ASSURANCE USA, INC.
2.134 lease is for and the nature              02/01/2023                    1400 RAVELLO DRIVE
      of the debtor’s interest                                               KATY, TX 77449

           State the term remaining
           List the contract number of
           any government contract

                                               COMMERCIAL TERMS SUMMARY
      State what the contract or               DATED: 12/21/2022                 DOLE
2.135 lease is for and the nature                                                200 S Tyron St
      of the debtor’s interest                                                   Ste 600
                                                                                 Charlotte, NC 28202
           State the term remaining
           List the contract number of
           any government contract

                                               SPECIFICATION AND PRICING
      State what the contract or               COMMITMENT DATED: 12/21/2022      DOLE FRESH VEGETABLES, INC.
2.136 lease is for and the nature                                                P.O. BOX 2018
      of the debtor’s interest                                                   MONTEREY, CA 93942-2018

           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLY AGREEMENT DATED:
      State what the contract or               01/01/2008                        DOLE FRESH VEGETABLES, INC.
2.137 lease is for and the nature                                                2959 MONTEREY-SALINAS HIGHWAY
      of the debtor’s interest                                                   MONTEREY, CA 93940

           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLY AGREEMENT DATED:
      State what the contract or               07/01/2019                        DOLE FRESH VEGETABLES, INC.
2.138 lease is for and the nature                                                2959 MONTEREY-SALINAS HIGHWAY
      of the debtor’s interest                                                   MONTEREY, CA 93940

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PRICING AGREEMENT DATED:
      State what the contract or               01/01/2016                        DOLE FRESH VEGETABLES, INC.
2.139 lease is for and the nature                                                2959 MONTEREY SALINAS HIGHWAY
      of the debtor’s interest                                                   MONTEREY, CA 93940

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER FOOD INGREDIENT
      State what the contract or               PURCHASE AGREEMENT DATED:         DOLE FRESH VEGETABLES, INC.
2.140 lease is for and the nature              12/21/2022                        2959 MONTEREY-SALINAS HIGHWAY
      of the debtor’s interest                                                   MONTEREY, CA 93940

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREEMENT DATED:
      State what the contract or               06/02/2022                        DOMINO FOODS, INC.
2.141 lease is for and the nature                                                PO BOX 751945
      of the debtor’s interest                                                   CHARLOTTE, NC 28275-1945

           State the term remaining
           List the contract number of
           any government contract

                                               EXHIBIT A TO MERCHANDISE
      State what the contract or               LICENSE AGREEMENT DATED:          DREAMWORKS ANIMATION LICENSING, LLC
2.142 lease is for and the nature              12/01/2015                        1000 Flower St
      of the debtor’s interest                                                   Glendale, CA 91201-3007

           State the term remaining
           List the contract number of
           any government contract

                                               REBATE AGREEMENT DATED:
      State what the contract or               10/01/2019                        DUBAK ELECTRICAL GROUP
2.143 lease is for and the nature                                                10 BEACH AVENUE
      of the debtor’s interest                                                   LAGRANGE, IL 60526

           State the term remaining
           List the contract number of
           any government contract

                                               PRELIMINARY TERM SHEET DATED:
      State what the contract or               04/09/2018                    DYMATIZE ENTERPRISES, LLC.
2.144 lease is for and the nature                                            3200 COMMANDER DR
      of the debtor’s interest                                               STE 110
                                                                             CARROLLTON, TX 75006
           State the term remaining
           List the contract number of
           any government contract

                                               GLOBAL CORPORATE SERVICES
      State what the contract or               AGREEMENT DATED: 02/01/2020       EAN SERVICES, LLC
2.145 lease is for and the nature                                                ATTN BUSINESS RENTAL SALES DEPARTMENT
      of the debtor’s interest                                                   600 CORPORATE PARK DRIVE
                                                                                 ST. LOUIS, MO 63105
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 10/03/2018                 EARTH FARE INC.
2.146 lease is for and the nature                                                11 BROADWAY
      of the debtor’s interest                                                   NEW YORK, NY 10004

           State the term remaining
           List the contract number of
           any government contract

                                               CONTINGENCY FEE AGREEMENT
      State what the contract or               DATED: 09/01/2023                 ELITE EXECUTIVE PARTNERS LLC
2.147 lease is for and the nature                                                1119 4TH ST
      of the debtor’s interest                                                   SUITE 109
                                                                                 SIOUX CITY, IA 51101
           State the term remaining
           List the contract number of
           any government contract

                                               GENERAL STAFFING AGREEMENT
      State what the contract or               DATED: 09/01/2022                 ELITE EXECUTIVE PARTNERS LLC
2.148 lease is for and the nature                                                1119 4TH ST
      of the debtor’s interest                                                   SUITE 109
                                                                                 SIOUX CITY, IA 51101
           State the term remaining
           List the contract number of
           any government contract

                                               GUARANTY DATED: 06/02/2014
      State what the contract or                                                 EMIGRANT CAPITAL CORP.
2.149 lease is for and the nature                                                6 EAST 43RD STREET
      of the debtor’s interest                                                   20TH FLOOR
                                                                                 OFFICER, NY 10017
           State the term remaining
           List the contract number of
           any government contract

                                               AGREEMENT DATED: 10/08/2019
      State what the contract or                                                 EMPIRE MARKETING STRATEGIES, INC.
2.150 lease is for and the nature                                                11243 CORNELL PARK DRIVE
      of the debtor’s interest                                                   CINCINNATI, OH 45242

           State the term remaining
           List the contract number of
           any government contract

                                               BROKERAGE CONTRACT DATED:
      State what the contract or               06/01/2012                        ENDMARK SALES AND MARKETING, LLC.
2.151 lease is for and the nature                                                6335 WEST HONEYSUCKLE DRIVE
      of the debtor’s interest                                                   PHOENIX, AZ 85083

           State the term remaining
           List the contract number of
           any government contract

                                               PROFESSIONAL SERVICES
      State what the contract or               STATEMENT OF WORK DATED:          ENFORCE LLC
2.152 lease is for and the nature              05/09/2024                        1700 PACIFIC AVE, SUITE 4300
      of the debtor’s interest                                                   DALLAS, TX 75201

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PROFESSIONAL SERVICES
      State what the contract or               STATEMENT OF WORK DATED:          ENFORCE LLC
2.153 lease is for and the nature              08/14/2024                        1700 PACIFIC AVE, SUITE 4300
      of the debtor’s interest                                                   DALLAS, TX 75201

           State the term remaining
           List the contract number of
           any government contract

                                               STATEMENT OF WORK DATED:
      State what the contract or               07/22/2024                        ENFORCE LLC
2.154 lease is for and the nature                                                1700 PACIFIC AVE, SUITE 4300
      of the debtor’s interest                                                   DALLAS, TX 75201

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER SUPPLY AGREEMENT
      State what the contract or               DATED: 05/04/2022                 ESM PRODUCTS
2.155 lease is for and the nature                                                1151 ATLANTIC DRIVE
      of the debtor’s interest                                                   UNIT 1
                                                                                 WEST CHICAGO, IL 60185
           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLIER CONTACT UPDATE
      State what the contract or               DATED: 08/02/2011                 FAMILY DOLLAR
2.156 lease is for and the nature                                                PO BOX 2706
      of the debtor’s interest                                                   ATLANTA, GA 30374-2706

           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLIER AGREEMENT DATED:
      State what the contract or               08/01/2011                        FAMILY DOLLAR
2.157 lease is for and the nature                                                PO BOX 2706
      of the debtor’s interest                                                   ATLANTA, GA 30374-2706

           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLIER FINANCIAL UPDATE
      State what the contract or               DATED: 07/29/2011                 FAMILY DOLLAR
2.158 lease is for and the nature                                                PO BOX 2706
      of the debtor’s interest                                                   ATLANTA, GA 30374-2706

           State the term remaining
           List the contract number of
           any government contract

                                               SELLER AFFILIATION AGREEMENT
      State what the contract or               DATED: 10/01/2021                 FASTENAL COMPANY
2.159 lease is for and the nature                                                P.O. BOX 1286
      of the debtor’s interest                                                   WINONA, MN 55987-1289

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               TRANSPORTATION SERVICES
      State what the contract or               AGREEMTN DATED: 10/08/2022        FEDERAL EXPRESS CORPORATION
2.160 lease is for and the nature                                                1000 FEDEX DRIVE
      of the debtor’s interest                                                   CORAOPOLIS, PA 15108

           State the term remaining
           List the contract number of
           any government contract

                                               TRANSPORTATION SERVICES
      State what the contract or               AGREEMTN DATED: 10/08/2022        FEDEX FREIGHT, INC.
2.161 lease is for and the nature                                                1000 FEDEX DRIVE
      of the debtor’s interest                                                   CORAOPOLIS, PA 15108

           State the term remaining
           List the contract number of
           any government contract

                                               TRANSPORTATION SERVICES
      State what the contract or               AGREEMTN DATED: 10/08/2022        FEDEX GROUND PACKAGE SYSTEM, INC.
2.162 lease is for and the nature                                                1000 FEDEX DRIVE
      of the debtor’s interest                                                   CORAOPOLIS, PA 15108

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER SERVICE AGREEMENT
      State what the contract or               DATED: 08/01/2021                 FERGUSON ENTEPRISES, LLC
2.163 lease is for and the nature                                                12500 JEFFERSON AVENUE
      of the debtor’s interest                                                   NEWPORT NEWS, VA 23602

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER SUPPLY AGREEMENT
      State what the contract or               DATED: 08/01/2021                 FERGUSON ENTERPRISES, LLC
2.164 lease is for and the nature                                                12500 JEFFERSON AVENUE
      of the debtor’s interest                                                   NEWPORT NEWS, VA 23602

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING PRODUCT
      State what the contract or               AGREEMENT (LITTLE BROWNIE         FERRERO U.S.A., INC.
2.165 lease is for and the nature              BAKERS GIRL SCOUT COOKIES)        7 SYLVAN WAY
      of the debtor’s interest                 DATED: 06/01/2023                 PARSIPPANY, NJ 07054

           State the term remaining
           List the contract number of
           any government contract

                                               SUBJECT: LETTER OF INTENT
      State what the contract or               DATED: 07/07/2022                 FERRERO U.S.A., INC.
2.166 lease is for and the nature                                                7 SYLVAN WAY
      of the debtor’s interest                                                   PARSIPPANY, NJ 07054

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 08/22/2022       FERRERO U.S.A., INC.
2.167 lease is for and the nature                                                7 SYLVAN WAY
      of the debtor’s interest                                                   PARSIPPANY, NJ 07054

           State the term remaining
           List the contract number of
           any government contract

                                               LEASE AGREEMENT DATED:
      State what the contract or               07/26/2022                        FLOUR POWER (ID) LLC
2.168 lease is for and the nature                                                ATTN: LEGAL TRANSACTIONS DEPARTMENT
      of the debtor’s interest                                                   W. P. CAREY INC.
                                                                                 ONE MANHATTAN WEST
           State the term remaining                                              395 9TH AVENUE, 58TH FLOOR
                                                                                 NEW YORK, 10001
           List the contract number of
           any government contract

                                               LEASE AGREEMENT DATED:
      State what the contract or               07/26/2022                        FLOUR POWER (IL) LLC
2.169 lease is for and the nature                                                ATTN: LEGAL TRANSACTIONS DEPARTMENT
      of the debtor’s interest                                                   W. P. CAREY INC.
                                                                                 ONE MANHATTAN WEST
           State the term remaining                                              395 9TH AVENUE, 58TH FLOOR
                                                                                 NEW YORK, 10001
           List the contract number of
           any government contract

                                               LEASE AGREEMENT DATED:
      State what the contract or               07/26/2022                        FLOUR POWER (MULTI) LLC
2.170 lease is for and the nature                                                ATTN: LEGAL TRANSACTIONS DEPARTMENT
      of the debtor’s interest                                                   W. P. CAREY INC.
                                                                                 ONE MANHATTAN WEST
           State the term remaining                                              395 9TH AVENUE, 58TH FLOOR
                                                                                 NEW YORK, 10001
           List the contract number of
           any government contract

                                               LEASE AGREEMENT DATED:
      State what the contract or               07/26/2022                        FLOUR POWER (UT) LLC
2.171 lease is for and the nature                                                ATTN: LEGAL TRANSACTIONS DEPARTMENT
      of the debtor’s interest                                                   W. P. CAREY INC.
                                                                                 ONE MANHATTAN WEST
           State the term remaining                                              395 9TH AVENUE, 58TH FLOOR
                                                                                 NEW YORK, 10001
           List the contract number of
           any government contract

                                               REBATE LETTER AGREEMENT
      State what the contract or               DATED: 04/30/2023                 FLYNN BURNER CORPORATION
2.172 lease is for and the nature                                                225 MOORESVILLE BLVD, NC 28115
      of the debtor’s interest                                                   MOORESVILLE, NC 28115

           State the term remaining
           List the contract number of
           any government contract

                                               CLIENT SERVICE AGREEMENT
      State what the contract or               DATED: 07/08/2022                 FOCUS WORKFORCE MANAGMENT INC.
2.173 lease is for and the nature                                                PO BOX # 790379
      of the debtor’s interest                                                   ST. LOUIS, MO 63179

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               CONTRACT ADMINISTRATION
      State what the contract or               INTAKE FORM DATED: 05/25/2024      FOOD BANK OF SIOUXLAND, IA
2.174 lease is for and the nature                                                 1313 11TH ST #1
      of the debtor’s interest                                                    SIOUX CITY, IA 51105

           State the term remaining
           List the contract number of
           any government contract

                                               FULLY EXECUTED CONTRACT
      State what the contract or               DATED: 10/01/2022                  FOOD SAFETY NET SERVICES, LTD.
2.175 lease is for and the nature                                                 199 W. RHAPSODY
      of the debtor’s interest                                                    SAN ANTONIO, TX 78216

           State the term remaining
           List the contract number of
           any government contract

                                               SERVICES AGREEMENT DATED:
      State what the contract or               10/02/2022                         FOOD SAFETY NET SERVICES, LTD.
2.176 lease is for and the nature                                                 199 W. RHAPSODY
      of the debtor’s interest                                                    SAN ANTONIO, TX 78216

           State the term remaining
           List the contract number of
           any government contract

                                               TEMPORARY STAFFING SERVICES
      State what the contract or               AGREEMENT DATED: 09/13/2009        FORGE INDUSTRIAL STAFFING, INC
2.177 lease is for and the nature                                                 5011 28TH ST. SE
      of the debtor’s interest                                                    GRAND RAPIDS, MI 49512

           State the term remaining
           List the contract number of
           any government contract

                                               NON-SOLICIT/NON-HIRE
      State what the contract or               AGREEMENT DATED: 09/19/2017        FORGE INDUSTRIAL STAFFING, INC
2.178 lease is for and the nature                                                 5011 28TH ST. SE
      of the debtor’s interest                                                    GRAND RAPIDS, MI 49512

           State the term remaining
           List the contract number of
           any government contract

                                               GUARANTY DATED: 04/14/2014
      State what the contract or                                                  FORWARD FOODS, LLC
2.179 lease is for and the nature                                                 2310 S. CARSON STREET
      of the debtor’s interest                                                    SUITE 6
                                                                                  CARSON CITY, NV 89701
           State the term remaining
           List the contract number of
           any government contract

                                               GUARANTY DATED: 06/02/2014
      State what the contract or                                                  FORWARD FOODS, LLC
2.180 lease is for and the nature                                                 2310 S. CARSON STREET
      of the debtor’s interest                                                    SUITE 6
                                                                                  CARSON CITY, NV 89701
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               CORPORATE PROCEDURE DATED:
      State what the contract or               08/23/2018                        FRANK BRUNCKHORST CO., LLC.
2.181 lease is for and the nature                                                1819 Main St
      of the debtor’s interest                                                   Ste 800
                                                                                 Sarasota, FL 34236
           State the term remaining
           List the contract number of
           any government contract

                                               HEARTHSIDE 2023 SIGNED
      State what the contract or               FRANKLIN BAKER DATED: 01/01/2024 FRANKLIN BAKER, INC.
2.182 lease is for and the nature                                               3333 FINLEY RD.
      of the debtor’s interest                                                  SUITE 800
                                                                                DOWNERS GROVE, IL 60515
           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREEMENT DATED:
      State what the contract or               01/01/2023                        FRANKLIN BAKER, INC.
2.183 lease is for and the nature                                                8275 TOURNAMENT DRIVE
      of the debtor’s interest                                                   SUITE 305
                                                                                 MEMPHIS, TN 38125
           State the term remaining
           List the contract number of
           any government contract

                                               VENDOR'S HOLD HARMLESS AND
      State what the contract or               INDEMNITY AGREEMENT DATED:        FRED'S, INC
2.184 lease is for and the nature              12/20/2013                        4300 NEW GET WELL ROAD
      of the debtor’s interest                                                   MEMPHIS, TN 38118

           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLIER AGREEMENT DATED:
      State what the contract or               02/01/2013                        FRESH EXPRESS INCORPORATED
2.185 lease is for and the nature                                                607 BRUNKEN AVENUE
      of the debtor’s interest                                                   SALINAS, CA 93901

           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 05/11/2016                 FRESH THYME FARMERS MARKET
2.186 lease is for and the nature                                                2650 WARRENVILLE ROAD
      of the debtor’s interest                                                   DOWNERS GROVE, IL 60515

           State the term remaining
           List the contract number of
           any government contract

                                               FOURTH AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            FRITO- LAY, INC.
2.187 lease is for and the nature              AGREEMENT DATED: 03/06/2018       7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING DATED:     FRITO- LAY, INC.
2.188 lease is for and the nature              05/02/2017                   7701 LEGACY DRIVE
      of the debtor’s interest                                              PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           FRITO- LAY, INC.
2.189 lease is for and the nature              DATED: 06/30/2017                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING DATED:     FRITO- LAY, INC.
2.190 lease is for and the nature              05/02/2017                   7701 LEGACY DRIVE
      of the debtor’s interest                                              PLANO, TX 75024

           State the term remaining
           List the contract number of
           any government contract

                                               FIFTH AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           FRITO- LAY, INC.
2.191 lease is for and the nature              DATED: 07/19/2018                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           FRITO- LAY, INC.
2.192 lease is for and the nature              DATED: 06/30/2017                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               EXTENSION OF TERM DATED:
      State what the contract or               11/15/2018                        FRITO- LAY, INC.
2.193 lease is for and the nature                                                7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           FRITO- LAY, INC.
2.194 lease is for and the nature              DATED: 02/15/2018                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 07/28/2015       FRITO- LAY, INC.
2.195 lease is for and the nature                                                7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024

           State the term remaining
           List the contract number of
           any government contract

                                               SIXTH AMENDMENTTOCONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           FRITO- LAY, INC.
2.196 lease is for and the nature              DATED: 11/30/2018                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           FRITO- LAY, INC.
2.197 lease is for and the nature              DATED: 02/01/2018                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 07/29/2015       FRITO- LAY, INC.
2.198 lease is for and the nature                                                7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING EXHIBIT A-1: FRITO- LAY, INC.
2.199 lease is for and the nature              PROJECT LUIGI DATED: 07/03/2023 7701 LEGACY DRIVE
      of the debtor’s interest                                                 PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               SECOND AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            FRITO- LAY, INC.
2.200 lease is for and the nature              AGREEMENT DATED: 10/04/2017       555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               EXTENSION OF TERM DATED:
      State what the contract or               08/31/2018                        FRITO- LAY, INC.
2.201 lease is for and the nature                                                7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               TESTING AND PRODUCT
      State what the contract or               DEVELOPMENT PROJECT DETAILS       FRITO- LAY, INC.
2.202 lease is for and the nature              DATED: 01/09/2018                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024

           State the term remaining
           List the contract number of
           any government contract

                                               CO-PACK SALES AGREEMENT
      State what the contract or               DATED: 04/10/2009                 FRITO-LAY CANADA
2.203 lease is for and the nature                                                7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               SEVENTH AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            FRITO-LAY, INC.
2.204 lease is for and the nature              AGREEMENT DATED: 05/15/2020       7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING DATED:     FRITO-LAY, INC.
2.205 lease is for and the nature              05/02/2017                   7701 LEGACY DRIVE
      of the debtor’s interest                                              PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREEMENT REGARDING
      State what the contract or               ""TESTING AND PRODUCT           FRITO-LAY, INC.
2.206 lease is for and the nature              DEVELOPMENT"" DATED: 11/07/2013 ATTN IMAGING TECHNOLOGY-PEPSICO FSS
      of the debtor’s interest                                                 P.O. BOX 660740
                                                                               DALLAS, TX 75266-0740
           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT DATED:
      State what the contract or               01/01/2005                        FRITO-LAY, INC.
2.207 lease is for and the nature                                                7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               EXHIBIT A-5 TESTING AND PRODUCT
      State what the contract or               DEVELOPMENT PROJECT DETAILS FRITO-LAY, INC.
2.208 lease is for and the nature              DATED: 08/15/2014               FRITO LAY R&D
      of the debtor’s interest                                                 DOCK S
                                                                               7701 LEGACY DRIVE
           State the term remaining                                            PLANO, TX 75024

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               THIRD AMENDMENT DATED:
      State what the contract or               02/01/2018                        FRITO-LAY, INC.
2.209 lease is for and the nature                                                7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREMENT DATED:
      State what the contract or               09/25/2008                        FRITO-LAY, INC.
2.210 lease is for and the nature                                                55 STANDISH COURT.
      of the debtor’s interest                                                   7A FLOOR
                                                                                 MISSISSAUGA, ON L5R 4B2
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               TESTING AND PRODUCT
      State what the contract or               DEVELOPMENT PROJECT DETAILS       FRITO-LAY, INC.
2.211 lease is for and the nature              DATED: 11/07/2013                 ATTN IMAGING TECHNOLOGY PEPSICO FSS
      of the debtor’s interest                                                   P.O. BOX 660740
                                                                                 DALLAS, TX 75266-0740
           State the term remaining
           List the contract number of
           any government contract

                                               TESTING AND PRODUCT
      State what the contract or               DEVELOPMENT PROJECT DETAILS       FRITO-LAY, INC.
2.212 lease is for and the nature              DATED: 05/02/2017                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               CO-PACK SALES AGREEMENT
      State what the contract or               DATED: 04/10/2009                 FRITO-LAY, INC.
2.213 lease is for and the nature                                                7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               SIXTH AMENDMENT DATED:
      State what the contract or               11/30/2018                        FRITO-LAY, INC.
2.214 lease is for and the nature                                                7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO CO-PACK
      State what the contract or               SALES AGREEMENT DATED:            FRITO-LAY, INC.
2.215 lease is for and the nature              09/11/2013                        7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               FIRST AMENDMENT DATED:
      State what the contract or               10/24/2005                         FRITO-LAY, INC.
2.216 lease is for and the nature                                                 7701 LEGACY DRIVE
      of the debtor’s interest                                                    PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               AGREEMENT DATED: 09/01/2008        FULLBAR LLC
2.217 lease is for and the nature                                                 7315 E. ORCHARD ROAD
      of the debtor’s interest                                                    SUITE 100
                                                                                  GREENWOOD VILLAGE, CO 80111
           State the term remaining
           List the contract number of
           any government contract

                                               PROJECTS MIAMI AND TAMPA
      State what the contract or               DATED: 04/15/2021                  GENERAL MILLS INC.
2.218 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 04/25/2016
      State what the contract or                                                  GENERAL MILLS INC.
2.219 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               RELEASE AND SETTLEMENT
      State what the contract or               AGREEMENT DATED: 05/16/2013        GENERAL MILLS INC.
2.220 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               TECHNOLOGY LICENSE
      State what the contract or               AGREEMENT DATED: 01/18/2017        GENERAL MILLS INC.
2.221 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               TECHNOLOGY LICENSE
      State what the contract or               AGREEMENT DATED: 10/31/2022        GENERAL MILLS INC.
2.222 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               EXHIBIT A-GENERAL-MILLS
      State what the contract or               PURCHASE ORDER TERMS AND           GENERAL MILLS INC.
2.223 lease is for and the nature              CONDITIONS DATED: 01/00/1900       NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               PROTOTYPE DEVELOPMENT
      State what the contract or               AGREEMENT TERMS SHEET DATED: GENERAL MILLS OPERATION, INC
2.224 lease is for and the nature              09/12/2007                   NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                              MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SEVENTH AMENDMENT TO EXHIBITS
      State what the contract or               A-1, A-2 AND A-4 TO SCHEDULE 34 GENERAL MILLS OPERATIONS LLC
2.225 lease is for and the nature              DATED: 07/01/2017               NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                 MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               PURCHASE AGREEMENT DATED:
      State what the contract or               06/01/2012                         GENERAL MILLS OPERATIONS LLC
2.226 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO SCHEDULE
      State what the contract or               49 DATED: 03/01/2017               GENERAL MILLS OPERATIONS LLC
2.227 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 03/05/2018
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.228 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               HSF PROJECT COST ESTIMATE
      State what the contract or               DATED: 03/21/2016                  GENERAL MILLS OPERATIONS LLC
2.229 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               AMENDMENT DATED: 06/01/2013
      State what the contract or                                                 GENERAL MILLS OPERATIONS LLC
2.230 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIFTH AMENDMENT TO SCHEDULE
      State what the contract or               VIII DATED: 08/17/2016            GENERAL MILLS OPERATIONS LLC
2.231 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               MATERIALS OVERUSE DATED:
      State what the contract or               01/01/2015                        GENERAL MILLS OPERATIONS LLC
2.232 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIFTH AMENDMENT TO SCHEDULE
      State what the contract or               26 DATED: 10/01/2017              GENERAL MILLS OPERATIONS LLC
2.233 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               REIMBURSMENT DATED: 08/29/2016
      State what the contract or                                                 GENERAL MILLS OPERATIONS LLC
2.234 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 59 TO THE CONTRACT
      State what the contract or               PACKAGING.AGREEMENT DATED:        GENERAL MILLS OPERATIONS LLC
2.235 lease is for and the nature              02/01/2017                        NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 33 TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT AS            GENERAL MILLS OPERATIONS LLC
2.236 lease is for and the nature              AMENDED DATED: 06/01/2014         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               FIFTH AMENDMENT TO EXHIBIT A-3
      State what the contract or               TO SCHEDULE 36 DATED: 12/01/2017 GENERAL MILLS OPERATIONS LLC
2.237 lease is for and the nature                                               NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                  MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIFTH AMENDMENT TO SCHEDULE
      State what the contract or               44 DATED: 06/01/2021               GENERAL MILLS OPERATIONS LLC
2.238 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SECOND AMENDMENT TO
      State what the contract or               SCHEDULE 2 DATED: 06/01/2016       GENERAL MILLS OPERATIONS LLC
2.239 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SECOND AMENDMENT TO EXHIBIT
      State what the contract or               A-3 TO SCHEDULE 36 DATED:          GENERAL MILLS OPERATIONS LLC
2.240 lease is for and the nature              05/10/2017                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO SCHEDULE
      State what the contract or               28 DATED: 02/01/2016               GENERAL MILLS OPERATIONS LLC
2.241 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 01/09/2019
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.242 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT RO SCHEDULE
      State what the contract or               11 DATED: 10/01/2017               GENERAL MILLS OPERATIONS LLC
2.243 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               FIRST AMENDMENT TO SCHEDULE
      State what the contract or               61 DATED: 12/06/2017              GENERAL MILLS OPERATIONS LLC
2.244 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING
      State what the contract or               AGREEMENT DATED APRIL 1, 2007     GENERAL MILLS OPERATIONS LLC
2.245 lease is for and the nature              (THE ""AGREEMENT""). DATED:       NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                 04/25/2016                        MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER SERVICES AGREEMENT
      State what the contract or               DATED: 04/11/2013                 GENERAL MILLS OPERATIONS LLC
2.246 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRSTAMENDMENT TO SCHEDULE49
      State what the contract or               DATED: 04/01/2017            GENERAL MILLS OPERATIONS LLC
2.247 lease is for and the nature                                           NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                              MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:        GENERAL MILLS OPERATIONS LLC
2.248 lease is for and the nature              01/10/2017                        NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               EXHIBIT A PROJECT AGREEMENT
      State what the contract or               DATED: 04/11/2013                 GENERAL MILLS OPERATIONS LLC
2.249 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO SCHEDULE
      State what the contract or               70 DATED: 12/03/2021              GENERAL MILLS OPERATIONS LLC
2.250 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PURCHASE AGREEMENT DATED:
      State what the contract or               06/01/2016                        GENERAL MILLS OPERATIONS LLC
2.251 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               PURCHASE AGREEMENT DATED:
      State what the contract or               06/01/2012                        GENERAL MILLS OPERATIONS LLC
2.252 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 62 TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:        GENERAL MILLS OPERATIONS LLC
2.253 lease is for and the nature              06/01/2018                        NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 48 TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT AS            GENERAL MILLS OPERATIONS LLC
2.254 lease is for and the nature              AMENDED DATED: 06/01/2015         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OF INTENT DATED:
      State what the contract or               08/27/2010                        GENERAL MILLS OPERATIONS LLC
2.255 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING
      State what the contract or               AGREEMENT DATED: 03/01/2014       GENERAL MILLS OPERATIONS LLC
2.256 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 60 TO THE CONTRACT
      State what the contract or               PACKAGING.AGREEMENT DATED:        GENERAL MILLS OPERATIONS LLC
2.257 lease is for and the nature              03/01/2017                        NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               SCHEDULE 58 TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:         GENERAL MILLS OPERATIONS LLC
2.258 lease is for and the nature              06/01/2016                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 66TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:         GENERAL MILLS OPERATIONS LLC
2.259 lease is for and the nature              04/01/2018                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO SCHEDULE 28
      State what the contract or               DATED: 06/01/2014                  GENERAL MILLS OPERATIONS LLC
2.260 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 03/16/2017
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.261 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE61TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:         GENERAL MILLS OPERATIONS LLC
2.262 lease is for and the nature              03/01/2017                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 2 TOLL REDUCTION
      State what the contract or               CALCULATION DATED: 06/29/2015      GENERAL MILLS OPERATIONS LLC
2.263 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO SCHEDULE
      State what the contract or               DATED: 11/11/2017                  GENERAL MILLS OPERATIONS LLC
2.264 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               COLUMBIAN WAREHOUSE DATED:
      State what the contract or               05/24/2019                        GENERAL MILLS OPERATIONS LLC
2.265 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               DRAFT 01/22/15 FIRST AMENDMENT
      State what the contract or               TO SCHEDULE 3 DATED: 01/22/2015 GENERAL MILLS OPERATIONS LLC
2.266 lease is for and the nature                                              NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                 MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               ASSET PURCHASE TRANSACTION
      State what the contract or               DATED: 11/14/2011                 GENERAL MILLS OPERATIONS LLC
2.267 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 65 TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:        GENERAL MILLS OPERATIONS LLC
2.268 lease is for and the nature              06/01/2007                        NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE52TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:        GENERAL MILLS OPERATIONS LLC
2.269 lease is for and the nature              11/11/2015                        NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               PURCHASE AGREEMENT DATED:
      State what the contract or               12/01/2013                        GENERAL MILLS OPERATIONS LLC
2.270 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO SERVICE
      State what the contract or               LEVEL AGREEMENT DATED:            GENERAL MILLS OPERATIONS LLC
2.271 lease is for and the nature              02/02/2023                        NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               LETTER DATED: 05/11/2018
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.272 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               1ST AMENDMENT DATED: 06/01/2012
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.273 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SERVICE LEVEL AGREEMENT
      State what the contract or               (SALTY) DATED: 06/01/2023          GENERAL MILLS OPERATIONS LLC
2.274 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               EXTERNAL SUPPLY CHAIN
      State what the contract or               PURCHASE AGREEMENT DATED:          GENERAL MILLS OPERATIONS LLC
2.275 lease is for and the nature              05/01/2017                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 67TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:         GENERAL MILLS OPERATIONS LLC
2.276 lease is for and the nature              06/01/2019                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE49 TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:         GENERAL MILLS OPERATIONS LLC
2.277 lease is for and the nature              08/01/2015                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING
      State what the contract or               AGREEMENT DATED: 04/01/2017        GENERAL MILLS OPERATIONS LLC
2.278 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               SCHEDULE 64TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:         GENERAL MILLS OPERATIONS LLC
2.279 lease is for and the nature              05/01/2017                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 39 TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENTDATED:          GENERAL MILLS OPERATIONS LLC
2.280 lease is for and the nature              06/01/2013                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OFLNTENT -GRAND RAPIDS
      State what the contract or               WAREHOUSE PROJECT TEMPE       GENERAL MILLS OPERATIONS LLC
2.281 lease is for and the nature              DATED: 12/31/2017             1 GENERAL MILLS BLVD
      of the debtor’s interest                                               MINNEAPOLIS, MN 55426-1347

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 34TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:         GENERAL MILLS OPERATIONS LLC
2.282 lease is for and the nature              10/01/2014                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FOURTH AMENDMENT TO
      State what the contract or               SCHEDULE 26 DATED: 10/01/2016      GENERAL MILLS OPERATIONS LLC
2.283 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 2 TOLL REDUCTION
      State what the contract or               CALCULATION DATED: 06/29/2015      GENERAL MILLS OPERATIONS LLC
2.284 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT DATED: 04/09/2009
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.285 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               AMENDMENT #8 DATED: 09/01/2014
      State what the contract or                                                 GENERAL MILLS OPERATIONS LLC
2.286 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FOURTH AMENDMENT TO EXHIBJTS
      State what the contract or               A-1, A-2 AND A-4 TO SCHEDULE 34 GENERAL MILLS OPERATIONS LLC
2.287 lease is for and the nature              DATED: 12/13/2016               NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                 MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               MATERIALS OVERUSE DATED:
      State what the contract or               01/01/2015                        GENERAL MILLS OPERATIONS LLC
2.288 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO SCHEDULE
      State what the contract or               60 DATED: 02/01/2018              GENERAL MILLS OPERATIONS LLC
2.289 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SEVENTH AMENDMENT TO EXHIBIT
      State what the contract or               A TO SCHEDULE 34 DATED:           GENERAL MILLS OPERATIONS LLC
2.290 lease is for and the nature              05/01/2017                        NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO SCHEDULE
      State what the contract or               36 DATED: 11/01/2017              GENERAL MILLS OPERATIONS LLC
2.291 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 60 CONTRACT PACKING
      State what the contract or               AGREEMENT DATED: 08/01/2016  GENERAL MILLS OPERATIONS LLC
2.292 lease is for and the nature                                           NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                              MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               SCHEDULE 12 TO CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:         GENERAL MILLS OPERATIONS LLC
2.293 lease is for and the nature              10/01/2017                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO SCHEDULE
      State what the contract or               46 DATED: 03/01/2017               GENERAL MILLS OPERATIONS LLC
2.294 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO EXHIBIT A-3
      State what the contract or               TO SCHEDULE 36 DATED: 08/01/2017 GENERAL MILLS OPERATIONS LLC
2.295 lease is for and the nature                                               NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                  MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 05/31/2017
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.296 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 59 TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:         GENERAL MILLS OPERATIONS LLC
2.297 lease is for and the nature              02/01/2017                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE34EXHIBIT A-4EXHIBIT A-4
      State what the contract or               AS AMENDED DATED: 01/01/2015     GENERAL MILLS OPERATIONS LLC
2.298 lease is for and the nature                                               NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                  MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               EIGHTH AMENDMENT TO EXHIBITS
      State what the contract or               A-1, A-2 AND A-4 TO SCHEDULE 34    GENERAL MILLS OPERATIONS LLC
2.299 lease is for and the nature              DATED: 09/01/2017                  NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               LETTER DATED: 05/31/2017
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.300 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 08/29/2016
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.301 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO SCHEDULE
      State what the contract or               45 DATED: 12/14/2016               GENERAL MILLS OPERATIONS LLC
2.302 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT DATED: 03/01/2012
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.303 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OF INTENT -GRAND RAPIDS
      State what the contract or               WAREHOUSE PROJECT TEMPE        GENERAL MILLS OPERATIONS LLC
2.304 lease is for and the nature              DATED: 03/22/2017              1 GENERAL MILLS BLVD
      of the debtor’s interest                                                MINNEAPOLIS, MN 55426-1347

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 36 EXHIBIT A-6 AS
      State what the contract or               AMENDED DATED: 07/01/2016          GENERAL MILLS OPERATIONS LLC
2.305 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OF INTENT -GRAND RAPIDS
      State what the contract or               WAREHOUSE PROJECT TEMPE        GENERAL MILLS OPERATIONS LLC
2.306 lease is for and the nature              DATED: 03/22/2017              NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               SCHEDULE 37 TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT AS            GENERAL MILLS OPERATIONS LLC
2.307 lease is for and the nature              AMENDED DATED: 06/01/2014         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               CONTINUING GUARANTY DATED:
      State what the contract or               08/17/2010                        GENERAL MILLS OPERATIONS LLC
2.308 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               PURCHASE AGREEMENT DATED:
      State what the contract or               06/01/2011                        GENERAL MILLS OPERATIONS LLC
2.309 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FOURTH AMENDMENT TO EXHIBIT
      State what the contract or               A-3 TO SCHEDULE 36 DATED:         GENERAL MILLS OPERATIONS LLC
2.310 lease is for and the nature              10/01/2017                        NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO SCHEDULE
      State what the contract or               63 DATED: 01/01/2018              GENERAL MILLS OPERATIONS LLC
2.311 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT #2 TO SCHEDULE VIII
      State what the contract or               DATED: 06/01/2014                 GENERAL MILLS OPERATIONS LLC
2.312 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FOURTH AMENDMENT TO EXHIBIT A
      State what the contract or               TO SCHEDULE 34 DATED: 11/21/2016 GENERAL MILLS OPERATIONS LLC
2.313 lease is for and the nature                                               NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                  MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               SECOND AMENDMENT TO
      State what the contract or               SCHEDULE 49 DATED: 06/01/2019      GENERAL MILLS OPERATIONS LLC
2.314 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO SCHEDULE
      State what the contract or               62 DATED: 06/01/2018               GENERAL MILLS OPERATIONS LLC
2.315 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO SCHEDULE
      State what the contract or               44 DATED: 09/01/2017               GENERAL MILLS OPERATIONS LLC
2.316 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO SCHEDULE 7
      State what the contract or               DATED: 06/01/2017             GENERAL MILLS OPERATIONS LLC
2.317 lease is for and the nature                                            NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                               MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING
      State what the contract or               AGREEMENT DATED: 04/01/2007        GENERAL MILLS OPERATIONS LLC
2.318 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 07/19/2016
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.319 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING
      State what the contract or               AGREEMENT DATED: 06/01/2007        GENERAL MILLS OPERATIONS LLC
2.320 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               SUMMARY OF CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:         GENERAL MILLS OPERATIONS LLC
2.321 lease is for and the nature              06/01/2008                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING
      State what the contract or               AGREEMENT DATED: 06/01/2008        GENERAL MILLS OPERATIONS LLC
2.322 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FIFTH AMENDMENT TO SCHEDULE
      State what the contract or               44 DATED: 06/01/2021               GENERAL MILLS OPERATIONS LLC
2.323 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SECOND AMENDMENT TO
      State what the contract or               SCHEDULE 36 DATED: 02/25/2021      GENERAL MILLS OPERATIONS LLC
2.324 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 41 TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:         GENERAL MILLS OPERATIONS LLC
2.325 lease is for and the nature              06/01/2014                         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               CERTIFIED/RETURN RECEIPT AS
      State what the contract or               AMENDED DATED: 09/17/2010          GENERAL MILLS OPERATIONS LLC
2.326 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               CAPITAL REIMBURSEMENT
      State what the contract or               AGREEMENT (HFS/CEREAL/DUST         GENERAL MILLS OPERATIONS LLC
2.327 lease is for and the nature              HOOD) DATED: 01/31/2023            NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               FIRST AMENDMENT TO SCHEDULE
      State what the contract or               58 DATED: 05/01/2018               GENERAL MILLS OPERATIONS LLC
2.328 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               FOURTH AMENDMENT TO
      State what the contract or               CONTRACT PACKAGING                 GENERAL MILLS OPERATIONS LLC
2.329 lease is for and the nature              AGREEMENT DATED: 06/01/2018        NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT #1TO SCHEDULE 26
      State what the contract or               DATED: 03/01/2015                  GENERAL MILLS OPERATIONS LLC
2.330 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               AGREEMENT AND MUTUAL
      State what the contract or               RELEASE DATED: 02/16/2012          GENERAL MILLS OPERATIONS LLC
2.331 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT DATED: 03/20/2012
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.332 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 10/10/2016
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.333 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 12/01/2016
      State what the contract or                                                  GENERAL MILLS OPERATIONS LLC
2.334 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               SCHEDULE 10 TO CONTRACT
      State what the contract or               PACKAGING AGREEMENT DATED:        GENERAL MILLS OPERATIONS LLC
2.335 lease is for and the nature              11/01/2016                        NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 50 TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT AS            GENERAL MILLS OPERATIONS, LLC
2.336 lease is for and the nature              AMENDED DATED: 07/01/2015         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 45 TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT AS            GENERAL MILLS OPERATIONS, LLC
2.337 lease is for and the nature              AMENDED DATED: 03/01/2015         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE II TO THE CONTRACT
      State what the contract or               PACKAGING AGREEMENT AS            GENERAL MILLS OPERATIONS, LLC
2.338 lease is for and the nature              AMENDED DATED: 06/01/2010         NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING
      State what the contract or               AGREEMENT DATED: 06/01/2019       GENERAL MILLS OPERATIONS, LLC
2.339 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLY CHAIN PURCHASE
      State what the contract or               AGREEMENT AS AMENDED DATED:       GENERAL MILLS OPERATIONS, LLC
2.340 lease is for and the nature              05/31/2024                        ATTENTION: ESC DIRECTOR
      of the debtor’s interest                                                   GENERAL MILLS OPERATIONS, LLC
                                                                                 ONE GENERAL MILLS BOULEVARD
           State the term remaining                                              MINNEAPOLIS, MN 55426

           List the contract number of
           any government contract

                                               CONTRACT PACKAGING
      State what the contract or               AGREEMENT DATED: 06/01/2016       GENERAL MILLS OPERATIONS, LLC
2.341 lease is for and the nature                                                NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               CONTRACT PACKAGING
      State what the contract or               AGREEMENT DATED: 06/01/2017        GENERAL MILLS OPERATIONS, LLC
2.342 lease is for and the nature                                                 NUMBER ONE GENERAL MILLS BOULEVARD
      of the debtor’s interest                                                    MINNEAPOLIS, MN 55426

           State the term remaining
           List the contract number of
           any government contract

                                               SCHEDULE 12 TO CONTRACT
      State what the contract or               PACKAGING AGREEMENT AS             GENERAL MILLS OPERATIONS, LLC (“GMOL”)
2.343 lease is for and the nature              AMENDED DATED: 10/01/2017          GENERAL MILLS OPERATIONS LLC
      of the debtor’s interest                                                    NUMBER ONE GENERAL MILLS BOULEVARD
                                                                                  MINNEAPOLIS, MN 55426
           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLY AGREEMENT DATED:
      State what the contract or               10/01/2018                         GERBER PRODUCTS COMPANY
2.344 lease is for and the nature                                                 12 VREELAND ROAD
      of the debtor’s interest                                                    2ND FLOOR
                                                                                  BOX 697
           State the term remaining                                               FLORHAM PARK, NJ 07932

           List the contract number of
           any government contract

                                               SUPPLY AGREEMENT DATED:
      State what the contract or               10/01/2013                         GERBER PRODUCTS COMPANY
2.345 lease is for and the nature                                                 12 VREELAND ROAD
      of the debtor’s interest                                                    2ND FLOOR
                                                                                  BOX 697
           State the term remaining                                               FLORHAM PARK, NJ 07932

           List the contract number of
           any government contract

                                               CA. GS HEART OF CENTRAL
      State what the contract or               CALIFORNIA 2025-2028 DATED:        GIRL SCOUTS HEART OF CENTRAL CALIFORNIA
2.346 lease is for and the nature              10/15/2023                         6601 ELVAS AVE
      of the debtor’s interest                                                    SACRAMENTO, CA 95819

           State the term remaining
           List the contract number of
           any government contract

                                               PA. GS HEART OF PENNSYLVANIA
      State what the contract or               2023-2026 DATED: 01/31/2022        GIRL SCOUTS HEART OF PENNSYLVANIA
2.347 lease is for and the nature                                                 4640 TRINDLE RD
      of the debtor’s interest                                                    CAMP HILL, PA 17011

           State the term remaining
           List the contract number of
           any government contract

                                               PA. GS HEART OF PENNSYLVANIA
      State what the contract or               2025-2026-PRICE ADJUSTMENT         GIRL SCOUTS HEART OF PENNSYLVANIA
2.348 lease is for and the nature              DATED: 01/14/2022                  4640 TRINDLE RD
      of the debtor’s interest                                                    CAMP HILL, PA 17011

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               LA. GS OF LOUSIANA EAST
      State what the contract or               2022-2025_ DATED: 05/21/2024       GIRL SCOUTS LOUISIANA EAST
2.349 lease is for and the nature                                                 310 W EASTBANK EXT
      of the debtor’s interest                                                    STE 4
                                                                                  GONZALES, LA 70737
           State the term remaining
           List the contract number of
           any government contract

                                               NE GIRL SCOUTS SPIRIT OF
      State what the contract or               NEBRASKA 2025-2028 DATED:          GIRL SCOUTS MICHIGAN SHORE TO SHORE
2.350 lease is for and the nature              10/15/2023                         3275 WALKER AVE NW
      of the debtor’s interest                                                    GRAND RAPIDS, MI 49544

           State the term remaining
           List the contract number of
           any government contract

                                               MI GS OF MICHIGAN SHORE TO
      State what the contract or               SHORE 2025-2028 DATED: 10/15/2023 GIRL SCOUTS MICHIGAN SHORE TO SHORE
2.351 lease is for and the nature                                                3275 WALKER AVE NW
      of the debtor’s interest                                                   GRAND RAPIDS, MI 49544

           State the term remaining
           List the contract number of
           any government contract

                                               NC. GS OF NORTH CAROLINA
      State what the contract or               COASTAL PINES 2025 -2029 DATED:    GIRL SCOUTS NORTH CAROLINA COASTAL PINE
2.352 lease is for and the nature              06/01/2024                         6901 PINECREST RD
      of the debtor’s interest                                                    RALEIGH, NC 27613

           State the term remaining
           List the contract number of
           any government contract

                                               IN. GS OF NORTHERN
      State what the contract or               INDIANA-MICHIANA 2025-2028         GIRL SCOUTS NORTHERN INDIANA-MICHIANA
2.353 lease is for and the nature              DATED: 10/15/2023                  10008 DUPONT CIR DR E
      of the debtor’s interest                                                    FORT WAYNE, IN 46825

           State the term remaining
           List the contract number of
           any government contract

                                               CA. GS OF CENTRAL CALIFORNIA
      State what the contract or               SOUTH 2025-2028 DATED: 10/15/2023 GIRL SCOUTS OF CENTRAL CALIFORNIA SOUTH
2.354 lease is for and the nature                                                1377 W SHAW AVE
      of the debtor’s interest                                                   FRESNO, CA 93711

           State the term remaining
           List the contract number of
           any government contract

                                               IL GS OF CENTRAL IL 2025-2028
      State what the contract or               DATED: 11/27/2023                  GIRL SCOUTS OF CENTRAL ILLINOIS
2.355 lease is for and the nature                                                 3020 BAKER DR
      of the debtor’s interest                                                    SPRINGFIELD, IL 62703

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               TX. GS OF CENTRAL TEXAS
      State what the contract or               2025-2028 DATED: 06/01/2024        GIRL SCOUTS OF CENTRAL TEXAS
2.356 lease is for and the nature                                                 12012 PARK THIRTY FIVE CIR
      of the debtor’s interest                                                    AUSTIN, TX 78753

           State the term remaining
           List the contract number of
           any government contract

                                               MA. GS OF EASTERN
      State what the contract or               MASSACHUSETTS - 2023-2025_         GIRL SCOUTS OF EASTERN MASSACHUSETTS
2.357 lease is for and the nature              DATED: 05/20/2022                  265 BEAVER STREET
      of the debtor’s interest                                                    WALTHAM, MA 02452

           State the term remaining
           List the contract number of
           any government contract

                                               PA GS OF EASTERN PENNSYLVANIA
      State what the contract or               2025-2028 DATED: 06/01/2024   GIRL SCOUTS OF EASTERN PENNSYLVANIA
2.358 lease is for and the nature                                            330 MANOR RD
      of the debtor’s interest                                               MIQUON (LAFAYETTE HILL), PA 19444

           State the term remaining
           List the contract number of
           any government contract

                                               IA GS OF GREATER IOWA 2025-2027
      State what the contract or               DATED: 11/03/2023               GIRL SCOUTS OF GREATER IOWA
2.359 lease is for and the nature                                              10715 HICKMAN RD
      of the debtor’s interest                                                 DES MOINES, IA 50322

           State the term remaining
           List the contract number of
           any government contract

                                               CA. GS OF NORTHERN CALIFORNIA
      State what the contract or               2025-2028 DATED: 01/29/2024   GIRL SCOUTS OF NORTHERN CALIFORNIA
2.360 lease is for and the nature                                            ATTN BRI SEOANE CEO
      of the debtor’s interest                                               1301 MARINA VILLAGE PARKWAY
                                                                             SUITE 200
           State the term remaining                                          ALAMEDA, CA 94501

           List the contract number of
           any government contract

                                               WI. GS OF THE NORTHWESTERN
      State what the contract or               GREAT LAKES 2025-2028_ DATED:      GIRL SCOUTS OF NORTHWESTERN GREAT LAKES
2.361 lease is for and the nature              10/15/2023                         4693 N LYNNDALE DR
      of the debtor’s interest                                                    APPLETON, WI 54913

           State the term remaining
           List the contract number of
           any government contract

                                               CA. GS OF ORANGE COUNTY
      State what the contract or               2025-2028 DATED: 06/01/2024        GIRL SCOUTS OF ORANGE COUNTY
2.362 lease is for and the nature                                                 9500 TOLEDO WAY
      of the debtor’s interest                                                    STE 100
                                                                                  IRVINE, CA 92618
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               NV. GS OF SOUTHERN NEVADA
      State what the contract or               2025-2027 DATED: 12/15/2023        GIRL SCOUTS OF SOUTHERN NEVADA
2.363 lease is for and the nature                                                 2941 E Harris Ave
      of the debtor’s interest                                                    Las Vegas, NV 89101

           State the term remaining
           List the contract number of
           any government contract

                                               OR GS OF OREGON AND
      State what the contract or               SOUTHWEST WASHINGTON               GIRL SCOUTS OF SOUTHWEST INDIANA
2.364 lease is for and the nature              2025-2028 DATED: 06/10/2024        5000 E VIRGINIA ST
      of the debtor’s interest                                                    STE 2
                                                                                  EVANSVILLE, IN 47715
           State the term remaining
           List the contract number of
           any government contract

                                               TX. GS OF TEXAS OKLAHOMA
      State what the contract or               PLAINS 2025-2028 DATED: 10/20/2023 GIRL SCOUTS OF TEXAS OKLAHOMA PLAINS
2.365 lease is for and the nature                                                 4901 BRIARHAVEN RD
      of the debtor’s interest                                                    FORT WORTH, TX 76109

           State the term remaining
           List the contract number of
           any government contract

                                               VA. GS OF THE COMMONWEALTH
      State what the contract or               OF VIRGINIA 2025-2028 DATED:       Girl Scouts of the Commonwealth of Virginia
2.366 lease is for and the nature              10/20/2023                         4900 Augusta Ave
      of the debtor’s interest                                                    Ste 200
                                                                                  Richmond, VA 23230
           State the term remaining
           List the contract number of
           any government contract

                                               NV. GS OF THE SIERRA NV
      State what the contract or               2024-2027 DATED: 12/31/2022        GIRL SCOUTS OF THE SIERRA NEVADA
2.367 lease is for and the nature                                                 605 WASHINGTON ST
      of the debtor’s interest                                                    RENO, NV 89503

           State the term remaining
           List the contract number of
           any government contract

                                               UT. GS OF UTAH 2024-2027 DATED:
      State what the contract or               04/28/2023                         Girl Scouts of Utah
2.368 lease is for and the nature                                                 445 E 4500 S
      of the debtor’s interest                                                    Salt Lake City, UT 84107

           State the term remaining
           List the contract number of
           any government contract

                                               NY. GS OF WESTERN NEW YORK
      State what the contract or               2024-2027_ DATED: 03/01/2023       GIRL SCOUTS OF WESTERN NEW YORK
2.369 lease is for and the nature                                                 4433 GENESEE STREET
      of the debtor’s interest                                                    SUITE 101
                                                                                  BUFFALO, NY 14225
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               WI. GS OF BADGERLAND COUNCIL
      State what the contract or               2024-2027 DATED: 12/31/2022        GIRL SCOUTS OF WISCONSIN BADGERLAND
2.370 lease is for and the nature                                                 4801 S BILTMORE LANE
      of the debtor’s interest                                                    MADISON, WI 53718

           State the term remaining
           List the contract number of
           any government contract

                                               CA. GS OF SAN DIEGO 2025-2028
      State what the contract or               DATED: 06/05/2024                  Girl Scouts San Diego
2.371 lease is for and the nature                                                 1231 Upas St
      of the debtor’s interest                                                    San Diego, CA 92103

           State the term remaining
           List the contract number of
           any government contract

                                               ID GS OF SILVER SAGE 2023-2026
      State what the contract or               DATED: 07/08/2022                  GIRL SCOUTS SILVER SAGE COUNCIL
2.372 lease is for and the nature                                                 1410 N EHERIDGE LN
      of the debtor’s interest                                                    BOISE, ID 83704

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 06/01/2008
      State what the contract or                                                  GLOBAL NEW BEGINNINGS, INC.
2.373 lease is for and the nature                                                 804 CEDAR PARKWAY
      of the debtor’s interest                                                    SCHERERVILLE, IN 46375

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT DATED:
      State what the contract or               02/01/2018                         GOLDEN GRAIN COMPANY
2.374 lease is for and the nature                                                 7701 LEGACY DRIVE
      of the debtor’s interest                                                    PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING EXHIBIT A-1: GOLDEN GRAIN COMPANY
2.375 lease is for and the nature              PROJECT LUIGI DATED: 07/03/2023 7701 LEGACY DRIVE
      of the debtor’s interest                                                 PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT            GOLDEN GRAIN COMPANY
2.376 lease is for and the nature              DATED: 06/30/2017                  7701 LEGACY DRIVE
      of the debtor’s interest                                                    PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           GOLDEN GRAIN COMPANY
2.377 lease is for and the nature              DATED: 02/01/2018                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024

           State the term remaining
           List the contract number of
           any government contract

                                               TESTING AND PRODUCT
      State what the contract or               DEVELOPMENT PROJECT DETAILS       GOLDEN GRAIN COMPANY
2.378 lease is for and the nature              DATED: 05/02/2017                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           GOLDEN GRAIN COMPANY
2.379 lease is for and the nature              DATED: 06/30/2017                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               FOURTH AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            GOLDEN GRAIN COMPANY
2.380 lease is for and the nature              AGREEMENT DATED: 03/06/2018       7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING DATED:     GOLDEN GRAIN COMPANY
2.381 lease is for and the nature              05/02/2017                   7701 LEGACY DRIVE
      of the debtor’s interest                                              PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 07/28/2015       GOLDEN GRAIN COMPANY
2.382 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               EXTENSION OF TERM DATED:
      State what the contract or               11/15/2018                        GOLDEN GRAIN COMPANY
2.383 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               SIXTH AMENDMENTTOCONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           GOLDEN GRAIN COMPANY
2.384 lease is for and the nature              DATED: 11/30/2018                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 07/29/2015       GOLDEN GRAIN COMPANY
2.385 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           GOLDEN GRAIN COMPANY
2.386 lease is for and the nature              DATED: 02/15/2018                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024

           State the term remaining
           List the contract number of
           any government contract

                                               EXTENSION OF TERM DATED:
      State what the contract or               08/31/2018                        GOLDEN GRAIN COMPANY
2.387 lease is for and the nature                                                7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               SIXTH AMENDMENT DATED:
      State what the contract or               11/30/2018                        GOLDEN GRAIN COMPANY
2.388 lease is for and the nature                                                7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               FIFTH AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           GOLDEN GRAIN COMPANY
2.389 lease is for and the nature              DATED: 07/19/2018                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               SEVENTH AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            GOLDEN GRAIN COMPANY
2.390 lease is for and the nature              AGREEMENT DATED: 05/15/2020       7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               SECOND AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            GOLDEN GRAIN COMPANY
2.391 lease is for and the nature              AGREEMENT DATED: 10/04/2017       7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING DATED:     GOLDEN GRAIN COMPANY
2.392 lease is for and the nature              05/02/2017                   7701 LEGACY DRIVE
      of the debtor’s interest                                              PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               TESTING AND PRODUCT
      State what the contract or               DEVELOPMENT PROJECT DETAILS       GOLDEN GRAIN COMPANY
2.393 lease is for and the nature              DATED: 01/09/2018                 7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING SERVICE
      State what the contract or               AND SUPPLY AGREEMENT DATED:       GRAIN MILLERS INC.
2.394 lease is for and the nature              04/01/2012                        10400 VIKING DRIVE
      of the debtor’s interest                                                   SUITE 301
                                                                                 EDEN PRAIRIE, MN 55344
           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKING SERVICES
      State what the contract or               AND SUPPY AGREEMENT AS            GRAIN MILLERS, INC
2.395 lease is for and the nature              AMENDED DATED: 07/01/2014         10400 VIKING DRIVE
      of the debtor’s interest                                                   SUITE 301
                                                                                 EDEN PRAIRE, MN 55344
           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO CONTRACT
      State what the contract or               PACKAGING SERVICE AND SUPPLY      GRAIN MILLERS, INC.
2.396 lease is for and the nature              AGREEMENT DATED: 07/01/2014       10400 VIKING DRIVE
      of the debtor’s interest                                                   SUITE 301
                                                                                 EDEN PRAIRIE, MN 55344
           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING SERVICE
      State what the contract or               AND SUPPLY AGREEMENT DATED:       GRAIN MILLERS, INC.
2.397 lease is for and the nature              04/01/2012                        10400 VIKING DRIVE
      of the debtor’s interest                                                   SUITE 301
                                                                                 EDEN PRAIRIE, MN 55344
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               GREENBOY GROUP LETTER OF
      State what the contract or               INTENT/AGREEMENT DATED:           GREEN BOY GROUP
2.398 lease is for and the nature              01/01/2024                        719 LOS ANGELES ST., SUITE 818
      of the debtor’s interest                                                   LOS ANGELES, CA 90014

           State the term remaining
           List the contract number of
           any government contract

                                               ADDENDUM NO. 2 TO TEMPORARY
      State what the contract or               STAFFING AGREEMENT AS             GREENCORE USA, LLC
2.399 lease is for and the nature              AMENDED DATED: 12/16/2021         3333 Finley Rd
      of the debtor’s interest                                                   Ste 800
                                                                                 Downers Grove, IL 60515-1298
           State the term remaining
           List the contract number of
           any government contract

                                               REAL ESTATE LEASE EXTENSION
      State what the contract or               DATED: 09/01/2023                 GROUP OF 4 INVESTORS, LLC
2.400 lease is for and the nature                                                ATTN: CHARLES FARMER
      of the debtor’s interest                                                   1 BRICKYARD DRIVE
                                                                                 BLOOMINGTON, IL 61701
           State the term remaining
           List the contract number of
           any government contract

                                               AR. GS DIAMONDS OF ARKANSAS
      State what the contract or               OKLAHOMA AND TEXAS - 2024-2026    GS DIAMONDS OF ARKANSAS,OKLAHOMA &
2.401 lease is for and the nature              DATED: 05/19/2023                 1719 MERRILL DRIVE
      of the debtor’s interest                                                   LITTLE ROCK, AR 72212

           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLY AGREEMENT DATED:
      State what the contract or               12/28/2020                        HANCHETT PAPER COMPANY
2.402 lease is for and the nature                                                4000 FERRY ROAD
      of the debtor’s interest                                                   AURORA, IL 60502

           State the term remaining
           List the contract number of
           any government contract

                                               HFS BROKER AGREEMENT DATED:
      State what the contract or               06/29/2010                        HAROLD W. YOUNG, INC
2.403 lease is for and the nature                                                1 TECH CIRCLE, NATICK, MA 01760
      of the debtor’s interest                                                   NATICK, MA 1760

           State the term remaining
           List the contract number of
           any government contract

                                               VENDOR'S ACKNOWLEDGEMENT
      State what the contract or               DATED: 06/29/2012                 HARRIS TEETER QUALITY ASSURANCE
2.404 lease is for and the nature                                                701 CRESTDALE ROAD MATTHEWS, NC 28105
      of the debtor’s interest                                                   MATTHEWS, NC 28106

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 03/21/2017                  HARRIS TEETER. INC
2.405 lease is for and the nature                                                 701 CRESTDALE DRIVE
      of the debtor’s interest                                                    MATTHEWS, NC 28105

           State the term remaining
           List the contract number of
           any government contract

                                               VENDOR'S ACKNOWLEDGEMENT
      State what the contract or               DATED: 06/29/2012                  HARRIS TEETER. INC
2.406 lease is for and the nature                                                 701 CRESTDALE DRIVE MATTHEWS, NORTH CAROLINA 28105
      of the debtor’s interest                                                    MATTHEWS, NC 28105

           State the term remaining
           List the contract number of
           any government contract

                                               OFFER LETTER DATED: 06/01/2023
      State what the contract or                                                  HARRIS, ROGER
2.407 lease is for and the nature                                                 ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                               GUARANTY DATED: 01/01/2015
      State what the contract or                                                  HARVEST WEST FOODS
2.408 lease is for and the nature                                                 1000 Bay Marina Dr
      of the debtor’s interest                                                    National City, CA 91950

           State the term remaining
           List the contract number of
           any government contract

                                               INDUSTRIAL REAL ESTATE LEASE
      State what the contract or               AS AMENDED DATED: 02/29/2012       HASSE INVESTMENTS, LLP
2.409 lease is for and the nature                                                 21750 CEDAR AVENUE
      of the debtor’s interest                                                    LAKEVILLE, MN 55044

           State the term remaining
           List the contract number of
           any government contract

                                               INDUSTRIAL REAL ESTATE LEASE
      State what the contract or               AS AMENDED DATED: 03/23/2018       HASSE REAL PROPERTIES, LLC
2.410 lease is for and the nature                                                 21750 CEDAR AVENUE SOUTH
      of the debtor’s interest                                                    LAKEVILLE, MN 55044

           State the term remaining
           List the contract number of
           any government contract

                                               NEW VENDOR SET UP DATED:
      State what the contract or               06/28/2012                         Heinen's
2.411 lease is for and the nature                                                 4540 Richmond Rd
      of the debtor’s interest                                                    Cleveland, OH 44128

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               FIRST PROLONGATION AGREEMENT
      State what the contract or               AS AMENDED DATED: 03/05/2018 HENKEL AG & CO. KGAA
2.412 lease is for and the nature                                           HENKELSTRABE 67,40589
      of the debtor’s interest                                              DUSSELDORF,
                                                                            GERMANY
           State the term remaining
           List the contract number of
           any government contract

                                               OFFER LETTER DATED: 02/15/2024
      State what the contract or                                                  HEWITT, NICK
2.413 lease is for and the nature                                                 3333 FINLEY ROAD, SUITE 800
      of the debtor’s interest                                                    DOWNERS GROVE, IL 60515

           State the term remaining
           List the contract number of
           any government contract

                                               RECRUITED BILL RATE DATED:
      State what the contract or               06/28/2022                         HIRE UP STAFF
2.414 lease is for and the nature                                                 1226 4TH AVENUE EAST
      of the debtor’s interest                                                    #150
                                                                                  SHAKOPEE, MN 55379
           State the term remaining
           List the contract number of
           any government contract

                                               BROKER AGREEMENT DATED:
      State what the contract or               06/09/2016                         HOPE DELONG AND ASSOCIATES, LLC.
2.415 lease is for and the nature                                                 707 PRESIDENTIAL DRIVE
      of the debtor’s interest                                                    BOYNTON BEACH, FL 33435

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER SUPPLY AGREEMENT
      State what the contract or               DATED: 06/01/2023                  HORMEL FOODS CORPORATION
2.416 lease is for and the nature                                                 1 HORMEL PLACE
      of the debtor’s interest                                                    AUSTIN, MN 55912

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER CUSTOM MANUFACTURING
      State what the contract or               AGREEMENT DATED: 01/01/2020 HORMEL FOODS CORPORATION
2.417 lease is for and the nature                                          1 HORMEL PLACE
      of the debtor’s interest                                             AUSTIN, MN 55912

           State the term remaining
           List the contract number of
           any government contract

                                               PRICING AND SUPPLY TERMS
      State what the contract or               DATED: 11/01/2022                  HORMEL FOODS CORPORATION
2.418 lease is for and the nature                                                 1 HORMEL PLACE
      of the debtor’s interest                                                    AUSTIN, MN 55912

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               AMENDMENT TO MUTUAL
      State what the contract or               CONFIDENTIAL DISCLOSURE           HORMEL FOODS CORPORATION
2.419 lease is for and the nature              AGREEMENT DATED: 03/20/2019       1 HORMEL PLACE
      of the debtor’s interest                                                   AUSTIN, MN 55912

           State the term remaining
           List the contract number of
           any government contract

                                               PRICING AGREEMENT DATED:
      State what the contract or               09/07/2022                        HRG TIME STAFFING, LLC
2.420 lease is for and the nature                                                1100 CROY DRIVE
      of the debtor’s interest                                                   FINDLAY, OH 45840

           State the term remaining
           List the contract number of
           any government contract

                                               TRADEMARK LICENSE AGREEMENT
      State what the contract or               DATED: 08/08/2013           IBAKEFOODS LLC
2.421 lease is for and the nature                                          ATTN:BOB IMBORDINO
      of the debtor’s interest                                             115 ENGINEERS ROAD
                                                                           HAUPPAUGE, NY 11788
           State the term remaining
           List the contract number of
           any government contract

                                               TRADEMARK LICENSE AGREEMENT
      State what the contract or               DATED: 01/00/1900           IBAKEFOODS LLC
2.422 lease is for and the nature                                          ATTN:BOB IMBORDINO
      of the debtor’s interest                                             115 ENGINEERS ROAD
                                                                           HAUPPAUGE, NY 11788
           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLY CHAIN SERVICES
      State what the contract or               AGREEMENT DATED: 07/31/2023       ID COMMERCE & LOGISTICS, LLC
2.423 lease is for and the nature                                                1150 115TH STREET
      of the debtor’s interest                                                   BOLINGBROOK, IL 60440

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING SERVICE
      State what the contract or               AND SUPPLY AGREEMENT DATED:       IDAHOAN FOODS, LLC
2.424 lease is for and the nature              01/01/2015                        357 CONSTITUTION WAY
      of the debtor’s interest                                                   IDAHO FALLS, ID 83402

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER STAFFING AGREEMENT
      State what the contract or               DATED: 01/01/2014                 IMPACT EMPLOYMENT SOLUTIONS, INC
2.425 lease is for and the nature                                                136 HURON ST.
      of the debtor’s interest                                                   TOLEDO, OH 43604

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               AMENDMENT TO MASTER STAFFING
      State what the contract or               AGREEMENT DATED: 01/01/2023  IMPACT EMPLOYMENT SOLUTIONS, INC
2.426 lease is for and the nature                                           136 HURON ST.
      of the debtor’s interest                                              TOLEDO, OH 43604

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER STAFFING AGREEMENT
      State what the contract or               DATED: 01/01/2020                  IMPACT EMPLOYMENT SOLUTIONS, INC
2.427 lease is for and the nature                                                 136 HURON ST.
      of the debtor’s interest                                                    TOLEDO, OH 43604

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREEMENT DATED:
      State what the contract or               04/26/2022                         INDIANA SUGARS, INC
2.428 lease is for and the nature                                                 1145 101ST STREET
      of the debtor’s interest                                                    LEMONT, IL 60439

           State the term remaining
           List the contract number of
           any government contract

                                               ADDENDUM TO ASSIGNMENT AND
      State what the contract or               RELEASE AGREEMENT AS               ISS RESEARCH, LLC
2.429 lease is for and the nature              AMENDED DATED: 01/12/2005          5400 W Wt Harris Blvd
      of the debtor’s interest                                                    Ste L
                                                                                  Charlotte, NC 28269
           State the term remaining
           List the contract number of
           any government contract

                                               NON-EXCLUSIVE AIRCRAFT LEASE
      State what the contract or               AGREEMENT                          JA INVESTMENTS, INC.
2.430 lease is for and the nature                                                 136 N. HURON STREET
      of the debtor’s interest                                                    TOLEDO, OH 43604-1139

           State the term remaining
           List the contract number of
           any government contract

                                               MEDIFAST GENERAL PRODUCT
      State what the contract or               SPECIFICATION DATED: 10/02/2009    JASON PHARMACEUTICALS INC.
2.431 lease is for and the nature                                                 11445 CRONHILL DRIVE
      of the debtor’s interest                                                    OWNINGS MILLS, MD 21117

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               AGREEMENT DATED: 10/01/2014        JASON PHARMACEUTICALS INC.
2.432 lease is for and the nature                                                 11445 CRONHILL DRIVE
      of the debtor’s interest                                                    OWINGS MILLS, MD 21117

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               MANUFACTURING AND SUPPLY
      State what the contract or               AGREEMENT DATED: 05/05/2006       JASON PHARMACEUTICALS INC.
2.433 lease is for and the nature                                                11445 CRONHILL DRIVE
      of the debtor’s interest                                                   OWNINGS MILLS, MD 21117

           State the term remaining
           List the contract number of
           any government contract

                                               BROKERAGE CONTRACT DATED:
      State what the contract or               01/01/2016                        JIM EFFINGER AND ASSOCIATES
2.434 lease is for and the nature                                                ATTN:DEAN EFFINGER. C.E.O.
      of the debtor’s interest                                                   7984 OIDE EIGHT RD.
                                                                                 NORTHFIELD, OH 44067
           State the term remaining
           List the contract number of
           any government contract

                                               BROKERAGE CONTRACT DATED:
      State what the contract or               05/11/2015                        JIM EFFINGER AND ASSOCIATES
2.435 lease is for and the nature                                                ATTN:DEAN EFFINGER. C.E.O.
      of the debtor’s interest                                                   7984 OIDE EIGHT RD.
                                                                                 NORTHFIELD, OH 44067
           State the term remaining
           List the contract number of
           any government contract

                                               BROKERAGE CONTRACT DATED:
      State what the contract or               04/24/2017                        Jim Thomas
2.436 lease is for and the nature                                                ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                               HFS BROKER AGREEMENT DATED:
      State what the contract or               01/01/2011                        JOHN RIDDLE ENTERPRISES, INC
2.437 lease is for and the nature                                                28 FROST ROAD
      of the debtor’s interest                                                   DERRY, NH 03038

           State the term remaining
           List the contract number of
           any government contract

                                               OPERATING AGREEMENT DATED:
      State what the contract or               11/22/2006                        KASHI COMPANY
2.438 lease is for and the nature                                                P.O. BOX 8557
      of the debtor’s interest                                                   LA JOLLA, CA 92038

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AGREEMENT
      State what the contract or               DATED: 06/01/2002                 KASHI COMPANY
2.439 lease is for and the nature                                                4250 EXECUTIVE SQUARE DRIVE
      of the debtor’s interest                                                   SUITE 600
                                                                                 LA JOLLA, CA 92037
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               MANUFACTURING AGREEMENT
      State what the contract or               DATED: 01/00/1900                 KASHI COMPANY
2.440 lease is for and the nature                                                P.O. BOX 8557
      of the debtor’s interest                                                   LA JOLLA, CA 92038

           State the term remaining
           List the contract number of
           any government contract

                                               OFFICIAL FORMULA DATED:
      State what the contract or               01/00/1900                        KASHI COMPANY
2.441 lease is for and the nature                                                P.O. BOX 8557
      of the debtor’s interest                                                   LA JOLLA, CA 92038

           State the term remaining
           List the contract number of
           any government contract

                                               SALES SERVICE AGREEMENT
      State what the contract or               DATED: 10/12/2020                 KEELVAR SYSTEMS LIMITED
2.442 lease is for and the nature                                                RUBICON CENTRE BISHOPSTOWN
      of the debtor’s interest                                                   CORK, T12
                                                                                 IRELAND
           State the term remaining
           List the contract number of
           any government contract

                                               WAREHOUSE SERVICES
      State what the contract or               AGREEMENT DATED: 07/01/2019       KELLOGG SALES COMPANY
2.443 lease is for and the nature                                                ATTN: MANAGER, CO-PACK OPERATIONS
      of the debtor’s interest                                                   KELLOGG USA LLC
                                                                                 67 W. MICHIGAN AVENUE
           State the term remaining                                              BATTLE CREEK, MI 49017

           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               MASTER AGREEMENT DATED:           KELLOGG USA INC
2.444 lease is for and the nature              08/31/2017                        ATTN: MANAGER, CO-PACK OPERATIONS
      of the debtor’s interest                                                   KELLOGG USA LLC
                                                                                 67 W. MICHIGAN AVENUE
           State the term remaining                                              BATTLE CREEK, MI 49017

           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               MASTER AGREEMENT DATED:           KELLOGG USA INC
2.445 lease is for and the nature              09/09/2018                        ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               MASTER AGREEMENT DATED:           KELLOGG USA INC
2.446 lease is for and the nature              09/20/2017                        ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               MASTER MANUFACTURING AND
      State what the contract or               SUPPLY AGREEMENT DATED:            KELLOGG USA INC
2.447 lease is for and the nature              01/01/2019                         ONE KELLOGG SQUARE
      of the debtor’s interest                                                    BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               CO-PACKING AGREEMENT DATED:
      State what the contract or               04/01/2019                         KELLOGG USA INC
2.448 lease is for and the nature                                                 ATTN: MANAGER, CO-PACK OPERATIONS
      of the debtor’s interest                                                    KELLOGG USA LLC
                                                                                  67 W. MICHIGAN AVENUE
           State the term remaining                                               BATTLE CREEK, MI 49017

           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               MASTER AGREEMENT DATED:            KELLOGG USA INC
2.449 lease is for and the nature              08/31/2017                         ONE KELLOGG SQUARE
      of the debtor’s interest                                                    BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               GRANOLA RFP AWARD OF
      State what the contract or               BUSINESS DATED: 01/01/2019         KELLOGG USA INC
2.450 lease is for and the nature                                                 ONE KELLOGG SQUARE
      of the debtor’s interest                                                    BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO MANUFACTURING
      State what the contract or               AND SUPPLY AGREEMENT DATED:        KELLOGG USA INC
2.451 lease is for and the nature              12/31/2016                         ONE KELLOGG SQUARE
      of the debtor’s interest                                                    BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               MASTER AGREEMENT DATED:            KELLOGG USA INC
2.452 lease is for and the nature              10/01/2012                         ONE KELLOGG SQUARE
      of the debtor’s interest                                                    BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT DATED:
      State what the contract or               07/01/2008                         KELLOGG USA INC
2.453 lease is for and the nature                                                 ONE KELLOGG SQUARE
      of the debtor’s interest                                                    BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               CONTRACT MANUFACTURING AND
      State what the contract or               CONTRACT PACKAGING QUALITY        KELLOGG USA INC
2.454 lease is for and the nature              EXPECTATIONS MANUAL DATED:        ONE KELLOGG SQUARE
      of the debtor’s interest                 02/19/2005                        BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               MASTER AND OPERATING              KELLOGG USA INC
2.455 lease is for and the nature              AGREEMENTS DATED: 11/17/2023      ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT DATED:
      State what the contract or               07/01/2023                        KELLOGG USA INC
2.456 lease is for and the nature                                                ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               MASTER AGREEMENT DATED:           KELLOGG USA INC
2.457 lease is for and the nature              08/31/2017                        ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               CO-PACKING AGREEMENT DATED:
      State what the contract or               04/01/2019                        KELLOGG USA INC
2.458 lease is for and the nature                                                ATTN CONTRACT MANUFACTURING PROCUREMENT
      of the debtor’s interest                                                   67 W. MICHIGAN AVENUE
                                                                                 BATTLE CREEK, MI 49017
           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               MASTER AGREEMENT DATED:           KELLOGG USA INC
2.459 lease is for and the nature              02/01/2019                        ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO MANUFACTURING
      State what the contract or               AND SUPPLY AGREEMENTS DATED: KELLOGG USA INC
2.460 lease is for and the nature              04/01/2012                   ONE KELLOGG SQUARE
      of the debtor’s interest                                              BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               MANUFACTURING AND SUPPLY
      State what the contract or               MASTER AGREEMENT DATED:           KELLOGG USA INC
2.461 lease is for and the nature              10/01/2018                        ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT DATED:
      State what the contract or               06/01/2009                        KELLOGG USA INC
2.462 lease is for and the nature                                                ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OF INTENT DATED:
      State what the contract or               11/02/2011                        KELLOGG USA INC.
2.463 lease is for and the nature                                                ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               MASTER AGREEMENT DATED:           KELLOGG USA INC.
2.464 lease is for and the nature              07/01/2008                        ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               OPERATING AGREEMENT DATED:        KELLOGG USA INC.
2.465 lease is for and the nature              05/01/2009                        ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER AGREEMENT DATED:
      State what the contract or               11/22/2006                        KELLOGG USA INC.
2.466 lease is for and the nature                                                ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               WKK AMENDMENT DATED:
      State what the contract or               07/01/2019                        KELLOGG USA INC/ WK KELLOGG SALES LLC
2.467 lease is for and the nature                                                ONE KELLOGG SQUARE
      of the debtor’s interest                                                   BATTLE CREEK, MI 49017

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               LETTER AGREEMENT DATED:
      State what the contract or               01/18/2023                        KENT QUALITY FOODS
2.468 lease is for and the nature                                                3426 QUINCY STREET
      of the debtor’s interest                                                   HUDSONVILLE, MI 49426

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT NO.1 TO
      State what the contract or               MANUFACTURING AGREEMENT           KIND LLC
2.469 lease is for and the nature              DATED: 06/30/2015                 1372 BROADWAY
      of the debtor’s interest                                                   3RT FLOOR
                                                                                 NEW YORK, NY 10018
           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AGREEMENT
      State what the contract or               DATED: 11/01/2014                 KIND LLC
2.470 lease is for and the nature                                                1372 BROADWAY
      of the debtor’s interest                                                   3RD FLOOR
                                                                                 NEW YORK, NY 10018
           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT NO.1 TO
      State what the contract or               MANUFACTURING AGREEMENT           KIND LLC
2.471 lease is for and the nature              DATED: 06/30/2015                 1372 BROADWAY
      of the debtor’s interest                                                   3RT FLOOR
                                                                                 NEW YORK, NY 10018
           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO
      State what the contract or               MANUFACTURING AGREEMENT           KIND LLC
2.472 lease is for and the nature              DATED: 11/01/2014                 1372 BROADWAY
      of the debtor’s interest                                                   3RT FLOOR
                                                                                 NEW YORK, NY 10018
           State the term remaining
           List the contract number of
           any government contract

                                               REQUIREMENTS COVER DATED:
      State what the contract or               05/01/2019                        KIND OPERATIONS INC.
2.473 lease is for and the nature                                                1372 BROADWAY
      of the debtor’s interest                                                   3RT FLOOR
                                                                                 NEW YORK, NY 10018
           State the term remaining
           List the contract number of
           any government contract

                                               GENERAL POLICIES DATED:
      State what the contract or               06/12/2012                        KIWI DISTRIBUTING, INC
2.474 lease is for and the nature                                                8457 A. SOUTH EASTERN AVENUE
      of the debtor’s interest                                                   BELL GARDENS, CA 90807

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               KLASS COCONUT 2024 CONTRACT
      State what the contract or               DATED: 01/01/2024                  KLASSIC COCNUT
2.475 lease is for and the nature                                                 3333 FINLEY RD.
      of the debtor’s interest                                                    SUITE 800
                                                                                  DOWNERS GROVE, IL 60515
           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AGREEMENT
      State what the contract or               DATED: 08/11/2020                  KODIAK CAKES, LLC
2.476 lease is for and the nature                                                 ATTN: JOEL CLARK
      of the debtor’s interest                                                    P.O. BOX 980992
                                                                                  PARK CITY, UT 84098
           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AGREEMENT
      State what the contract or               DATED: 03/11/2023                  KODIAK CAKES, LLC
2.477 lease is for and the nature                                                 P.O. BOX 980992
      of the debtor’s interest                                                    PARK CITY, UT 84098

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO MANUFACTURING
      State what the contract or               AGREEMENT DATED: 06/25/2024        KODIAK CAKES, LLC
2.478 lease is for and the nature                                                 ATTN CHIEF OPERATING OFFICER
      of the debtor’s interest                                                    8163 GORGOZA PINES ROAD
                                                                                  PARK CITY, UT 84098
           State the term remaining
           List the contract number of
           any government contract

                                               OFFER LETTER DATED: 04/24/2023
      State what the contract or                                                  KOLDRAS, LENA
2.479 lease is for and the nature                                                 3333 FINLEY ROAD, SUITE 800
      of the debtor’s interest                                                    DOWNERS GROVE, IL 60515

           State the term remaining
           List the contract number of
           any government contract

                                               SECOND AMENDMENT TO LEASE
      State what the contract or               DATED: 01/01/2023                  KORE 3500 LACEY OWNER LLC
2.480 lease is for and the nature                                                 POBOX 776958
      of the debtor’s interest                                                    CHICAGO, IL 60677-6958

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT AGREEMENT DATED:
      State what the contract or               11/20/2019                         KORN FERRY
2.481 lease is for and the nature                                                 1900 AVENUE OF THE STARS
      of the debtor’s interest                                                    SUITE 2600
                                                                                  LOS ANGELES, CA 90067
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               LICENSE RENEWAL DATED:
      State what the contract or               05/12/2024                        KPI FIRE
2.482 lease is for and the nature                                                333 N. 300 W
      of the debtor’s interest                                                   SALT LAKE CITY, UT 84103

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER EXTERNAL
      State what the contract or               MANUFACTURING AGREEMENT           KRAFT FOODS GLOBAL, INC
2.483 lease is for and the nature              DATED: 02/01/2006                 THREE LAKES DRIVE
      of the debtor’s interest                                                   NORTHFIELD, IL 60093

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO EXTERNAL
      State what the contract or               MANUFACTURING PROJECT DATED: KRAFT FOODS GROUP, INC
2.484 lease is for and the nature              08/05/2016                   KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                              200 E. RANDOLPH STREET
                                                                            SUITE 7600
           State the term remaining                                         CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               LETTER OF INTENT DATED:
      State what the contract or               01/05/2017                        KRAFT FOODS GROUP, INC
2.485 lease is for and the nature                                                KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               EXTERNAL MANUFACTURING
      State what the contract or               AGREEMENT DATED: 01/01/2014       KRAFT FOODS GROUP, INC
2.486 lease is for and the nature                                                KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               EXTERNAL MANUFATURING
      State what the contract or               PROJECT AGREEMENT DATED:          KRAFT FOODS GROUP, INC
2.487 lease is for and the nature              03/02/2016                        KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               MATERIAL AND FINISHED GOOD
      State what the contract or               POLICY DATED: 09/11/2002          KRAFT FOODS GROUP, INC
2.488 lease is for and the nature                                                KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               LETTER OF INTENT DATED:
      State what the contract or               02/23/2017                        KRAFT FOODS GROUP, INC
2.489 lease is for and the nature                                                KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               AMENDMENT TO EXTERNAL
      State what the contract or               MANUFACTURING AGREEMENT           KRAFT FOODS GROUP, INC
2.490 lease is for and the nature              DATED: 06/01/2016                 KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               EXTERNAL MANUFATURING
      State what the contract or               PROJECT AGREEMENT DATED:          KRAFT FOODS GROUP, INC
2.491 lease is for and the nature              07/01/2016                        KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               EXTERNAL MANUFATURING
      State what the contract or               PROJECT AGREEMENT DATED:          KRAFT FOODS GROUP, INC
2.492 lease is for and the nature              07/13/2018                        KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               EXTERNAL MANUFACTURING
      State what the contract or               PROJECT AGREEMENT DATED:          KRAFT FOODS GROUP, INC
2.493 lease is for and the nature              01/01/2015                        KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               PROJECT AGREEMENT DATED
      State what the contract or               AUGUST 18, 1999 DATED: 08/01/2000 KRAFT FOODS GROUP, INC
2.494 lease is for and the nature                                                KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               MASTER PROCESSING AND
      State what the contract or               PACKAGING AGREEMENT DATED:        KRAFT FOODS, INC.
2.495 lease is for and the nature              08/18/1998                        THREE LAKES DRIVE
      of the debtor’s interest                                                   NORTHFIELD, IL 60093-2753

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               MASTER AGREEMENT DATED:
      State what the contract or               12/01/2020                        KRAFT HEINZ FOOD COMPANY
2.496 lease is for and the nature                                                KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               EXTERNAL MANUFACTURING
      State what the contract or               MASTER AGREEMENT DATED:           KRAFT HEINZ FOODS COMPANY
2.497 lease is for and the nature              12/01/2020                        KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               EXTERNAL MANUFACTURING
      State what the contract or               MASTER AGREEMENT DATED:           KRAFT HEINZ FOODS COMPANY
2.498 lease is for and the nature              12/01/2020                        ATTN: NICHOLAS PETERSON
      of the debtor’s interest                                                   KRAFT HEINZ FOODS COMPANY
                                                                                 200 E. RANDOLPH STREET, SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               EXTERNAL MANUFACTURING
      State what the contract or               MASTER AGREEMENT DATED:           KRAFT HEINZ FOODS COMPANY
2.499 lease is for and the nature              12/01/2020                        KRAFT HEINZ FOODS COMPANY
      of the debtor’s interest                                                   200 E. RANDOLPH STREET
                                                                                 SUITE 7600
           State the term remaining                                              CHICAGO, IL 60601

           List the contract number of
           any government contract

                                               INTELLECTUAL PROPERTY
      State what the contract or               ASSIGNMENT AND EXCLUSIVITY        KRAFT HEINZ FOODS COMPANY
2.500 lease is for and the nature              AGREEMENT DATED: 02/13/2017       200 E. RANDOLPH STREET
      of the debtor’s interest                                                   SUITE 7600
                                                                                 CHICAGO, IL 60601
           State the term remaining
           List the contract number of
           any government contract

                                               SERVICE AGREEMENT DATED:
      State what the contract or               08/20/2023                        KRAFT HEINZ FOODS COMPANY
2.501 lease is for and the nature                                                200 E. RANDOLPH
      of the debtor’s interest                                                   FLOOR 76
                                                                                 CHICAGO, IL
           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 07/20/2016                 KROGER CO.
2.502 lease is for and the nature                                                1014 VINE ST
      of the debtor’s interest                                                   CINCINNATI, OH 45202

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               AGREEMENT FOR TEMPORARY
      State what the contract or               PERSONNEL DATED: 03/04/2021       LABOR SOLUTIONS OF MINNESOTA, LLC
2.503 lease is for and the nature                                                8575 LYNDALE AVE. S.
      of the debtor’s interest                                                   BLOOMINGTON, MN 55420

           State the term remaining
           List the contract number of
           any government contract

                                               LEASE AGREEMENT AS AMENDED
      State what the contract or               DATED: 07/26/2018                 LAS OLAS HOLDING COMPANY INC.
2.504 lease is for and the nature                                                600 SAGAMORE RD.
      of the debtor’s interest                                                   FORT LAUDERDALE, FL 33301

           State the term remaining
           List the contract number of
           any government contract

                                               SUPPORT SERVICES AGREEMENT
      State what the contract or               DATED: 01/18/2023                 LAVALEER SOLUTIONS
2.505 lease is for and the nature                                                AFC TOWERS, 3343 PEACHTREE RD
      of the debtor’s interest                                                   STE 180-1142
                                                                                 ATLANTA, GA 30326
           State the term remaining
           List the contract number of
           any government contract

                                               MASTER PURCHASING AND
      State what the contract or               SERVICE AGREEMENT 02/01/2024      LIBERTY PACKAGING
2.506 lease is for and the nature                                                ATTN: GREG GOODNESS
      of the debtor’s interest                                                   12118 S. 150TH STREET
                                                                                 PAPILLION, NE 68138
           State the term remaining
           List the contract number of
           any government contract

                                               BROKER AGREEMENT DATED:
      State what the contract or               07/01/2012                        LINDSTEN BROKERAGE
2.507 lease is for and the nature                                                633 SOUTH ALLEN LANE
      of the debtor’s interest                                                   ARLINGTON HEIGHTS, IL 60005

           State the term remaining
           List the contract number of
           any government contract

                                               ORDER FORM DATED: 10/30/2024
      State what the contract or                                                 LINKEDIN CORPORATION
2.508 lease is for and the nature                                                1000 W. MAUDE AVENUE
      of the debtor’s interest                                                   SUNNYVALE, CA 94085

           State the term remaining
           List the contract number of
           any government contract

                                               RECRUITING SERVICES
      State what the contract or               AGREEMENT DATED: 10/17/2019       LUCAS GROUP
2.509 lease is for and the nature                                                230 W MONROE
      of the debtor’s interest                                                   SUITE 850
                                                                                 CHICAGO, IL 60606
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 03/02/2018                 LUCERN FOODS INC
2.510 lease is for and the nature                                                P.O. BOX 99
      of the debtor’s interest                                                   PLEASANTON, CA 94566

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER SERVICES AGREEMENT
      State what the contract or               DATED: 04/03/2023                 MANPOWERGROUP US INC.
2.511 lease is for and the nature                                                100 MANPOWER PLACE
      of the debtor’s interest                                                   MILWAUKEE, WI 53212

           State the term remaining
           List the contract number of
           any government contract

                                               CO-PACK SALES AGREEMENT
      State what the contract or               DATED: 04/10/2009                 MANUFACTURING LLC
2.512 lease is for and the nature                                                7701 LEGACY DRIVE
      of the debtor’s interest                                                   PLANO, TX 75024-4099

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER CO-MANUFACTURING
      State what the contract or               AGREEMENT DATED: 06/01/2024       MAPLE LEAF FOODS INC.
2.513 lease is for and the nature                                                ATTN IAIN STEWART CHIEF SUPPLY CHAIN OFFICER ADDRESS
      of the debtor’s interest                                                   6897 FINANCIAL DRIVE
                                                                                 MISSISSAUGA, ON L5N 0A8
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               BROKERAGE AGREEMENT DATED:
      State what the contract or               06/17/2013                        MARKETING MANAGEMENT, INC
2.514 lease is for and the nature                                                4717 FLETCHER AVENUE
      of the debtor’s interest                                                   FORT WORTH, TX 76107

           State the term remaining
           List the contract number of
           any government contract

                                               CO-PACKING AGREEMENT DATED:
      State what the contract or               11/05/2010                        MARS PETCARE
2.515 lease is for and the nature                                                ATTN: CO-MANUFACTURING COMMERCIAL BUYER
      of the debtor’s interest                                                   MARS PETCARE US, INC.
                                                                                 315 COOL SPRINGS BLVD.
           State the term remaining                                              FRANKLIN, TN 37067

           List the contract number of
           any government contract

                                               AMENDMENT NO. 6 DATED:
      State what the contract or               09/01/2015                        MARS PETCARE US, INC
2.516 lease is for and the nature                                                315 COOL SPRINGS BLVD.
      of the debtor’s interest                                                   FRANKLIN, TN 37067

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               AMENDMENT NO. 3 DATED:
      State what the contract or               07/10/2013                        MARS PETCARE US, INC
2.517 lease is for and the nature                                                315 COOL SPRINGS BLVD.
      of the debtor’s interest                                                   FRANKLIN, TN 37067

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT NO. 7 DATED:
      State what the contract or               11/01/2015                        MARS PETCARE US, INC
2.518 lease is for and the nature                                                315 COOL SPRINGS BLVD.
      of the debtor’s interest                                                   FRANKLIN, TN 37067

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT NO. 5 DATED:
      State what the contract or               03/24/2014                        MARS PETCARE US, INC
2.519 lease is for and the nature                                                315 COOL SPRINGS BLVD.
      of the debtor’s interest                                                   FRANKLIN, TN 37067

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT NO. 9 DATED:
      State what the contract or               06/01/2016                        MARS PETCARE US, INC
2.520 lease is for and the nature                                                315 COOL SPRINGS BLVD.
      of the debtor’s interest                                                   FRANKLIN, TN 37067

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT NO. 7 DATED:
      State what the contract or               11/01/2015                        MARS PETCARE US, INC
2.521 lease is for and the nature                                                315 COOL SPRINGS BLVD.
      of the debtor’s interest                                                   FRANKLIN, TN 37067

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT NO. 10 DATED:
      State what the contract or               08/01/2017                        MARS PETCARE US, INC
2.522 lease is for and the nature                                                315 COOL SPRINGS BLVD.
      of the debtor’s interest                                                   FRANKLIN, TN 37067

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT NO. 8 DATED:
      State what the contract or               02/01/2016                        MARS PETCARE US, INC
2.523 lease is for and the nature                                                315 COOL SPRINGS BLVD.
      of the debtor’s interest                                                   FRANKLIN, TN 37067

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               DISASTER RECOVERY PLAN
      State what the contract or               SPECIFICATIONS DATED: 09/08/2008 MARS SNACKFOOD US, LLC
2.524 lease is for and the nature                                               800 HIGH STREET
      of the debtor’s interest                                                  HACKETTSTOWN, NJ 07840

           State the term remaining
           List the contract number of
           any government contract

                                               STATEMENT OF WORK NO. 1 AS
      State what the contract or               AMENDED DATED: 09/08/2008          MARS SNACKFOOD US, LLC
2.525 lease is for and the nature                                                 800 HIGH STREET
      of the debtor’s interest                                                    HACKETTSTOWN, NJ 07840

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OF COMMITMENT:
      State what the contract or               PURCHASE SUPPORT FOR               MARS SNACKFOOD US, LLC
2.526 lease is for and the nature              STANDARD CANDY GENERAL             800 HIGH STREET
      of the debtor’s interest                 ASSETS: DATED: 09/12/2008          HACKETTSTOWN, NJ 07840

           State the term remaining
           List the contract number of
           any government contract

                                               DEFINITIONS DATED: 01/00/1900
      State what the contract or                                                  MARS, INCORPORATED
2.527 lease is for and the nature                                                 6885 ELM ST
      of the debtor’s interest                                                    MCLEAN, VA 22101

           State the term remaining
           List the contract number of
           any government contract

                                               MARS SNACKFOOD'S DECLARATION
      State what the contract or               OF TRADING VALUES DATED:     MARS, INCORPORATED
2.528 lease is for and the nature              06/24/2009                   6885 ELM ST
      of the debtor’s interest                                              MCLEAN, VA 22101

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OF AGREEMENT 10 26 23
      State what the contract or               DATED: 10/26/2023                  MASON DIXIE FOODS
2.529 lease is for and the nature                                                 300 W PRATT ST
      of the debtor’s interest                                                    SUITE 400
                                                                                  BALTIMORE, MD 21201
           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LEASE DATED:
      State what the contract or               08/22/2011                         MATRIX PACKAGING MACHINERY, INC
2.530 lease is for and the nature                                                 ATTN PRESIDENT
      of the debtor’s interest                                                    650 NORTH DEKORA WOODS BLVD.
                                                                                  SAUKVILLE, WI 53080
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               MEMORANDUM OF
      State what the contract or               UNDERSTANDING DATED: 03/06/2013 MCNEIL NUTRITIONALS, LLC
2.531 lease is for and the nature                                              601 OFFICE CENTER DRIVE
      of the debtor’s interest                                                 FORT WASHINGTON, PA 19034

           State the term remaining
           List the contract number of
           any government contract

                                               BROKER AGREEMENT DATED:
      State what the contract or               07/01/2012                        MD ENTERPRISES, INC
2.532 lease is for and the nature                                                12351 WEST 96TH TERRACE
      of the debtor’s interest                                                   #203
                                                                                 LENEXA, KS 66215
           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 10/05/2017                 MEIJER DISTRIBUTION INC
2.533 lease is for and the nature                                                2929 WALKER AVE NW
      of the debtor’s interest                                                   GRAND RAPIDS, MI 49544

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER VENDOR AGREEMENT
      State what the contract or               -DOMESTIC VENDORS DATED:          MEIJER DISTRIBUTION, INC
2.534 lease is for and the nature              08/23/2010                        2929 WALKER AVE NW
      of the debtor’s interest                                                   GRAND RAPIDS, MI 49544

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT PURCHASE ADDENDUM
      State what the contract or               TO VENDOR AGREEMENT AS            MEIJER DISTRIBUTION, INC
2.535 lease is for and the nature              AMENDED DATED: 09/01/2010         2929 WALKER AVENUE NW
      of the debtor’s interest                                                   GRAND RAPIDS, MI 49544

           State the term remaining
           List the contract number of
           any government contract

                                               REBATE AGREEMENT DATED:
      State what the contract or               12/01/2022                        MENASHA PACKAGING COMPANY LLC
2.536 lease is for and the nature                                                PO BOX 856449
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55485-6449

           State the term remaining
           List the contract number of
           any government contract

                                               MARKET UPDATE DATED: 02/05/2023
      State what the contract or                                                 MENNEL QUALITY UNIFORMITY SERVICE
2.537 lease is for and the nature                                                319 SOUTH VINE STREET
      of the debtor’s interest                                                   FOSTORIA, OH 44830

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               DEVELOPMENT AGREEMENT
      State what the contract or               DATED: 01/16/2013                  MERLIN DEVELOPMENT
2.538 lease is for and the nature                                                 181 CHESHIRE LANE NORTH
      of the debtor’s interest                                                    SUITE 500
                                                                                  PLYMOUTH, MN 55441-5465
           State the term remaining
           List the contract number of
           any government contract

                                               ADDENDUM 3 TO THE PRODUCT
      State what the contract or               SUPPLY AGREEMENT DATED:            MESSER LLC
2.539 lease is for and the nature              11/23/2022                         312 RADAR RD.
      of the debtor’s interest                                                    MCCOMB, OH 45858

           State the term remaining
           List the contract number of
           any government contract

                                               TC1 (MPUS) DATED: 07/01/2023
      State what the contract or                                                  MICHAEL PAGE INTERNATIONAL, INC
2.540 lease is for and the nature                                                 622 THIRD AVENUE
      of the debtor’s interest                                                    29TH FLOOR
                                                                                  NEW YORK, NY 10017
           State the term remaining
           List the contract number of
           any government contract

                                               MFI FRENCH TOAST & OMELET
      State what the contract or               WRAPPING PROPOSAL R4 DATED:        MICHEAL FOODS
2.541 lease is for and the nature              08/03/2018                         301 CARLSON PKWY
      of the debtor’s interest                                                    SUITE 400
                                                                                  MINNETONKA, MN 55305
           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OF UNDERSTANDING
      State what the contract or               DATED: 07/10/2014                  MOM BRANDS COMPANY
2.542 lease is for and the nature                                                 PO Box 1025
      of the debtor’s interest                                                    Lakeville, MN 55044

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 01/29/2019
      State what the contract or                                                  MONDELEZ GLOBAL LLC
2.543 lease is for and the nature                                                 100 DEFOREST AVENUE
      of the debtor’s interest                                                    EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 09/05/2018
      State what the contract or                                                  MONDELEZ GLOBAL LLC
2.544 lease is for and the nature                                                 100 DEFOREST AVENUE
      of the debtor’s interest                                                    EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               EXTERNAL MANUFACTURING
      State what the contract or               STRATEGIC ALLIANCE AGREEMENT MONDELEZ GLOBAL LLC
2.545 lease is for and the nature              DATED: 01/01/2020            100 DEFOREST AVENUE
      of the debtor’s interest                                              EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract

                                               EXTERNAL MANUFACTURING
      State what the contract or               PROJECT AGREEMENT: BACK TO         MONDELEZ GLOBAL LLC
2.546 lease is for and the nature              NATURE DATED: 10/26/2012           100 DEFOREST AVENUE
      of the debtor’s interest                                                    EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract

                                               EXTERNAL MANUFACTURING
      State what the contract or               PURCHASE AGREEMENT AS              MONDELEZ GLOBAL LLC
2.547 lease is for and the nature              AMENDED DATED: 2024                ATTN: FELIPE PINTINHA
      of the debtor’s interest                                                    MONDELĒZ GLOBAL LLC
                                                                                  100 DEFOREST AVENUE
           State the term remaining                                               EAST HANOVER, NJ 07936

           List the contract number of
           any government contract

                                               LETTER OF INTENT DATED:
      State what the contract or               03/11/2020                         MONDELEZ GLOBAL LLC
2.548 lease is for and the nature                                                 100 DEFOREST AVENUE
      of the debtor’s interest                                                    EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract

                                               EXTERNAL MANUFACTURING
      State what the contract or               SNACKS MASTER AGREEMENT            MONDELEZ GLOBAL LLC
2.549 lease is for and the nature              DATED: 02/03/2017                  ATTN:ROBERT ANDERSEN
      of the debtor’s interest                                                    100 DEFOREST AVENUE
                                                                                  EAST HANOVER., NJ 07936
           State the term remaining
           List the contract number of
           any government contract

                                               LETTER (GOODS) DATED: 08/02/2019
      State what the contract or                                                  MONDELEZ GLOBAL LLC
2.550 lease is for and the nature                                                 100 DEFOREST AVENUE
      of the debtor’s interest                                                    EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 10/09/2015
      State what the contract or                                                  MONDELEZ GLOBAL LLC
2.551 lease is for and the nature                                                 100 DEFOREST AVENUE
      of the debtor’s interest                                                    EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               LETTER OF AUTHORIZATION (LOA)
      State what the contract or               DATED: 03/08/2021                  MONDELEZ GLOBAL LLC
2.552 lease is for and the nature                                                 100 DEFOREST AVENUE
      of the debtor’s interest                                                    EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract

                                               NOTICE OF ASSIGNMENT OF
      State what the contract or               CONTRACT DATED: 10/26/2012         MONDELEZ GLOBAL LLC
2.553 lease is for and the nature                                                 100 DEFOREST AVENUE
      of the debtor’s interest                                                    EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract

                                               MOT PROJECT AGREEMENT
      State what the contract or               LONDON DATED: 10/03/2016           MONDELEZ GLOBAL LLC
2.554 lease is for and the nature                                                 ATTN:BOB ANDERSEN
      of the debtor’s interest                                                    100 DEFOREST AVE
                                                                                  EAST HANOVER, NJ 07936
           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 01/04/2019
      State what the contract or                                                  MONDELEZ GLOBAL LLC
2.555 lease is for and the nature                                                 100 DEFOREST AVENUE
      of the debtor’s interest                                                    EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract

                                               EXTERNAL MANUFACTURING
      State what the contract or               PROJECT AGREEMENT: BISCUIT         MONDELEZ GLOBAL LLC
2.556 lease is for and the nature              DATED: 02/05/2017                  100 DEFOREST AVENUE
      of the debtor’s interest                                                    EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 06/26/2015
      State what the contract or                                                  MONDELEZ GLOBAL LLC
2.557 lease is for and the nature                                                 100 DEFOREST AVENUE
      of the debtor’s interest                                                    EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract

                                               EXTERNAL MANUFACTURING
      State what the contract or               PURCHASE AGREEMENT: 2020-2022 MONDELEZ GLOBAL LLC
2.558 lease is for and the nature              DATED: 02/28/2020             100 DEFOREST AVENUE
      of the debtor’s interest                                               EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               EXTERNAL MANUFACTURING
      State what the contract or               STRATEGIC ALLIANCE AGREEMENT MONDELEZ GLOBAL LLC
2.559 lease is for and the nature              DATED: 01/01/2020            100 DEFOREST AVENUE
      of the debtor’s interest                                              EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract

                                               EXTERNAL MANUFACTURING
      State what the contract or               PRODUCTS MASTER AGREEMENT         MONDELEZ GLOBAL LLC
2.560 lease is for and the nature              DATED: 01/01/2020                 100 DEFOREST AVENUE
      of the debtor’s interest                                                   EAST HANOVER, NJ 07936

           State the term remaining
           List the contract number of
           any government contract

                                               EXTERNAL MANUFACTURING
      State what the contract or               STRATEGIC ALLIANCE AGREEMENT MONOGRAM FOOD SOLUTIONS LLC
2.561 lease is for and the nature              DATED: 04/03/2018            P.O. BOX 71400
      of the debtor’s interest                                              CHICAGO, IL 60694-1400

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER (TERMS AND CONDITIONS)
      State what the contract or               DATED: 05/16/2011                 MONSANTO COMPANY
2.562 lease is for and the nature                                                ATTN LAW DEPARTMENT
      of the debtor’s interest                                                   800 NORTH LINDBERGH BOULEVARD
                                                                                 ST. LOUIS, MO 63167
           State the term remaining
           List the contract number of
           any government contract

                                               CONFIDENTIALITY AGREEMENT
      State what the contract or               DATED: 03/15/2011                 MONSANTO COMPANY
2.563 lease is for and the nature                                                ATTN LAW DEPARTMENT
      of the debtor’s interest                                                   800 NORTH LINDBERGH BOULEVARD
                                                                                 ST. LOUIS, MO 63167
           State the term remaining
           List the contract number of
           any government contract

                                               INDUSTRIAL REAL ESTATE LEASE
      State what the contract or               DATED: 08/11/2008                 NAPLES REAL PROPERTIES, LLC
2.564 lease is for and the nature                                                21750 CEDAR AVENUE
      of the debtor’s interest                                                   LAKEVILLE, MN 55044

           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL SUPPLY
      State what the contract or               AGREEMENT DATED: 04/30/2010       NASH FINCH COMPANY
2.565 lease is for and the nature                                                ATTN DIRECTOR OF PRODUCT OPERATIONS
      of the debtor’s interest                                                   7600 FRANCE AVENUE SOUTH
                                                                                 EDINA, MN 55435
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               LETTER AGREEMENT DATED:
      State what the contract or               04/26/2022                        NATIONAL SUGAR MARKETING LLC
2.566 lease is for and the nature                                                PO BOX 83257
      of the debtor’s interest                                                   CHICAGO, IL 60691-0257

           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 10/24/2016                 NATURE'S BEST
2.567 lease is for and the nature                                                6 POINTE DR
      of the debtor’s interest                                                   BREA, CA 92821

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT,
      State what the contract or               MANUFACTURING AND SUPPLY          NATURE'S PATH FOODS, INC.
2.568 lease is for and the nature              AGREEMENT DATED: 02/03/2015       715 MASSMAN DRIVE
      of the debtor’s interest                                                   NASHVILLE, TN 37210

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT REAGENT AGREEMENT
      State what the contract or               (US) DATED: 06/16/2020      NEOGEN CORPORATION
2.569 lease is for and the nature                                          620 LESHER PLACE
      of the debtor’s interest                                             LANSING, MI 48912

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT REAGENT AGREEMENT
      State what the contract or               DATED: 02/01/2023           NEOGEN CORPORATION
2.570 lease is for and the nature                                          620 LESHER PLACE
      of the debtor’s interest                                             LANSING, MI 48912

           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLY AGREEMENT DATED:
      State what the contract or               06/01/2020                        NEOGEN CORPORATION
2.571 lease is for and the nature                                                620 LESHER PLACE
      of the debtor’s interest                                                   LANSING, MI 48912

           State the term remaining
           List the contract number of
           any government contract

                                               CO-PACKING AND CO -FILLING
      State what the contract or               AGREEMENT DATED: 02/09/2016       NESTLE PURINA PETCARE COMPANY
2.572 lease is for and the nature                                                ONE CHECKERBOARD SQUARE
      of the debtor’s interest                                                   ST. LOUIS, MO 63164

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               CONTRACT MANUFACTURING AND
      State what the contract or               PACKAGING AGREEMENT DATED:        NESTLE USA
2.573 lease is for and the nature              12/01/2023                        ATTN: CONTRACT MANUFACTURING
      of the debtor’s interest                                                   GERBER PRODUCTS COMPANY
                                                                                 1812 NORTH MOORE STREET
           State the term remaining                                              ARLINGTON, VA 22201

           List the contract number of
           any government contract

                                               NJ GS HEART OF NEW JERSEY
      State what the contract or               2024-2027 DATED: 05/05/2023       NEW JERSEY DEPARTMENT OF HEALTH
2.574 lease is for and the nature                                                P. O. BOX 360
      of the debtor’s interest                                                   TRENTON, NJ 08625-0360

           State the term remaining
           List the contract number of
           any government contract

                                               BROKER AGREEMENT DATED:
      State what the contract or               02/22/2012                        NEXT PHASE ENTERPRISES, LLC
2.575 lease is for and the nature                                                4020 N 20TH STREET
      of the debtor’s interest                                                   SUITE 305
                                                                                 PHOENIX, AZ
           State the term remaining
           List the contract number of
           any government contract

                                               BROKER AGREEMENT DATED:
      State what the contract or               08/22/2011                        NEXT PHASE ENTERPRISES, LLC
2.576 lease is for and the nature                                                4020 N 20TH STREET
      of the debtor’s interest                                                   SUITE 305
                                                                                 PHOENIX, AZ
           State the term remaining
           List the contract number of
           any government contract

                                               BROKER AGREEMENT DATED:
      State what the contract or               04/21/2016                        NEXT PHASE ENTERPRISES, LLC
2.577 lease is for and the nature                                                4020 N. 20 H. ST.
      of the debtor’s interest                                                   SUITE 305
                                                                                 (419) 293-4187
           State the term remaining                                              PHOENIX, AZ 85016

           List the contract number of
           any government contract

                                               ORDER CONFIRMATION AND
      State what the contract or               AGREEMENT FOR ONE-TIME            NIELSEN COMPANY (US), LLC
2.578 lease is for and the nature              ORDERS DATED: 02/05/2015          150 N. MARTINGALE ROAD
      of the debtor’s interest                                                   SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract

                                               ORDER CONFINNATION AND
      State what the contract or               AGREEMENT FOR ON-GOING            NIELSEN COMPANY (US), LLC
2.579 lease is for and the nature              ORDERS DATED: 03/10/2014          150 N. MARTINGALE ROAD
      of the debtor’s interest                                                   SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               ORDER CONFIRMATION AND
      State what the contract or               AGREEMENT FOR ON-GOINA            NIELSEN COMPANY (US), LLC
2.580 lease is for and the nature              ORDERS                            150 N. MARTINGALE ROAD
      of the debtor’s interest                                                   SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract

                                               ORDER CONFIRMATION AND
      State what the contract or               AGREEMENT FOR ON-GOINA            NIELSEN COMPANY (US), LLC
2.581 lease is for and the nature              ORDERS AS AMENDED DATED:          150 N. MARTINGALE ROAD
      of the debtor’s interest                 03/01/2014                        SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract

                                               ORDER CONFIRMATION AND
      State what the contract or               AGREEMENT FOR ONE-TIME            NIELSEN COMPANY (US), LLC
2.582 lease is for and the nature              ORDERS DATED: 10/02/2015          150 N. MARTINGALE ROAD
      of the debtor’s interest                                                   SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract

                                               ORDER CONFIRMATION AND
      State what the contract or               AGREEMENT FOR ONE-TIME            NIELSEN COMPANY (US), LLC
2.583 lease is for and the nature              ORDERS DATED: 01/01/2011          150 N. MARTINGALE ROAD
      of the debtor’s interest                                                   SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract

                                               ORDER CONFIRMATION AND
      State what the contract or               AGREEMENT FOR ON-GOINA            NIELSEN COMPANY (US), LLC
2.584 lease is for and the nature              ORDERS AS AMENDED DATED:          150 N. MARTINGALE ROAD
      of the debtor’s interest                 03/01/2016                        SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract

                                               ORDER CONFIRMATION AND
      State what the contract or               AGREEMENT FOR ONE-TIME            NIELSEN COMPANY (US), LLC
2.585 lease is for and the nature              ORDERS DATED: 03/22/2016          150 N. MARTINGALE ROAD
      of the debtor’s interest                                                   SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract

                                               ORDER CONFIRMATION AND
      State what the contract or               AGREEMENT FOR ONE-TIME            NIELSEN COMPANY (US), LLC
2.586 lease is for and the nature              ORDERS DATED: 01/21/2012          150 N. MARTINGALE ROAD
      of the debtor’s interest                                                   SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               ORDER CONFIRMATION AND
      State what the contract or               AGREEMENT DATED: 01/01/2011       NIELSEN COMPANY (US), LLC
2.587 lease is for and the nature                                                150 N. MARTINGALE ROAD
      of the debtor’s interest                                                   SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract

                                               ORDER CONFIRMATION AND
      State what the contract or               AGREEMENT FOR ON-GOING            NIELSEN COMPANY (US), LLC
2.588 lease is for and the nature              ORDERS DATED: 03/17/2012          150 N. MARTINGALE ROAD
      of the debtor’s interest                                                   SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract

                                               PROFESSIONAL SERVICES TERMS
      State what the contract or               AND CONDISTIONS DATED:            NSF INTERNATIONAL FOOD SAFETY
2.589 lease is for and the nature              04/15/2021                        DEPT LOCKBOX # 771380
      of the debtor’s interest                                                   DETROIT, MI 48277-1380

           State the term remaining
           List the contract number of
           any government contract

                                               LEASE PROPOSAL DATED:
      State what the contract or               12/17/2020                        OBL FINANCIAL SERVICES INCORPORATED
2.590 lease is for and the nature                                                799 ROOSEVELT RD.
      of the debtor’s interest                                                   SUITE 6-215
                                                                                 GLEN ELLYN, IL 60137
           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AGREEMENT
      State what the contract or               DATED: 06/22/2022                 OCEAN SPRAY CRANBERRIES INC
2.591 lease is for and the nature                                                ATTN: GENERAL COUNSEL
      of the debtor’s interest                                                   OCEAN SPRAY CRANBERRIES, INC.
                                                                                 ONE OCEAN SPRAY DRIVE
           State the term remaining                                              LAKEVILLE, MA 02349

           List the contract number of
           any government contract

                                               CONTRACT AMENDMENTS DATED:
      State what the contract or               01/15/2014                        OCEAN SPRAY CRANBERRIES, INC
2.592 lease is for and the nature                                                ONE OCEAN SPRAY DRIVE
      of the debtor’s interest                                                   LAKEVILLE-MIDDLEBORO, MA 02349

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING SERVICE
      State what the contract or               AND SUPPLY AGREEMENT DATED:       ONCE UPON A FARM
2.593 lease is for and the nature              01/01/2024                        ATTENTION: LARRY WALDMAN, PRESIDENT AND CHIEF
      of the debtor’s interest                                                   OPERATING OFFICER
                                                                                 ONCE UPON A FARM, PBC
           State the term remaining                                              2111 SAN PABLO AVENUE, SUITE 2216
                                                                                 BERKELEY, CA 94702
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               CO-MANUFACTURING AGREEMENT
      State what the contract or               DATED: 10/20/2010                 OOGIE'S SNACKS, LLC
2.594 lease is for and the nature                                                1932 WEST 33RD AVE
      of the debtor’s interest                                                   DENVER, CO 80211

           State the term remaining
           List the contract number of
           any government contract

                                               INVOICE FOR LICENSE DATED:
      State what the contract or               03/04/2024                        OPG-3
2.595 lease is for and the nature                                                8030 OLD CEDAR AVE S #205
      of the debtor’s interest                                                   BLOOMINGTON, MN 55425-1215

           State the term remaining
           List the contract number of
           any government contract

                                               ORBIAN SUPPLIER ACCOUNT
      State what the contract or               INFORMATION FORM DATED:           ORBIAN CORP AND ORBIAN FINANCIAL SERVICES III, LLC
2.596 lease is for and the nature              05/27/2010                        200 CONNECTICUT AVENUE
      of the debtor’s interest                                                   NORWALK, CT 06854

           State the term remaining
           List the contract number of
           any government contract

                                               BROKERAGE AGREEMENT DATED:
      State what the contract or               05/28/2009                        P.L. MARKETING, INC
2.597 lease is for and the nature                                                625 EDEN PARK DRIVE
      of the debtor’s interest                                                   SUITE 400
                                                                                 CINCINNATI, OH 45202
           State the term remaining
           List the contract number of
           any government contract

                                               MASTER SERVICES AGREEMENT
      State what the contract or               PACKAGING CORP OF AMERICA         PACKAGING CORPORATION OF AMERICA
2.598 lease is for and the nature              12.01.23 DATED: 12/01/2023        1 N. FIELD COURT
      of the debtor’s interest                                                   LAKE FOREST, IL 60045

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER SERVICES AND
      State what the contract or               PURCHASING AGREEMENT DATED:       PACKAGING CORPORATION OF AMERICA
2.599 lease is for and the nature              12/01/2023                        ATTN: DEPUTY GENERAL COUNSEL
      of the debtor’s interest                                                   1 N. FIELD COURT
                                                                                 LAKE FORSET, IL 60045
           State the term remaining
           List the contract number of
           any government contract

                                               SANITATION SERVICES AGREEMENT
      State what the contract or               DATED: 12/21/2020             PACKERS SANITATION SERVICES, INC., LTD.
2.600 lease is for and the nature                                            3681 PRISM LANE
      of the debtor’s interest                                               KEILER, WI 53812

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               RECRUITING SERVICES
      State what the contract or               AGREEMENT DATED: 04/18/2019       PARKER AND LYNCH
2.601 lease is for and the nature                                                200 S. MICHIGAN AVE
      of the debtor’s interest                                                   #700
                                                                                 CHICAGO, IL 60604
           State the term remaining
           List the contract number of
           any government contract

                                               SERVICE PROVIDER SERVICES
      State what the contract or               AGREEMENT DATED: 05/30/2023       PARTNERSLATE INC.
2.602 lease is for and the nature                                                564 Castro St
      of the debtor’s interest                                                   Ste 2268
                                                                                 San Francisco, CA 94114
           State the term remaining
           List the contract number of
           any government contract

                                               CO-PACKAGING AGREEMENT
      State what the contract or               DATED: 11/01/2017                 PCB POST CONSUMER BRANDS, LLC
2.603 lease is for and the nature                                                20802 KENSINGTON BLVD
      of the debtor’s interest                                                   LAKEVILLE, MN 55044

           State the term remaining
           List the contract number of
           any government contract

                                               AGREEMENT TO SUPPLY
      State what the contract or               TEMPORARY STAFFING DATED:         PEOPLEREADY, INC
2.604 lease is for and the nature              04/26/2021                        1015 A St
      of the debtor’s interest                                                   Tacoma, WA 98402

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER PRODUCT DEVELOPMENT
      State what the contract or               AGREEMENT DATED: 08/01/2010 PEPPERIDGE FARM INC
2.605 lease is for and the nature                                          595 WESTPORT AVENUE
      of the debtor’s interest                                             NORWALK, CT 06851

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT NO. 1 TO WAREHOUSE
      State what the contract or               AGREEMENT DATED: 08/16/2017  PEPPERIDGE FARM INC
2.606 lease is for and the nature                                           595 WESTPORT AVE
      of the debtor’s interest                                              NORWALK, CT 06851

           State the term remaining
           List the contract number of
           any government contract

                                               WAREHOUSE & SERVICES
      State what the contract or               AGREEMENT DATED: 07/01/2014       PEPPERIDGE FARM INC
2.607 lease is for and the nature                                                595 WESTPORT AVE
      of the debtor’s interest                                                   NORWALK, CT 06851

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               AMENDMENT NO. 1 TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           PEPPERIDGE FARM INC
2.608 lease is for and the nature              DATED: 08/01/2011                 595 WESTPORT AVENUE
      of the debtor’s interest                                                   NORWALK, CT 06851

           State the term remaining
           List the contract number of
           any government contract

                                               CERTIFICATE OF COMPLETION AS
      State what the contract or               AMENDED DATED: 04/10/2018         PEPSICO
2.609 lease is for and the nature                                                PO BOX 644943
      of the debtor’s interest                                                   PITTSBURGH, PA 15264-4926

           State the term remaining
           List the contract number of
           any government contract

                                               FOURTH AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            PEPSICO
2.610 lease is for and the nature              AGREEMENT DATED: 03/06/2018       PO BOX 644943
      of the debtor’s interest                                                   PITTSBURGH, PA 15264-4926

           State the term remaining
           List the contract number of
           any government contract

                                               CERTIFICATE OF COMPLETION AS
      State what the contract or               AMENDED DATED: 08/21/2017         PEPSICO
2.611 lease is for and the nature                                                PO BOX 644943
      of the debtor’s interest                                                   PITTSBURGH, PA 15264-4926

           State the term remaining
           List the contract number of
           any government contract

                                               CERTIFICATE OF COMPLETION AS
      State what the contract or               AMENDED DATED: 06/02/2020         PEPSICO
2.612 lease is for and the nature                                                PO BOX 644943
      of the debtor’s interest                                                   PITTSBURGH, PA 15264-4926

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT AS AMENDED DATED:       PEPSICO
2.613 lease is for and the nature              03/01/2024                        FRITO-LAY, INC., QUAKER MANUFACTURING, LLC, AND GOLDEN
      of the debtor’s interest                                                   GRAIN COMPANY, SVC MANUFACTURING, INC.
                                                                                 ATTN: VP, CONTRACT MANUFACTURING
           State the term remaining                                              CC: LAW DEPARTMENT
                                                                                 7701 LEGACY DRIVE
           List the contract number of                                           PLANO, TX 75024
           any government contract

                                               CERTIFICATE OF COMPLETION AS
      State what the contract or               AMENDED DATED: 09/27/2018         PEPSICO
2.614 lease is for and the nature                                                PO BOX 644943
      of the debtor’s interest                                                   PITTSBURGH, PA 15264-4926

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               FIRST AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           PEPSICO CANADA ULC
2.615 lease is for and the nature              DATED: 06/30/2017                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               FOURTH AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            PEPSICO CANADA ULC
2.616 lease is for and the nature              AGREEMENT DATED: 03/06/2018       555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               SECOND AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            PEPSICO CANADA ULC
2.617 lease is for and the nature              AGREEMENT DATED: 10/04/2017       555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           PEPSICO CANADA ULC
2.618 lease is for and the nature              DATED: 02/15/2018                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           PEPSICO CANADA ULC
2.619 lease is for and the nature              DATED: 02/01/2018                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 07/29/2015       PEPSICO CANADA ULC
2.620 lease is for and the nature                                                ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               SIXTH AMENDMENTTOCONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           PEPSICO CANADA ULC
2.621 lease is for and the nature              DATED: 11/30/2018                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               TESTING AND PRODUCT
      State what the contract or               DEVELOPMENT PROJECT DETAILS       PEPSICO FOODS CANADA
2.622 lease is for and the nature              DATED: 01/09/2018                 ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO CO-PACK
      State what the contract or               SALES AGREEMENT DATED:            PEPSICO FOODS CANADA
2.623 lease is for and the nature              09/11/2013                        ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               EXTENSION OF TERM DATED:
      State what the contract or               11/15/2018                        PEPSICO FOODS CANADA
2.624 lease is for and the nature                                                ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               TESTING AND PRODUCT
      State what the contract or               DEVELOPMENT PROJECT DETAILS       PEPSICO FOODS CANADA
2.625 lease is for and the nature              DATED: 05/02/2017                 ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING DATED:     PEPSICO FOODS CANADA
2.626 lease is for and the nature              05/02/2017                   ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                              8TH FLOOR
                                                                            MISSISSAUGA, ON L4W 0C3
           State the term remaining                                         CANADA

           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING DATED:     PEPSICO FOODS CANADA
2.627 lease is for and the nature              05/02/2017                   ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                              8TH FLOOR
                                                                            MISSISSAUGA, ON L4W 0C3
           State the term remaining                                         CANADA

           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 07/28/2015       PEPSICO FOODS CANADA
2.628 lease is for and the nature                                                ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING EXHIBIT A-1: PEPSICO FOODS CANADA
2.629 lease is for and the nature              PROJECT LUIGI DATED: 07/03/2023 ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                 8TH FLOOR
                                                                               MISSISSAUGA, ON L4W 0C3
           State the term remaining                                            CANADA

           List the contract number of
           any government contract

                                               SEVENTH AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            PEPSICO FOODS CANADA
2.630 lease is for and the nature              AGREEMENT DATED: 05/15/2020       ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               SIXTH AMENDMENT DATED:
      State what the contract or               11/30/2018                        PEPSICO FOODS CANADA
2.631 lease is for and the nature                                                ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               THIRD AMENDMENT DATED:
      State what the contract or               02/01/2018                        PEPSICO FOODS CANADA
2.632 lease is for and the nature                                                ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           PEPSICO FOODS CANADA
2.633 lease is for and the nature              DATED: 06/30/2017                 ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               FIFTH AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           PEPSICO FOODS CANADA
2.634 lease is for and the nature              DATED: 07/19/2018                 ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING DATED:     PEPSICO FOODS CANADA
2.635 lease is for and the nature              05/02/2017                   ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                              8TH FLOOR
                                                                            MISSISSAUGA, ON L4W 0C3
           State the term remaining                                         CANADA

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PIE MUTUAL CONFIDENTIALITY AND
      State what the contract or               NON-USE AGREEMENT DATED:       PEPSICO MEXICO
2.636 lease is for and the nature              10/09/2017                     BOSQUE DE DURAZNOS
      of the debtor’s interest                                                NO. 67 BOSQUES DE LAS LOMAS
                                                                              MIGUEL HIDALGO
           State the term remaining                                           CIUDAD DE MEXICO, 11700
                                                                              MEXICO
           List the contract number of
           any government contract

                                               CAPACITY OBLIGATION FOR
      State what the contract or               PEPSICO MEXICO COOKIES DATED: PEPSICO MEXICO
2.637 lease is for and the nature              11/06/2017                    BOSQUE DE DURAZNOS
      of the debtor’s interest                                               NO. 67 BOSQUES DE LAS LOMAS
                                                                             MIGUEL HIDALGO
           State the term remaining                                          CIUDAD DE MEXICO, 11700
                                                                             MEXICO
           List the contract number of
           any government contract

                                               POSSIBLE TRANSACTION= DATED:
      State what the contract or               10/06/2017                        PERICULUM CAPITAL COMPANY, LLC
2.638 lease is for and the nature                                                4 CENTER GREEN
      of the debtor’s interest                                                   SUITE 200
                                                                                 CARMEL, IN 46032
           State the term remaining
           List the contract number of
           any government contract

                                               PERRINO & ASSOCIATES BUSINESS
      State what the contract or               PROPOSAL DATED: 03/01/2018    PERRINO & ASSOCIATES, LTD.
2.639 lease is for and the nature                                            328 ROYCE WOODS CT.
      of the debtor’s interest                                               NAPERVILLE, IL 60565

           State the term remaining
           List the contract number of
           any government contract

                                               STAFFING SERVICES AGREEMENT
      State what the contract or               DATED: 09/20/2018                 PERSONNEL PLUS
2.640 lease is for and the nature                                                3556 NICOLLET AVES
      of the debtor’s interest                                                   MINNEAPOLIS, MN 55408

           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 05/01/2017                 PGO VP BRAND AND PROD MGT PLC.
2.641 lease is for and the nature                                                680 STH AVE
      of the debtor’s interest                                                   NEW YORK, NY 10019

           State the term remaining
           List the contract number of
           any government contract

                                               LEASE AGREEMENT DATED:
      State what the contract or               08/12/2014                        PHILTOWER LLC
2.642 lease is for and the nature                                                427 S. BOSTON AVE., STE. 915
      of the debtor’s interest                                                   TULSA, OK 74103

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               MASTER SUPPLIER AGREEMENT
      State what the contract or               DATED: 12/18/2019                 PILOT CORPORATION
2.643 lease is for and the nature                                                5508 LONAS DRIVE
      of the debtor’s interest                                                   KNOXVILLE, TN 37909

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER SUPPLIER AGREEMENT
      State what the contract or               DATED: 12/18/2019                 PILOT TRAVEL CENTERS LLC
2.644 lease is for and the nature                                                5508 LONAS DRIVE
      of the debtor’s interest                                                   KNOXVILLE, TN 37909

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 12/06/2016       PINNACLE FOODS GROUP LLC
2.645 lease is for and the nature                                                399 JEFFERSON ROAD
      of the debtor’s interest                                                   PARSIPPANY, NJ 07054

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           PINNACLE FOODS GROUP LLC
2.646 lease is for and the nature              DATED: 07/07/2017                 399 JEFFERSON ROAD
      of the debtor’s interest                                                   PARSIPPANY, NJ 07054-3707

           State the term remaining
           List the contract number of
           any government contract

                                               BROKERAGE CONTRACT DATED:
      State what the contract or               12/14/2012                        PJB PRIMELINE SALES & MARKETING
2.647 lease is for and the nature                                                200-1580 BRIGANTINE DR.
      of the debtor’s interest                                                   COQUITLAM, BC V3K7C1
                                                                                 CANADA
           State the term remaining
           List the contract number of
           any government contract

                                               POST PEBBLES BAR PROJECT
      State what the contract or               DATED: 06/22/2010                 POST FOODS, LLC
2.648 lease is for and the nature                                                1 UPPER POND ROAD
      of the debtor’s interest                                                   PARSIPPANY, NJ 07054

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO MANUFACTURING
      State what the contract or               AGREEMENT DATED: 05/15/2015       POST HOLDINGS, INC
2.649 lease is for and the nature                                                1222 67TH ST.
      of the debtor’s interest                                                   SUITE 210
                                                                                 EMERYVILLE, CA 94608
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               CONTRACT PACKING COVER SHEET
      State what the contract or               DATED: 10/01/2022            POST HOLDINGS, INC
2.650 lease is for and the nature                                           2600 S HANLEY ROAD
      of the debtor’s interest                                              ST. LOUIS, MO 63144

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AGREEMENT
      State what the contract or               DATED: 05/15/2015                 POST HOLDINGS, INC
2.651 lease is for and the nature                                                2503 S. HANLEY RD
      of the debtor’s interest                                                   ST. LOUIS, MO 63144

           State the term remaining
           List the contract number of
           any government contract

                                               BROKERAGE CONTRACT DATED:
      State what the contract or               05/22/2012                        PREFERRED INGREDIENTS
2.652 lease is for and the nature                                                4799 MANOR HILL DRIVE
      of the debtor’s interest                                                   SYRACUSE, NY 13215

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO MANUFACTURING
      State what the contract or               AGREEMENT DATED: 06/16/2020       PREMIER NUTRITION COMPANY, LLC
2.653 lease is for and the nature                                                1222 67TH ST.
      of the debtor’s interest                                                   SUITE 210
                                                                                 EMERYVILLE, CA 94608
           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO MANUFACTURING
      State what the contract or               AGREEMENT DATED: 12/20/2019       PREMIER NUTRITION COMPANY, LLC
2.654 lease is for and the nature                                                1222 67TH ST.
      of the debtor’s interest                                                   SUITE 210
                                                                                 EMERYVILLE, CA 94608
           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO MANUFACTURING
      State what the contract or               AGREEMENT DATED: 12/15/2019       PREMIER NUTRITION COMPANY, LLC
2.655 lease is for and the nature                                                1222 67* ST.
      of the debtor’s interest                                                   SUITE 210
                                                                                 EMERYVILLE, CA 94608
           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO MANUFACTURING
      State what the contract or               AGREEMENT DATED: 01/01/2017       PREMIER NUTRITION CORPORATION
2.656 lease is for and the nature                                                1222 67TH ST.
      of the debtor’s interest                                                   SUITE 210
                                                                                 EMERYVILLE, CA 94608
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               CONSENT TO ASSIGNMENT OF
      State what the contract or               MANUFACTURING AND SUPPLY           PREMIER NUTRITION INC.
2.657 lease is for and the nature              AGREEMENT DATED: 09/28/2011        STANDARD FUNCTIONAL FOODS GROUP INC.
      of the debtor’s interest                                                    ATTN TOM DRUMMOND PRESIDENT
                                                                                  715 MASSMAN DRIVE
           State the term remaining                                               NASHVILLE, TN 37210

           List the contract number of
           any government contract

                                               LETTER DATED: 03/27/2017
      State what the contract or                                                  PRETZEL PERFECTION
2.658 lease is for and the nature                                                 MS. AMY HOJYK PRETZEL PERFECTION
      of the debtor’s interest                                                    215 EAST RESERVE STREET
                                                                                  VANCOUVER, WA 98661
           State the term remaining
           List the contract number of
           any government contract

                                               TEMPORARY SERVICES
      State what the contract or               AGREEMENT DATED: 03/24/2021        PRIMARY STAFFING INC.
2.659 lease is for and the nature                                                 4247 SOUTH KEDZIE AVENUE
      of the debtor’s interest                                                    CHICAGO, IL 60632

           State the term remaining
           List the contract number of
           any government contract

                                               RECRUITING SERVICES
      State what the contract or               AGREEMENT DATED: 11/08/2019        PROACTIVE HR SOLUTIONS, INC.
2.660 lease is for and the nature                                                 1018 N. CITADEL AVE
      of the debtor’s interest                                                    CLOVIS, CA 93611

           State the term remaining
           List the contract number of
           any government contract

                                               BY-LAWS FOR THE PROCUREMENT
      State what the contract or               OF PRODUCTS BY PROCUREMENT PROCUREMENT ADVISORS LLC
2.661 lease is for and the nature              ADVISORS LLC DATED: 12/17/2014 3101 TOWERCREEK PARKWAY
      of the debtor’s interest                                                SUITE 250
                                                                              ATLANTA, GA 30339
           State the term remaining
           List the contract number of
           any government contract

                                               LEASE AGREEMENT DATED:
      State what the contract or               04/22/2013                         PROLOGIS-ILLINOIS, LLC
2.662 lease is for and the nature                                                 8755 W. HIGGINS ROAD
      of the debtor’s interest                                                    SUITE 700
                                                                                  CHICAGO, IL 60631
           State the term remaining
           List the contract number of
           any government contract

                                               EXHIBIT AMANUFACTURER
      State what the contract or               AGREEMENT DATED: 05/31/2017        Pure Growth Organic
2.663 lease is for and the nature                                                 208 E 51st St
      of the debtor’s interest                                                    Ste 181
                                                                                  New York, NY 10022-6557
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               EXHIBIT A-5 TESTING AND PRODUCT
      State what the contract or               DEVELOPMENT PROJECT DETAILS QUAKER MANUFACTURING
2.664 lease is for and the nature              DATED: 08/15/2014               FRITO LAY R&D
      of the debtor’s interest                                                 DOCK S
                                                                               7701 LEGACY DRIVE
           State the term remaining                                            PLANO, TX 75024

           List the contract number of
           any government contract

                                               FOURTH AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            QUAKER MANUFACTURING, LLC
2.665 lease is for and the nature              AGREEMENT DATED: 03/06/2018       ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING DATED:     QUAKER MANUFACTURING, LLC
2.666 lease is for and the nature              05/02/2017                   ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                              8TH FLOOR
                                                                            MISSISSAUGA, ON L4W 0C3
           State the term remaining                                         CANADA

           List the contract number of
           any government contract

                                               TESTING AND PRODUCT
      State what the contract or               DEVELOPMENT PROJECT DETAILS       QUAKER MANUFACTURING, LLC
2.667 lease is for and the nature              DATED: 01/09/2018                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               TESTING AND PRODUCT
      State what the contract or               DEVELOPMENT PROJECT DETAILS       QUAKER MANUFACTURING, LLC
2.668 lease is for and the nature              DATED: 05/02/2017                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               TESTING AND PRODUCT
      State what the contract or               DEVELOPMENT PROJECT DETAILS       QUAKER MANUFACTURING, LLC
2.669 lease is for and the nature              DATED: 11/07/2013                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           QUAKER MANUFACTURING, LLC
2.670 lease is for and the nature              DATED: 02/01/2018                 ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               FIRST AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           QUAKER MANUFACTURING, LLC
2.671 lease is for and the nature              DATED: 06/30/2017                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               EXTENSION OF TERM DATED:
      State what the contract or               11/15/2018                        QUAKER MANUFACTURING, LLC
2.672 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           QUAKER MANUFACTURING, LLC
2.673 lease is for and the nature              DATED: 06/30/2017                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               EXTENSION OF TERM DATED:
      State what the contract or               08/31/2018                        QUAKER MANUFACTURING, LLC
2.674 lease is for and the nature                                                ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           QUAKER MANUFACTURING, LLC
2.675 lease is for and the nature              DATED: 02/15/2018                 ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING DATED:     QUAKER MANUFACTURING, LLC
2.676 lease is for and the nature              05/02/2017                   555 WEST MONROE STREET
      of the debtor’s interest                                              CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               SEVENTH AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            QUAKER MANUFACTURING, LLC
2.677 lease is for and the nature              AGREEMENT DATED: 05/15/2020       555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               SIXTH AMENDMENT DATED:
      State what the contract or               11/30/2018                        QUAKER MANUFACTURING, LLC
2.678 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT DATED:
      State what the contract or               02/01/2018                        QUAKER MANUFACTURING, LLC
2.679 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               SECOND AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            QUAKER MANUFACTURING, LLC
2.680 lease is for and the nature              AGREEMENT DATED: 10/04/2017       ULC5550 EXPLORER DRIVE
      of the debtor’s interest                                                   8TH FLOOR
                                                                                 MISSISSAUGA, ON L4W 0C3
           State the term remaining                                              CANADA

           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO CO-PACK
      State what the contract or               SALES AGREEMENT DATED:            QUAKER MANUFACTURING, LLC
2.681 lease is for and the nature              09/11/2013                        555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 07/28/2015       QUAKER MANUFACTURING, LLC
2.682 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREEMENT REGARDING
      State what the contract or               ""TESTING AND PRODUCT           QUAKER MANUFACTURING, LLC
2.683 lease is for and the nature              DEVELOPMENT"" DATED: 11/07/2013 555 WEST MONROE STREET
      of the debtor’s interest                                                 CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               SIXTH AMENDMENTTOCONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           QUAKER MANUFACTURING, LLC
2.684 lease is for and the nature              DATED: 11/30/2018                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               THIRD AMENDMENT DATED:
      State what the contract or               01/01/2005                         QUAKER MANUFACTURING, LLC
2.685 lease is for and the nature                                                 555 WEST MONROE STREET
      of the debtor’s interest                                                    CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 07/29/2015        QUAKER MANUFACTURING, LLC
2.686 lease is for and the nature                                                 555 WEST MONROE STREET
      of the debtor’s interest                                                    CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               FIFTH AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT            QUAKER MANUFACTURING, LLC
2.687 lease is for and the nature              DATED: 07/19/2018                  555 WEST MONROE STREET
      of the debtor’s interest                                                    CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT BRIEF FOR PROJECT
      State what the contract or               PORTABLE BREAKFAST (THE            QUAKER MANUFACTURING, LLC
2.688 lease is for and the nature              ""PRODUCT BRIEF(S)"") DATED:       555 WEST MONROE STREET
      of the debtor’s interest                 08/10/2017                         CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING EXHIBIT A-1: QUAKER MANUFACTURING, LLC
2.689 lease is for and the nature              PROJECT LUIGI DATED: 07/03/2023 ATTN VP CONTRACT MANUFACTURING
      of the debtor’s interest                                                 7701 LEGACY DRIVE
                                                                               PLANO, TX 75024
           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AGREEMENT
      State what the contract or               DATED: 12/31/2020                  QUEST NUTRITION, LLC
2.690 lease is for and the nature                                                 2221 PARK PLACE
      of the debtor’s interest                                                    EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AGREEMENT AS
      State what the contract or               AMENDED DATED: 09/10/2021          QUEST NUTRITION, LLC
2.691 lease is for and the nature                                                 2221 PARK PLACE
      of the debtor’s interest                                                    EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               MANUFACTURING AGREEMENT
      State what the contract or               DATED: 01/00/1900                  QUEST NUTRITION, LLC
2.692 lease is for and the nature                                                 2221 PARK PLACE
      of the debtor’s interest                                                    EL SEGUNDO, CA 90245

           State the term remaining
           List the contract number of
           any government contract

                                               LEASE AS AMENDED: 12/07/2017
      State what the contract or                                                  Radcliff Development, L.C.
2.693 lease is for and the nature                                                 4460 44th Street, S.E.
      of the debtor’s interest                                                    Suite C-200
                                                                                  Grand Rapids, MI 49512
           State the term remaining
           List the contract number of
           any government contract

                                               EXECUTIVE EMPLOYMENT
      State what the contract or               AGREEMENT DATED: 01/03/2023        RAFFETTO, BOBBI JO
2.694 lease is for and the nature                                                 ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT DATED:
      State what the contract or               10/05/2006                         Ralston foods
2.695 lease is for and the nature                                                 150 McCamly St S
      of the debtor’s interest                                                    Battle Creek, MI 49017

           State the term remaining
           List the contract number of
           any government contract

                                               MANUFACTURING AND SUPPLY
      State what the contract or               MASTER AGREEMENT DATED:            RALSTON HOLDINGS, INC
2.696 lease is for and the nature              02/02/2012                         C 53A Este
      of the debtor’s interest                                                    Panama, Provincia de Panama,

           State the term remaining
           List the contract number of
           any government contract

                                               TEMPORARY STAFFING SERVLCES
      State what the contract or               AGREEMENT DATED: 01/02/2019        RANDSTAD GENERAL PARTNER (US), LLC
2.697 lease is for and the nature                                                 ONE OVERTON PARK
      of the debtor’s interest                                                    3625 CUMBERLAND BLVD.
                                                                                  SUITE 600
           State the term remaining                                               ATLANTA, GA 30339

           List the contract number of
           any government contract

                                               STAFFING SERVICES AGREEMENT
      State what the contract or               DATED: 01/09/2024                  RANDSTAD NORTH AMERICA, INC.
2.698 lease is for and the nature                                                 3625 CUMBERLAND BLVD.
      of the debtor’s interest                                                    ONE OVERTON PARK
                                                                                  SUITE 600
           State the term remaining                                               ATLANTA, GA 30339

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               TRADE SECRET LICENSE
      State what the contract or               AGREEMENT DATED: 06/24/2002       RCD HOLDINGS INC.
2.699 lease is for and the nature                                                300 RIVER PLACE
      of the debtor’s interest                                                   DETROIT, MI 48207

           State the term remaining
           List the contract number of
           any government contract

                                               HSF LETTER AGREEMENT JAN-JUNE
      State what the contract or               2024 RED RIVER SUNFLOWER      RED RIVER GLOBAL INGREDIENTS
2.700 lease is for and the nature              DATED: 01/01/2024             880 L-15th St
      of the debtor’s interest                                               Unit 4
                                                                             Winkler, MB R6W OH5
           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREEMENT DATED:
      State what the contract or               01/01/2023                        RED RIVER GLOBAL INGREDIENTS
2.701 lease is for and the nature                                                880 L-15th St
      of the debtor’s interest                                                   Unit 4
                                                                                 Winkler, MB R6W OH5
           State the term remaining
           List the contract number of
           any government contract

                                               HSF LETTER AGREEMENT JAN-JUNE
      State what the contract or               2024 RED RIVER PEPITAS DATED: RED RIVER GLOBAL INGREDIENTS
2.702 lease is for and the nature              01/01/2024                    880 L-15th St
      of the debtor’s interest                                               Unit 4
                                                                             Winkler, MB R6W OH5
           State the term remaining
           List the contract number of
           any government contract

                                               HSF LETTER AGREEMENT
      State what the contract or               JULY-DECEMBER 2024 RED RIVER      RED RIVER GLOBAL INGREDIENTS
2.703 lease is for and the nature              SUNFLOWER TC SIGNED DATED:        880 L-15th St
      of the debtor’s interest                 07/01/2024                        Unit 4
                                                                                 Winkler, MB R6W OH5
           State the term remaining
           List the contract number of
           any government contract

                                               HSF LETTER AGREEMENT
      State what the contract or               JULY-DECEMBER 2024 RED RIVER      RED RIVER GLOBAL INGREDIENTS
2.704 lease is for and the nature              PEPITAS TC SIGNED DATED:          880 L-15th St
      of the debtor’s interest                 07/01/2024                        Unit 4
                                                                                 Winkler, MB R6W OH5
           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLY AGREEMENT DATED:
      State what the contract or               07/19/2010                        REILY FOODS COMPANY
2.705 lease is for and the nature                                                640 MAGAZINE STREET
      of the debtor’s interest                                                   NEW ORLEANS, LA 70130

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               AGREEMENT II AS AMENDED DATED:
      State what the contract or               08/03/2018                     REPUBLIC SERVICES
2.706 lease is for and the nature                                             2608 S. DAMON AVE.
      of the debtor’s interest                                                CHICAGO., IL 60608

           State the term remaining
           List the contract number of
           any government contract

                                               CUSTOMER SERVICE AGREEMENT
      State what the contract or               WOODRIDGE DATED: 11/01/2023       REPUBLIC SERVICES #388
2.707 lease is for and the nature                                                PO BOX 9001099
      of the debtor’s interest                                                   LOUISVILLE, KY 40290-1099

           State the term remaining
           List the contract number of
           any government contract

                                               CUSTOMER SERVICE AGREEMENT
      State what the contract or               WOLF RD DATED: 08/08/2023         REPUBLIC SERVICES #388
2.708 lease is for and the nature                                                PO BOX 9001099
      of the debtor’s interest                                                   LOUISVILLE, KY 40290-1099

           State the term remaining
           List the contract number of
           any government contract

                                               CUSTOMER SERVICE AGREEMENT
      State what the contract or               DATED: 08/08/2023                 REPUBLIC SERVICES #388
2.709 lease is for and the nature                                                PO BOX 9001099
      of the debtor’s interest                                                   LOUISVILLE, KY 40290-1099

           State the term remaining
           List the contract number of
           any government contract

                                               RESOURCE EQUIPMENT COMPANY
      State what the contract or               DATED: 09/23/2022                 RESOURCE EQUIPMENT COMPANY
2.710 lease is for and the nature                                                P.O. BOX 2695 CHINO, CA 91708
      of the debtor’s interest                                                   CHINO, CA 91708

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREEMENT DATED:
      State what the contract or               01/24/2023                        RIO VALLEY CHILI, INC
2.711 lease is for and the nature                                                111 St Elaine Rd
      of the debtor’s interest                                                   Rincon, NM 87940

           State the term remaining
           List the contract number of
           any government contract

                                               RECRUITING SERVICES
      State what the contract or               AGREEMENT DATED: 04/11/2019       ROBERT HALF INTERNATIONAL INC.
2.712 lease is for and the nature                                                333 BRIDGE STREET N.W.
      of the debtor’s interest                                                   SUITE 1010A
                                                                                 GRAND RAPIDS, MI 49504
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               HFS BROKER AGREEMENT DATED:
      State what the contract or               01/01/2011                        ROGER SUNDAHL & ASSOCIATES
2.713 lease is for and the nature                                                1300 UNIVERSITY DRIVE
      of the debtor’s interest                                                   SUITE 1B
                                                                                 MENLO PARK, CA 94025
           State the term remaining
           List the contract number of
           any government contract

                                               CO-MANUFACTURING AGREEMENT
      State what the contract or               DATED: 04/09/2009                 ROSKAM BAKING COMPANY
2.714 lease is for and the nature                                                P.O. BOX 202
      of the debtor’s interest                                                   GRAND RAPIDS, MI 49501

           State the term remaining
           List the contract number of
           any government contract

                                               NOTICE OF ACCEPTANCE UNDER
      State what the contract or               SECTION 8 DATED: 05/02/2018       ROYAL CREST
2.715 lease is for and the nature                                                350 S Pearl St
      of the debtor’s interest                                                   Denver, CO 80209

           State the term remaining
           List the contract number of
           any government contract

                                               ROYAL INGREDIENTS GROUP USA
      State what the contract or               INC. LETTER AGREEMENT DATED:      ROYAL INGREDIENTS GROUP USA INC.
2.716 lease is for and the nature              04/01/2024                        311 W. SUPERIOR ST., SUITE – 209 CHICAGO, IL 60654
      of the debtor’s interest                                                   ATTENTION: IAN NUXOLL
                                                                                 CHICAGO, IL 60654
           State the term remaining
           List the contract number of
           any government contract

                                               SALES AGREEMENT DATED:
      State what the contract or               09/23/2016                        RR DONNELLEY
2.717 lease is for and the nature                                                7810 SOLUTION CENTER
      of the debtor’s interest                                                   CHICAGO, IL 60677-7008

           State the term remaining
           List the contract number of
           any government contract

                                               PACK CERTIFICATION SERVICE AS
      State what the contract or               AMENDED DATED: 07/09/2010         S. DEPARTMENT OF AGRICULTURE AGRICULTURAL MARKETING
2.718 lease is for and the nature                                                SERVICE FRUIT AND VEGETABLE PROGRAMS
      of the debtor’s interest                                                   4318 NORTH TECHNOLOGY DRIVE
                                                                                 SOUTH BEND, IN 46628
           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLIER RELATIONSHIP
      State what the contract or               AGREEMENT DATED: 09/09/2010       SARA LEE CORPORATION
2.719 lease is for and the nature                                                3500 LACEY RD 1800 AVERILL ROAD
      of the debtor’s interest                                                   GENEVA, IL 60515-5424

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               SUPPLIER AGREEMENT DATED:
      State what the contract or               07/01/2009                         SARA LEE CORPORATION
2.720 lease is for and the nature                                                 3500 LACEY RD 1800 AVERILL ROAD
      of the debtor’s interest                                                    GENEVA, IL 60515-5424

           State the term remaining
           List the contract number of
           any government contract

                                               SCHENCK PROCESS
      State what the contract or               LLC_STANDARD TERMS AND             SCHENCK PROCESS LLC
2.721 lease is for and the nature              CONDITIONS DATED: 06/27/2024       PO BOX 19747
      of the debtor’s interest                                                    PALATINE, IL 60055-9747

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO MUTUAL
      State what the contract or               CONFIDENTIALITY AGREEMENT          SCHREIBER FOODS, INC
2.722 lease is for and the nature              DATED: 07/18/2017                  400 N. WASHINGTON STREET
      of the debtor’s interest                                                    PO BOX 19010
                                                                                  54307-9010
           State the term remaining                                               GREEN BAY, WI 54301

           List the contract number of
           any government contract

                                               BROKERAGE CONTRACT DATED:
      State what the contract or               05/01/2012                         SELECT MARKETING, LLC
2.723 lease is for and the nature                                                 3240 POINTE PARKWAY
      of the debtor’s interest                                                    SUITE 500
                                                                                  NORCROSS, GA 30092
           State the term remaining
           List the contract number of
           any government contract

                                               NEW ACCOUNT FORM DATED:
      State what the contract or               04/20/2009                         SGS U.S. TESTING COMPANY INC.
2.724 lease is for and the nature                                                 1405 32ND AVE
      of the debtor’s interest                                                    BROOKINGS, SD 57006

           State the term remaining
           List the contract number of
           any government contract

                                               NEW VENDOR
      State what the contract or               AUTHORIZATIONDSD/W AREHOUSE SHAW'S SUPERMARKETS, INC.
2.725 lease is for and the nature              DATED: 07/13/2012           750 W. CENTER STREET
      of the debtor’s interest                                             WEST BRIDGEWATER, MA 02379

           State the term remaining
           List the contract number of
           any government contract

                                               SHEETZ, INC. SECOND EXTENSION
      State what the contract or               OF INTERIM MATERIALS DATED:        SHEETZ, INC.
2.726 lease is for and the nature              08/21/2024                         5700 SIXTH AVE.
      of the debtor’s interest                                                    ALTOONA, PA 16602

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               BROKERAGE CONTRACT DATED:
      State what the contract or               12/12/2011                        SHORE GROUP
2.727 lease is for and the nature                                                14500 MARTIN DRIVE
      of the debtor’s interest                                                   SUITE 400
                                                                                 EDEN PRAIRIE, MN 55344
           State the term remaining
           List the contract number of
           any government contract

                                               BROKER APPOINTMENT NOTICE
      State what the contract or               DATED: 03/07/2012                 SHORE GROUP
2.728 lease is for and the nature                                                14500 MARTIN DRIVE
      of the debtor’s interest                                                   SUITE 400
                                                                                 EDEN PRAIRIE, MN 55344
           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLY AGREEMENT DATED:
      State what the contract or               06/01/2024                        SHORR PACKAGING CORPORATION
2.729 lease is for and the nature                                                4000 FERRY ROAD
      of the debtor’s interest                                                   AURORA, IL 60502

           State the term remaining
           List the contract number of
           any government contract

                                               PURCHASE AND SALE AGREEMENT
      State what the contract or               DATED: 10/03/2022           SILLIKER, INC
2.730 lease is for and the nature                                          401 N. MICHIGAN AVE.
      of the debtor’s interest                                             SUITE 1400
                                                                           CHICAGO, IL 60611
           State the term remaining
           List the contract number of
           any government contract

                                               PURCHASE AND SALE AGREEMENT
      State what the contract or               FOR ANALYTICAL SERVICES DATED: SILLIKER, INC.
2.731 lease is for and the nature              01/15/2019                     111 E. WACKER DRIVE
      of the debtor’s interest                                                SUITE 2300
                                                                              CHICAGO, IL 60601
           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT AGREEMENT NO . 2 -
      State what the contract or               CRACKERS AS AMENDED DATED:        SIMPLE MILLS, INC
2.732 lease is for and the nature              01/01/2022                        435 NORTH LASALLE DRIVE
      of the debtor’s interest                                                   SECOND FLOOR
                                                                                 CHICAGO, IL 60654
           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT BAILEE ADDENDUM
      State what the contract or               DATED: 02/09/2021                 SIMPLE MILLS, INC
2.733 lease is for and the nature                                                435 N. LASALLE DR.
      of the debtor’s interest                                                   2ND FLOOR
                                                                                 CHICAGO, IL 60654
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PRODUCT AGREEMENT NO. 4 - POP
      State what the contract or               MMMS DATED: 05/01/2023        SIMPLE MILLS, INC
2.734 lease is for and the nature                                            435 NORTH LASALLE DRIVE
      of the debtor’s interest                                               SECOND FLOOR
                                                                             CHICAGO, IL 60654
           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO MASTER
      State what the contract or               MANUFACTURING SUPPLY              SIMPLE MILLS, INC
2.735 lease is for and the nature              AGREEMENT DATED: 01/00/1900       435 NORTH LASALLE DRIVE
      of the debtor’s interest                                                   SECOND FLOOR
                                                                                 CHICAGO, IL 60654
           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT AGREEMENT NO. 3 -
      State what the contract or               CRACKERS DATED: 01/01/2023        SIMPLE MILLS, INC
2.736 lease is for and the nature                                                435 NORTH LASALLE DRIVE
      of the debtor’s interest                                                   SECOND FLOOR
                                                                                 CHICAGO, IL 60654
           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT AGREEMENT NO.1 -
      State what the contract or               CRACKERS AS AMENDED DATED:        SIMPLE MILLS, INC
2.737 lease is for and the nature              02/09/2021                        435 NORTH LASALLE DRIVE
      of the debtor’s interest                                                   SECOND FLOOR
                                                                                 CHICAGO, IL 60654
           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LETTER AGREEMENT
      State what the contract or               DATED: 10/25/2018                 SMUCKER MANUFACTURING, INC.
2.738 lease is for and the nature                                                ONE STRAWBERRY LANE
      of the debtor’s interest                                                   ORRVILLE, OH 44667

           State the term remaining
           List the contract number of
           any government contract

                                               CERTIFICATE OF COMPLETION AS
      State what the contract or               AMENDED DATED: 10/26/2018         SMUCKER MANUFACTURING, INC.
2.739 lease is for and the nature                                                ONE STRAWBERRY LANE
      of the debtor’s interest                                                   ORRVILLE, OH 44667

           State the term remaining
           List the contract number of
           any government contract

                                               SNACKS GENERATION CONTRACT
      State what the contract or               MANUFACTURING SERVICE AND         SNACKS GENERATION, LLC
2.740 lease is for and the nature              SUPPLY AGREEMENT DATED:           1000BRICKELL PLAZA
      of the debtor’s interest                 09/15/2023                        UNIT 3514
                                                                                 MIAMI, FL 33131
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               CONTRACT MANUFACTURING
      State what the contract or               SERVICE AND SUPPLY AGREEMENT SNACKS GENERATION, LLC
2.741 lease is for and the nature              DATED: 09/15/2023            SNACKS GENERATION, LLC
      of the debtor’s interest                                              1000 BRICKELL PLAZA
                                                                            UNIT 3514
           State the term remaining                                         MIAMI, FL 33131

           List the contract number of
           any government contract

                                               SNACKS HOLDING CORPORATION
      State what the contract or               STANDARD VENDOR TERMS AND         SNACKS HOLDING CORPORATION
2.742 lease is for and the nature              CONDITIONS DATED: 12/02/2013      380 ST. PETER STREET
      of the debtor’s interest                                                   SUITE 1000
                                                                                 ST. PAUL, MN 55102
           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT DATED: 03/03/2011
      State what the contract or                                                 SOLAE, LLC
2.743 lease is for and the nature                                                4300 DUNCAN AVE.
      of the debtor’s interest                                                   ST. LOUIS, MO 63110

           State the term remaining
           List the contract number of
           any government contract

                                               BROKER APPOINTMENT NOTICE
      State what the contract or               DATED: 10/01/2011                 SOUTHERN PROFESSIONALS, INC.
2.744 lease is for and the nature                                                AL BLACKBURN
      of the debtor’s interest                                                   1568 HOLCOMB ROAD
                                                                                 DAWSONVILLE, GA 30534
           State the term remaining
           List the contract number of
           any government contract

                                               BROKER APPOINTMENT NOTICE
      State what the contract or               DATED: 10/01/2011                 SOUTHERN WHOLESALE
2.745 lease is for and the nature                                                121 OIDE HERITAGE WAV
      of the debtor’s interest                                                   WOODSTOCK, GA 30188

           State the term remaining
           List the contract number of
           any government contract

                                               SUBSCRIPTION AGREEMENT
      State what the contract or               DATED: 12/31/2020                 SPENDHQ, LLC
2.746 lease is for and the nature                                                5555 TRIANGLE PARKWAY
      of the debtor’s interest                                                   SUITE 250
                                                                                 NORCROSS, GA 30092
           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 05/11/2016                 SPROUTS FARMERS MARKET
2.747 lease is for and the nature                                                5455 E HIGH ST
      of the debtor’s interest                                                   #111
                                                                                 PHOENIX, AZ 85054
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 03/21/2017                 SPROUTS FARMERS MARKETS
2.748 lease is for and the nature                                                5455 E HIGH ST
      of the debtor’s interest                                                   #111
                                                                                 PHOENIX, AZ 85054
           State the term remaining
           List the contract number of
           any government contract

                                               TEMPORARY STAFFING
      State what the contract or               AGREEMENT DATED: 03/15/2024       STAFF MANAGEMENT SOLUTIONS, LLC AND SMX, LLC D/B/A
2.749 lease is for and the nature                                                STAFF MANAGEMENT
      of the debtor’s interest                                                   433 W VAN BUREN, SUITE #400S-1,2A, CHICAGO, IL 60607
                                                                                 CHICAGO, IL 60607
           State the term remaining
           List the contract number of
           any government contract

                                               STAFFING SERVICES AGREEMENT
      State what the contract or               DATED: 01/03/2019                 STAFFWORKS GROUP
2.750 lease is for and the nature                                                42855 Garfield Rd
      of the debtor’s interest                                                   Ste 117
                                                                                 Clinton Township, MI 48038
           State the term remaining
           List the contract number of
           any government contract

                                               PACKAGING AGREEMENT DATED:
      State what the contract or               07/01/2010                        STARBUCKS CORPORATION
2.751 lease is for and the nature                                                2401 UTAH AVE. SOUTH
      of the debtor’s interest                                                   SUITE 800
                                                                                 MS SC4
           State the term remaining                                              SEATTLE, WA 98134

           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO PACKAGING
      State what the contract or               AGREEMENT DATED: 11/01/2016  STARBUCKS CORPORATION
2.752 lease is for and the nature                                           2401 UTAH AVE. SOUTH
      of the debtor’s interest                                              SUITE 800
                                                                            MS SC4
           State the term remaining                                         SEATTLE, WA 98134

           List the contract number of
           any government contract

                                               PACKAGING AGREEMENT DATED:
      State what the contract or               07/01/2010                        STARBUCKS CORPORATION
2.753 lease is for and the nature                                                STARBUCKS CORPORATION
      of the debtor’s interest                                                   2401 UTAH AVE. SOUTH
                                                                                 SUITE 800
           State the term remaining                                              MS S-LA2
                                                                                 SEATTLE, WA 98134-1067
           List the contract number of
           any government contract

                                               PACKAGING AGREEMENT DATED:
      State what the contract or               07/01/2010                        STARBUCKS CORPORATION
2.754 lease is for and the nature                                                STARBUCKS CORPORATION
      of the debtor’s interest                                                   2401 UTAH AVE. SOUTH
                                                                                 SUITE 800
           State the term remaining                                              MS SC4
                                                                                 SEATTLE, WA 98134-1067
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               SIXTH AMENDMENT TO PACKAGING
      State what the contract or               AGREEMENT DATED: 01/17/2018  STARBUCKS CORPORATION
2.755 lease is for and the nature                                           2401 UTAH AVE. SOUTH
      of the debtor’s interest                                              SUITE 800
                                                                            MS SC4
           State the term remaining                                         SEATTLE, WA 98134

           List the contract number of
           any government contract

                                               PURCHASE SCHEDULE DATED:
      State what the contract or               06/01/2012                        STARBUCKS CORPORATION
2.756 lease is for and the nature                                                2401 UTAH AVE. SOUTH
      of the debtor’s interest                                                   SUITE 800
                                                                                 MS SC4
           State the term remaining                                              SEATTLE, WA 98134

           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO PACKAGING
      State what the contract or               AGREEMENT DATED: 08/11/2010  STARBUCKS CORPORATION
2.757 lease is for and the nature                                           2401 UTAH AVE. SOUTH
      of the debtor’s interest                                              SUITE 800
                                                                            MS SC4
           State the term remaining                                         SEATTLE, WA 98134

           List the contract number of
           any government contract

                                               PURCHASE SCHEDULE A- BOSTON
      State what the contract or               MARKET DATED: 09/01/2012          STARBUCKS CORPORATION
2.758 lease is for and the nature                                                2401 UTAH AVE. SOUTH
      of the debtor’s interest                                                   SUITE 800
                                                                                 MS SC4
           State the term remaining                                              SEATTLE, WA 98134

           List the contract number of
           any government contract

                                               SECOND AMENDMENT TO
      State what the contract or               PACKAGING AGREEMENT DATED:        STARBUCKS CORPORATION
2.759 lease is for and the nature              10/31/2013                        2401 UTAH AVE. SOUTH
      of the debtor’s interest                                                   SUITE 800
                                                                                 MS SC4
           State the term remaining                                              SEATTLE, WA 98134

           List the contract number of
           any government contract

                                               DISCLOSURE AND RELEASE
      State what the contract or               AGREEMENT DATED: 10/20/2011       STARBUCKS CORPORATION
2.760 lease is for and the nature                                                2401 UTAH AVENUE SOUTH
      of the debtor’s interest                                                   SEATTLE, WA 98134-1431

           State the term remaining
           List the contract number of
           any government contract

                                               FIFTH AMENDMENT TO PACKAGING
      State what the contract or               AGREEMENT DATED: 07/05/2017  STARBUCKS CORPORATION
2.761 lease is for and the nature                                           2401 UTAH AVE. SOUTH
      of the debtor’s interest                                              SUITE 800
                                                                            MS SC4
           State the term remaining                                         SEATTLE, WA 98134

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               MASTER LEASE AGREEMENT
      State what the contract or               DATED: 10/06/2023                  STORE MASTER FUNDING XXXII, LLC
2.762 lease is for and the nature                                                 8377 E. HARTFORD DRIVE
      of the debtor’s interest                                                    SUITE 100
                                                                                  SCOTTSDALE, 85255
           State the term remaining
           List the contract number of
           any government contract

                                               CANDY LICENSE AND DISTRIBUTION
      State what the contract or               AGREEMENT DATED: 01/31/1991    STUCKEY'S CORPORATION
2.763 lease is for and the nature                                             1420 BEVERLY ROAD
      of the debtor’s interest                                                SUITE 140
                                                                              MCLEAN, VA 22101-3719
           State the term remaining
           List the contract number of
           any government contract

                                               LETTER DATED: 07/15/2011
      State what the contract or                                                  SUAREZ CORPORATION INDUSTRIES
2.764 lease is for and the nature                                                 7800 Whipple Ave NW
      of the debtor’s interest                                                    North Canton, OH 44720

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREEMENT DATED:
      State what the contract or               08/01/2022                         SUCROCAN CANADA
2.765 lease is for and the nature                                                 ATTENTION: ELI COHEN
      of the debtor’s interest                                                    560 FERGUSON AVE
                                                                                  HAMILTON, ON L8L 4Z9
           State the term remaining                                               CANADA

           List the contract number of
           any government contract

                                               LETTER AGREEMENT DATED:
      State what the contract or               06/13/2022                         SUGARIGHT LLC
2.766 lease is for and the nature                                                 33 RIVERSIDE AVE
      of the debtor’s interest                                                    WESTPORT, CT 06880

           State the term remaining
           List the contract number of
           any government contract

                                               GENERAL TERMS AND CONDITIONS
      State what the contract or               FOR THE PURCHASE OF GOODS      SUGARIGHT LLC
2.767 lease is for and the nature              AND SERVICES DATED: 07/20/2022 33 RIVERSIDE AVE
      of the debtor’s interest                                                WESTPORT, CT 06880

           State the term remaining
           List the contract number of
           any government contract

                                               AMENDMENT TO CONFIDENTIALITY
      State what the contract or               AGREEMENT DATED: 07/27/2021  SUNOPTA FOODS, INC
2.768 lease is for and the nature                                           7078 Shady Oak Rd
      of the debtor’s interest                                              Eden Prairie, MN 55344

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 03/15/2018                 SUPERVALU
2.769 lease is for and the nature                                                11840 VALLEY VIEW RD
      of the debtor’s interest                                                   EDEN PRAIRIE, MN 55344

           State the term remaining
           List the contract number of
           any government contract

                                               SUPERVALU PRIVATE BRANDS
      State what the contract or               PRODUCT ADDENDUM AS AMENDED SUPERVALU
2.770 lease is for and the nature              DATED: 02/28/2017           11840 VALLEY VIEW RD
      of the debtor’s interest                                             EDEN PRAIRIE, MN 55344

           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE BRANDS SUPPLIER TERMS
      State what the contract or               AND CONDITIONS DATED: 06/26/2017 SUPERVALU
2.771 lease is for and the nature                                               11840 VALLEY VIEW ROAD
      of the debtor’s interest                                                  EDEN PRAIRIE, MN 66344

           State the term remaining
           List the contract number of
           any government contract

                                               STAFFING SERVICES AGREEMENT
      State what the contract or               DATED: 09/04/2019                 SURE STAFF, INC
2.772 lease is for and the nature                                                650 EAST DEVON
      of the debtor’s interest                                                   UNIT 154
                                                                                 ITASCA, IL 60143
           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT DATED:
      State what the contract or               02/01/2018                        SVC MANUFACTURING, INC.
2.773 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           SVC MANUFACTURING, INC.
2.774 lease is for and the nature              DATED: 02/15/2018                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 07/28/2015       SVC MANUFACTURING, INC.
2.775 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           SVC MANUFACTURING, INC.
2.776 lease is for and the nature              DATED: 02/01/2018                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               SECOND AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            SVC MANUFACTURING, INC.
2.777 lease is for and the nature              AGREEMENT DATED: 10/04/2017       555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               SIXTH AMENDMENT DATED:
      State what the contract or               11/30/2018                        SVC MANUFACTURING, INC.
2.778 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               FIFTH AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           SVC MANUFACTURING, INC.
2.779 lease is for and the nature              DATED: 07/19/2018                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               SEVENTH AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            SVC MANUFACTURING, INC.
2.780 lease is for and the nature              AGREEMENT DATED: 05/15/2020       555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               FOURTH AMENDMENT TO
      State what the contract or               CONTRACT MANUFACTURING            SVC MANUFACTURING, INC.
2.781 lease is for and the nature              AGREEMENT DATED: 03/06/2018       555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               EXTENSION OF TERM DATED:
      State what the contract or               08/31/2018                        SVC MANUFACTURING, INC.
2.782 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               FIRST AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           SVC MANUFACTURING, INC.
2.783 lease is for and the nature              DATED: 06/30/2017                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 07/29/2015       SVC MANUFACTURING, INC.
2.784 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               SIXTH AMENDMENTTOCONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           SVC MANUFACTURING, INC.
2.785 lease is for and the nature              DATED: 11/30/2018                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               FIRST AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           SVC MANUFACTURING, INC.
2.786 lease is for and the nature              DATED: 06/30/2017                 555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               EXTENSION OF TERM DATED:
      State what the contract or               11/15/2018                        SVC MANUFACTURING, INC.
2.787 lease is for and the nature                                                555 WEST MONROE STREET
      of the debtor’s interest                                                   CHICAGO, IL 60661

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT, TESTING
      State what the contract or               AND MANUFACTURING EXHIBIT A-1: SVC MANUFACTURING, INC.
2.788 lease is for and the nature              PROJECT LUIGI DATED: 07/03/2023 LAW DEPARTMENT
      of the debtor’s interest                                                 7701 LEGACY DRIVE
                                                                               PLANO, TX 75024
           State the term remaining
           List the contract number of
           any government contract

                                               TRANSPORTATION CONTRACT
      State what the contract or               DATED: 03/13/2023                 TEAM JOHNSON LIMO SERVICE
2.789 lease is for and the nature                                                BRANDON JOHNSON
      of the debtor’s interest                                                   4840 US 20A
                                                                                 DELTA, OH 43515
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               TRANSPORTATION CONTRACT
      State what the contract or               DATED: 03/13/2023                 TEAM JOHNSON LIMO SERVICE
2.790 lease is for and the nature                                                4840 US 20A
      of the debtor’s interest                                                   DELTA, OH 43515

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER SUPPLY AGREEMENT -
      State what the contract or               EXEUCTIVE SUMMARY DATED:          TEAM JOHNSON LIMO SERVICE
2.791 lease is for and the nature              03/13/2023                        4840 US 20A
      of the debtor’s interest                                                   DELTA, OH 43515

           State the term remaining
           List the contract number of
           any government contract

                                               CO-MANUFACTURING AGREEMENT
      State what the contract or               DATED: 01/08/2020                 THE COCOA EXCHANGE
2.792 lease is for and the nature                                                400 VALLEY ROAD
      of the debtor’s interest                                                   SUITE 200
                                                                                 MT. ARLINGTON, NJ 07856
           State the term remaining
           List the contract number of
           any government contract

                                               SETTLEMENT AND RELEASE DATED:
      State what the contract or               08/31/2015                    THE HARTZ MOUNTAIN CORPORATION
2.793 lease is for and the nature                                            400 PLAZA DRIVE
      of the debtor’s interest                                               SECAUCUS, NJ 07094

           State the term remaining
           List the contract number of
           any government contract

                                               VENDOR SUPPLY AGREEMENT
      State what the contract or               DATED: 10/01/2013                 THE HARTZ MOUNTAIN CORPORATION
2.794 lease is for and the nature                                                400 PLAZA DRIVE
      of the debtor’s interest                                                   SECAUCUS, NJ 07094-3688

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OF INTENT DATED:
      State what the contract or               12/07/2016                        THE HERSHEY COMPANY
2.795 lease is for and the nature                                                500 W. 5TH ST.
      of the debtor’s interest                                                   SUITE 900
                                                                                 AUSTIN, TX 78701
           State the term remaining
           List the contract number of
           any government contract

                                               SECRECY AND PROPRIETARY
      State what the contract or               RIGHTS AGREEMENT DATED:           THE HERSHEY COMPANY
2.796 lease is for and the nature              12/20/2011                        100 CRYSTAL A DRIVE
      of the debtor’s interest                                                   HERSHEY, PA 17033

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               TERMINATION OF LETTER OF
      State what the contract or               INTENT DATED: 01/13/2020          THE HERSHEY COMPANY
2.797 lease is for and the nature                                                500 W. 5TH ST.
      of the debtor’s interest                                                   SUITE 900
                                                                                 AUSTIN, TX 78701
           State the term remaining
           List the contract number of
           any government contract

                                               ADDENDUM TO BUSINESS
      State what the contract or               SCHEDULE 2 TO MASTER SUPPLIER THE HILLSHIRE BRANDS COMPANY
2.798 lease is for and the nature              RELATIONSHIP AGREEMENT AS     400 S. JEFFERSON.
      of the debtor’s interest                 AMENDED DATED: 11/22/2017     CHICAGO, IL 60607

           State the term remaining
           List the contract number of
           any government contract

                                               BUSINESS SCHEDULE NO 2 TO
      State what the contract or               MASTER SUPPLIER RELATIONSHIP      THE HILLSHIRE BRANDS COMPANY
2.799 lease is for and the nature              AGREEMENT AS AMENDED DATED:       400 S. JEFFERSON.
      of the debtor’s interest                 07/12/2013                        CHICAGO, IL 60607

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER OF INTENT DATED:
      State what the contract or               09/01/2010                        THE HILLSHIRE BRANDS COMPANY
2.800 lease is for and the nature                                                400 S. JEFFERSON.
      of the debtor’s interest                                                   CHICAGO, IL 60607

           State the term remaining
           List the contract number of
           any government contract

                                               BUSINESS SCHEDULE NO. 2 TO
      State what the contract or               MASTER SUPPLIER RELATIONSHIP      THE HILLSHIRE BRANDS COMPANY
2.801 lease is for and the nature              AGREEMENT DATED: 07/12/2013       400 S. JEFFERSON.
      of the debtor’s interest                                                   CHICAGO, IL 60607

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT DEVELOPMENT,
      State what the contract or               MANUFACTURING AND                 THE JUICE PLUS+ COMPANY, LLC
2.802 lease is for and the nature              SUPPLYAGREEMENT DATED:            715 MASSMAN DRIVE
      of the debtor’s interest                 02/20/2014                        NASHVILLE, TN 37210

           State the term remaining
           List the contract number of
           any government contract

                                               STANDARD VENDOR AGREEMENT
      State what the contract or               FOR MERCHANDISE (PRODUCTS )       THE KROGER CO.
2.803 lease is for and the nature              DATED: 10/01/2008                 KROGER CORPORATE BRANDS DEPARTMENT
      of the debtor’s interest                                                   1014 VINE STREET
                                                                                 CINCINNATI, OH 45202
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               STANDARD VENDOR AGREEMENT
      State what the contract or               DATED: 02/20/2018                  THE KROGER CO.
2.804 lease is for and the nature                                                 1014 VINE STREET
      of the debtor’s interest                                                    CINCINNATI, OH 45202

           State the term remaining
           List the contract number of
           any government contract

                                               ORDER CONFIRMATION AND
      State what the contract or               AGREEMENT FOR ON-GOINA             THE NIELSEN COMPANY (US) LLC
2.805 lease is for and the nature              ORDERS                             150 N. MARTINGALE ROAD
      of the debtor’s interest                                                    SCHAUMBURG, IL 60173-2076

           State the term remaining
           List the contract number of
           any government contract

                                               BROKER AGREEMENT DATED:
      State what the contract or               04/24/2017                         THE THOMAS GROUP
2.806 lease is for and the nature                                                 17974 RED OAKS DRIVE
      of the debtor’s interest                                                    MACOMB, MI 48044

           State the term remaining
           List the contract number of
           any government contract

                                               EXHIBIT A, THURNE TERMS AND
      State what the contract or               CONDITIONS DATED: 01/00/1900       THURNE USA
2.807 lease is for and the nature                                                 2567 GREENLEAF
      of the debtor’s interest                                                    ELK GROVE VILLAGE, IL 60007

           State the term remaining
           List the contract number of
           any government contract

                                               CONVERSION AND PACKAGING
      State what the contract or               AGREEMENT DATED: 07/13/2018        TILLAMOOK COUNTY CREAMERY ASSOCIATION
2.808 lease is for and the nature                                                 4185 HIGHWAY 101
      of the debtor’s interest                                                    TILLAMOOK, OR

           State the term remaining
           List the contract number of
           any government contract

                                               CONVERSION AND PACKAGING
      State what the contract or               AGREEMENT DATED: 07/13/2018        TILLAMOOK COUNTY CREAMERY ASSOCIATION
2.809 lease is for and the nature                                                 4185 HIGHWAY 101
      of the debtor’s interest                                                    TILLAMOOK, OR

           State the term remaining
           List the contract number of
           any government contract

                                               LETTER AGREEMENT DATED:
      State what the contract or               01/01/2023                         TILLEY DISTRIBUTION
2.810 lease is for and the nature                                                 PO BOX 24289
      of the debtor’s interest                                                    NEW YORK, NY 10087-4289

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               LETTER AGREEMENT DATED:
      State what the contract or               01/01/2024                        TILLEY DISTRIBUTION
2.811 lease is for and the nature                                                PO BOX 24289
      of the debtor’s interest                                                   NEW YORK, NY 10087-4289

           State the term remaining
           List the contract number of
           any government contract

                                               ASSIGNMENT AND ASSUMPTION OF
      State what the contract or               LEASE DATED: 05/01/2018      TOLL PACKAGING SERVICES, LLC
2.812 lease is for and the nature                                           ATTN: CHAIRMAN AND CEO
      of the debtor’s interest                                              3500 LACEY ROAD
                                                                            SUITE 300
           State the term remaining                                         DOWNERS GROVE, 60515

           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT DATED: 11/06/2013       TOOTSIE ROLL INDUSTRIES, LLC
2.813 lease is for and the nature                                                7401 SOUTH CICERO AVENUE
      of the debtor’s interest                                                   CHICAGO, IL 60629

           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 01/03/2017                 TOPCO ASSOCIATES LLC
2.814 lease is for and the nature                                                150 NW POINT BLVD
      of the debtor’s interest                                                   ELK GROVE VILLAGE, MN 55344

           State the term remaining
           List the contract number of
           any government contract

                                               PRODUCT SUPPLIER AGREEMENT
      State what the contract or               DATED: 07/30/2012                 TOPCO ASSOCIATES LLC
2.815 lease is for and the nature                                                7711 GROSS POINT ROAD
      of the debtor’s interest                                                   SKOKIE, IL 60077

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER VENDOR AGREEMENT
      State what the contract or               DATED: 04/23/2010                 TRADER JOE'S COMPANY
2.816 lease is for and the nature                                                800 SOUTH SHAMROCK AVENUE
      of the debtor’s interest                                                   MONROVIA, CA 91016-6346

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER VENDOR AGREEMENT
      State what the contract or               DATED: 09/14/2012                 TRADER JOE'S COMPANY
2.817 lease is for and the nature                                                800 SOUTH SHAMROCK AVENUE
      of the debtor’s interest                                                   MONROVIA, CA 91016-6346

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           TROPICANA MANUFACTURING COMPANY, INC
2.818 lease is for and the nature              DATED: 02/01/2018                 1001 13TH AVENUE EAST
      of the debtor’s interest                                                   BRADENTON, FL 34208

           State the term remaining
           List the contract number of
           any government contract

                                               EXTENSION OF TERM DATED:
      State what the contract or               08/31/2018                        TROPICANA MANUFACTURING COMPANY, INC.
2.819 lease is for and the nature                                                1001 13TH AVENUE EAST
      of the debtor’s interest                                                   BRADENTON, FL 34208

           State the term remaining
           List the contract number of
           any government contract

                                               EXTENSION OF TERM DATED:
      State what the contract or               11/15/2018                        TROPICANA MANUFACTURING COMPANY, INC.
2.820 lease is for and the nature                                                1001 13TH AVENUE EAST
      of the debtor’s interest                                                   BRADENTON, FL 34208

           State the term remaining
           List the contract number of
           any government contract

                                               THIRD AMENDMENT TO CONTRACT
      State what the contract or               MANUFACTURING AGREEMENT           TROPICANA MANUFACTURING COMPANY, INC.
2.821 lease is for and the nature              DATED: 02/15/2018                 1001 13TH AVENUE EAST
      of the debtor’s interest                                                   BRADENTON, FL 34208

           State the term remaining
           List the contract number of
           any government contract

                                               EXECUTIVE EMPLOYMENT
      State what the contract or               AGREEMENT DATED: 11/15/2022       TUCK, MICHAEL C
2.822 lease is for and the nature                                                ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANAFACTURING
      State what the contract or               AGREEMENT DATED: 10/14/2021       TYSON FOODS, INC
2.823 lease is for and the nature                                                2200 W. DON TYSON PARKWAY
      of the debtor’s interest                                                   SPRINGDALE, AR 72762

           State the term remaining
           List the contract number of
           any government contract

                                               BUSINESS SCHEDULE NO. 4 TO
      State what the contract or               CONTRACT MANUFACTURING            TYSON FOODS, INC
2.824 lease is for and the nature              AGREEMENT AS AMENDED DATED:       2200 DON TYSON PARKWAY
      of the debtor’s interest                 12/01/2021                        AR058124
                                                                                 SPRINGDALE, AR 72762-6999
           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               BUSINESS SCHEDULE NO. 3 TO
      State what the contract or               CONTRACT MANUFACTURING            TYSON FOODS, INC
2.825 lease is for and the nature              AGREEMENT AS AMENDED DATED:       2200 DON TYSON PARKWAY
      of the debtor’s interest                 01/01/2022                        AR058124
                                                                                 SPRINGDALE, AR 72762-6999
           State the term remaining
           List the contract number of
           any government contract

                                               ADDENUM TO BUSINESS SCHEDULE
      State what the contract or               2 TO MASTER SUPPLIER         TYSON FOODS, INC
2.826 lease is for and the nature              RELATIONSHIP AGREEMENT AS    2200 DON TYSON PARKWAY
      of the debtor’s interest                 AMENDED DATED: 11/22/2017    AR058124
                                                                            SPRINGDALE, AR 72762-6999
           State the term remaining
           List the contract number of
           any government contract

                                               PROPOSED ACQUISITION DATED:
      State what the contract or               11/12/2016                        TYSON FOODS, INC
2.827 lease is for and the nature                                                2200 DON TYSON PARKWAY
      of the debtor’s interest                                                   AR058124
                                                                                 SPRINGDALE, AR 72762-6999
           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT MANUFACTURING
      State what the contract or               AGREEMENT AS AMENDED DATED:       TYSON SALES & DISTRIBUTION INC.
2.828 lease is for and the nature              01/08/2023                        ATTN: SENIOR MANAGER PRODUCTION PLANNING
      of the debtor’s interest                                                   TYSON SALES & DISTRIBUTION, INC.
                                                                                 2200 DON TYSON PARKWAY
           State the term remaining                                              SPRINGDALE, AR 72762

           List the contract number of
           any government contract

                                               TRANSPORTATION LOGISTICS
      State what the contract or               MANAGEMENT SERVICE                UBER FREIGHT
2.829 lease is for and the nature              AGREEMENT DATED: 04/15/2020       TRANSPLACE TEXAS, LP
      of the debtor’s interest                                                   3010 GAYLORD PARKWAY
                                                                                 SUITE 200
           State the term remaining                                              FRISCO, TX 75034

           List the contract number of
           any government contract

                                               COMMERCIAL TERMS CONTRACT
      State what the contract or               AS AMENDED DATED: 09/01/2023      UNILEVER NORTH AMERICA
2.830 lease is for and the nature                                                700 SYLVAN AVENUE
      of the debtor’s interest                                                   ENGLEWOOD CLIFFS, NJ 07632

           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 03/20/2018                 UNION OF ORTHODOX JEWISH CONGREGATIONS OF AMERICA
2.831 lease is for and the nature                                                11 BROADWAY
      of the debtor’s interest                                                   NEW YORK, NY 10004

           State the term remaining
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               LETTER DATED: 03/22/2018
      State what the contract or                                                  UNION OF ORTHODOX JEWISH CONGREGATIONS OF AMERICA
2.832 lease is for and the nature                                                 11 BROADWAY
      of the debtor’s interest                                                    NEW YORK, NY 10004

           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 10/03/2018                  UNION OF ORTHODOX JEWISH CONGREGATIONS OF AMERICA
2.833 lease is for and the nature                                                 220 CONTINUUM DRIVE
      of the debtor’s interest                                                    FLETCHER, NC 28732

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING SERVICE
      State what the contract or               AND SUPPLY AGREEMENT DATED:        UNITED AMERICAN INDUSTRIES, INC
2.834 lease is for and the nature              01/01/2012                         1203 W. SAN PEDRO STREET
      of the debtor’s interest                                                    GILBERT, AZ 85233

           State the term remaining
           List the contract number of
           any government contract

                                               CONTRACT PACKAGING SERVICE
      State what the contract or               AND SUPPLY AGREEMENT DATED:        UNITED AMERICAN INDUSTRIES, INC.
2.835 lease is for and the nature              01/01/2012                         1203 W. SAN PEDRO STREET
      of the debtor’s interest                                                    GILBERT, AZ 85233

           State the term remaining
           List the contract number of
           any government contract

                                               COLLECTIVE BARGAINING
      State what the contract or               AGREEMENT DATED: 11/2023           United Food & Commercial Workers Union, Local 1529
2.836 lease is for and the nature                                                 8205 MACON RD
      of the debtor’s interest                                                    CORDOVA, TN 38018

           State the term remaining
           List the contract number of
           any government contract

                                               GENERAL POLICIES DATED:
      State what the contract or               06/12/2012                         UNITED NATURAL FOODS, INC.
2.837 lease is for and the nature                                                 313 IRON HORSE WAY
      of the debtor’s interest                                                    PROVIDENCE, RI 02908

           State the term remaining
           List the contract number of
           any government contract

                                               PRIVATE LABEL SUPPLIER
      State what the contract or               AGREEMENT DATED: 02/01/2018        UNITED NATURAL FOODS, INC.
2.838 lease is for and the nature                                                 313 IRON HORSE WAY
      of the debtor’s interest                                                    PROVIDENCE, RI 02908

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                           Page 120 of 125
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              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                               CARRIER AGREEMENT DATED:
      State what the contract or               04/11/2022                         UNITED PARCEL SERVICE INC
2.839 lease is for and the nature                                                 1550 HOLLAND RD
      of the debtor’s interest                                                    MAUMEE, OH 43537

           State the term remaining
           List the contract number of
           any government contract

                                               RESEARCH AND DEVELOPMENT
      State what the contract or               AGREEMENT AND RELEASE AND       UNREAL BRANDS, INC.
2.840 lease is for and the nature              HOLD HARMLESS DATED: 12/20/2011 51 Melcher St
      of the debtor’s interest                                                 Boston, MA 02210

           State the term remaining
           List the contract number of
           any government contract

                                               RESEARCH AND DEVELOPMENT
      State what the contract or               AGREEMENT AND RELEASE AND       UNREAL BRANDS, INC.
2.841 lease is for and the nature              HOLD HARMLESS DATED: 12/21/2011 51 Melcher St
      of the debtor’s interest                                                 Boston, MA 02210

           State the term remaining
           List the contract number of
           any government contract

                                               CUSTOMER INCENTIVE
      State what the contract or               AGREEMENT (""AGREEMENT"")          US FOODS, INC
2.842 lease is for and the nature              DATED: 09/04/2022                  9399 West Higgins Rd
      of the debtor’s interest                                                    Ste 100
                                                                                  Rosemont, IL 60018
           State the term remaining
           List the contract number of
           any government contract

                                               CUSTOMER INCENTIVE
      State what the contract or               AGREEMENT DATED: 09/04/2023        US FOODS, INC
2.843 lease is for and the nature                                                 9399 West Higgins Rd
      of the debtor’s interest                                                    Ste 100
                                                                                  Rosemont, IL 60018
           State the term remaining
           List the contract number of
           any government contract

                                               OFFER LETTER DATED: 09/11/2023
      State what the contract or                                                  VAN DE BOVENKAMP, BRETT
2.844 lease is for and the nature                                                 ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                               RECRUITING SERVICES
      State what the contract or               AGREEMENT DATED: 05/09/2019        VET2TECH CORPORATION
2.845 lease is for and the nature                                                 P.O. BOX 23015
      of the debtor’s interest                                                    BELLEVILLE, IL 62223

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               EXPIRATION NOTICE DATED:
      State what the contract or               03/18/2021                        VIDEOJET TECHNOLOGIES
2.846 lease is for and the nature                                                12113 COLLECTION CENTER DR.
      of the debtor’s interest                                                   CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                               EXPIRATION NOTICE DATED:
      State what the contract or               06/01/2021                        VIDEOJET TECHNOLOGIES
2.847 lease is for and the nature                                                12113 COLLECTION CENTER DR.
      of the debtor’s interest                                                   CHICAGO, IL 60693

           State the term remaining
           List the contract number of
           any government contract

                                               SALES ORDER DATED: 04/26/2022
      State what the contract or                                                 VROOZI, INC.
2.848 lease is for and the nature                                                1212 BROADWAY PLAZA
      of the debtor’s interest                                                   SUITE 2100
                                                                                 WALNUT CREEK, CA 94521
           State the term remaining
           List the contract number of
           any government contract

                                               SUPPLY AGREEMENT DATED:
      State what the contract or               05/30/2012                        WALGREEN BRANDED MERCHANDISE
2.849 lease is for and the nature                                                200 WILMOT ROAD
      of the debtor’s interest                                                   DEERFIELD, IL 60015

           State the term remaining
           List the contract number of
           any government contract

                                               CUSTOMER SERVICE AGREEMENT
      State what the contract or               DATED: 01/01/2021                 WASTE CONNECTIONS OF TN
2.850 lease is for and the nature                                                2400 CHIPMAN STREET
      of the debtor’s interest                                                   KNOXVILLE, TN 37917

           State the term remaining
           List the contract number of
           any government contract

                                               SERVICE SUMMARY DATED:
      State what the contract or               09/01/2023                        WASTE MANAGEMENT OF UTAH, INC
2.851 lease is for and the nature                                                2555 MERIDIAN BLVD
      of the debtor’s interest                                                   SUITE 200
                                                                                 FRANKLIN, TN 37067
           State the term remaining
           List the contract number of
           any government contract

                                               SERVICE SUMMARY DATED:
      State what the contract or               11/08/2023                        WASTE MANAGEMENT, INC. OF TENNESSEE
2.852 lease is for and the nature                                                2555 MERIDIAN BLVD
      of the debtor’s interest                                                   SUITE 200
                                                                                 FRANKLIN, TN 37067
           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               PRIVATE LABEL AGREEMENT
      State what the contract or               DATED: 10/18/2017                 WHOLE FOODS
2.853 lease is for and the nature                                                1200 N KIRK RD
      of the debtor’s interest                                                   BATAVIA, IL 60510

           State the term remaining
           List the contract number of
           any government contract

                                               STAFFING SERVICES AGREEMENT
      State what the contract or               DATED: 12/15/2021                 WISE STAFFING GROUP
2.854 lease is for and the nature                                                10790_HWY 178
      of the debtor’s interest                                                   OLIVE BRANCH, MS 38654

           State the term remaining
           List the contract number of
           any government contract

                                               MASTER EXTERNAL
      State what the contract or               MANUFACTURING AGREEMENT           WRIGLEY MANUFACTURING COMPANY, LLC
2.855 lease is for and the nature              DATED: 03/01/2011                 410 NORTH MICHIGAN AVENUE
      of the debtor’s interest                                                   CHICAGO, IL 60611

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 05/01/2022                 XTRA LEASE
2.856 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 06/01/2022                 XTRA LEASE
2.857 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 06/01/2022                 XTRA LEASE
2.858 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 07/01/2022                 XTRA LEASE
2.859 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 06/01/2022                 XTRA LEASE
2.860 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 06/01/2022                 XTRA LEASE
2.861 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 05/01/2022                 XTRA LEASE
2.862 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 05/01/2022                 XTRA LEASE
2.863 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 08/01/2022                 XTRA LEASE
2.864 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 08/01/2023                 XTRA LEASE
2.865 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 08/01/2022                 XTRA LEASE
2.866 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                                 Schedule G: Executory Contracts and Unexpired Leases                           Page 124 of 125
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 06/01/2022                 XTRA LEASE
2.867 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract

                                               EQUIPMENT LEASE AGREEMENT
      State what the contract or               DATED: 06/01/2022                 XTRA LEASE
2.868 lease is for and the nature                                                PO BOX 219562
      of the debtor’s interest                                                   KANSAS CITY, MO 64121-9562

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                                 Schedule G: Executory Contracts and Unexpired Leases                           Page 125 of 125
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  Fill in this information to identify the case:

 Debtor name      Hearthside Food Solutions, LLC

 United States Bankruptcy Court for the:    Southern District of Texas, Houston Division
                                                                                                                                                   ¨ Check if this is an
 Case number (If known):      24-90587                                                                                                                 amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                            12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
additional Page to this page.

   1. Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                                Column 2: Creditor

          Name                             Mailing address                                                                  Name                     Check all schedules
                                                                                                                                                     that apply:
 2.1   Hearthside Finance              3333 Finley Rd.                                                                   ARES CAPITAL                þ D
       Company, Inc.                   Suite 800                                                                         CORPORATION                 ¨ E/F
                                       Downer's Grove, IL 60515
                                                                                                                                                     ¨ G



 2.2   Hearthside Finance              3333 Finley Rd.                                                                   GOLDMAN SACHS               þ D
       Company, Inc.                   Suite 800                                                                         LENDING PARTNERS,           ¨ E/F
                                       Downer's Grove, IL 60515                                                          LLC
                                                                                                                                                     ¨ G



 2.3   Hearthside Finance              3333 Finley Rd.                                                                   U.S. BANK NATIONAL          ¨ D
       Company, Inc.                   Suite 800                                                                         ASSOCIATION                 þ E/F
                                       Downer's Grove, IL 60515
                                                                                                                                                     ¨ G



 2.4   Hearthside Holdco, LLC          3333 Finley Rd.                                                                   ARES CAPITAL                þ D
                                       Suite 800                                                                         CORPORATION                 ¨ E/F
                                       Downer's Grove, IL 60515
                                                                                                                                                     ¨ G



 2.5   Hearthside Holdco, LLC          3333 Finley Rd.                                                                   GOLDMAN SACHS               þ D
                                       Suite 800                                                                         LENDING PARTNERS,           ¨ E/F
                                       Downer's Grove, IL 60515                                                          LLC
                                                                                                                                                     ¨ G



 2.6   Hearthside Holdco, LLC          3333 Finley Rd.                                                                   U.S. BANK NATIONAL          ¨ D
                                       Suite 800                                                                         ASSOCIATION                 þ E/F
                                       Downer's Grove, IL 60515
                                                                                                                                                     ¨ G




Official Form 206H                                                           Schedule H: Codebtors                                                         Page 1 of 7
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   Debtor   Hearthside Food Solutions, LLC                                                       Case number (If known):   24-90587
            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name               Check all schedules
                                                                                                                                        that apply:

 2.7    Hearthside USA -             3333 Finley Rd.                                                              ARES CAPITAL          þ D
        Corporate, Inc.              Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.8    Hearthside USA -             3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
        Corporate, Inc.              Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G



 2.9    Hearthside USA -             3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
        Corporate, Inc.              Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.10   Hearthside USA – CPG         3333 Finley Rd.                                                              ARES CAPITAL          þ D
        Partners, LLC                Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.11   Hearthside USA – CPG         3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
        Partners, LLC                Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G



 2.12   Hearthside USA – CPG         3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
        Partners, LLC                Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.13   Hearthside USA – Produce 3333 Finley Rd.                                                                  ARES CAPITAL          þ D
        & Foodservice, LLC       Suite 800                                                                        CORPORATION           ¨ E/F
                                 Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.14   Hearthside USA – Produce 3333 Finley Rd.                                                                  GOLDMAN SACHS         þ D
        & Foodservice, LLC       Suite 800                                                                        LENDING PARTNERS,     ¨ E/F
                                 Downer's Grove, IL 60515                                                         LLC
                                                                                                                                        ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                               Page 2 of 7
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   Debtor   Hearthside Food Solutions, LLC                                                       Case number (If known):   24-90587
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             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name               Check all schedules
                                                                                                                                        that apply:

 2.15   Hearthside USA – Produce 3333 Finley Rd.                                                                  U.S. BANK NATIONAL    ¨ D
        & Foodservice, LLC       Suite 800                                                                        ASSOCIATION           þ E/F
                                 Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.16   Hearthside USA, LLC          3333 Finley Rd.                                                              ARES CAPITAL          þ D
                                     Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.17   Hearthside USA, LLC          3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
                                     Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G



 2.18   Hearthside USA, LLC          3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
                                     Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.19   H-Food Holdings, LLC         3333 Finley Rd.                                                              ARES CAPITAL          þ D
                                     Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.20   H-Food Holdings, LLC         3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
                                     Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G



 2.21   H-Food Holdings, LLC         3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
                                     Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.22   Interbake Foods, LLC         3333 Finley Rd.                                                              ARES CAPITAL          þ D
                                     Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                               Page 3 of 7
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   Debtor   Hearthside Food Solutions, LLC                                                       Case number (If known):   24-90587
            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name               Check all schedules
                                                                                                                                        that apply:

 2.23   Interbake Foods, LLC         3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
                                     Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G



 2.24   Interbake Foods, LLC         3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
                                     Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.25   Matterhorn Buyer, LLC        3333 Finley Rd.                                                              ARES CAPITAL          þ D
                                     Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.26   Matterhorn Buyer, LLC        3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
                                     Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G



 2.27   Matterhorn Buyer, LLC        3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
                                     Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.28   Oak State Products, LLC      3333 Finley Rd.                                                              ARES CAPITAL          þ D
                                     Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.29   Oak State Products, LLC      3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
                                     Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G



 2.30   Oak State Products, LLC      3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
                                     Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                               Page 4 of 7
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   Debtor   Hearthside Food Solutions, LLC                                                       Case number (If known):   24-90587
            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name               Check all schedules
                                                                                                                                        that apply:

 2.31   Peacock Engineering          3333 Finley Rd.                                                              ARES CAPITAL          þ D
        Company II, LLC              Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.32   Peacock Engineering          3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
        Company II, LLC              Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G



 2.33   Peacock Engineering          3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
        Company II, LLC              Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.34   Peacock Foods LLC            3333 Finley Rd.                                                              ARES CAPITAL          þ D
                                     Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.35   Peacock Foods LLC            3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
                                     Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G



 2.36   Peacock Foods LLC            3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
                                     Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.37   Quality Bakery Products,     3333 Finley Rd.                                                              ARES CAPITAL          þ D
        LLC                          Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.38   Quality Bakery Products,     3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
        LLC                          Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                               Page 5 of 7
                      Case 24-90586 Document 229 Filed in TXSB on 12/23/24 Page 459 of 461
   Debtor   Hearthside Food Solutions, LLC                                                       Case number (If known):   24-90587
            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name               Check all schedules
                                                                                                                                        that apply:

 2.39   Quality Bakery Products,     3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
        LLC                          Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.40   Ryt-way Industries, LLC      3333 Finley Rd.                                                              ARES CAPITAL          þ D
                                     Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.41   Ryt-way Industries, LLC      3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
                                     Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G



 2.42   Ryt-way Industries, LLC      3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
                                     Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.43   Ryt-way Midco, LLC           3333 Finley Rd.                                                              ARES CAPITAL          þ D
                                     Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.44   Ryt-way Midco, LLC           3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
                                     Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G



 2.45   Ryt-way Midco, LLC           3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
                                     Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.46   Standard Functional Foods 3333 Finley Rd.                                                                 ARES CAPITAL          þ D
        Group, LLC                Suite 800                                                                       CORPORATION           ¨ E/F
                                  Downer's Grove, IL 60515
                                                                                                                                        ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                               Page 6 of 7
                      Case 24-90586 Document 229 Filed in TXSB on 12/23/24 Page 460 of 461
   Debtor   Hearthside Food Solutions, LLC                                                       Case number (If known):   24-90587
            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name               Check all schedules
                                                                                                                                        that apply:

 2.47   Standard Functional Foods 3333 Finley Rd.                                                                 GOLDMAN SACHS         þ D
        Group, LLC                Suite 800                                                                       LENDING PARTNERS,     ¨ E/F
                                  Downer's Grove, IL 60515                                                        LLC
                                                                                                                                        ¨ G



 2.48   Standard Functional Foods 3333 Finley Rd.                                                                 U.S. BANK NATIONAL    ¨ D
        Group, LLC                Suite 800                                                                       ASSOCIATION           þ E/F
                                  Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.49   Toll Packaging Services      3333 Finley Rd.                                                              ARES CAPITAL          þ D
        LLC                          Suite 800                                                                    CORPORATION           ¨ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.50   Toll Packaging Services      3333 Finley Rd.                                                              GOLDMAN SACHS         þ D
        LLC                          Suite 800                                                                    LENDING PARTNERS,     ¨ E/F
                                     Downer's Grove, IL 60515                                                     LLC
                                                                                                                                        ¨ G



 2.51   Toll Packaging Services      3333 Finley Rd.                                                              U.S. BANK NATIONAL    ¨ D
        LLC                          Suite 800                                                                    ASSOCIATION           þ E/F
                                     Downer's Grove, IL 60515
                                                                                                                                        ¨ G



 2.52                                                                                                                                   ¨ D
                                                                                                                                        ¨ E/F
                                                                                                                                        ¨ G



 2.53                                                                                                                                   ¨ D
                                                                                                                                        ¨ E/F
                                                                                                                                        ¨ G



 2.54                                                                                                                                   ¨ D
                                                                                                                                        ¨ E/F
                                                                                                                                        ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                               Page 7 of 7
                     Case 24-90586 Document 229 Filed in TXSB on 12/23/24 Page 461 of 461
  Fill in this information to identify the case and this filing:


   Debtor name Hearthside Food Solutions, LLC


   United States Bankruptcy Court for the: Southern District of Texas, Houston Division

   Case number (If known) 24-90587




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

           Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
        þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        þ Schedule H: Codebtors (Official Form 206H)
        þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ¨ Amended Schedule
        ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        ¨ Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 12/23/2024                                        X /s/ Robert M. Caruso
                       MM / DD / YYYY                                    Signature of individual signing on behalf of debtor



                                                                         Robert M. Caruso
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




   Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
